Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 1 of 126. PageID #: 242954



                                                                     Page 1

 1                UNITED STATES DISTRICT COURT
 2                 NORTHERN DISTRICT OF OHIO
 3                      EASTERN DIVISION
 4                    ~~~~~~~~~~~~~~~~~~~~
 5      IN RE: NATIONAL PRESCRIPTION     MDL No. 2804
        OPIATE LITIGATION
 6                                       Case No.
                                         17-md-2804
 7
                                                   Judge Dan Aaron
 8                                                 Polster
 9      This document relates to:
10      The County of Cuyahoga v. Purdue Pharma, et
        al., Case No. 17-OP-45004
11
        City of Cleveland, Ohio v. Purdue Pharma L.P.,
12      et al., Case No. 18-OP-45132
13      The County of Summit, Ohio, et al. v. Purdue
        Pharma L.P., et al., Case No. 18-OP-45090
14
                          ~~~~~~~~~~~~~~~~~~~~
15
16
                        Videotaped Deposition of
17                          KIMBERLY PATTON
18                          January 22, 2019
                               9:13 a.m.
19
20                             Taken at:
21                      Brennan Manna & Diamond
                         75 East Market Street
22                            Akron, Ohio
23
24
25                      Stephen J. DeBacco, RPR

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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 2 of 126. PageID #: 242955


                                                           Page 2                                                                Page 4
     1 APPEARANCES:                                                  1 APPEARANCES, Continued:
     2                                                               2
     3   On behalf of the City of Akron, Summit                          On behalf of Endo Pharmaceuticals, Inc.,
         County, and the Witness:                                    3   Endo Health Solutions, Inc., Par
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    16   Corporation, via teleconference:                                   Tucker Ellis, LLP, by
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    21                                                              21      Joe VanDetta, Legal Videographer
    22                                                              22           ~~~~~
    23                                                              23
    24                                                              24
    25                                                              25

                                                           Page 3                                                                Page 5
     1 APPEARANCES, Continued:
     2
                                                                     1              TRANSCRIPT INDEX
         On behalf of Cephalon, Inc.; Teva                           2
     3   Pharmaceuticals USA, Inc.; Actavis, LLC;
         Actavis Pharma, Inc. f/k/a Watson Pharma,                   3   APPEARANCES...............................   2
     4   Inc.; and Watson Laboratories, Inc.:                        4
     5       Morgan, Lewis & Bockius LLP, by
             WENDY WEST FEINSTEIN, ESQ.                              5   INDEX OF EXHIBITS ........................       6
     6       One Oxford Centre, 32nd Floor
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                                                                     6
     7       (412) 560-7455                                          7   EXAMINATION OF KIMBERLY PATTON
             wendy.feinstein@morganlewis.com
     8                                                               8   By Ms. Feinstein.......................... 11
     9   On behalf of Cardinal Health:                               9   By Mr. Boehm.............................. 248
    10       Williams & Connolly, by
             PAUL E. BOEHM, ESQ.                                    10   By Ms. Morrison........................... 260
    11       Williams & Connolly LLP
             725 Twelfth Street Northwest
                                                                    11   By Ms. Kearse............................. 267
    12       Washington, D.C. 20005                                 12   By Ms. Feinstein.......................... 273
             (202) 434-5366
    13       pboehm@wc.com                                          13   By Mr. Boehm.............................. 276
    14                                                              14
         On behalf of Cephalon, Inc.; Teva
    15   Pharmaceuticals USA, Inc.; Actavis, LLC;                   15   REPORTER'S CERTIFICATE.................... 282
         Actavis Pharma, Inc. f/k/a Watson Pharma,
    16   Inc.; and Watson Laboratories, Inc., via
                                                                    16
         teleconference:                                            17   EXHIBIT CUSTODY
    17
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                                                                                                                      2 (Pages 2 - 5)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 3 of 126. PageID #: 242956


                                                                   Page 6                                                                  Page 8
     1          INDEX OF EXHIBITS                                            1         INDEX OF VIDEO OBJECTION
     2 NUMBER           DESCRIPTION                 MARKED                   2 OBJECT                                      PAGE
                                                                             3 objection................................. 52
     3 Exhibit 1 Kimberly Patton Resume, ...... 19                             object.................................... 53
              SUMMIT_001128843 to                                            4 objection................................. 53
     4        001128846                                                        object.................................... 63
     5 Exhibit 2 Bullet Point List of Job ..... 67                           5 object.................................... 78
              Responsibilities,                                                object.................................... 124
                                                                             6 object.................................... 125
     6        SUMMIT_000959818 to                                              object.................................... 125
              000959819                                                      7 object.................................... 130
     7                                                                         object.................................... 136
       Exhibit 3 Document Titled "Objectives .. 157                          8 object.................................... 143
     8        and Brief Bio for Quick                                          object.................................... 146
                                                                             9 object.................................... 148
              Response Teams in Summit                                         objection................................. 170
     9        County," SUMMIT_000945488                                     10 object.................................... 180
    10 Exhibit 4 Document Titled "Summit ...... 162                            object.................................... 193
              County Quick Response Team                                    11 object.................................... 199
                                                                               object.................................... 200
    11        Quarterly (Q2) Meeting,
                                                                            12 object.................................... 202
              September 21, 2017,"                                             object.................................... 206
    12        SUMMIT_000960323                                              13 object.................................... 206
    13 Exhibit 5 ADM Board Document Titled .... 183                            object.................................... 211
              "Summit County Quick                                          14 object.................................... 212
                                                                               object.................................... 212
    14        Response Team,"
                                                                            15 object.................................... 214
              SUMMIT_001793050 to                                              object.................................... 215
    15        001793051                                                     16 object.................................... 215
    16 Exhibit 6 May 2018 E-Mail Chain Re: .... 187                            object.................................... 215
              QRT, SUMMIT_000970749 to                                      17 object.................................... 216
                                                                               object.................................... 218
    17        000970754                                                     18 object.................................... 218
    18 Exhibit 7 Document Titled "Training & .. 204                            object.................................... 218
              Development Request,"                                         19 object.................................... 219
    19        SUMMIT_000945633                                                 object.................................... 219
    20 Exhibit 8 Document Titled .............. 208                         20 object.................................... 222
                                                                               object.................................... 222
              "Prescription for                                             21 object.................................... 223
    21        Prevention: Cuyahoga County                                      object.................................... 239
              Coalition Minutes from April                                  22 object.................................... 254
    22        20, 2011 Meeting,"                                               object.................................... 255
              CLEVE_000216547 to 000216548                                  23 object.................................... 256
                                                                               object.................................... 258
    23                                                                      24 object.................................... 259
    24                                                                         object.................................... 259
    25                                                                      25 object.................................... 266

                                                                   Page 7                                                                  Page 9
     1 Exhibit 9 Slide Deck Titled "The ....... 228                          1 objection................................. 268
              Opiate Epidemic Hits Home:                                       objection................................. 269
     2        What We All Need to Know,"                                     2 move to strike............................ 270
                                                                               objection................................. 271
              SUMMIT_000289523 to
                                                                             3 object.................................... 276
     3        000289533
                                                                               object.................................... 276
     4                                                                       4 object.................................... 277
     5                                                                         object.................................... 277
     6                                                                       5 object.................................... 278
     7                                                                         object.................................... 278
     8                                                                       6 object.................................... 278
     9                                                                       7
    10                                                                       8
                                                                             9
    11
                                                                            10
    12                                                                      11
    13                                                                      12
    14                                                                      13
    15                                                                      14
    16                                                                      15
    17                                                                      16
    18                                                                      17
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    25                                                                      25

                                                                                                                                  3 (Pages 6 - 9)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 4 of 126. PageID #: 242957


                                                    Page 10                                                    Page 12
     1           THE VIDEOGRAPHER: We are now on               1   Defendants in this litigation.
     2   the record.                                           2            Could you please state your full
     3           The date is January 22, 2019. The             3   name for the record?
     4   time is 9:13 a.m.                                     4       A. Kimberly Patton.
     5           The caption of this case is In Re:            5       Q. Where do you live?
     6   National Prescription Opiate Litigation.              6       A. For the purpose of this, I want
     7           The name of the witness is Kimberly           7   to -- is it okay if I wanted to give the County
     8   Patton.                                               8   of Summit ADM address?
     9           At this time, the attorneys present           9       Q. Well, that's fine to have you work
    10   and those attending remotely will identify           10   address, but I'd also like to know where you
    11   themselves and the parties they represent.           11   live as well.
    12           MS. KEARSE: Anne Kearse with                 12       A. Okay. Work address is 1867 West
    13   Motley Rice on behalf of the County of Summit,       13   Market Street, Suite B, Akron, Ohio 44313.
    14   City of Akron, and the Witness.                      14       Q. Thank you.
    15           MS. SALERNO: Danielle Salerno with           15       A. The home address, I live in
    16   Motley Rice on behalf of Summit County, City of      16   Cuyahoga County.
    17   Akron, and the Witness.                              17       Q. Okay. And the city of Parma?
    18           MS. FEINSTEIN: Wendy West                    18       A. Correct.
    19   Feinstein with Morgan Lewis on behalf of the         19       Q. For how long have you lived in
    20   Teva Defendants.                                     20   Cuyahoga County?
    21           MR. BOEHM: Paul Boehm with                   21       A. With the exception of six months,
    22   Williams & Connolly for Cardinal Health.             22   all of my life.
    23           MS. MORRISON: Kristin Morrison,              23       Q. For how long have you worked in
    24   Jones Day, for Walmart.                              24   Summit County?
    25           THE VIDEOGRAPHER: Those on the               25       A. May 2nd of 2016.
                                                    Page 11                                                    Page 13
     1   phone?                                                1        Q. When you started with the ADM
     2           MS. LEIBOW: Nicole Leibow with                2   Board?
     3   Arnold & Porter on behalf of Endo and Par.            3        A. Correct.
     4           MR. LAZAR: Zachary Lazar of Morgan            4        Q. Have you ever had your deposition
     5   Lewis on behalf of the Teva Defendants.               5   taken before?
     6           MR. PULSIPHER: Bryant Pulsipher of            6        A. No.
     7   Covington & Burling for McKesson.                     7        Q. As your attorneys may have
     8           MS. SWEET: Brenda Sweet of Tucker             8   explained to you, I'm going to be asking you a
     9   Ellis on behalf of Janssen and Johnson &              9   series of questions today. The court reporter
    10   Johnson.                                             10   is taking down everything that's being said in
    11           THE VIDEOGRAPHER: Will the court             11   the room while we're on the record.
    12   reporter please swear in the witness.                12           And you understand that?
    13       KIMBERLY PATTON, of lawful age, called           13        A. Yes.
    14   for examination as provided by the Federal           14        Q. And the videographer is also
    15   Rules of Civil Procedure, being by me first          15   recording everything that occurs in the room
    16   duly sworn, as hereinafter certified, deposed        16   while we're on the record.
    17   and said as follows:                                 17           You understand that?
    18         EXAMINATION OF KIMBERLY PATTON                 18        A. Yes.
    19   BY MS. FEINSTEIN:                                    19        Q. Even though we have the
    20       Q. Good morning, Ms. Patton.                     20   videographer, it's really important, and you're
    21       A. Good morning.                                 21   doing a great job so far, that you answer
    22       Q. I'll reintroduce myself. We met               22   verbally rather than with gestures, so that the
    23   briefly before we went on the record this            23   written transcript is accurate, okay?
    24   morning. My name is Wendy West Feinstein. I          24        A. Yes.
    25   am with Morgan Lewis, and I represent the Teva       25        Q. If at any time I ask you a question
                                                                                                  4 (Pages 10 - 13)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 5 of 126. PageID #: 242958


                                                   Page 14                                                 Page 16
     1   that you don't understand, please let me know        1       A. The extent of our conversation was
     2   and I'll do my lest to rephrase it, okay?            2   just simply how long did it take. I have two
     3        A. Yes.                                         3   young children, so it was me trying to be
     4        Q. If you answer a question that I've           4   proactive in making childcare arrangements.
     5   asked, I'll assume that you understood as I've       5       Q. Who did you talk to?
     6   asked it. Is that fair?                              6       A. I did ask Eric Hutzell how long he
     7        A. Yes.                                         7   was deposed for, and then I also asked Doug
     8        Q. Have you ever testified in any               8   Smith.
     9   proceeding?                                          9       Q. What did they tell you?
    10        A. No.                                         10       A. They said it will be a long day.
    11        Q. Have you ever given a sworn written         11       Q. Did you talk with either
    12   statement?                                          12   Mr. Hutzell or Dr. Smith about the substance of
    13        A. No.                                         13   their testimony?
    14        Q. What did you do to get ready for            14       A. No.
    15   your deposition today?                              15       Q. Did you read either of their
    16        A. I have met with the attorneys on, I         16   transcripts?
    17   would -- on four occasions.                         17       A. No.
    18        Q. And for how long did you meet with          18       Q. Did you ask either of them about
    19   the attorneys?                                      19   any exhibits that were shown during their
    20        A. The time varied, but it ranged from         20   depositions?
    21   two to four hours, during each session.             21       A. No.
    22        Q. When were those sessions?                   22       Q. Did either of them offer that
    23        A. I don't have the exact dates. The           23   information to you?
    24   first time I met with them was back in August       24       A. No.
    25   of 2018. I met with them on two occasions. I        25       Q. Did you talk with anyone else about
                                                   Page 15                                                 Page 17
     1   met again with them in November of 2018, and I 1         depositions in this litigation, whether with
     2   met with them lastly last week, which was        2       the ADM Board or otherwise?
     3   January 17th.                                    3           A. No.
     4       Q. How long did you meet with them           4           Q. When did you talk with Dr. Smith?
     5   last week?                                       5           A. I would say approximately two --
     6       A. For two hours.                            6       two and a half weeks ago.
     7       Q. Did you review any documents to           7           Q. When did you talk with Mr. Hutzell?
     8   prepare for your deposition?                     8           A. I texted him the evening of his
     9       A. In looking at documents, it wasn't        9       deposition and asked how long it took.
    10   too -- I was just looking at some of the        10           Q. Other than telling you it would be
    11   e-mails; they had some questions for clarifying 11       a long day, did they tell you -- give you any
    12   information.                                    12       other tips for the deposition?
    13       Q. Did any of the e-mails refresh your      13           A. No. Eric Hutzell said to bring
    14   recollection of events?                         14       snacks.
    15       A. No.                                      15           Q. That's a good suggestion.
    16       Q. Do you recall the subject matter of      16               Did you talk with Mr. Craig at all?
    17   any of those e-mails?                           17           A. No.
    18       A. Recovery housing was one of the          18           Q. You mentioned that you joined the
    19   topics.                                         19       ADM Board on May 2, 2016, right?
    20       Q. Anything else that you recall?           20           A. Correct.
    21       A. One of the other topics was an           21           Q. You have a college degree?
    22   e-mail in regards to residential treatment.     22           A. Correct.
    23       Q. Did you talk with any of the other       23           Q. From where did you get your college
    24   members of the ADM Board who have also been 24           degree?
    25   deposed?                                        25           A. I received my bachelor's in
                                                                                               5 (Pages 14 - 17)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 6 of 126. PageID #: 242959


                                                  Page 18                                                  Page 20
     1   psychology from Kent State University in 2002.      1   my new employment.
     2   And then I received my master's of social           2       Q. Were you applying for any jobs
     3   science administration from Case Western            3   internally at the ADM Board at that time?
     4   Reserve University in May of 2009.                  4       A. No, I was not. I did presentations
     5       Q. Did you go straight from college to          5   at some state conferences, and part of that
     6   the master's program at Case?                       6   requirement is to submit an updated resume.
     7       A. No, I did not.                               7       Q. Did any of the presentations --
     8       Q. What did you do in between?                  8   strike that.
     9       A. In between I worked for Franklin             9           When were the presentations at
    10   County Child Support in Columbus, Ohio. I did      10   state conferences? In 2018?
    11   also receive a certificate from Columbus State     11       A. I'd presented at the OACBHA opiate
    12   Community College during that time period, to      12   conference in 2017, as well as 2018.
    13   use that education towards my licensure for        13       Q. Where is that conference?
    14   chemical dependency counseling. And that was       14       A. Columbus, Ohio.
    15   an 18-month program.                               15       Q. What did you present?
    16       Q. Where is Columbus State?                    16       A. I presented on Quick Response
    17       A. Columbus State Community College is         17   Teams. In 2017, we presented about our first
    18   in downtown Columbus, Ohio.                        18   implementation of Quick Response Teams in
    19       Q. How long was that program?                  19   Summit County. In 2018, I presented as a
    20       A. 18 months.                                  20   followup of one year into utilization of those
    21       Q. And you said that you attained a            21   teams.
    22   certificate?                                       22       Q. So another report on the QRT?
    23       A. Correct.                                    23       A. Correct.
    24       Q. Did you have to take any exam to            24       Q. Did anyone present with you?
    25   attain that certificate?                           25       A. In 2017, I had three co-presenters:
                                                  Page 19                                                  Page 21
     1      A.     At Columbus State, no, I did not.         1   two staff from Oriana House and a Cuyahoga
     2              - - - - -                                2   Falls police officer.
     3           (Thereupon, Deposition Exhibit 1,           3       Q. How about in 2018? Did anyone --
     4           Kimberly Patton Resume,                     4       A. I presented alone.
     5           SUMMIT_001128843 to 001128846, was          5       Q. Okay. Did you prepare a PowerPoint
     6           marked for purposes of                      6   for either of those years?
     7           identification.)                            7       A. Yes.
     8              - - - - -                                8       Q. Both years?
     9       Q. I'm going to hand you what we have           9       A. Yes.
    10   marked as Exhibit 1 for identification             10       Q. Did you prepare the PowerPoint
    11   purposes.                                          11   yourself?
    12           Can you please identify Exhibit 1          12       A. I worked in collaboration with the
    13   for the record?                                    13   two counselors from Orianna House for the
    14       A. It is my resume.                            14   PowerPoint in 2017, and I created it myself in
    15       Q. Is this a current version of your           15   2018.
    16   resume?                                            16       Q. Did you use any prepared slides
    17       A. Yes.                                        17   that the ADM Board had to develop your
    18       Q. Can you tell me, from looking at            18   PowerPoint for the OACBHA conference in 2018?
    19   Exhibit 1, in what year it was prepared?           19       A. Not that I recall.
    20       A. I would say it was most likely              20       Q. So you created the slides on your
    21   updated in 2018.                                   21   own?
    22       Q. And for what purpose was this               22       A. Correct.
    23   prepared in 2018?                                  23       Q. How about for the presentation that
    24       A. Simply just to reflect the current          24   was done in 2017? Did you use any prepared
    25   employment. I had not updated it since I had       25   slides that already existed at the ADM Board at

                                                                                               6 (Pages 18 - 21)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 7 of 126. PageID #: 242960


                                                    Page 22                                                    Page 24
     1   that time?                                            1       A. The detox program that is funded
     2       A. Not that I recall.                             2   through ADM is for substances that are deemed a
     3       Q. In 2017, what was the arrangement,             3   medical necessity for detox services.
     4   if any, between -- or the relationship between        4       Q. So medically-assisted treatment?
     5   Oriana House and the ADM Board?                       5       A. No. What I was referencing was if
     6       A. Are you referencing specifically to            6   a person presents using a specific substance,
     7   the presentation or in general?                       7   such as opioids, they meet the criteria for
     8       Q. Let's start first in general, and              8   withdrawal management. So for medical
     9   then -- and then talk about the presentation          9   necessity, if -- there are other substances
    10   specifically.                                        10   that a person may be using that will not meet
    11           So in general, in 2017, what is              11   medical necessity for the need of withdrawal
    12   your understanding of the relationship between       12   management.
    13   Oriana House and the ADM Board?                      13       Q. What other types of substances,
    14       A. Oriana House, it was a con- -- is             14   besides opioids, may qualify for a medical
    15   and was at that time a contracted provider of        15   necessity withdrawal treatment?
    16   the ADM Board.                                       16       A. The other two substances are
    17       Q. What services did Oriana House                17   benzodiazepines and alcohol.
    18   provide in 2017?                                     18       Q. Do you have any idea -- or strike
    19       A. Are you referencing specifically              19   that.
    20   services funded through the ADM Board or --          20           Do you know about how much of the
    21       Q. Yes, let's start there first.                 21   detox services provided by Oriana House, as
    22       A. So the services funded by the ADM             22   funded by the ADM Board, relate to opioids
    23   Board in 2017 through -- for Oriana House, we        23   versus benzo and alcohol?
    24   fund a counselor position for the Quick              24       A. I do not know that.
    25   Response Teams. Then we also do provide              25       Q. The counselor position at Oriana
                                                    Page 23                                                    Page 25
     1   funding to them for detox services.                   1   House for the Quick Response Team, does that
     2       Q. Anything else?                                 2   counselor position work with Quick Response
     3       A. Off the top of my head, I can't                3   Team on overdoses for substances other than
     4   recall all the specifics that is funded.              4   opioids?
     5       Q. Who handles the funding                        5       A. They go out on -- the calls that
     6   relationship between Oriana House and the ADM         6   they go out are -- so the police departments
     7   Board, if you know?                                   7   get calls for overdoses that they respond to
     8       A. Are you referencing, in general,               8   for the opioids. There are sometimes other
     9   what's agreed upon in the contract, the dollar        9   substances also present in the system, but the
    10   amounts?                                             10   primary substance that they respond to these
    11       Q. So who at the ADM Board handles               11   visits for is opioids.
    12   determining what services the ADM Board will         12       Q. Do you know whether there is any
    13   contract with Oriana House for?                      13   percentage of the Quick Response Team responses
    14       A. It's my understanding that                    14   that are for substances other than opioids, not
    15   ultimately our management, along with Jerry          15   in combination with opioids?
    16   Craig, meets with their management and agrees        16       A. Off the top of my head, I don't
    17   upon the services.                                   17   have that information.
    18       Q. You mentioned the counselor                   18       Q. And the context of my question was
    19   position for the Quick Response Team, and then       19   what was the ADM Board's relationship with
    20   detox services that -- that you're aware of          20   Oriana House, generally, aside from your
    21   that ADM Board contracts with Oriana House for,      21   speaking in 2017. Do you understand that
    22   right?                                               22   relationship to have been the same in 2018 as
    23       A. Correct.                                      23   well?
    24       Q. Do the detox services, are they               24       A. Yes.
    25   focused on all substances or just opioids?           25       Q. How about 2016 when you first

                                                                                                  7 (Pages 22 - 25)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 8 of 126. PageID #: 242961


                                                   Page 26                                                  Page 28
     1   joined the ADM Board? Do you have any                1   funding.
     2   understanding of what the ADM Board's                2       Q. Have you presented any -- at --
     3   relationship with Oriana House was at that           3   strike that.
     4   time?                                                4           Have you given any other
     5       A. At the -- I don't know what all               5   presentations related to opioids since joining
     6   specific services were covered under the             6   the ADM Board?
     7   contract. I do know that the Quick Response          7       A. Opioids have been part of the
     8   Team piece was added in 2017. So in 2016, that       8   presentation. I do speak at some master's of
     9   was not a funded part.                               9   social work classes, as an informal
    10       Q. With respect to the presentation             10   presentation at some of their class sessions.
    11   that you did in conjunction with some folks         11   I've done it once a year for -- in 2016, 2017,
    12   from Oriana House, what was the relationship        12   as well as 2018, as an overview of substance
    13   between the ADM and the people at the Oriana        13   use and how to assess individuals with
    14   House for purposes of that OACBHA presentation?     14   substance use. And then part of that
    15       A. The two counselors presented with            15   presentation also included what are some
    16   me participated in the Quick Response Teams.        16   resources available to individuals in Summit
    17   Oriana House counselors specifically                17   County.
    18   participated in -- they are the counselors in       18       Q. Where have you given that
    19   six out of nine teams in the community.             19   presentation, the master's of social work
    20       Q. There are a total of nine Quick              20   classes?
    21   Response Teams now?                                 21       A. In the Polsky Building at the
    22       A. Correct. With 10 communities being           22   University of Akron, in a classroom setting.
    23   represented.                                        23       Q. So through the University of Akron?
    24       Q. Does the ADM Board manage the                24       A. Correct. Approximately 20 to 25
    25   funding for those Quick Response Teams?             25   students.
                                                   Page 27                                                  Page 29
     1      A. The ADM funds counselor positions.       1             Q. How many times have you given that
     2 So Oriana House works with six of the Quick      2         presentation?
     3 Response Team. We have Summit County public      3             A. Once a year for the last three
     4 health that works with the City of Akron's       4         years.
     5 Quick Response Team, and we have CHC Addiction 5               Q. Do you use a PowerPoint for that
     6 Services that works with two of the teams. And   6         presentation?
     7 our role is funding -- providing funding for     7             A. I do not.
     8 that counselor position to be part of the team   8             Q. Do you have any printed materials
     9 to go out.                                       9         that you provide to the students?
    10      Q. Where does the funding come from        10             A. Other than resource guides or
    11 for the counselor position?                     11         materials of resources within the community,
    12      A. I don't know specifically.              12         no, I do not.
    13      Q. Do you know whether it's a grant        13             Q. What are resource guides?
    14 from the state?                                 14             A. We have an addiction resource guide
    15      A. I -- it is not a grant that we          15         that we have created. We created it in January
    16 applied for. I know it is ADM funding, and as   16         of 2017 to provide information of where
    17 far as what specific line item or where that    17         individuals can go for treatment, MAT
    18 funding stream is from directly, I don't know.  18         treatment, peer support, recovery housing,
    19 Our finance office would know that.             19         self-help groups.
    20      Q. So you don't know the ultimate --       20             Q. And I think you mentioned that you
    21 you don't know the source of the funds that ADM 21         provide other -- information regarding other
    22 utilizes to fund these counselor positions for  22         resources. Are those printed materials as
    23 the Quick Response Team?                        23         well, in addition to the resource guide?
    24      A. I do know there was no grants           24             A. We also had some rack cards printed
    25 applied for to utilize it, but that it was ADM  25         up for our Addiction Helpline that we
                                                                                                8 (Pages 26 - 29)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 9 of 126. PageID #: 242962


                                                   Page 30                                                 Page 32
     1   presented.                                           1   means?
     2        Q. What are rack cards? Sorry.                  2        A. So part of the requirement is if
     3        A. I'm sorry. It's a card about this            3   you facilitate a group or anything at that
     4   large.                                               4   time, this was before electronic health
     5        Q. Okay.                                        5   records, so it was a paper chart, so I had to
     6        A. It's just a one-page with                    6   complete paper documentation of any of the
     7   information.                                         7   groups I performed, in compliance with our
     8        Q. That -- the rack card specifically           8   surveys when we were reviewed to show, in
     9   provides information regarding the ADM               9   accordance to the client's treatment plan, that
    10   Helpline?                                           10   we were offering those services.
    11        A. The ADM Addiction Helpline. It's            11        Q. Is it your understanding that
    12   the phone number of where an individual can         12   both -- and strike that. Let me back up a
    13   call if they'd like to seek services.               13   little bit.
    14        Q. I'd like to come back to your               14            That same entry appears in the
    15   responsibilities at the ADM Board in a little       15   description of the work that you did at
    16   bit, but before we do that, I'd like to walk        16   Deaconess Hospital; is that right?
    17   through a little bit of your employment history     17        A. Yes.
    18   if we could. And feel free to refer to              18        Q. Is it your understanding that both
    19   Exhibit 1 if you'd like, or from memory.            19   Deaconess Hospital and Lutheran Hospital were
    20   Whatever -- whatever is convenient for you.         20   accredited by the Joint Commission?
    21   And, again, Exhibit 1 is a copy of your resume      21        A. Yes.
    22   that I believe you said you prepared in or          22        Q. Did both of those facilities also
    23   around 2018.                                        23   have some sort of CMS accreditation?
    24            So you attained your bachelor's in         24        A. Yes.
    25   psychology in 2002. And after that, if you          25        Q. What is your understanding of what
                                                   Page 31                                                 Page 33
     1   could take a look at the last page of your           1   that accreditation means to the facility?
     2   resume and the second to last page of your           2       A. With the CMS accreditation, that is
     3   resume. It looks like you were employed as a         3   the Medicaid system, so in billing the Medicaid
     4   behavioral health technician at two different        4   system for services, there is a set of
     5   locations; is that right?                            5   requirements. They also work in conjunction
     6       A. Yes.                                          6   with the Joint Commission, and there's a set of
     7       Q. What did you do as a behavioral               7   standards that are put in place for health care
     8   health technician at Deaconess Hospital and at       8   facilities to follow.
     9   Lutheran Hospital?                                   9            And if those health care facilities
    10       A. I worked on the psychiatric units,           10   do not follow those standards or procedures,
    11   adult psychiatric units, and provided some          11   they are at the risk of having the
    12   basic daily living skill groups, assisted with      12   accreditation taken away. It's my
    13   getting their rooms cleaned, assisting with         13   understanding, with CMS, there's a risk of
    14   meals, assisted with taking vitals on the unit.     14   having to pay back funds if you're not meeting
    15       Q. The second bullet under each of              15   those standards.
    16   those job descriptions that talk about the          16       Q. Do you know whether the -- strike
    17   things that you did indicates, and I'll just        17   that.
    18   read from page Bates ending 845 of Exhibit 1,       18            Did either the Joint Commission or
    19   the behavioral health technician at Lutheran        19   CMS standards provide to you guidelines to use
    20   Hospital. The second bullet reads, "Maintain        20   when conducting the -- the groups that you
    21   required documentation according to Joint           21   facilitated?
    22   Commission and CMS standards."                      22       A. No, not that I can recall.
    23       A. Yes.                                         23       Q. You mentioned that some of the
    24       Q. Do you see that?                             24   paperwork included something about surveys?
    25           Can you explain to us what that             25   Can you explain what you meant by that?
                                                                                               9 (Pages 30 - 33)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 10 of 126. PageID #: 242963


                                                   Page 34                                                  Page 36
      1       A. Not about surveys, but I completed           1   either facility, did you receive information
      2   documentation in relation to the groups that I      2   regarding Joint Commission standards or
      3   facilitated or co-facilitated. We would             3   expectations?
      4   document the group topic, as well as the            4       A. Yes.
      5   patient's response to that topic.                   5       Q. And as a part of that training --
      6       Q. I'm sorry. I must have misheard.             6   strike that.
      7            Did the group's participants               7           What was that training that you
      8   complete any paperwork regarding their              8   received for the Joint Commission standards?
      9   participation in the group? Was that part of        9       A. We were provided a basic overview
     10   the -- the standards at the time?                  10   of what the standards were, what the
     11       A. It's my understanding that when             11   requirements were through the Joint Commission,
     12   clients would be discharged from a facility,       12   as well as CMS. And when the surveyors would
     13   there was an -- an exit client survey that they    13   come to the hospitals, we would have an
     14   would complete, but I did not participate in       14   understanding as to what they would be asking
     15   those.                                             15   us about so we would be prepared and
     16       Q. Do you know whether, at -- in the           16   knowledgeable of what those surveys would look
     17   2002, 2003 time frame when you were with           17   like.
     18   Lutheran Hospital and Deaconess Hospital,          18       Q. Did each of those facilities expect
     19   whether either of those facilities provided        19   you to comply with the Joint Commission and CMS
     20   pain management treatment to patients?             20   standards?
     21       A. I can't recall specifically, as far         21       A. Yes.
     22   as what the pain management would be.              22       Q. Did -- at the time, in conducting
     23       Q. Were you involved at all in any             23   your groups, did you have discretion to vary
     24   type of work with pain management at either of     24   from the Joint Commission or CMS standards in
     25   those facilities?                                  25   conducting your groups?
                                                   Page 35                                                  Page 37
      1       A. No.                                          1       A. No. And the Joint Commission and
      2       Q. The groups that you participated in          2   CMS standards didn't really dictate topics
      3   and facilitated, what was the focus or the          3   discussed in the group programming. It was
      4   subject matter of those groups?                     4   more along the guidelines of documentation of
      5       A. At Deaconess Hospital I worked with          5   services, making sure they're in accordance
      6   adults, so it may be looking at coping skills.      6   with treatment plan goals and objectives.
      7   It may look at anger management. Some of the        7       Q. Moving up in your CV to the 2003
      8   individuals had a wide array of mental health       8   time frame, the next position that we see on
      9   diagnoses, as is what they were, primarily          9   your CV, which is Exhibit 1, or your resume, is
     10   mental health facilities. So it was a wide         10   program specialist --
     11   range of topics.                                   11       A. Uh-huh.
     12            At Deac- -- at Lutheran Hospital, I       12       Q. -- at Broadlawns Medical Center --
     13   worked with geriatric psychiatry, so older         13       A. Yes.
     14   adults. So some of their groups were also on       14       Q. -- dash, adult mental health.
     15   coping skills or recognizing depression, but it    15   That has a similar sort of description of what
     16   was more age appropriate. We also had other        16   you did.
     17   mental health issues or just daily living          17           Can you tell us what your
     18   skills that I would assist them with more so on    18   responsibilities were at Broadlawns Medical
     19   that unit versus the adult units.                  19   Center?
     20       Q. Did either -- at either facility            20       A. So that was when I lived in Iowa
     21   did you facilitate any groups regarding            21   for approximately four months. It was a county
     22   substance use or substance use disorders?          22   hospital, and I worked on the adult mental
     23       A. I did not. I did not have the               23   health unit at the time. And the program
     24   education at that time.                            24   specialist was responsible for some of the
     25       Q. As a part of your training at               25   similar duties at the other jobs of, as a
                                                                                              10 (Pages 34 - 37)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 11 of 126. PageID #: 242964


                                                    Page 38                                                  Page 40
      1   technician on the floor to assist the RN and         1   licensure?
      2   LPNs on the units, facilitate some basic             2        A. I did.
      3   education groups around the coping skills and        3        Q. After you got your master's degree
      4   anger management and other topics related to         4   or before?
      5   that, basic education on mental illness.             5        A. Prior. While I was in Columbus, I
      6       Q. You were also, at Broadlawns,                 6   completed the program, and after that I sat for
      7   responsible for maintaining the required             7   the examination.
      8   documentation for the Joint Commission and CMS       8        Q. Is that a state exam?
      9   standards; is that right?                            9        A. Yes.
     10       A. Correct.                                     10        Q. Do you still hold that license?
     11       Q. Was there anything different at              11        A. I do.
     12   that facility that you had to do to maintain        12        Q. What do you have to do to maintain
     13   the documentation for the Joint Commission and      13   that license?
     14   CMS standards that you did not have to do at        14        A. Every two years, you have to
     15   either Lutheran or Deaconess Hospital?              15   complete 40 hours of continuing education and
     16       A. Not that I recall.                           16   pay a renewal fee.
     17       Q. Did you receive any specific                 17        Q. Have you ever let your license
     18   training at Broadlawns Medical Center on the        18   lapse?
     19   Joint Commission and CMS standards?                 19        A. No.
     20       A. Nothing different than I would have          20        Q. So you've held it continuously
     21   at the other hospitals.                             21   since 2005?
     22       Q. Then you briefly mentioned earlier           22        A. I want to say I -- the license was
     23   that you had worked as a support officer at the     23   first obtained early 2006.
     24   Franklin County Child Support Enforcement           24        Q. Do you hold any other licenses or
     25   Agency, right?                                      25   certificates?
                                                    Page 39                                                  Page 41
      1       A. Correct.                                      1       A. I also hold my -- am a licensed
      2       Q. Then, after that, it looks like you           2   independent social worker with supervision
      3   held that position from 2003 to 2005 and             3   designation.
      4   then -- then became a lead substance abuse           4       Q. Does that have a substance --
      5   mental illness counselor at Northcoast               5   substance use specialty with it?
      6   Behavioral Health, right?                            6       A. If you have the education, it can
      7       A. Correct.                                      7   be within your scope of practice, and I am able
      8       Q. At what point in time did you                 8   to practice with substance use with that
      9   obtain your certification in chemical                9   license.
     10   dependency?                                         10       Q. Anything else?
     11       A. While I was in Columbus working at           11       A. No.
     12   Franklin County Child Support, I attended           12       Q. While you were in your master's
     13   school in the evening.                              13   program, it looks like you worked as a
     14       Q. Why did you seek out that                    14   counselor at Northcoast Behavioral Health; is
     15   certification?                                      15   that right?
     16       A. When I was in undergraduate school           16       A. Correct.
     17   at Kent State University in psychology, the         17       Q. Did you go to -- strike that.
     18   substance use back- -- background was always        18           Were you a full-time employee or a
     19   interesting to me. And ultimately, my goal was      19   part-time employee while you were in school?
     20   to return back to school to further my              20       A. Full-time.
     21   education, and the next stepping stone for me       21       Q. Describe for us, if you will --
     22   was to get that certification so that I could       22   you've got a lot of detailed bullets here on
     23   obtain my licensure to do chemical dependency       23   your -- on your resume of what you did in -- in
     24   counseling.                                         24   your job as a lead substance abuse mental
     25       Q. Did you ultimately obtain that               25   illness counselor, but if you could just kind
                                                                                               11 (Pages 38 - 41)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 12 of 126. PageID #: 242965


                                                     Page 42                                                  Page 44
      1   of briefly summarize for us, what were your --        1       A. Yes.
      2   was your role and your responsibilities in that       2       Q. One of the things that you
      3   job?                                                  3   mentioned that you did was complete an
      4       A. When individuals were admitted into            4   assessment of the individuals who came in?
      5   the state psychiatric hospital, my role, if           5           Did you actually diagnose anyone
      6   they came in positive for a substance or              6   with a substance use disorder?
      7   reported a recent history of substance, the           7       A. No, I did not. At the time, my
      8   admitting physician would then submit a               8   license did not permit me to do that. That was
      9   referral for me to complete an assessment of          9   with -- outside the scope of practice. What I
     10   that individual to further explore their             10   would do would give a diagnostic impression,
     11   substance use history and needs for ongoing          11   and then, ultimately, the treating psychiatrist
     12   treatment.                                           12   would give the diagnosis.
     13           I also facilitated groups while at           13       Q. Would the same be true, then, for
     14   the -- while the individuals were at the             14   an individual -- my first question was with
     15   hospital. We worked with the treatment teams         15   respect to substance use disorder. Did you do
     16   as far as discharge planning and aftercare           16   the same, make an assessment, with respect to
     17   recommendations in the county that they were         17   opioid use disorder?
     18   returning to.                                        18       A. I would give a diagnostic
     19           And then, also, as it states, I              19   impression if they met the criteria of, at that
     20   collaborated with county -- other various            20   time it was the DSM-IV.
     21   county board members with the counties that          21       Q. Then the treating psychiatrist
     22   admitted into the hospital to give follow-up         22   would make the ultimate determination --
     23   updates and status updates on the clients that       23       A. Correct.
     24   were at the hospital at the time.                    24       Q. -- of what the diagnosis was; is
     25       Q. What counties fed into Northcoast             25   that right?
                                                     Page 43                                                  Page 45
      1   Behavioral Healthcare at that time?                   1        A. Correct.
      2       A. At that time, it was Cuyahoga                  2        Q. At any point in time have you been
      3   County, Summit County, Lorain County, Lake            3   licensed to prescribe any sort of medications?
      4   County, Geauga County, Ashtabula County, and --       4        A. No.
      5   I think that's it at the time -- at that time.        5        Q. As a part of your analysis or
      6   We did sometimes get overflow from other              6   assessment, rather, of individuals at
      7   neighboring counties, such as Portage,                7   Northcoast Behavioral Healthcare when you were
      8   Trumbull, and Mahoning.                               8   a SAMI counselor, did you make recommendations
      9       Q. When you were the lead substance               9   for medical treatment?
     10   abuse mental illness counselor, where were you       10        A. No. Actually, when you say
     11   physically located? Where was the facility?          11   "medical treatment," are you talking
     12       A. Northfield, Ohio. And now that I              12   specifically about medications?
     13   think about it, you had asked in the beginning,      13        Q. So that's a great -- great
     14   they are actually located in Summit County,          14   question.
     15   that hospital. If you cross the street,              15             So, first, did you make
     16   they're Cuyahoga County, so.                         16   recommendations regarding the use of
     17       Q. Right on the border, right?                   17   medications to treat patients?
     18       A. Correct.                                      18        A. No, I did not.
     19       Q. Is there just one facility?                   19        Q. Did you make recommendations
     20       A. At this time, yes. When I did                 20   regarding other types of treatment for the
     21   start in 2005, there were two -- three               21   patients?
     22   facilities: one in Toledo, Ohio; Cleveland,          22        A. Yes. I would make recommendations
     23   Ohio; and Northfield, Ohio location.                 23   if I felt they could benefit from outpatient,
     24       Q. Did you always work at the                    24   intensive outpatient, or residential services
     25   Northfield location?                                 25   upon discharge from our hospital.

                                                                                                 12 (Pages 42 - 45)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 13 of 126. PageID #: 242966


                                                    Page 46                                                    Page 48
      1       Q. To whom would you make those                  1   myself; however, I can say if there was
      2   recommendations?                                     2   something negative mentioned about a specific
      3       A. Initially, during the assessment              3   staff member or situation, our -- the
      4   process, we -- I would consult with the client       4   administration there did work with the mana- --
      5   themselves to see what their needs were and          5   the supervisor of that staff and try to rectify
      6   what they were willing to engage in at the           6   the situation moving forward.
      7   time. And then I would also collaborate with a       7       Q. During that time period, 2005 to
      8   the treatment team as to what my                     8   2013, as a SAMI counselor, did you have any
      9   recommendations would be for that individual.        9   role in working with patients regarding pain
     10       Q. What types of -- of professionals            10   management?
     11   were included in the treatment team?                11       A. So my role as a SAMI counselor,
     12       A. There was a unit psychiatrist, a             12   there were individuals that came in with pain
     13   unit social worker, registered nurse, unit          13   management issues. I did not work specifically
     14   psychologist, and then the client themselves.       14   with them in regards to the control or overall
     15       Q. During this time period, 2005 to             15   management of the pain management. The groups
     16   2013, do you know whether Northcoast Behavioral     16   that I focused on were in coherence with the
     17   Healthcare was Joint Commission-accredited?         17   IDDT model, which is integrated dual disorder
     18       A. Yes, they were.                              18   treatment model. And with that, we had a
     19       Q. Did any part of your job                     19   curriculum based on where the individual was at
     20   responsibilities involve maintaining                20   in their process of recovery and insight into
     21   documentation pursuant to the Joint Commission      21   recovery.
     22   standards?                                          22            And my groups were more over
     23       A. Yes.                                         23   healthy lifestyles, positive alt- -- positive
     24       Q. Was it similar to what you had done          24   alternatives for coping, recognition of the
     25   at your prior positions?                            25   substance use disorders, the mental health
                                                    Page 47                                                    Page 49
      1       A. Yes, with the addition of the             1       disorders, basic education in that respect.
      2   assessments. We had to adhere to our hospital    2                The hospital was not accreditated
      3   policy, which was to complete the assessment     3       to perform -- to offer addiction treatment. It
      4   within a designated period of time.              4       was solely certified for mental health
      5       Q. Do you know whether at Northcoast         5       treatment. So we did not go beyond basic
      6   Behavioral Healthcare during the time period     6       education with the clients we served.
      7   that you were a SAMI counselor, did the          7            Q. While you were the SAMI counselor
      8   facility do any patient satisfaction surveys     8       at North -- Northcoast Behavioral Healthcare,
      9   regarding the care that you and the treatment    9       it looks like for some portion of that time
     10   team provided them?                             10       frame, you were also a behavioral health intake
     11       A. They did do surveys at time of           11       assessment counselor at the Cleveland Clinic;
     12   discharge, and those were completed             12       is that right?
     13   independently, and the clients' rights          13            A. Correct.
     14   coordinator collected those.                    14            Q. For how long did you perform that
     15       Q. Did you receive feedback, based on       15       work?
     16   those surveys?                                  16            A. So I was employed with the
     17       A. We would get updates quarterly on        17       Cleveland Clinic as -- in a PRN position, which
     18   overall results. At times, if there was a       18       is a minimum of four days a month. So
     19   positive remark about a staff member, the       19       initially, prior to having a family, I worked
     20   administration would let that staff member know 20       probably 10 to 15 hours a week. And that role
     21   of those positive remarks.                      21       was doing, ultimately, behavioral health intake
     22       Q. How about negative remarks; did you 22            for the entire Cleveland Clinic system. We
     23   hear about those as well?                       23       would get all the referrals through our center
     24       A. I myself did not have any negative       24       and determine where the beds were available and
     25   remarks, so I can't speak specifically for      25       present to the doctors to accept for admission.

                                                                                                 13 (Pages 46 - 49)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 14 of 126. PageID #: 242967


                                                     Page 50                                                Page 52
      1       Q. Did you interface with the actual              1   from medical records?
      2   patients in that position?                            2       A. It was with a combination of
      3       A. At times. We were located at                   3   self-report, as well as if there was a positive
      4   Lutheran Hospital specifically, so -- and there       4   tox screen, or if they had been admitted into
      5   were times that I also worked at Fairview             5   the hospital system previously, we could look
      6   Hospital in the pediatric unit. If individuals        6   at previous medical records.
      7   came in, we were at times placed in the               7       Q. Your work at Northcoast Behavioral
      8   emergency departments, and we would do                8   Healthcare as the SAMI counselor from 2005 to
      9   face-to-face assessments.                             9   2013, you mentioned that the facility was not
     10       Q. Did that role involve any sort of             10   accredidate -- accredited for addiction
     11   assessment for substance use disorders?              11   treatment, but did any of your work involve
     12       A. So as part of that role, one of the           12   working with patients who had opioid use
     13   units was for substance -- for detox                 13   disorder?
     14   specifically. We would get the records from          14       A. Yes.
     15   the emergency room clinicians, whether it be         15       Q. About what percentage of your work
     16   the nursing staff or the psychiatrist -- or          16   as the SAMI counselor involved individuals with
     17   medical doctors; I'm sorry -- and they would         17   opioid use disorder?
     18   give us the overall information, and we would        18       A. I don't know.
     19   take that information and present it to the          19       Q. Can you give me a ballpark?
     20   doctor that had admitting privileges for that        20           MS. KEARSE: Objection.
     21   shift, for that specific unit, and then that         21       A. I can't recall the specific number,
     22   physician would make the determination if they       22   as far as substance-specific of what percentage
     23   met criteria for admission or not.                   23   of clients had opioid use disorder.
     24       Q. Did you -- as the intake assessment           24       Q. Can you give me a ballpark of about
     25   counselor, did you make recommendations in your      25   how many of the individuals that you saw had a
                                                     Page 51                                                Page 53
      1   submissions to the -- the on-call physicians?         1   substance use disorder of any type?
      2       A. Can you clarify what you mean by               2           MS. KEARSE: Object to form.
      3   recommendations?                                      3       A. While I was there, we saw about --
      4       Q. Sure. And as a part of the -- the              4   the average was about around overall 66 percent
      5   paperwork that -- that you provided to the --         5   of the clients admitted into the hospital had a
      6   the physician who was on at the -- on call at         6   dual diagnosis.
      7   the time or on duty at the time, did the              7       Q. One of those diagnoses would be a
      8   paperwork include any recommendations from you        8   substance use disorder?
      9   for the next step in treatment?                       9       A. Correct.
     10       A. Our recommendations were solely               10       Q. And the other would be a mental
     11   that we were recommending they be admitted to        11   health illness?
     12   the unit we were contacting. We did not go           12       A. Correct.
     13   above and beyond as far as recommendations           13       Q. And realizing it's been some time,
     14   after that time. The unit social worker would        14   you don't have a ballpark of what percentage of
     15   then work with that client to determine further      15   that 66 percent of substance use disorder dual
     16   recommendations.                                     16   diagnosis folks may have had an opioid use
     17       Q. Did any of your work for the                  17   disorder; is that right?
     18   Cleveland Clinic as the intake assessment            18           MS. KEARSE: Objection. Asked and
     19   counselor involve opioid use or opioid use           19   answered.
     20   disorder?                                            20       A. I do not.
     21       A. We did have clients sometimes                 21       Q. And you stayed with Northcoast
     22   contacting us that did present with opioid use       22   Behavioral Health but changed positions in
     23   disorder, yes.                                       23   2013; is that right?
     24       Q. Was that self-reported opioid use             24       A. Yes.
     25   disorder, or did you glean that information          25       Q. What -- what -- strike that.
                                                                                               14 (Pages 50 - 53)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 15 of 126. PageID #: 242968


                                                    Page 54                                                Page 56
      1           And you became the director of               1   Northcoast Behavioral Healthcare?
      2   social services; is that correct?                    2       A. Joann Arndt, who was the mental
      3       A. Correct.                                      3   health coordinator, as well as Chris
      4       Q. In your director role, did you                4   Freeman-Clark, who was the forensic
      5   continue to provide clinical work?                   5   coordinator.
      6       A. There were times where if staff               6       Q. Was there someone in the position
      7   were not available or if it was after the staff      7   at the ADM Board from 2013 to 2016 in the
      8   had already leaved, yes, I would go on the unit      8   position of addiction prevention and training
      9   and assist.                                          9   coordinator, as far as you know?
     10       Q. Were -- tell us what your primary            10       A. It's my understanding that Paula
     11   responsibilities were as the director of social     11   Rabinowitz was -- provided oversight over the
     12   services at Northcoast Behavioral Healthcare?       12   addiction programming for Summit County, and
     13       A. I supervised a staff of                      13   Aimee Wade was over the prevention services.
     14   approximately 18 social workers, and, at the        14       Q. Did you interface with either of
     15   time, two SAMI counselors at the hospital. I        15   them?
     16   worked with upper administration to manage          16       A. No, I did not.
     17   admissions, discharges, the flow of beds,           17       Q. Who was the forensic coordinator?
     18   collaborated with the county board staff to         18       A. Chris Freeman-Clark.
     19   provide status updates for the clients that         19       Q. Thanks.
     20   were there, and would collaborate if -- with        20           Did you interface with anyone at
     21   the unit treatment teams and assist with            21   the Cuyahoga County ADM Board?
     22   discharge planning if requested.                    22       A. Yes.
     23       Q. You mentioned that you collaborated          23       Q. Who did you interface with there?
     24   with county board staffs. What county boards        24       A. Maggie Tolbert and Carole Ballard.
     25   did you collaborate with?                           25       Q. Do you know what their roles were?
                                                    Page 55                                                Page 57
      1       A. Lake County, Geauga County,                   1       A. Maggie Tolbert at the time was
      2   Ashtabula County, Summit County, Cuyahoga            2   the -- our liaison for the hospital, so we
      3   County, and at that time also Lorain County,         3   worked with her for anyone that was admitted to
      4   Trumbull County, Mahoning County, and Portage        4   the hospital.
      5   County at times.                                     5           Carole Ballard, at the time, was
      6       Q. What boards within each of those              6   over forensic services.
      7   counties did you collaborate with?                   7       Q. What does forensic services mean?
      8       A. The alcohol and mental health                 8       A. So if an individual is deemed not
      9   addiction boards with -- with the exception of       9   guilty by reason of insanity or incompetent to
     10   Lorain County. Their boards remain separate,        10   stand trial, unrestorable, they can be admitted
     11   so they have a separate addiction board, as         11   to the mental health -- state mental health
     12   well as a separate mental health board. But we      12   hospital, in lieu of incarceration and jail.
     13   did work with both of them.                         13           We did also get individuals
     14       Q. The other counties, it's your                14   pre-adjudication, meaning for competency
     15   understanding, at that time had combined            15   evaluation, to determine if they were able to
     16   addiction and mental health boards; is that         16   represent themselves and assist themselves in
     17   right?                                              17   their defense of the charges that they had
     18       A. Yes.                                         18   pending.
     19       Q. Did you work with the Summit County          19       Q. Did any of your work as director of
     20   ADM Board in your position as director of           20   social services with Northcoast Behavioral
     21   social services for Northcoast Behavioral           21   Healthcare between 2013 and 2016 involve
     22   Healthcare?                                         22   substance use disorders?
     23       A. Yes.                                         23       A. Are you asking did clients that we
     24       Q. With whom did you interface at the           24   interfaced with have diagnosis of substance use
     25   Summit County ADM Board while you were with         25   disorders, or my role specifically as the
                                                                                              15 (Pages 54 - 57)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 16 of 126. PageID #: 242969


                                                    Page 58                                                  Page 60
      1   director working with the substance use              1   I would -- I don't know the specific years,
      2   disorders?                                           2   though.
      3       Q. Your role specifically. In your               3        Q. Was it when you were a director of
      4   role specifically, did you have any -- did you       4   social services or when you were a SAMI
      5   have any responsibilities related to substance       5   counselor?
      6   use disorders?                                       6        A. When I was a SAMI counselor.
      7       A. So I did supervise the SAMI                   7        Q. Is that true for all of those
      8   counselors at the time. There were times that        8   conferences, both the Cleveland Clinic and the
      9   I would work with them to help problem-solve of      9   first OACBHA conference?
     10   what resources were available in the counties       10        A. Yes. And I did also attend the
     11   that the client was from. At the state              11   Addiction Studies Institute down in Columbus,
     12   hospital, we primarily served the indigent and      12   Ohio as a SAMI counselor.
     13   uninsured population, so we had a -- we had         13        Q. So as a SAMI counselor, you
     14   some res- -- community resources that would         14   attended a couple of OACBHA opiate conferences,
     15   treat those clients, the indigent clients or        15   the Addiction Studies --
     16   uninsured clients in the respective communities     16        A. Institute.
     17   and where they could access those services. So      17        Q. -- Institute, thanks. And the --
     18   sometimes I would offer assistance in figuring      18   an opioid conference at the Cleveland Clinic;
     19   out what those resources were.                      19   is that right?
     20       Q. At any point when you were with              20        A. Correct.
     21   Northcoast Behavioral Healthcare, so at any         21        Q. Do you know whether those
     22   time between 2005 and 2016, do you know whether     22   conferences kind of fell later in the time that
     23   the facility was accredited in addiction            23   you were a SAMI counselor?
     24   treatment?                                          24        A. I would say the first conference
     25       A. No, they were not.                           25   was 2011, so towards the second half of the
                                                    Page 59                                                  Page 61
      1       Q. Was Northcoast Behavioral                     1   career.
      2   Healthcare, during that entire time period, '05      2        Q. Okay. Did you -- did you
      3   to 2016, accredited by the Joint Commission?         3   participate as a presenter at any of those
      4       A. Yes.                                          4   conferences?
      5       Q. During the time that you were with            5        A. No, I did not.
      6   Northcoast Behavioral Healthcare, did you --         6        Q. So then, at some point in 2016, you
      7   did you receive any training related to              7   decided to change positions from Northcoast
      8   opioids, whether it be an opioid use disorder        8   Behavioral Healthcare and join the ADM Board,
      9   or opioid misuse at all?                             9   right?
     10       A. I did attend some conferences                10        A. Yes.
     11   within the state as it relates to opiate abuse.     11        Q. What prompted you to look for that
     12       Q. What conferences did you attend?             12   position?
     13       A. I know -- I don't know how many I            13        A. I was not actually looking for the
     14   attended. I did attend the OACBHA opiate            14   position. A staff member at the board actually
     15   conference at one to two times, I think. And I      15   e-mailed me the job des- -- posting when it was
     16   did also attend a local one-day conference that     16   posted, so I was not actively looking for a new
     17   the Cleveland Clinic held as it related to the      17   role at that time.
     18   opioid use.                                         18            When I did see the position
     19       Q. Do you remember when the Cleveland           19   posting, I felt it would be a good fit, allow
     20   Clinic conference was?                              20   me more opportunity to focus more on the
     21       A. I do not offhand.                            21   addiction field, which is where I had my
     22       Q. Do you remember what years the               22   initial training at Columbus State, and had a
     23   OACBHA opiate conferences were?                     23   passion for dual diagnosis. It was also --
     24       A. Offhand, I don't know. I know I              24   presented more flexibility, as I had two young
     25   attended the first year that they launched it.      25   children at home.
                                                                                                16 (Pages 58 - 61)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 17 of 126. PageID #: 242970


                                                   Page 62                                                    Page 64
      1           MS. KEARSE: Counsel, we've been          1      I deem both mental health diagnoses and
      2   going about an hour. Since you're                2      substance abuse diagnoses as an overall
      3   transitioning, is this a good time?              3      behavioral health issue.
      4           MS. FEINSTEIN: Sure, yeah.               4          Q. Are the criteria for diagnosing
      5           And I should have said, at any           5      substances use disorder included in the DSM?
      6   point if you need a break, you just let us       6          A. Yes.
      7   know. We're happy to take a break, okay?         7          Q. Are the criteria for diagnosing
      8           THE WITNESS: Uh-huh.                     8      opioid use disorder including in the DSM?
      9           MS. FEINSTEIN: Yeah, thanks.             9          A. Yes.
     10           THE VIDEOGRAPHER: Off the record, 10                Q. Do you know, when opioid use
     11   10:13.                                          11      disorder was first included, what version of
     12            (A recess was taken.)                  12      the DSM it was first included in?
     13           THE VIDEOGRAPHER: On the record 13                  A. DSM-III.
     14   10:33.                                          14          Q. Which one are we on now?
     15           MS. FEINSTEIN: Thank you.               15          A. Five.
     16   BY MS. FEINSTEIN:                               16          Q. Thank you.
     17       Q. Ms. Patton, before the break you         17             Have you ever contributed in any
     18   mentioned that one of the reasons that you were 18      update to the DSM?
     19   interested in the position at the ADM Board was 19          A. No.
     20   one of your passions of dual diagnosis; is that 20          Q. When you were at Northcoast
     21   right?                                          21      Behavioral Healthcare, did you work with
     22       A. Correct.                                 22      Dr. Smith?
     23       Q. Can you please explain to me             23          A. Briefly. At the time when I was at
     24   what -- what dual diagnosis is?                 24      Northcoast at the same time he was at
     25       A. When I reference dual diagnosis, I       25      Northcoast, he was our medical director, and we
                                                   Page 63                                                    Page 65
      1   mean individuals with a mental health diagnosis     1   also had three locations at that time. So
      2   as well as a substance use disorder diagnosis.      2   although his office was based out of our
      3       Q. In your experience -- strike that.           3   Northfield location, there were many times
      4           What role, if any, does a mental            4   where he would travel to the other location.
      5   health diagnosis play in the development of a       5       Q. When you -- when you were contacted
      6   substance use disorder?                             6   about the position at the ADM Board, was
      7           MS. KEARSE: Object to form.                 7   Dr. Smith already at the ADM Board?
      8       A. Individuals with mental health               8       A. Yes.
      9   diagnoses do have an increased risk of a            9       Q. Did you know that he was there?
     10   substance use disorder, along with other           10       A. Yes.
     11   disorders, physical health as well.                11       Q. Did you talk with him about the
     12           But there are individuals that             12   work of the ADM Board before you formally
     13   solely have a mental health disorder or solely     13   applied for the position?
     14   have a substance use disorder.                     14       A. No.
     15       Q. So not all individuals with a               15       Q. When you were at Northcoast
     16   mental health disorder will develop a substance    16   Behavioral Health, you mentioned that Dr. Smith
     17   use disorder, right?                               17   was the medical director. Did you report to
     18       A. Correct.                                    18   him in any capacity there?
     19       Q. And not all individuals with a              19       A. Not directly, no.
     20   substance use disorder have a mental health        20       Q. When you joined the Summit County
     21   disorder; is that correct?                         21   ADM Board, did you at any time report to
     22       A. Correct.                                    22   Dr. Smith?
     23       Q. Do you consider substance use               23       A. Not directly, no.
     24   disorder to be a mental health disorder?           24       Q. What is his role at the ADM Board?
     25       A. As far as treating and individuals,         25       A. I don't know his official tit- -- I

                                                                                                17 (Pages 62 - 65)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 18 of 126. PageID #: 242971


                                                   Page 66                                                   Page 68
      1   would say chief clinical officer. He is part        1       Q. I'm going to hand you what we have
      2   of the clinical team. He is not my direct           2   marked as Exhibit 2 for identification
      3   supervisor. Aimee Wade, who is the associate        3   purposes.
      4   director of clinical services, she is my direct     4            MS. FEINSTEIN: For those on the
      5   supervisor. I know he does work with a lot of       5   phone, this is a document Bates-numbered
      6   our providers as well.                              6   SUMMIT_000959818.
      7       Q. Do you and he ever work together on          7            MS. KEARSE: And, Counsel, reminder
      8   any projects at the ADM Board?                      8   that if anyone on the phone did not make an
      9       A. No projects specifically, no.                9   appearance, just wanted to make sure we -- we
     10       Q. Have you ever done any                      10   got that down.
     11   presentations with Dr. Smith while you were at     11            MS. McINTYRE: I did not make an
     12   the ADM Board?                                     12   appearance yet on the record.
     13       A. No.                                         13            MS. FEINSTEIN: And who is that?
     14       Q. You started at the ADM Board on May         14            MS. McINTYRE: Jill McIntyre,
     15   2, 2016?                                           15   Jackson Kelly, AmerisourceBergen Drug
     16       A. Correct.                                    16   Corporation.
     17       Q. Can you briefly describe for us             17            MS. FEINSTEIN: Thank you.
     18   what you do at the ADM Board?                      18            MS. KEARSE: I didn't mean to
     19       A. I provide oversight to the                  19   interrupt. It just --
     20   addiction programming with the agencies we         20            MS. FEINSTEIN: Oh, no problem.
     21   fund, as well as oversight with the prevention     21            MS. KEARSE: -- dawned on me.
     22   programs that we fund. Those are primarily         22            MS. FEINSTEIN: No, thanks.
     23   school-based prevention programming.               23   Appreciate it.
     24           I do also work with the recovery           24       Q. Looking at Exhibit 2, Ms. Patton,
     25   housing providers.                                 25   did you prepare that?
                                                   Page 67                                                   Page 69
      1           I work with the certified peer           1          A. I did.
      2   recovery supporters in the county.               2          Q. For -- why did you prepare this?
      3           I oversee trainings that are             3          A. At the time, our supervisors, both
      4   offered through the ADM Board and assist with    4      Aimee Wade and Doug Smith, did ask for us each
      5   planning, assessing what trainings are needed    5      individually, as part of the clinical team, to
      6   for our stakeholders and will apply for          6      prepare an overall list of our job duties. At
      7   continuing education credits for those           7      the time we were in the process of filling some
      8   trainings.                                       8      vacancies.
      9           I also was an integral part of           9          Q. When was this prepared?
     10   implementing the Quick Response Teams in Summit 10          A. In 2018.
     11   County.                                         11          Q. Have the vacancies been filled?
     12           And I work with the specialty drug      12          A. We now have two vacancies that have
     13   courts as well.                                 13      recently occurred, so, no.
     14       Q. Did you, at one point, prepare a         14          Q. What positions are vacant that you
     15   bullet point of -- bullet point list of the job 15      are aware of?
     16   responsibilities or tasks that you perform in   16          A. Currently, right now, the research
     17   your role at the ADM Board?                     17      and quality improvement coordinator position is
     18       A. Yes.                                     18      vacant, and the care access and clients' rights
     19               - - - - -                           19      coordinator position is vacant.
     20           (Thereupon, Deposition Exhibit 2,       20          Q. Who held those positions before the
     21           Bullet Point List of Job                21      vacancies?
     22           Responsibilities, SUMMIT_000959818      22          A. Joann Arndt for the care access and
     23           to 000959819, was marked for            23      client rights coordinator, and Eric Hutzell for
     24           purposes of identification.)            24      the research and quality improvement
     25               - - - - -                           25      coordinator.

                                                                                               18 (Pages 66 - 69)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 19 of 126. PageID #: 242972


                                                     Page 70                                                 Page 72
      1       Q. When did Ms. Arndt leave?                      1   of the responsibilities that you have at the
      2       A. She retired December 31, 2018.                 2   ADM Board?
      3       Q. And when did Mr. Hutzell leave?                3        A. Yes.
      4       A. His resignation date was December              4        Q. I'd like to just kind of quickly
      5   13th -- December 31, 2018. Sorry about that.          5   walk through the bullets to get an
      6       Q. So they both left at the end of --             6   understanding for what each of these items
      7   of last year?                                         7   involves. So the first bullet is, "Monitor QRT
      8       A. Correct.                                       8   within Summit County."
      9       Q. Do you have any role in evaluating             9            QRT is the Quick Response Team?
     10   applicants for either of those positions?            10        A. Correct.
     11        A. We do have a clinical interview              11        Q. We discussed this briefly a little
     12   where the applicants will sit down with the          12   bit earlier, but the QRT program started in
     13   members of the clinical team that are available      13   2017, right?
     14   at that time.                                        14        A. Our first team launched January 17,
     15       Q. Who are the current members of the            15   2017.
     16   clinical team?                                       16        Q. Your role -- you've got four
     17       A. Dr. Aaron Ellington. He's the                 17   bullets that -- that describes your role, which
     18   evidence-based practice coordinator.                 18   is, "Meet with new communities," "Monitor
     19            Chris Freeman-Clark is our forensic         19   counselors," "Monitor outcomes," and "Schedule
     20   coordinator.                                         20   and facilitate quarterly meetings"; is that
     21            Beth Kuckuck is our children's              21   right?
     22   program coordinator.                                 22        A. Yes.
     23            Myself, as the addiction prevention         23        Q. When did the quarterly meetings
     24   and training coordinator.                            24   begin?
     25            And Darletta Logan is the care              25        A. I want to say we had our first
                                                     Page 71                                                 Page 73
      1   management and clinical compliance coordinator.       1   quarterly meeting mid-2017.
      2       Q. Anyone else in the clinical time?              2       Q. Who attends the quarterly meetings?
      3       A. Dr. Doug Smith and Aimee Wade                  3       A. We invite the counselors that
      4   provide our management for the clinical team.         4   participate, as well as the police and fire
      5       Q. Is Aimee Wade a physician?                     5   chiefs.
      6       A. No.                                            6       Q. Where are the meetings held?
      7       Q. Do you know what her -- what her               7       A. We rotate it throughout the county
      8   clinical credentials are?                             8   with participating communities. I ask for
      9       A. LISW with supervision designation,             9   volunteers to host.
     10   and OCPC, which is an Ohio Certified Prevention      10       Q. What is discussed, typically, at
     11   Consultant.                                          11   the quarterly meetings? Is there a set agenda?
     12       Q. Do you know whether she has any               12       A. We -- Eric Hutzell, while he was on
     13   certifications in addiction?                         13   staff at the time, would provide an update on
     14       A. I do not.                                     14   outcomes as they relate to the Quick Response
     15       Q. Dr. Smith is a psychiatrist?                  15   Team, as that was his responsibility.
     16       A. Yes.                                          16            We would also provide information
     17       Q. Do you know for how long he was the           17   and new resources, and we would have an open
     18   medical director at Northcoast Behavioral            18   floor discussion on any barriers that the teams
     19   Healthcare?                                          19   may be facing or also share some success
     20       A. I do not.                                     20   stories at that time.
     21       Q. Do you know what year he joined the           21       Q. How did Mr. Hutzell monitor the
     22   ADM Board?                                           22   outcomes?
     23       A. Offhand, I do not.                            23       A. I don't know the specifics as far
     24       Q. Turning back to Exhibit 2, does               24   as how he determined the outcomes. I know he
     25   Exhibit 2 -- is Exhibit 2 a comprehensive list       25   did present a report each quarter, and would
                                                                                                19 (Pages 70 - 73)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 20 of 126. PageID #: 242973


                                                   Page 74                                                   Page 76
      1   look at how many individuals were seen through      1   code in their system to identify an overdose,
      2   the Quick Response Teams and how many in -- we      2   and they're going to individuals that either
      3   would look at how many individuals engaged in       3   they had to dispense naloxone to, which would
      4   treatment after being seen from...                  4   only be in an opiate overdose situation, or if
      5       Q. How is that information tracked?             5   the client self-reported it was opiates that
      6       A. The counselors submit a monthly              6   they used.
      7   report of all the clients that are seen, and        7       Q. So are all of the -- the Quick
      8   then he would take that report and analyze it       8   Response Team visits, is it your understanding
      9   and produce the quarterly report.                   9   that all of the Quick Response Team visits
     10       Q. To whom is the monthly report               10   relate to opioid overdoses?
     11   submitted by the counselors?                       11       A. So all of the visits that they do
     12       A. To me.                                      12   go on do have an opioid use component. As I
     13       Q. What information is included in             13   mentioned previously, there are some
     14   that monthly report from the counselors?           14   individuals that are using multiple substances,
     15       A. The name, date of birth, social             15   and that would also be indicated at -- during
     16   security number, address of where they were        16   their assessment, if they engaged in treatment.
     17   seen, if they were a client that had been seen     17       Q. As a part of your monitoring, do
     18   previously, if they scheduled an assessment,       18   you have access to the -- the police records
     19   and when that assessment date was.                 19   that identify the substance involved in the
     20       Q. Does it include the substance?              20   overdose, in the underlying overdose?
     21       A. No.                                         21       A. I individually do not have access,
     22       Q. It does not?                                22   no.
     23       A. No, uh-uh.                                  23       Q. Does that -- strike that.
     24       Q. These are all overdose visits,              24            When evaluating outcomes, does the
     25   right?                                             25   ADM Board consider the -- the substance
                                                   Page 75                                                   Page 77
      1        A. Correct.                                    1   involved in the -- the overdose?
      2        Q. So each of the individuals that is          2       A. With the Quick Response Team
      3   visited by the -- the Quick Response Team, they     3   specifically, outcomes, we are not looking at
      4   had been diagnosed or previously treated with a     4   the substance specifically.
      5   drug overdose in a fairly recent time period;       5       Q. So you don't know and don't track,
      6   is that right?                                      6   from the ADM perspective, how many of the
      7        A. Each client that is identified is           7   overdoses involve prescription opioids versus
      8   identified by the police department as calls        8   some other opioids?
      9   they have responded to in the week previously.      9       A. As it relates specifically to the
     10        Q. The reporting that comes to you            10   Quick Response data, no.
     11   does not include a description of the substance    11       Q. Do you have -- does the ADM Board
     12   involved in the overdose?                          12   have any data with respect to overdoses that
     13        A. No.                                        13   might prompt a Quick Response Team visit or any
     14        Q. Do you know -- strike that.                14   other treatment by the ADM Board of what
     15            Does any of the reporting done by         15   percentage of those opioids are prescription
     16   the Quick Response Team to the ADM Board           16   versus non-prescription?
     17   include tracking the substance involved in the     17       A. So are you asking at -- based on
     18   overdose?                                          18   data collected from the ADM Board, would we
     19        A. Not to my knowledge.                       19   contact a Quick Response Team to go out based
     20        Q. Do you have any -- any information         20   on information we received?
     21   available to you as monitor of the Quick           21       Q. No. Let me --
     22   Response Team to determine how much of that        22       A. Okay.
     23   work involves opioid-related overdoses?            23       Q. -- let me try to re-ask it.
     24        A. Well, anyone that they're going to,        24           Does -- so the ADM Board does not
     25   the police department codes -- has a specific      25   track the Quick Response Team data -- or strike

                                                                                               20 (Pages 74 - 77)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 21 of 126. PageID #: 242974


                                                    Page 78                                                   Page 80
      1   that.                                            1            Q. Getting back to Exhibit 2, your
      2            The ADM Board does not track            2       responsibilities with respect to the Quick
      3   whether a Quick Response Team visit relates to 3         Response Team within Summit County --
      4   a prescription opioid versus an illicit opioid,  4            A. Uh-huh.
      5   correct?                                         5            Q. -- is there anything else that --
      6        A. Correct.                                 6       that you do to monitor outcomes of the Quick
      7            MS. KEARSE: Object to form.             7       Response Team?
      8        Q. Does the ADM Board track any             8            A. My role specifically, no. Eric
      9   services based on prescription opioid versus     9       Hutzell did also complete an annual report in
     10   illicit opioid?                                 10       2017.
     11        A. Our ADM Addiction Helpline tracks       11            Q. If Mr. Hutzell's position is not
     12   what substance they're calling in.              12       filled, will you prepare the outcome report for
     13        Q. The ADM Helpline, when folks call       13       the next quarterly meeting?
     14   in, they would self-report whether they were    14            A. I don't know. That hasn't been
     15   using a prescription opioid or some other       15       discussed yet.
     16   opioid?                                         16            Q. Who would make that decision?
     17        A. Yes.                                    17            A. Jerry Craig.
     18        Q. What is your role with respect to       18            Q. Who is Mr. Craig?
     19   the ADM Helpline?                               19            A. He's our executive director of the
     20        A. So the care management clinical         20       ADM Board.
     21   compliance coordinator position oversees the    21            Q. Do you report to Mr. Craig?
     22   ADM Addiction Helpline. That position was       22            A. No, not directly.
     23   vacant from July -- mid-July to end of          23            Q. So you directly report to Ms. Wade?
     24   November, so I did provide some oversight       24            A. Correct.
     25   during that brief time period, as far as        25            Q. Has that been the case since you
                                                    Page 79                                                   Page 81
      1   on-boarding new providers to be part of the ADM      1   started with the ADM Board?
      2   Addiction Helpline, and their reports were           2       A. Yes.
      3   submitted to me.                                     3       Q. What do you do to monitor the
      4       Q. That was just from July 2018 to               4   counselors within the Quick Response Team?
      5   November 2018?                                       5       A. We do offer technical assistance
      6       A. Yes.                                          6   with the counselors, as far as if they are
      7       Q. Other than that brief time period,            7   having difficulty with actually speaking to an
      8   do you have any responsibility for the ADM           8   individual in the community, if they're not
      9   Helpline?                                            9   answering their door or not available.
     10       A. No.                                          10           We do -- we have had meetings to
     11       Q. So since November 2018, who at the           11   bring all the counselors together to kind of
     12   ADM has been responsible for the ADM Helpline?      12   strategize amongst each other of what's worked,
     13       A. Darletta Logan was hired December            13   what hasn't worked, amongst them.
     14   3rd of 2018, so although she's still orienting,     14           They are also, like I said,
     15   we are in the process of transitioning her to       15   responsible to submit that report to me on a
     16   providing oversight for that.                       16   monthly basis.
     17       Q. Who handled that previously?                 17           And then as a billing perspective,
     18       A. Christine Smalley.                           18   because we do fund the counseling roles, I
     19       Q. Ms. Smalley left in July 2018?               19   review and approve their time logs that are
     20       A. Yes.                                         20   submitted monthly to our finance department.
     21       Q. Do you know where she went?                  21       Q. In what format are the reports
     22       A. No, I don't.                                 22   provided to you?
     23       Q. Where did Mr. Hutzell go; do you             23       A. In Excel format.
     24   know?                                               24       Q. What do you do with the reports
     25       A. Cleveland Clinic.                            25   when you get them?
                                                                                                21 (Pages 78 - 81)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 22 of 126. PageID #: 242975


                                                  Page 82                                                    Page 84
      1       A. We have a shared P drive amongst            1   and approve the time charges for the
      2   our clinical team that I have a folder for         2   counselors?
      3   Quick Response Teams that I save it in.            3       A. I will look at that report to make
      4       Q. For how long do you save the                4   sure the times and dates do match.
      5   reports?                                           5       Q. How frequently are time charges
      6       A. I don't -- we have a record                 6   submitted to you?
      7   retention policy, so for those reports             7       A. Monthly.
      8   specifically, I don't know the exact time          8       Q. So the counselors submit to you,
      9   frame. But it's a minimum of five years.           9   monthly, the Excel spreadsheet that has
     10       Q. Who set up the -- the format for           10   information about the visits, right?
     11   the reports? Did you do that?                     11       A. Yes.
     12       A. Eric Hutzell.                              12       Q. And they submit to you a time chart
     13       Q. Do you know what information               13   or a request for reimbursement?
     14   Mr. Hutzell used to set up the form? Was there    14       A. Their billing department submits it
     15   a guideline given from the State, or did he       15   to our finance office, so our finance office
     16   just come up with the form himself?               16   will bring it over.
     17       A. As far as I know, he came -- he            17       Q. So they don't -- the counselors
     18   developed the form himself in order -- knowing    18   don't submit their time charges directly to
     19   what we -- information we needed to look into     19   you?
     20   our billing system to look at follow-up           20       A. No.
     21   information. We asked for that specific           21       Q. What information do you look at to
     22   information so that we -- and also so we could    22   review and approve the time charges for the
     23   track it by ZIP codes within our community.       23   counselors?
     24       Q. So when the form was created for           24       A. The dates and the times, because
     25   the counselors to report, Mr. Hutzell             25   they -- on the Excel form, they do also track
                                                  Page 83                                                    Page 85
      1   included -- it's your understanding he included    1   the time spent with each client.
      2   information that was important for your billing    2       Q. Is there anything else that you do
      3   information and also so you could track by ZIP     3   to monitor the counselors?
      4   code; is that right?                               4       A. No.
      5       A. Yes.                                        5       Q. Do you train the counselors?
      6       Q. At the time the form was created,           6       A. When we first partnered with the
      7   did you work with Mr. Hutzell to come up with      7   provider agencies to offer counselors with the
      8   the -- the categories to be included on the        8   Quick Response Teams, we did have some
      9   form?                                              9   preliminary meetings. The counselors that all
     10       A. We did talk about it. We did also          10   go out do have experience already with the
     11   meet with the Quick Response Team in Colerain     11   addiction field and had a good understanding of
     12   Township in southern Ohio to see, similarly,      12   what this role would look like, so we did not
     13   what they were doing.                             13   have any specific training.
     14       Q. At any point did you and                   14           We did have an overview training of
     15   Mr. Hutzell or the team in -- what county was     15   Quick Response Teams from Colerain Township
     16   it?                                               16   that came up to Summit County December 9th of
     17       A. Colerain Township.                         17   2016 to give a presentation of what their
     18       Q. Colerain?                                  18   program looked like.
     19       A. I think it's Hamilton County.              19       Q. For how long had Colerain Township
     20       Q. At any point did you, Mr. Hutzell,         20   been doing the Quick Response Teams?
     21   or any of the representatives from Colerain       21       A. When they came up, they had been
     22   Township discuss including the type of opioid     22   implementing at that time for 18 months.
     23   involved in the incident?                         23       Q. Did they report to you anything
     24       A. Not that I can recall.                     24   about how -- how it was working for them?
     25       Q. Do you use those reports to review         25       A. When they presented to us, they

                                                                                               22 (Pages 82 - 85)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 23 of 126. PageID #: 242976


                                                   Page 86                                                    Page 88
      1   reported that 75 percent of the individuals         1        A. Uh-huh.
      2   they engaged with entered into treatment.           2        Q. So from where does Mr. Hutzell get
      3       Q. So they had been doing their Quick           3   that information?
      4   Response program since some point in 2015; is       4        A. We have a GOSH billing system that
      5   that right?                                         5   our providers utilize, so -- because that's why
      6       A. That's my understanding.                     6   we specifically ask for name, date of birth,
      7       Q. Does Summit County, does the ADM             7   and Social Security Number, because those are
      8   Board track what percentage of -- of                8   the key components we can look in that GOSH
      9   individuals go into treatment after being           9   billing system and see if they've accessed
     10   visited by the Quick Response Team?                10   services within our system.
     11       A. Yes.                                        11        Q. Is it a specific -- is there a
     12           THE REPORTER: I didn't hear,               12   specific question on intake forms for ADM
     13   sorry.                                             13   treatment providers to gather data on whether
     14           THE WITNESS: Yes. I'm sorry.               14   the person reports that they've been visited by
     15           THE REPORTER: Thank you.                   15   a Quick Response Team?
     16       Q. How is that tracked? Is that                16        A. For the referral source on the ADM
     17   information included on the Excel spreadsheet?     17   Addiction Helpline, we do have the Quick
     18       A. That information is provided by             18   Response Teams identified, so the client can
     19   Eric Hutzell, so the information that we did --    19   identify that they are being referred with
     20   we are able to track is the number of clients      20   Quick Response Team, and we have that broken
     21   that engage into treatment into ADM-funded         21   down by each team so that we can track
     22   services. So we do not have access to look at      22   specifically what team they worked with.
     23   Medicaid data, so if a client has Medicaid that    23        Q. When did -- when did you first
     24   they're utilizing for that, treatment services,    24   learn of the availability of -- of Quick
     25   we don't have access to that information.          25   Response Teams in the state of Ohio?
                                                   Page 87                                                    Page 89
      1       Q. So the only treatment that that ADM          1       A. In November of 2016, Greg McNeil
      2   Board is able to track, following a Quick           2   from Cover2 Resources reached out to Jerry
      3   Response Team visit, is if the individual           3   Craig. He does a podcast series throughout the
      4   participates in ADM-funded treatment; is that       4   state, as well as other states. And he
      5   right?                                              5   contacted Jerry Craig about a program that
      6       A. Correct.                                     6   could be useful in Summit County. So at that
      7       Q. It's possible, however, that an              7   time, we moved forward with scheduling them to
      8   individual could go into treatment that would       8   come up and meet with us the following month.
      9   not be reflected in the ADM statistics,             9       Q. What is Cover2 Resources?
     10   correct?                                           10       A. That is Greg McNeil's podcast
     11       A. Correct.                                    11   series.
     12       Q. So is there a -- a separate report          12       Q. And who is Mr. McNeil?
     13   that includes the information about the            13       A. He is a Hudson resident who lost a
     14   individuals who are visited by the Quick           14   son to an opioid overdose.
     15   Response Team who go into treatment?               15       Q. Do you know how he found out about
     16       A. Are you asking if there's a                 16   Quick Response Teams?
     17   separate report of treatment not funded by ADM     17       A. I do not. I know he does a lot of
     18   or --                                              18   research as far as seeing what is working, not
     19       Q. No. So I'm trying to understand             19   only in the state of Ohio, but across the
     20   what Mr. Hutzell, how he tracks -- how he          20   nation.
     21   tracked that when he was --                        21       Q. Before Mr. McNeil reached out to
     22       A. Okay.                                       22   Mr. Craig, had you heard about Quick Response
     23       Q. -- with the ADM Board. So it's not          23   Teams or anything similar to that at any of the
     24   in -- I understand it's not in the monthly         24   opioid conferences that you attended?
     25   report from the counselors, correct?               25       A. No, I did not.

                                                                                                23 (Pages 86 - 89)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 24 of 126. PageID #: 242977


                                                     Page 90                                                    Page 92
      1       Q. Are you aware of how many other                1       Q. Do you know approximately how much
      2   counties in Ohio have Quick Response Teams?           2   the Quick Response Team program costs on an
      3       A. I do not know the definitive                   3   annual basis?
      4   number, but I know they are -- other counties         4       A. I do not know that.
      5   within the state of Ohio implementing, all in         5       Q. Do you know how much the ADM Board
      6   different fashions.                                   6   has spent on its portion of the Quick Response
      7       Q. Do you know whether it's kind of               7   Team for calendar year 2017 and calendar year
      8   uniformly called the Quick Response Team?             8   2018?
      9       A. I've heard other titles, such as               9       A. I do not have that specific figure.
     10   Community Outreach.                                  10   I know our finance officer would have that
     11       Q. Did -- from where did Summit                  11   information.
     12   County, the Summit County ADM Board, receive         12       Q. Do you have a particular budget for
     13   information about how to implement the Quick         13   the Quick Response Team?
     14   Response Teams?                                      14       A. I have not been given a specific
     15       A. As I mentioned before, we had                 15   budget, no.
     16   Colerain Township come up in December of 2016        16       Q. Have you ever declined a request
     17   and give a presentation on what their model          17   for reimbursement from any counselors?
     18   looked like, and then we went and met with each      18       A. No.
     19   community individually to see what would work        19       Q. On any given month can you estimate
     20   best in their community.                             20   about how much the ADM Board reimburses
     21       Q. One of the bullets under -- on                21   counselors for the Quick Response Team?
     22   Exhibit 2 is "Meet with new communities."            22       A. I cannot, because on the forms that
     23           What -- is that what you just                23   are given to me are just solely the time.
     24   described, meeting with communities?                 24   There's no dollar figures on those forms.
     25       A. Yes. So in the beginning of the               25       Q. Is it a set rate that is
                                                     Page 91                                                    Page 93
      1   planning phase of Quick Response Teams, we            1   reimbursed?
      2   reached out to the Mayor's Association, the           2        A. Yes.
      3   Police Chief's Association, as well as the Fire       3        Q. Do you know what the set rate is?
      4   Chief's in Summit County, and presented               4        A. I don't have the specific number.
      5   information on what the Quick Response Teams          5   I know it's $25 and some-odd change. And it's
      6   were and what their overall objective was, and        6   my -- that's per unit.
      7   had them contact me or Jerry Craig if they had        7        Q. What is a unit?
      8   an interest in setting up a Quick Response            8        A. And for Quick Response Team, I
      9   Team.                                                 9   can't answer. It could vary. It could be
     10       Q. You mentioned that the ADM Board              10   15-minute increments. It could be one-hour
     11   pays a certain amount for the counseling             11   increments, and I'm -- I'm not certain what our
     12   services; is that right?                             12   finance office contracted with those agencies
     13       A. Correct.                                      13   and what that unit would be specifically.
     14       Q. Does the ADM Board reimburse the              14        Q. Is it your understanding that the
     15   police or the fire participants in the Quick         15   ADM Board has some sort of -- some sort of
     16   Response Team?                                       16   document that would define, with each counselor
     17       A. No.                                           17   group, what the rate of reimbursement is and
     18       Q. Do you know whether those entities            18   what the definition of the unit is?
     19   obtain funding from any outside -- any source        19        A. Yes.
     20   outside of the county of Summit for their work       20        Q. And do you know from where the
     21   on the Quick Response Teams?                         21   funding comes for the ADM Board to pay those
     22       A. There are, I think, four                      22   counselors?
     23   communities that receive funding from the            23        A. The only thing I do know, it is
     24   attorney general in a grant form, and those are      24   ADM-funded. I don't know specifically if where
     25   Cuyahoga Falls, Barberton, Akron, and Green.         25   it's -- what source it's from.

                                                                                                  24 (Pages 90 - 93)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 25 of 126. PageID #: 242978


                                                      Page 94                                                    Page 96
      1       Q. Do you know how the ADM is funded?              1   meetings that the peer support in Summit County
      2       A. We have -- a large portion of our               2   do have that is run by two peer supporters
      3   funding is levy funded. Approximately 80               3   within our community, so I am just a
      4   percent is levy funded from the Summit County          4   participant in the meeting, and I reserve the
      5   taxpayers.                                             5   office -- the meeting space for them.
      6       Q. What is the other 20 percent?                   6           And then I am -- provide some
      7       A. I'm not certain specifically as to              7   technical assistance if they're having any
      8   the other revenue source -- sources.                   8   difficulties getting their certifications or
      9       Q. Do you know whether any of the levy             9   trainings for recertification. We will offer
     10   is designated or earmarked for any particular         10   trainings that go towards that recertification.
     11   use?                                                  11       Q. What type of work does the peer
     12       A. Not to my knowledge.                           12   support group do? Is it substance use or
     13       Q. Do you know whether any of the --              13   addiction work, or is it mental health work?
     14   the additional 20 percent of funding to make up       14       A. So an individual, in order to be a
     15   the 100 percent funding of the ADM Board,             15   certified peer recovery supporter, they have to
     16   whether any of the 20 percent is earmarked or         16   have lived experience of either mental health
     17   specified for a particular use?                       17   or addiction. So there are some individuals
     18       A. Some of the funding that comes                 18   that provide peer support in our mental health
     19   through us is grant monies through the State of       19   agencies. We have some individuals that
     20   Ohio, the Ohio Department of Mental Health and        20   provide peer support in our agencies that are
     21   Addiction Services. So if it is a funding             21   more addiction focused. So both.
     22   source from there, there would be specific            22       Q. Are there any peer support groups
     23   requirements for that.                                23   that are focused on opioid use disorder?
     24       Q. Do any of the programs that you're             24       A. So the peer supporters that are
     25   involved with receive funding from the State?         25   employed by agencies that provide addiction
                                                      Page 95                                                    Page 97
      1       A. Yes.                                            1   services, their focus is primarily with
      2       Q. Which programs?                                 2   addiction.
      3       A. I provide oversight for some of the             3           We have peer supporters that work
      4   peer support, and some of our peer support             4   in our specialty docket courtrooms, so those
      5   services is funded through the 21st Century            5   individuals are working specifically with
      6   Cures Act. And we also have some recovery              6   individuals that primarily have addiction
      7   housing funded through that as well.                   7   issues, if they're in that docket.
      8       Q. So let's skip down first to the                 8           And then, with our ADM Addiction
      9   peer support. That's the third bullet on               9   Helpline, we have some provider agencies that
     10   Exhibit 2.                                            10   receive ad- -- referrals through the Addiction
     11           What is your role with respect to             11   Helpline, so those agencies are addiction
     12   the peer support program?                             12   focused.
     13       A. I coordinate trainings. We have                13           And our recovery housing providers,
     14   budgeted to offer three trainings annually for        14   they are primarily substance use related, so
     15   certified peer recovery supporters. It is a           15   they're primary experience is with addiction as
     16   training offered through the Ohio Department of       16   well.
     17   Mental Health and Addiction Services, so I            17        Q. And for all of the -- those who
     18   coordinate them as far as the training dates.         18   work within addiction, does the ADM Board
     19           OhioMHAS does provide the funding             19   track, in the peer support program, what
     20   for the trainers, which is $1,500 each, and           20   substance the addiction is related to or
     21   then we offer, provide the location for the           21   attributed to?
     22   training, as well as we provide the food for          22        A. So the individuals that provide
     23   the training for the week. It's a 40-hour             23   peer recovery support services through the ADM
     24   training for those counselors.                        24   Addiction Helpline, they are receiving funding
     25           I do participate in bimonthly                 25   through the Cures Act, and so a primary
                                                                                                   25 (Pages 94 - 97)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 26 of 126. PageID #: 242979


                                                   Page 98                                                Page 100
      1   requirement is that those individuals have          1   understanding that that had to be used for
      2   opioid use disorder as a diagnosis, as well as      2   opioid use disorder; is that right?
      3   two of the recovery housing providers that          3       A. Uh-huh, yes.
      4   receive Cures funding for clients that are on       4       Q. Thanks.
      5   that. So those individuals also have                5            Do -- does the ADM Board do
      6   specifically opioid use disorder diagnoses.         6   anything to confirm a self-reported --
      7       Q. For purposes of the peer support             7   self-reported diagnosis of opioid use disorder
      8   group, is that -- are the peer support groups       8   before being -- before submitting for payment
      9   separate from the ADM Helpline?                     9   under the Cures Act?
     10       A. Yes.                                        10       A. So there is information that is
     11       Q. Are the peer support groups                 11   submitted on a monthly basis through the Cures
     12   separate from recovery housing?                    12   funding. The recovery housing providers, they
     13       A. Yes. They're just a component of            13   receive specifically funding to house
     14   recovery housing.                                  14   individuals that are engaged in MAT treatment,
     15       Q. Understood, okay. So if the peer            15   so it is indicated in their monthly reporting,
     16   support is provided in recovery housing that's     16   the start date of the MAT treatment or if
     17   related to opioid use disorder, then the ADM       17   they've declined it or stopped the MAT
     18   Board would have information about the opioid      18   treatment.
     19   use disorder; is that right?                       19            So that is submitted to us, as well
     20       A. Correct.                                    20   as the peer support information. We do have
     21           Also, for our -- in general, some          21   information that is submitted to us,
     22   of the quarterly reports that are submitted for    22   demographics information, and information of
     23   recovery housing providers, we did modify the      23   how many individuals have requested service,
     24   outcomes form at the end of last year that we      24   ongoing service, have completed service. For
     25   were tracking. So for -- we have the data for      25   the peer support specifically, we do not get
                                                   Page 99                                                Page 101
      1   all of 2018, and moving forward, we do look at      1   any personal health information submitted to
      2   what substance, of the five recovery housing        2   us, but for the recovery housing component, we
      3   providers that we fund, of what substance the       3   do get the PHI.
      4   individuals were using.                             4        Q. What other responsibilities do you
      5        Q. Is that information on a -- that            5   have with respect to recovery housing?
      6   you started tracking for purposes of the            6        A. We do complete annual audits of the
      7   recovery housing, is that patient-reported or       7   programs, and of that audit checklist, it will
      8   self-reported information?                          8   ensure they are in compliance with Ohio
      9        A. Yes.                                        9   recovery housing, which we require all of our
     10        Q. Okay. Does the ADM Board, as a             10   providers to be certified through. This is a
     11   part of its tracking of the substances, confirm    11   statewide entity that look at housing standards
     12   or verify that information using medical           12   and requirements. We also review their
     13   records or diagnoses?                              13   documentation and their billing as part of that
     14        A. Specifically to the recovery               14   review process, and tour the facilities.
     15   housing providers, no. Part of the requirement     15        Q. Do you do that personally, or does
     16   of being in our recovery housing is that           16   someone else at the ADM Board?
     17   they're engaged with a treatment provider for      17        A. I personally did it. 2018 was the
     18   aftercare followup, so that information would      18   first year we completed those.
     19   probably be those agency-specific information.     19        Q. In 2017, did the ADM have any
     20        Q. Does the ADM Board do anything for         20   involvement with recovery housing?
     21   its own purposes to confirm this self-reported     21        A. Yes. At that time, Oriana House
     22   substance?                                         22   provide -- did complete those audits, as they
     23        A. No.                                        23   were the coordinator in 2017.
     24        Q. So for purposes of funding, like,          24        Q. Did ADM become the coordinator in
     25   for the Cures Act, for example, it was my          25   2018?
                                                                                            26 (Pages 98 - 101)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 27 of 126. PageID #: 242980


                                                  Page 102                                                 Page 104
      1       A. ADM assumed -- we contracted                 1        Q. Do you know the source of the funds
      2   directly with the recovery housing providers,       2   from ADM for recovery housing in 2016?
      3   effective October 29th of 2017, with those          3        A. I do not.
      4   providers. And the coordinator for the              4        Q. How about 2017?
      5   recovery housing beds and managing that             5        A. I do not.
      6   availability is staffed through ASCA, and they      6        Q. And 2018?
      7   are also the program that coordinates our ADM       7        A. I do not, other than the Cures
      8   Addiction Helpline.                                 8   funding for the two providers.
      9       Q. What is ASCA?                                9        Q. That just covers the two providers
     10       A. Akron Summit Community Action.              10   of recovery housing?
     11       Q. The recovery housing, do the                11        A. And only a limited number of beds.
     12   residents in recovery housing all -- strike        12   It's not their whole program.
     13   that.                                              13        Q. How many recovery housing beds are
     14           What percentage of the -- the users        14   there total, if you know?
     15   of recovery housing have an opioid-related         15        A. That ADM Board funds?
     16   addiction?                                         16        Q. Yes.
     17       A. I don't have that number                    17        A. We currently fund 54 beds.
     18   specifically.                                      18        Q. How many are covered by the Cures?
     19       Q. Does anyone track the substances            19        A. That is 54 beds solely with
     20   that are related to the -- the users of            20   ADM funding.
     21   recovery housing?                                  21        Q. Separate and apart from --
     22       A. So as I mentioned previously,               22        A. So when we look at the Cures
     23   beginning in 2018, we did start tracking what      23   funding, it -- 13.5, I think, is how the dollar
     24   substances they were using.                        24   amount came out to.
     25       Q. Where is that tracked?                      25        Q. So the ADM Board funds 54 beds.
                                                  Page 103                                                 Page 105
      1       A. It's a quarterly outcomes form               1   Cures funds about 13.5 beds. Are there any
      2   that's submitted to me.                             2   other recovery housing beds from any other
      3       Q. Who tracks it?                               3   sources of funding?
      4       A. So the recovery housing providers            4        A. Not through ADM entities.
      5   are responsible to submit that to me on a           5        Q. The Cures beds have to be
      6   quarterly process. We have not compiled an          6   opioid-related, right?
      7   annual report yet.                                  7        A. Yes.
      8       Q. Do you plan to?                              8        Q. Do the ADM-funded beds have to be
      9       A. Our hopes are, yes, to do an                 9   opioid-related?
     10   overall summary.                                   10        A. No.
     11       Q. So you've received one full                 11        Q. Have you reviewed any of the data
     12   calendar year of quarterly reports from the        12   that was gathered for 2018 to take a look at
     13   recovery housing?                                  13   how many of the ADM-funded beds involved
     14       A. Yes.                                        14   opioid-related issues?
     15       Q. Do you know whether Oriana House            15        A. No.
     16   gathered that information for the calendar year    16        Q. Do you know whether the information
     17   2017?                                              17   that was -- is tracked by the ADM now, and that
     18       A. No, they did not.                           18   it tracked in 2018, identifies opioids by
     19       Q. Do you know whether recovery                19   categories, so whether prescription or illicit?
     20   housing was in effect before 2017?                 20        A. I can't recall specifically without
     21       A. It was -- it was operated when I            21   looking at the form.
     22   began in the position of 2016, so as far as        22        Q. Who set up the form?
     23   when it began, I do not know, but I know it was    23        A. Eric Hutzell helped compile the
     24   up and running and being funded through ADM        24   form, and as well as I had two social work
     25   when I began my position.                          25   interns at the time. They looked at what the
                                                                                            27 (Pages 102 - 105)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 28 of 126. PageID #: 242981


                                                    Page 106                                                  Page 108
      1   Ohio recovery housing standards were versus           1   Medicaid would not fund.
      2   what we were collecting previously through            2       Q. And that funding comes from the
      3   Oriana House, and created a molded form.              3   State?
      4        Q. Do you have any other                         4       A. Correct.
      5   responsibilities with respect to recovery             5       Q. Does any of the ATP work relate to
      6   housing?                                              6   opioids?
      7        A. Other -- other than what's listed,            7       A. There are individuals that are
      8   no.                                                   8   involved in the docket that do have opioid use
      9        Q. What does monitoring the wait list            9   disorder, but it's not specific -- let me take
     10   involve?                                             10   that back.
     11        A. So we do have, as I mentioned, the           11           Yes. Sorry about that.
     12   54 beds for recovery housing. One of the             12       Q. That's okay.
     13   recovery housing providers is more of an             13       A. So they have to be MAT-eligible.
     14   apartment style, so it is a more highly desired      14   So when we say MAT-eligible, the client doesn't
     15   set of housing for individuals. So we do give        15   have to be on MAT treatment, but they have to
     16   clients the choice of where they would like to       16   be eligible to receive that treatment.
     17   go. Highest priority for recovery housing are        17       Q. And just so the record is clear,
     18   individuals coming out of residential treatment      18   can you tell us what MAT-eligible means?
     19   or detox services for those beds.                    19       A. Medication-assisted treatment. So
     20            The staff member at ASCA does               20   an individual that meets the criteria that
     21   coordinate that list. She provides me a weekly       21   would qualify for, whether it's methadone,
     22   update of the bed availability. And if there         22   Suboxone, or Vivitrol program, and they either
     23   are beds open, we will have discussions as to        23   are inducted onto that medication-assisted
     24   why are there beds open, what are we doing to        24   treatment or they have declined that treatment.
     25   fill those, and things like that.                    25   But they are -- if they choose to be on it,
                                                    Page 107                                                  Page 109
      1       Q. Do you then make determination of              1   would qualify for that medication.
      2   who's next in line to fill the bed?                   2       Q. So all participants in the ATP
      3       A. No. We have an overall protocol of             3   program have to be eligible for medical --
      4   individuals coming from residential or detox          4   medical-assisted treatment; is that right?
      5   are top priority. And then, if individuals who        5       A. Correct.
      6   are also sometimes referred, if they are in           6       Q. So is it your understanding that
      7   corrections setting or if they are in an IOP          7   all of those ATP participants are -- have some
      8   program in the community, they are the next           8   opioid-related issue?
      9   priority.                                             9       A. So there are -- alcohol is also a
     10       Q. What is ATP and ATR? I'm looking              10   qualifying factor for the Vivitrol.
     11   at the fourth bullet on Exhibit 2.                   11       Q. Do you know, does ADM track what --
     12       A. So those are two OMHAS-funded                 12   how many of the ATP participants are opioid
     13   programs. ATP is Addiction Treatment Program,        13   versus alcohol?
     14   and ATR, that program did end in April of last       14       A. We do not directly. So since this
     15   year, and it was Access to Recovery.                 15   is an OMHAS-funded program, we are simply the
     16           So both of those programs are                16   passthrough for the funds. The providers that
     17   similar in the fact that with ATR, that was          17   have contracted -- well, have done a memorandum
     18   designed for individuals that had a criminal         18   of understanding with OMHAS to be part of ATP,
     19   history or involvement in the criminal justice       19   they enter into a data system called Tricep,
     20   system within the last 10 years. And it's --         20   which is not monitored by us.
     21   provided funding for recovery supports.              21       Q. What is your role with respect to
     22           And then the ATP program, Addiction          22   funding, if any, for the ATP program?
     23   Treatment Program, worked specifically with          23       A. My primary responsible has been
     24   individuals that are involved in the specialty       24   working with the courts directly to identify
     25   drug court dockets, and provides funding that        25   those recovery supports that can be funded

                                                                                              28 (Pages 106 - 109)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 29 of 126. PageID #: 242982


                                                  Page 110                                                   Page 112
      1   through the ATP program, such as recovery           1        A. Yes.
      2   housing or peer support services or other           2        Q. Tell us, what is that?
      3   treatment services, such as if they're not on       3        A. So the Summit County OTF is the
      4   Medicaid yet, this will cover all their             4   Summit County Opiate Task Force, and I sit on
      5   treatment services until they do become on          5   the criminal justice subcommittee, which some
      6   Medicaid.                                           6   of our law enforcement providers, our specialty
      7       Q. Do you know how much funding from            7   courts, sit on that committee. Probation as
      8   the State the ATP program in Summit County          8   well. Summit County sheriff's office also
      9   receives?                                           9   participates on that.
     10       A. In -- what I can tell you, in July          10        Q. What is your role with that
     11   1st of 2018, which is the fiscal calendar that     11   subcommittee?
     12   the State is on, they did not give us any          12        A. I'm a member of it. So I do not
     13   additional funds, but they did roll over funds     13   have a leadership role in that subcommittee,
     14   from the previous year, which I don't have the     14   but we do -- I do provide report-outs for the
     15   exact number, but I know it was 900,000            15   Quick Response Teams, since that is law
     16   something.                                         16   enforcement-related, as to how we are doing in
     17       Q. Around 900,000?                             17   the community.
     18       A. Correct.                                    18        Q. Do you report at all at the Opioid
     19       Q. And that's an annual amount?                19   Task Force criminal justice committee about any
     20       A. That was rolled over to us from the         20   of the work under the ATP program?
     21   year previously, because we did not spend it.      21        A. Yes, sometimes ATP does come up in
     22       Q. So the 900,000 was rolled over as           22   our discussion.
     23   unused --                                          23        Q. Because part -- a component of that
     24       A. Correct.                                    24   is the drug court?
     25       Q. -- from the prior year?                     25        A. Correct.
                                                  Page 111                                                   Page 113
      1           Do you know the total amount that           1       Q. What is your role with respect to
      2   the ATP program in -- for that fiscal year of       2   drug court?
      3   2017 to 2018, received?                             3       A. I do sit on the advisory council
      4        A. I don't know the specific number.           4   for our Turning Point program, which is common
      5        Q. But it was around 900,000 that was          5   pleas-level drug court docket, and I also sit
      6   left unused to roll over to this -- to              6   on the advisory board for Barberton drug court.
      7   2018-2019?                                          7       Q. Do you have any specific focus, as
      8        A. Right.                                      8   a part of the advisory committee, with respect
      9        Q. Did -- do you know whether ADM,             9   to specific substance or anything such as that?
     10   whether the ADM Board specifically requested       10       A. Sometimes in the attendance of the
     11   that that rolled-over funds remain within          11   meetings, I'll update them on expanded
     12   Summit County?                                     12   resources in the community or how to access
     13        A. I don't know specifically if that          13   specific services.
     14   request was made.                                  14       Q. Other than being a member of the
     15        Q. Moving down Exhibit 2, this is --          15   criminal justice subcommittee, do you have any
     16   gosh, it's kind of the bottom third of the         16   role with the Opioid Task Force?
     17   page. Do you see the bullet that begins            17       A. I did recently just transition off
     18   "Provide technical assistance"?                    18   of the Young People in Recovery Committee. I
     19        A. Uh-huh.                                    19   do sit on there as a member, but I'm not the
     20        Q. And then underneath that is a              20   primary ADM representative. That was due to a
     21   bullet that says, "Participate with the Summit     21   staff member retiring in December of 2017. So
     22   County OTF and sit on the criminal justice         22   I did participate in that and chaired that
     23   subcommittee."                                     23   meeting for the last year, but in November of
     24        A. Yes.                                       24   2018, we did have two new co-chairs.
     25        Q. Do you see that?                           25       Q. How frequently were their meetings?

                                                                                             29 (Pages 110 - 113)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 30 of 126. PageID #: 242983


                                                  Page 114                                                  Page 116
      1       A. They are meeting quarterly. I --             1   ready to open up their recovery high school,
      2   usually about the week before the quarterly         2   Heartland High School, and we did talk to her
      3   Summit County Opiate Task Force meetings so         3   about what the costs were that they were
      4   that they can provide an update on items that       4   looking at and what it would potentially cost
      5   they're working on.                                 5   to start up a program.
      6       Q. Did you attend the quarterly                 6       Q. Do you recall what that figure was?
      7   meetings of the Summit County Opiate Task           7       A. I know in Franklin County, they
      8   Force?                                              8   were doing a private school model, and they
      9       A. When available, yes. I did not               9   were looking to charge approximately $30,000
     10   attend the one -- the last one.                    10   annually per student.
     11       Q. Have you ever given any                     11       Q. Was that number presented to the
     12   presentations at the Summit County Opiate Task     12   Opiate Task Force of Summit County?
     13   Force?                                             13       A. I can't recall directly if we gave
     14       A. Other than giving a report-out for          14   that in our report or not. But in reporting,
     15   the Young People in Recovery Committee, no.        15   looking at the feasibility, it was also
     16       Q. Do you know what the kind of goal           16   discussed, would we do the private school
     17   is of the Young People in Recovery Committee?      17   model, would we do a public school model, would
     18       A. So they have recently formed two            18   we do a charter school model. So some of the
     19   new subgroups of their committee. They are         19   education providers at the table weighed in on
     20   focusing more on basically recovery resources      20   that. Because I don't come from an education
     21   available for the youth within Summit County,      21   background, I wasn't able to provide a lot of
     22   and then they are also going to look at            22   feedback into that.
     23   prevention efforts as well.                        23       Q. Did your -- did the committee -- or
     24            In 2018, we were -- we also did           24   the subcommittee make any recommendations to
     25   have a subgroup looking at recovery high           25   the Opiate Task Force about whether the
                                                  Page 115                                                  Page 117
      1   schools.                                            1   recovery high school would be a good idea?
      2       Q. What did you do to look at recovery          2       A. What we did do was create the
      3   high schools?                                       3   report of, if we had the funding, if we had the
      4       A. We researched -- so there's only 41          4   building location, this is what we would
      5   in the U.S., but we did research. A lot of          5   recommend it look like. We did hand out the
      6   them are based in California, Texas area. We        6   one-page handout, indicating what that proposal
      7   looked at some of the research. There's not a       7   was at one of our quarterly Opiate Task Force
      8   lot of research out there.                          8   meetings.
      9            And then we were looking at the            9       Q. So you told the task force what it
     10   feasibility of bringing a recovery high school     10   would look like. Did you make a recommendation
     11   to Summit County, and we got to the point of if    11   of whether you thought it was something that
     12   we had the funding, we had the building            12   Summit County could benefit from?
     13   location; this was what the program would look     13       A. I can't recall directly if we made
     14   like.                                              14   that specific recommendation of opening one.
     15       Q. Did you make any recommendations to         15           THE REPORTER: Recommendation of?
     16   the Opiate Task Force?                             16           THE WITNESS: Of opening one.
     17       A. We did present out on what we had           17           THE REPORTER: Thank you.
     18   developed. At this time, we don't have an          18           THE WITNESS: Uh-huh.
     19   education provider or county to kind of take it    19       Q. Did the one-pager include a
     20   over and put it into fruition.                     20   recommendation; do you remember?
     21       Q. Did part of that evaluation include         21       A. I can't recall directly.
     22   evaluating the cost to the county to implement     22       Q. What else do you do with respect to
     23   a recovery high school?                            23   the Opiate Task Force?
     24       A. Yes. We did meet with Sarah Nerad           24       A. Other than attend. I mean,
     25   from Franklin County, Ohio. They're getting        25   sometimes at the meetings people will come up

                                                                                            30 (Pages 114 - 117)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 31 of 126. PageID #: 242984


                                                     Page 118                                                   Page 120
      1   with questions or things like that, but.               1   did talk about similar -- the similar
      2        Q. Any questions about ADM services?              2   PowerPoint. We also talked about our Addiction
      3        A. ADM services, or if we do use that             3   Helpline and the Quick Response Teams that we
      4   opportunity if there's some grass root programs        4   have implemented within the county.
      5   or nonprofits, they will advertise events. I           5           And at the superintendents meeting,
      6   know the University of Akron this last fall had        6   we did -- I co-presented that with Yvonne
      7   some sober tailgates and things like that they         7   Culver of Akron Public Schools, and we talked
      8   were advertising, so.                                  8   about some trends that were being seen within
      9        Q. Do you know for how long the Summit            9   the schools, and we also talked about some
     10   County Opiate Task Force has been in existence?       10   prevention programming that's implemented and
     11        A. I don't know when they first                  11   has done very well within our schools.
     12   initiated. I do know that when I came on board        12       Q. What trends do you recall reporting
     13   in May of '16, they were up and going.                13   on that you're seeing in schools with respect
     14        Q. Have you ever, in any of the                  14   to opioids?
     15   presentations that you've presented or that           15       A. I can't recall specifically the
     16   you've given, have you used any standard slides       16   content of the PowerPoint. I know we did talk
     17   from the Opiate Task Force?                           17   about our youth risk behavior survey and some
     18        A. As part of the speaker's bureau of            18   of the results; however, those results are from
     19   the Opiate Task Force, there have been some           19   2013. We're in the process right now of doing
     20   events that I've asked to go talk to, and, yes,       20   an updated 2018 survey, so -- however, we don't
     21   we have used those slides.                            21   have those results yet.
     22        Q. How many times have you spoken as a           22       Q. Who's conducting that survey?
     23   part of the speaker's bureau for the Opiate           23       A. Case Western Reserve University and
     24   Task Force?                                           24   the Summit County ADM Board. And Summit County
     25        A. I don't have the specific number.             25   Public Health is paying for that to be done.
                                                     Page 119                                                   Page 121
      1        Q. Can you give me a ballpark?                    1       Q. From where did the ADM Board get
      2        A. At least four engagements.                     2   funds to contribute to that survey?
      3        Q. Can you gi- -- do you recall                   3       A. I don't know the specific source.
      4   roughly when those engagements were?                   4   I know the amount we contributed was 80,000.
      5        A. I -- I don't know the -- I would               5       Q. Do you know when that survey will
      6   say -- I spoke at a town hall meeting in the           6   be completed and the results will be available?
      7   fall of 2016. And then, last year, I did speak         7       A. It's my understanding that we won't
      8   at OhioMeansJobs. They had an event. And in            8   have the final report until fall of 2019.
      9   the summer, I would say, August of last year, I        9       Q. Recognizing that you don't have a
     10   also presented to superintendents at an event         10   memory of exactly what was in the slides, can
     11   that was put on by the Education Service              11   you give us a description of what you recall
     12   Center, and they had asked if we would come           12   some of the trends in the schools were that you
     13   present.                                              13   presented?
     14        Q. What did you present on at -- at              14       A. So I myself did not present. On
     15   each of those?                                        15   some of the information, Yvonne Culver, as I
     16        A. At the town hall meeting, I                   16   mentioned, she's part of Akron Public Schools,
     17   presented the PowerPoint format that was              17   did do some of the presentations. Some of the
     18   formed -- formu- -- created by our public             18   presentations, she talked about was some of the
     19   relations department. It's a template                 19   experiences she has seen in the schools.
     20   PowerPoint presentation that is utilized by the       20           One case she discussed was a second
     21   speaker's bureau to talk about not only the           21   grader that was in the school, and her mother
     22   opioid epidemic, but also looking at how to           22   overdosed in the hallway of the school
     23   access services specifically within Summit            23   building. So they talked about how they really
     24   County.                                               24   have to look at the larger picture in working
     25            In the OhioMeansJobs conference, we          25   with these children, and maybe seeing what the
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 32 of 126. PageID #: 242985


                                                  Page 122                                                  Page 124
      1   issues are outside of the school building, and  1                MS. KEARSE: Object to form.
      2   being cognizant of that.                        2           A. Some of the items that we did talk
      3       Q. What was your portion of that            3       about in the presentation, we talked about how,
      4   presentation to the superintendents?            4       historically, the amount of pills that were
      5       A. So I presented on the youth risk         5       coming into the community was extremely high,
      6   behavior survey and the results from 2013, and 6        and we talked about how the contributing
      7   then also promoting and encouraging schools to 7        factors were with the combination of people
      8   be involved in the 2018 conference. I           8       prescribing the medications, were informed that
      9   presented on resources that are available in    9       these are safe medications; we can prescribe
     10   Summit County. And then I also talked about 10          these medications.
     11   some of the prevention programming that we are 11                Part of the presentation was also
     12   doing within the Summit County.                12       inclusive of information of how consumers had
     13       Q. The OhioMeansJobs presentation, you 13           that sense of safety because a doctor is
     14   said it was a similar PowerPoint to the town   14       prescribing this to me, so they wouldn't do
     15   hall PowerPoint, and you described that as     15       anything that would harm me.
     16   including a description of the opioid epidemic 16                So those are some of the -- without
     17   and then how to access services, right?        17       looking at it specifically, some of the items
     18       A. Yes.                                    18       we talked about.
     19       Q. Do you -- what do you present           19                We also talked about with -- with
     20   regarding the opioid epidemic?                 20       the facade of, with Joint Commission, the
     21       A. Some of the slides do include           21       pressure of the pain as the fifth vital sign
     22   statistically that the United States accounts  22       and really putting the pressure on not only
     23   for 99 percent of the opioid prescription, of  23       facilities to offer these pain medications. I
     24   the opioid medication, and we talked about     24       know they're -- and how their client surveys
     25   specifically how -- we showed statistics that  25       may reflect them negatively if they didn't give
                                                  Page 123                                                  Page 125
      1   were compiled from Summit County Public Health      1   the pain medication.
      2   that show the increase in the number of             2       Q. Do you talk about how the opioid
      3   overdose deaths specifically within Summit          3   epidemic is a -- a complex epidemic and has
      4   County.                                             4   many factors?
      5       Q. Do you know where the statistics             5            MS. KEARSE: Object to form.
      6   regarding the U.S. use of opioids versus other      6       A. I don't recall specifically as far
      7   countries' use of opioids, where that comes         7   as all the content. I didn't -- because, like
      8   from?                                               8   I mentioned before, our public relations
      9       A. I know it's cited in the                     9   department formulated the PowerPoint.
     10   PowerPoint, but I don't know the exact one,        10       Q. Do you know whether Dr. Smith was
     11   because I did not create the PowerPoint.           11   involved at all in preparing the PowerPoint?
     12       Q. Got it.                                     12       A. I do not.
     13            Anything else you present regarding       13       Q. Did you ever talk him about the --
     14   the opioid epidemic that you can recall?           14   the slides, specifically on the opioid
     15       A. Not offhand, no.                            15   epidemic, before you presented it?
     16       Q. Do you talk about the causes of the         16            MS. KEARSE: Object to form.
     17   epidemic?                                          17       A. No.
     18       A. So part of the presentation, yes,           18       Q. Did you ever see him present or
     19   we'll -- some of the presentation will include     19   make any presentations regarding the opioid
     20   how we got here, so to speak.                      20   epidemic?
     21       Q. And as you sit here today,                  21       A. Yes.
     22   recognizing you don't have the presentation in     22       Q. When did you see him give a
     23   front of you, but do you have any memory of        23   presentation?
     24   what some of those -- some of those                24       A. He presented over this past summer.
     25   contributing factors are?                          25   There was a -- a -- or actually it was probably
                                                                                            32 (Pages 122 - 125)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 33 of 126. PageID #: 242986


                                                   Page 126                                                Page 128
      1   the fall -- a career fair at University of       1            A. Yes.
      2   Akron. A behavioral health career fair.          2            Q. What is, first, OACBHA? And then,
      3        Q. And what do you -- what do you           3       second, I'm curious what your participation is
      4   remember about his presentation?                 4       with their opiate committee.
      5        A. He -- part of it was the PowerPoint      5            A. Ohio Association of County
      6   provided by the speaker's bureau, but he also    6       Behavioral Health -- I don't know the last
      7   went into the science of addiction as well.      7       name.
      8        Q. Do you recall what portion of            8            Q. But that's what OACBHA is, right?
      9   the -- the speaker's bureau, as you described    9            A. Yes.
     10   it, PowerPoint he used?                         10            Q. Okay. And what is your involvement
     11        A. I can't recall the specifics.           11       with OACBHA's opiate committee?
     12        Q. Do you remember whether he talked       12            A. So I sit on this committee. The
     13   about kind of how we got here, like what -- the 13       OACBHA offices are in Columbus, so we meet
     14   genesis of the opioid epidemic?                 14       every other month, whether it's in-person or
     15        A. I'm -- he did lead into the -- the      15       via telephone. And we -- one of the
     16   initial part of the presentation did talk about 16       initiatives that we did last year was create an
     17   that, yes.                                      17       appreciation week for first responders, as kind
     18        Q. And do you remember what he said        18       of a thank you. So that committee really
     19   about that?                                     19       worked with that.
     20        A. I don't know specifically. He did       20                We also worked together as a
     21   use the PowerPoint slides that we've kind of -- 21       committee around programming. A lot of times
     22   that we've created and utilized at various      22       the ATP funding is discussed in these meetings,
     23   presentations, so.                              23       other grants that are maybe going -- that are
     24        Q. Do you remember him mentioning that 24           coming up or have been released will be
     25   the Joint Commission prescribing guidelines and 25       discussed in this committee. And we -- they do
                                                   Page 127                                                Page 129
      1   pain as the fifth vital sign?                        1   also plan the Ohio opiate conference that's --
      2       A. I don't remember specifically if he           2   occurs annually in June.
      3   brought that specific part of the presentation       3       Q. Do you know for how long the opiate
      4   up.                                                  4   committee has existed at OACBHA?
      5       Q. Do you recall him talking about               5       A. I -- we had our first meeting in
      6   client surveys at all?                               6   2017. The date I don't know.
      7       A. I don't.                                      7       Q. And it's your understanding that
      8       Q. Do you recall him talking about the           8   the committee did not exist prior to 2017?
      9   perception that medications are safe if they         9       A. Correct.
     10   come from your doctor?                              10           MS. FEINSTEIN: All right. Why
     11       A. I don't remember.                            11   don't we take a break here.
     12           MS. KEARSE: We've been going for            12           THE VIDEOGRAPHER: Off the record,
     13   over an hour. Is this --                            13   11:54.
     14           MS. FEINSTEIN: Uh-huh. Yeah, we             14           (A recess was taken.)
     15   can take a break here.                              15           THE VIDEOGRAPHER: On the record,
     16           Or I just have a couple more                16   12:53.
     17   questions on Exhibit 2. And if you're okay to       17           MS. FEINSTEIN: Thank you.
     18   go for a few more minutes, I can just wrap this     18   BY MS. FEINSTEIN:
     19   up and then we can break. Is that good?             19       Q. Welcome back, Ms. Patton.
     20           THE WITNESS: Uh-huh. Uh-huh.                20           Before the break, we were talking
     21       Q. Referring you back to Exhibit 2,             21   about the opiate committee with OACBHA.
     22   the third bullet from the bottom --                 22       A. Uh-huh.
     23       A. Okay.                                        23       Q. And it was, I believe, your
     24       Q. -- of the first page says,                   24   understanding that the first meetings of that
     25   "Participate with the OACBHA opiate committee."     25   committee were in 2017; is that right?
                                                                                            33 (Pages 126 - 129)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 34 of 126. PageID #: 242987


                                                   Page 130                                                  Page 132
      1       A. Yes.                                          1   When I worked at Northcoast Behavioral
      2       Q. And before that, I had asked you              2   Healthcare, there were times where we would
      3   about the Summit County Opiate Task Force,           3   refer clients to services, but more often than
      4   right? Do you recall that?                           4   not, we would contact the provider directly.
      5       A. Yes.                                          5   We wouldn't go through the board.
      6       Q. And you testified that that entity            6       Q. Before you accepted the position
      7   was in existence when you joined the ADM Board,      7   with the ADM Board, did you do any research
      8   right?                                               8   online to learn more about the entity?
      9       A. Yes.                                          9       A. At the time, when I scheduled an
     10       Q. Earlier, when you were at                    10   interview with them, I did look at the
     11   Northcoast Behavioral Healthcare, you had           11   Internet, their website, in preparation for the
     12   attended conferences regarding opioids,             12   interview.
     13   correct?                                            13       Q. Who do you interview with?
     14       A. Yes.                                         14       A. My initial interview was with Aimee
     15       Q. And those conferences you thought            15   Wade, and at the time, Jackie Steward, who was
     16   were in the kind of 2011-2012 time frame, sort      16   our human resource. I then was called back for
     17   of the -- near the end of when you were a SAMI      17   a clinical team interview, and that comprised
     18   counselor?                                          18   of Christine Smalley, Beth Kuckuck, Joann Arndt
     19           MS. KEARSE: Object to form.                 19   and Chris Freeman-Clark. And Dr. Aaron
     20   Misstates her char- -- her testimony.               20   Ellington was also present. And then I was
     21       A. Yes, was around 2011.                        21   called back for a third interview directly with
     22       Q. Around 2011-ish?                             22   Jerry Craig.
     23       A. I think was the first training. I            23       Q. At any time did you interview with
     24   don't have the specific dates, though.              24   Dr. Smith?
     25       Q. Sure. Do you recall what the                 25       A. No.
                                                   Page 131                                                  Page 133
      1   subject matter of those trainings were, those        1       Q. What is Dr. Ellington's background?
      2   2011 trainings at the State?                         2       A. He's our evidence-based practice
      3        A. So the OACBHA opiate conference was          3   coordinator. I know professionally he's a
      4   opiate-specific. I did attend those. 2011,           4   psychologist. Also has his LICDC.
      5   I -- and I did actually attend 2014. And I           5       Q. What is LICDC?
      6   don't know if I attended any others of the           6       A. Licensed independent chemical
      7   opiate conference.                                   7   dependency counselor.
      8           I attended the Addiction Studies             8       Q. How long has he been with the
      9   Institute as well, which was in downtown             9   board?
     10   Columbus. I don't have the specific years. I        10       A. I don't know. He was there when I
     11   know I have attended it a few times, so.            11   started.
     12        Q. Before you joined the Summit ADM            12       Q. And what is your understanding of
     13   Board, what did you know about the Summit ADM       13   evidence-based practice coordinator? What is
     14   Board?                                              14   that?
     15        A. Minimal. So I -- my involvement             15       A. So he works with our agency
     16   primarily with the Summit ADM Board was with        16   providers on such initiatives such as cognitive
     17   Chris Freeman-Clark and Joanne Arndt, so --         17   behavior therapy, motivational interviewing,
     18   with my role at the hospital. So -- and Summit      18   other treatment modalities that are
     19   County was just one of the counties that we         19   evidence-based, have been deemed evidence-based
     20   served at the hospital, so very little about        20   by SAMHSA at the national level. And he works
     21   the board itself.                                   21   at working with those providers, not only
     22        Q. Did you have any interaction with           22   training them, training their staff, but also
     23   the ADM Board and its addiction services before     23   ongoing monitoring of those practum- practices.
     24   you joined the board in 2016?                       24       Q. Do you work with him on any of
     25        A. Not with the board specifically.            25   those programs, evidence-based programs?

                                                                                              34 (Pages 130 - 133)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 35 of 126. PageID #: 242988


                                                    Page 134                                                 Page 136
      1      A.      Not directly, no.                          1           MS. KEARSE: Object to form.
      2      Q.      Other than -- strike that.                 2       A. Not that I know of.
      3            Do you consider Dr. Ellington a --           3       Q. Do you know of any grants that the
      4   a provider of addiction services?                     4   ADM Board receives from Summit County for any
      5        A. No.                                           5   services?
      6        Q. No?                                           6       A. No.
      7        A. No.                                           7       Q. Does the ADM Board receive any --
      8        Q. Are you the only one in the -- the            8   any funds from the County that are earmarked
      9   clinical group at the ADM Board with -- with          9   specifically for opioid-related activities?
     10   addiction training certifications?                   10       A. Can you repeat that again?
     11        A. As I mentioned, Dr. Aaron Ellington          11       Q. Sure. Does the ADM Board receive,
     12   does have his LICDC, licensed independent            12   from Summit County, any funds that are
     13   chemical dependency counselor, but as far as         13   earmarked for opioid-related activities?
     14   his role with ADM, doesn't necessarily utilize       14       A. Not that I know of that are
     15   it in his role. Other than that, yes, I am the       15   specific from the county government.
     16   only one that has the certification, licensure.      16       Q. Does the ADM Board receive any
     17        Q. Prior to you joining the ADM, do             17   services from the County to assist the ADM
     18   you know whether anyone had licensure in             18   Board in performing opioid-related services?
     19   addiction besides Dr. Ellington?                     19       A. Our Summit County Public Health
     20        A. I'm not certain what Paula's                 20   does have a program where they dis- -- educate
     21   credentials were. I know she was a registered        21   and dispense Project DAWN kits. They also have
     22   nurse, but I don't know if she also had              22   Summit Safe, which is our needle exchange
     23   chemical dependency training.                        23   program. And I -- Summit County Public Health
     24        Q. When did she leave?                          24   had -- gives access to the naloxone medication.
     25        A. It's my understanding she retired a          25       Q. Do you know from where Summit
                                                    Page 135                                                 Page 137
      1   few months before I started. I think there was        1   County Public Health gets the funds to pay for
      2   a couple months' gap before I began.                  2   Project DAWN?
      3       Q. Do you have any understanding of               3       A. Ohio Department of Health.
      4   the ADM Board's relationship with Summit              4       Q. Do you know where the Summit County
      5   County?                                               5   Public Health gets the fund to pay for the
      6       A. Other than the understanding I had             6   needle exchange program?
      7   from when I came on board of we are an entity         7       A. I do not. I do not.
      8   within Summit County that helps fund programs         8       Q. The naloxone that you referred to,
      9   within the county.                                    9   that's part of Project DAWN, right?
     10       Q. Does the ADM Board receive funding            10       A. Yes. So they receive funding from
     11   directly from Summit County?                         11   Ohio Department of Health, and then ADM Board
     12       A. Are you asking, like, specifically            12   does also provide funding to public health
     13   from, like, the county executives or --              13   for -- to go in excess of what Ohio Department
     14       Q. Yeah. So you mentioned earlier                14   of Health funds.
     15   that there is a dedicated levy --                    15       Q. So the Summit County Public Health
     16       A. Correct.                                      16   Department doesn't provide ADM funds; in fact,
     17       Q. -- for the ADM Board, right?                  17   ADM provides Summit County Public Health some
     18       A. Correct.                                      18   funds for Project DAWN, right?
     19       Q. And that those funds come from,               19       A. Yes, yeah.
     20   essentially, the taxpayers of the county,            20       Q. Does the ADM Board provide the
     21   right?                                               21   Summit County Public Health Department funds
     22       A. Correct.                                      22   for the needle exchange?
     23       Q. Are you aware of any funds that the           23       A. I don't know if that's in their
     24   ADM Board receives from the county government        24   contract or not.
     25   to the ADM Board, not counting the levy?             25       Q. Do you know how many contracting

                                                                                              35 (Pages 134 - 137)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 36 of 126. PageID #: 242989


                                                    Page 138                                               Page 140
      1   agencies the ADM Board works with that address        1   specific outcome measurements on a regular
      2   substance use issues?                                 2   basis to the ADM Board; however, I'm not
      3       A. Without having the list in front of            3   knowledgeable of what specifically they're all
      4   me and being able to count it, I don't know the       4   tracking, so I'm -- I don't know.
      5   number offhand.                                       5        Q. Do you know how frequently the
      6       Q. Can you give me a ballpark?                    6   service providers report to the ADM Board?
      7   Recognizing you don't have the list in front of       7        A. Depending on the program, when they
      8   you.                                                  8   complete their contracts with their budget
      9       A. The number of providers that treat             9   applications to ADM Board, they determine if
     10   opioid use disorder? Is that the question?           10   it's going to be quarterly, biannually,
     11       Q. It's a little broader than that.              11   semiannually. But, for the most part, they --
     12       A. Okay.                                         12   the majority report quarterly.
     13       Q. So I'm curious how many service               13        Q. Do they report to you or somebody
     14   providers ADM contracts with that provide            14   else at the ADM Board?
     15   substance --                                         15        A. So there is an outcomes e-mail that
     16       A. Okay.                                         16   everything is submitted to, and it gets saved.
     17       Q. -- use services.                              17   And prior to Eric Hutzell departing, that was
     18       A. Just one more question.                       18   one of his primary responsibilities is -- was
     19       Q. Sure.                                         19   working with the outcomes that were collected.
     20       A. Are you referring to just treatment           20        Q. Do you have access to the outcomes
     21   services, or treatment and prevention?               21   e-mail?
     22       Q. Any kind of services related to               22        A. I do not have access to it, no.
     23   substance use.                                       23        Q. Do you see the reports, whether
     24       A. Okay. I would say, ballpark, 10.              24   they be quarterly or -- or at some other
     25       Q. Of those 10, can you give me an               25   interval, directly or do you just see an
                                                    Page 139                                               Page 141
      1   estimate of how many provide opioid services? 1           analysis done by Eric Hutzell?
      2       A. When you reference just                   2            A. If I want to go into our shared
      3   opioid-specific services, so, generally, all of  3        drive and look at them specifically, I can. I
      4   our addiction providers treat all addictions.    4        have not gone into any of those quarterly
      5       Q. Sure.                                     5        reports and looked at them individually, and
      6       A. Not just one addiction. So are            6        have just -- if there's typically information I
      7   you meaning they have programs that are in       7        need for a report or pres- -- Eric Hutzell
      8   addition to their overall programs that can be   8        would be the one that would compile that
      9   specific for opioid use disorder?                9        information and give that to me.
     10       Q. That's a great question. Let me          10            Q. Have -- do you know whether the ADM
     11   ask it -- I'll ask a little bit of a better     11        Board has interviewed anybody to take Eric's
     12   question.                                       12        positions?
     13            Do any of the 10 --                    13            A. They did begin the interview
     14       A. Okay.                                    14        process last week, I think.
     15       Q. -- only service opioid-related           15            Q. And will you participate in that
     16   issues?                                         16        interview process?
     17       A. No.                                      17            A. When it gets to the clinical team
     18       Q. Recognizing that 10 was an               18        part, yes. As many members that are available
     19   estimate, does the ADM Board track, for each of 19        will participate in that interview.
     20   those contracting service providers, what       20            Q. Do you know what kind of background
     21   portion of their substance use treatment or     21        the ADM Board is looking for to fill that
     22   prevention goes to opioids versus other         22        position?
     23   substances?                                     23            A. I do not. I did not see the -- I
     24       A. What I am aware of is I do know          24        did not look at the job posting before they --
     25   that the providers are required to submit       25        when they posted it.
                                                                                             36 (Pages 138 - 141)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 37 of 126. PageID #: 242990


                                                 Page 142                                                Page 144
      1       Q. What was the other vacancy that you         1        A. Yeah. And also with other
      2   mentioned?                                         2   vacancies that were in the department, it
      3       A. The care access and clients' rights         3   create- -- caused me to have to cover other
      4   coordinator.                                       4   areas that weren't necessarily dedicated
      5       Q. That's not a clinical position,             5   solely, such as the Addiction Helpline covers
      6   right? Or is it?                                   6   all substances, and things like that.
      7       A. It is.                                      7        Q. Did you know, when you first joined
      8       Q. It is?                                      8   the ADM Board, that the vast majority, if not
      9       A. Uh-huh.                                     9   all of your time, would be spent on opioid
     10       Q. Okay. So there are two openings            10   issues when you joined in 2016?
     11   within the clinical group?                        11        A. No.
     12       A. Yes. That position will primarily          12        Q. Did you do anything before you
     13   provide oversight with the adult mental health    13   joined the board to learn about the status of
     14   system, as well as clients' rights officer to     14   the opioid issue in Summit County?
     15   the board.                                        15        A. No.
     16       Q. Does that position have any                16        Q. Did you have any awareness, when
     17   responsibility for addiction services?            17   you joined the board, of the -- the status of
     18       A. Historically, no. Because we are a         18   opioid issues in Summit County?
     19   small department, our desire is to bring on       19        A. Not until I was hired on and was
     20   staff that have a wide history and an             20   orienting for the position.
     21   experience across, so they can cross-cover.       21        Q. Who trained you when you joined?
     22       Q. How much of your work -- I know            22        A. A variety of the clinical team. So
     23   your title includes the word "addiction," but     23   I -- I did receive some orientation from my
     24   how much of your work is focused on addiction     24   supervisor, Aimee Wade. I also received
     25   as opposed to mental health services?             25   orientation from other members of the clinical
                                                 Page 143                                                Page 145
      1        A. I would say 95 percent or higher is      1     team. I spent some time with each of them.
      2   solely addiction.                                2             And then a lot of it was really
      3        Q. And of that 95 percent or higher,        3     figuring out the position for myself, because
      4   can you give me an estimate about how much is 4        it was a newly formed position that they
      5   related to opioid issues?                        5     combined other roles into one. So this
      6        A. I think that number has ebbed and        6     position did not exist completely as it is now
      7   flowed since I've become a staff member. When 7        prior to me coming on board.
      8   I was first hired on, I would say over 90 --     8         Q. The person who retired who preceded
      9   100 percent of the time was dedicated to the     9     you, Paula -- what was her last name?
     10   opioid use disorder. But as far as giving a     10         A. Rabinowitz.
     11   range now, in looking at the various programs 11           Q. Ms. Rabinowitz was with the board
     12   that I provide oversight with and participate   12     for how long?
     13   in, I would say over 50 percent.                13         A. I don't know.
     14        Q. When -- when did that change, that      14         Q. What -- do you have any
     15   percentage? When did it reduce from opioid to 15       understanding of what her responsibilities were
     16   about half-and-half opioid versus non-opioid? 16       when she was with the board before she retired?
     17           MS. KEARSE: Object to form.             17         A. It was my understanding that she
     18        A. I think more recently. I would say      18     provided oversight over the addiction
     19   over the last six -- the -- months or so, we've 19     programming, adult addiction programming, as
     20   kind of tried to expand out and look at other   20     well as I know she was involved with recovery
     21   services we're offering. Like I mentioned       21     housing and peer support.
     22   before, recovery housing isn't only for opioid  22         Q. At some point did you -- strike
     23   use, so a lot of times we'll be dealing with    23     that.
     24   other substances and things like that.          24             Do you agree that there is an
     25        Q. So at some point in 2018?               25     opioid epidemic in Summit County?
                                                                                          37 (Pages 142 - 145)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 38 of 126. PageID #: 242991


                                                   Page 146                                                Page 148
      1       A. Yes.                                      1       focus was the -- the number of pills; is that
      2       Q. When did you first learn that there       2       right?
      3   was an opioid epidemic in Summit County?         3           A. And how there were -- they were so
      4       A. As I mentioned, I didn't really           4       readily accessible and such a large number of
      5   follow Summit County too closely prior to being 5        individuals were abusing medication.
      6   employed in Summit County, and then quickly 6                Q. Did you -- did you understand that,
      7   realized the state hospital was just a very      7       the number of pills, to be referring to
      8   small part of Summit County. So in that sense, 8         prescription opioids versus illicit opioids?
      9   I really didn't involve myself or educate        9           A. It's my understanding that it was
     10   myself on the situation until becoming employed 10       prescription.
     11   in May of 2016.                                 11           Q. So back at that first conference,
     12       Q. So you didn't learn that there was       12       around 2011 or so, you had an understanding
     13   an opioid epidemic in Summit County until you 13         that at least there -- there were reports of --
     14   joined the ADM Board in May of 2016?            14       of high numbers of prescription opioids being
     15            MS. KEARSE: Object to form.            15       available --
     16       A. I would say it's not that I didn't       16                MS. KEARSE: Object to --
     17   know there was an issue. I didn't follow it     17           Q. -- that were problematic in Ohio?
     18   closely. I'm not a resident of Summit County, 18                  MS. KEARSE: Object to form.
     19   nor did -- was that my primary work             19           A. Yes.
     20   responsibility.                                 20                THE REPORTER: I didn't hear the
     21       Q. When did you first become aware of       21       answer.
     22   an opioid issue in Summit County?               22                THE WITNESS: Yes. I'm sorry.
     23       A. I don't have a specific date. I          23           Q. When you joined the ADM Board, did
     24   want to -- in my work at the hospital, prior to 24       any member of the ADM Board provide information
     25   becoming -- coming on board at Summit County, 25         to you specific to the opioid issue as it
                                                   Page 147                                                Page 149
      1   we did work with clients that came from the          1   relates to Summit County?
      2   county at times. But, as I said, I really            2       A. I can't recall the specific
      3   didn't familiarize myself with the situation         3   conversations we had. I know that it was part
      4   prior to becoming employed.                          4   of some of the orientation and on-boarding, and
      5        Q. The conferences that you attended            5   just basically introducing me to programs,
      6   when you were a SAMI counselor, did any of them      6   meetings, committees, so on and so forth. But
      7   talk about the opioid issue in terms of it           7   I don't remember the specifics of the
      8   building an opioid epidemic in any region in         8   conversations.
      9   Ohio?                                                9       Q. Do you remember whether you
     10        A. I don't know if the word "epidemic"         10   reviewed any documents that were prepared by
     11   was used. I know that in the first -- in the        11   the ADM Board that summarize the opioid issue
     12   Ohio opiate conferences through OACBHA, it was      12   in Summit County or anything like that?
     13   definitely a growing discussion in looking at       13       A. When I was first employed, I know,
     14   the -- the increasing issue.                        14   like, at the quarterly Opiate Task Force
     15            If I could recall correctly, the           15   meetings, I would look at the presentation that
     16   initial conference, the first conference,           16   was being presented and would see that
     17   really focused on just -- southern Ohio was a       17   information.
     18   big hot topic. But they really focused on --        18       Q. Did you review any of the reports
     19   just on, per capita, how many pills per person      19   from the Opiate Task Force, either annual
     20   in regions were available, whether that's           20   reports or any other reports generated by the
     21   adult, child, infant, older adult. And that         21   Opiate Task Force?
     22   was a lot of the focus, so that's where the         22       A. When I first was employed or --
     23   discussion -- where I've first heard the            23       Q. Yes, when you were first employed.
     24   discussion in Ohio.                                 24       A. Nothing initially, no.
     25        Q. So at that first conference, a big          25       Q. Since joining the ADM Board, have
                                                                                            38 (Pages 146 - 149)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 39 of 126. PageID #: 242992


                                                     Page 150                                                   Page 152
      1   you reviewed the annual reports of the Opiate          1   PowerPoint for those meetings.
      2   Task Force?                                            2       Q. Did you prepare any written
      3       A. I will look at them, probably a                 3   information for any of those meetings?
      4   couple hours before, because typically that's          4       A. No.
      5   when we get them e-mailed to us. And I will            5       Q. Do you present -- do you present
      6   look at them and then listen to the                    6   the information at the quarterly QRT meetings?
      7   presentation at the board -- at the meetings           7       A. At the time Eric was employed with
      8   when I'm there.                                        8   us, so Eric attended those meetings with me. I
      9       Q. Do you play any role in preparing               9   would assist if he wasn't able to be present,
     10   any portion of the annual report for the Opiate       10   but for the most part, Eric reported that out,
     11   Task Force?                                           11   because he could field any question they may
     12       A. No.                                            12   have.
     13       Q. Do any of the programs that -- that            13       Q. Part of the reports, the quarterly
     14   you're involved with provide annual reports to        14   reports for the QRT, talk about the impact of
     15   the board or to any stakeholders?                     15   the program, right?
     16       A. We did provide an annual report                16       A. Uh-huh.
     17   that Eric Hutzell compiled in 2017 that we had        17       Q. Yes?
     18   discussed earlier. We have not compiled a 2018        18       A. Yes.
     19   report.                                               19       Q. Do you track the impact -- or
     20           There is an overall annual report             20   strike that.
     21   that was completed by the board every year, and       21           Do you monitor the impact of any
     22   I will assist in the areas that fall under me         22   other programs, such as the recovery housing
     23   to provide those updates, such as how many peer       23   program or the peer support program?
     24   recovery supporters have been trained in the          24       A. So with the peer support program,
     25   community, recovery housing beds available, and       25   there's no Summit County peer support program.
                                                     Page 151                                                   Page 153
      1   information of that nature.                      1         It's just there -- we have certified peer
      2       Q. And you'll provide -- for that            2         recovery supports that are employed by various
      3   board annual report, do you provide a narrative 3          entities, whether it's recovery housing
      4   section, or do you provide just data?            4         providers, treatment providers, so on and so
      5       A. I provide the data, and then my           5         forth, the courts. But there's no, like, one
      6   supervisor compiles the report.                  6         central group. So we do not collect any data
      7       Q. Do you ever review or edit any            7         specifically just as Summit County peer
      8   narrative portion of the ADM Board annual        8         support.
      9   report?                                          9                   As far as looking at the recovery
     10       A. No.                                      10         housing, some of the outcomes we do measure is
     11       Q. The annual report that you               11         looking at sobriety time and things of that
     12   referenced earlier today and that you just      12         nature.
     13   mentioned that Mr. Hutzell worked on, that was 13               Q. Do you look at, with respect to
     14   for the Quick Response Team; is that right?     14         recovery housing, whether -- whether there is
     15       A. Correct.                                 15         any repeated need by any one individual?
     16       Q. You also mentioned that there were       16              A. So we have had some individuals
     17   quarterly meetings of the Quick Response Team. 17          that will maybe relapse while they are in the
     18   Did you prepare any sort of reports for those   18         program and will maybe go to detox services and
     19   quarterly meetings?                             19         then get back on track and go into the housing
     20       A. Eric Hutzell prepared the                20         program, so we will work with the providers to
     21   quarterly. Sorry.                               21         allow them to take that client back in.
     22       Q. Did he prepare PowerPoints for           22              Q. Oriana House was involved in the
     23   those meetings?                                 23         recovery housing program until the end of 2017?
     24       A. It was -- it was probably about          24         Is that what you said?
     25   four slides, but, yeah, he would do a           25              A. October 28th was their last day of

                                                                                                39 (Pages 150 - 153)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 40 of 126. PageID #: 242993


                                                  Page 154                                                 Page 156
      1   involvement.                                        1   fiscal calendar at this point.
      2       Q. Okay. What is Oriana House?                  2       Q. Do you know why that change was
      3       A. They're an addiction treatment               3   made?
      4   provider within our county, who work largely        4       A. OhioMHAS is on that fiscal
      5   with the criminal justice system.                   5   schedule, July 1 to June 30th, so it makes
      6       Q. What is ADM's role with respect to           6   things simpler as far as their reporting
      7   Oriana House?                                       7   guidelines and our reporting guidelines. That
      8       A. We are a funder of some of their             8   way they line up.
      9   services.                                           9       Q. So for programs where ADM is
     10       Q. It's a separate entity, though,             10   providing some funding and -- and OHMAS is
     11   right? Oriana House is a separate entity from      11   providing some funding, that allows that, the
     12   the ADM Board?                                     12   funding calendar to be the same, essentially,
     13       A. Correct.                                    13   if you're both on the same fiscal year?
     14       Q. ADM Board funds some services for           14       A. Uh-huh.
     15   Oriana House?                                      15       Q. Is that your understanding?
     16       A. Correct.                                    16       A. Uh-huh.
     17       Q. And we discussed those services             17       Q. You need to say yes or no.
     18   earlier?                                           18       A. Yes.
     19       A. Yeah. As I mentioned off the top            19       Q. Thanks.
     20   of my head, I can only come up with those          20           When the ADM Board first considered
     21   couple, but I know they have more services in      21   implementing Quick Response Teams, did you
     22   their contract. I just don't know it offhand.      22   prepare an ex- -- like a summary of the Quick
     23       Q. Does the ADM Board have one                 23   Response Team and -- and what the -- the goals
     24   contract with the -- with Oriana House?            24   and the plans were for that?
     25       A. Yes.                                        25       A. Possibly. I don't remember. You
                                                  Page 155                                                 Page 157
      1       Q. Is -- do you know whether that's an          1   know, we did send a lot of e-mails out to,
      2   annual contract with Oriana House?                  2   like, as I mentioned, we were reaching out to
      3       A. Yes. It's my understanding all of            3   mayors and police chiefs and fire chiefs, so I
      4   our contracts are annual. I know some were          4   may.
      5   18-month contracts when we transitioned from a      5               - - - - -
      6   calendar year to a fiscal year calendar.            6            (Thereupon, Deposition Exhibit 3,
      7       Q. Did that occur while you were with           7            Document Titled "Objectives and
      8   the board?                                          8            Brief Bio for Quick Response Teams
      9       A. Yes.                                         9            in Summit County," SUMMIT_000945488,
     10       Q. When did that occur?                        10            was marked for purposes of
     11       A. I think it's just finishing up,             11            identification.)
     12   like, the process of them all getting onto the     12               - - - - -
     13   fiscal year calendar, so.                          13       Q. I'm going to hand you what we've
     14       Q. What is the fiscal year?                    14   marked as Exhibit 3 --
     15       A. July 1 to June 30th.                        15       A. Okay.
     16       Q. So before recently, was the ADM             16       Q. -- for identification purposes. If
     17   Board on a calendar year for financial             17   you could please take a look at that and let me
     18   reporting services or purposes?                    18   know whether you recognize that document.
     19       A. Correct.                                    19            MS. FEINSTEIN: While you're
     20       Q. Okay. And until this transition,            20   reviewing it, I'll just note for the record it
     21   2018 to 2019, is when the transition to fiscal     21   is SUMMIT_000945488.
     22   year occurred?                                     22       A. Okay.
     23       A. Some agencies went sooner,                  23       Q. Do you recognize that document?
     24   depending on what the agencies were. So -- but     24       A. Yes.
     25   for the most part, I think they are all on the     25       Q. Do you --

                                                                                            40 (Pages 154 - 157)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 41 of 126. PageID #: 242994


                                                    Page 158                                               Page 160
      1       A. So this was from when we did a call            1       Q. -- is that right?
      2   for presentation in 2017 for the OACBHA opiate        2       A. Yes.
      3   conference. When I co-presented with the two          3       Q. So because those numbers were
      4   Oriana counselors and Cuyahoga Falls police           4   provided to you from the first responders, you
      5   officer, this was what we had to submit to be         5   took them to be valid numbers from those first
      6   considered as a presenter.                            6   responders; is that right?
      7       Q. So this was not a submission to a              7       A. Yes.
      8   county; this was your submission to OACBHA to         8       Q. The next sentence reads,
      9   talk about the Quick Response Teams?                  9   "Additionally, approximately 80 percent of the
     10       A. Yes. So it was basically our                  10   individuals the team spoke with entered into
     11   proposal of what we would present about.             11   some form of treatment program."
     12       Q. Did you prepare Exhibit 3?                    12           Did I read that correctly?
     13       A. I did not. I did provide some                 13       A. Yes.
     14   edits to it. Primarily the two counselors from       14       Q. And was that -- that was your
     15   Oriana House compiled it.                            15   understanding, based on presentations from
     16       Q. And I forget what year that                   16   Colerain Township to Summit County, correct?
     17   presentation was. Was it 2017?                       17       A. Correct.
     18       A. Correct. June of 2017.                        18       Q. Since implementing the program, has
     19       Q. So this was not prepared by you,              19   Summit County seen -- seen similar successes?
     20   Exhibit 3?                                           20       A. So in our 2017 report, we did
     21       A. Not completely. Like I said, I did            21   report 330 individuals entered into some form
     22   make some edits to it before it was submitted.       22   of treatment after being seen by the Quick
     23       Q. There are a couple of stats,                  23   Response Teams. I think that percentage, it
     24   statistics reported for the Colerain                 24   was roughly between -- around 38 percent. I
     25   Township --                                          25   don't have the exact number off the top of my
                                                    Page 159                                               Page 161
      1        A. Yes.                                     1        head.
      2        Q. -- program, the QRT program that         2                One thing we do also take into
      3   you mentioned the Summit County program was 3             account is these are individuals that we are
      4   based on. And looking at the, kind of the        4        tracking solely through our ADM billing system.
      5   first full paragraph under the numbered          5                Another factor is, in Colerain
      6   paragraphs near the top of the document, the     6        Township, their program was structured a little
      7   second sentence reads, "The QRT is modeled       7        differently. They took individuals and would
      8   after Colerain Township, where it saw a 35       8        physically take them and transport them to a
      9   percent decline in the number of emergency       9        residential provider, so to speak. They did
     10   response calls for first responders since       10        assessments on site, is also my understanding,
     11   implementing the program approximately 18       11        with their program there.
     12   months ago."                                    12                So our program is slightly
     13            Did I read that correctly?             13        different, but in the numbers that we saw, in
     14        A. Yes.                                    14        our eyes, of implementing this program, to if
     15        Q. Did -- did Summit County do             15        we could engage just a small number of
     16   anything to confirm the -- the numbers provided 16        individuals into treatment that may not have
     17   by Colerain Township for purposes of the Quick 17         engaged into treatment and prevent just one
     18   Response Team?                                  18        death, we thought that was a success as well.
     19        A. To my knowledge, we took the            19                So we -- we're happy with the
     20   numbers that were presented by their police and 20        results we saw in the first year, and we, at
     21   fire and -- and took those numbers that they    21        our quarterly meetings, are continuing to
     22   presented to us in December.                    22        discuss how we can improve the program as a
     23        Q. And assumed that they were true         23        whole.
     24   based on the source of the information --       24            Q. I'm going to show you just a couple
     25        A. Yes.                                    25        of documents --
                                                                                             41 (Pages 158 - 161)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 42 of 126. PageID #: 242995


                                                   Page 162                                                Page 164
      1       A. Okay.                                     1           Q. So the -- the second page of the
      2       Q. -- to see if these are some of the        2       PowerPoint that has the months in 2017 that
      3   things that you have utilized as a part of kind  3       various communities joined the Quick Response
      4   of evaluating the performance of the Quick       4       Team --
      5   Response program.                                5           A. Correct.
      6              - - - - -                             6           Q. -- that's the slide that you had
      7           (Thereupon, Deposition Exhibit 4,        7       input in?
      8           Document Titled "Summit County Quick 8               A. Correct.
      9           Response Team Quarterly (Q2)             9           Q. Did you observe as Mr. Hutzell
     10           Meeting, September 21, 2017,"           10       presented this information at the quarterly
     11           SUMMIT_000960323, was marked for 11              meeting?
     12           purposes of identification.)            12           A. Yes.
     13              - - - - -                            13           Q. There is a page -- gosh -- it's two
     14       Q. First I'll hand you what we've           14       sheets in, so I believe the fifth page of the
     15   marked as Exhibit 4 for identification          15       presentation. It says, "Treatment Results" at
     16   purposes. It has a cover sheet because the      16       the top.
     17   document was produced to us in native format, 17             A. Yes.
     18   meaning it was a -- this particular document is 18           Q. Do these treatment results
     19   a PowerPoint that was produced in native. And 19         represent both quarters, the first and second
     20   the Bates number on the native is               20       quarter of the QRT, or is this just Q2
     21   SUMMIT_000960323.                               21       reporting?
     22           Have you seen this document before?     22           A. Just quarterly two.
     23       A. Yes.                                     23           Q. Okay. So this is just second
     24       Q. And what is Exhibit 4?                   24       quarter treatment results?
     25       A. This is a PowerPoint presentation        25           A. Correct.
                                                   Page 163                                                Page 165
      1   Eric Hutzell created to present at one of our        1        Q. This slide indicates that 30
      2   quarterly QRT meetings, so it looks like it was      2   percent of the clients entered treatment,
      3   our second meeting since implementing the            3   correct?
      4   program.                                             4        A. Yes.
      5       Q. And you get that from the first               5        Q. And by your earlier testimony, it's
      6   page -- so unfortunately the pages of the            6   my understanding that the 30 percent number
      7   PowerPoint aren't numbered, but I -- this copy       7   represents clients who enter ADM-funded
      8   is double sided, so it's the second sheet of         8   treatment; is that correct?
      9   paper, and the title page of the PowerPoint, it      9        A. Correct. And it's also based on
     10   reads, "Summit County Quick Response Team           10   when the provider bills us, so if they're
     11   Quarterly (Q2) meeting."                            11   delayed in billing us, we don't have access to
     12           Is that correct?                            12   that information, which -- so we do not only
     13       A. Uh-huh.                                      13   look at the immediate. We also, we're looking
     14       Q. Yes?                                         14   farther down, if they would have started to
     15       A. Yes.                                         15   bill us later.
     16       Q. And the date of that meeting is              16        Q. The second sub-bullet under the --
     17   September 21, 2017, correct?                        17   the bullet regarding 30 percent of clients
     18       A. Correct.                                     18   entering treatment references, "43 percent of
     19       Q. This is the PowerPoint that                  19   the clients who received treatment called the
     20   Mr. Hutzell put together?                           20   ADM Helpline."
     21       A. Correct.                                     21            Do you see that?
     22       Q. Did you have any input into the              22        A. Yes.
     23   creation of this PowerPoint?                        23        Q. Does the ADM Board track and
     24       A. I would say other than the page of           24   consider a contact to the ADM Helpline as
     25   the start times of the teams, no.                   25   seeking treatment?
                                                                                            42 (Pages 162 - 165)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 43 of 126. PageID #: 242996


                                                    Page 166                                                 Page 168
      1       A. If an individual calls the ADM                 1   self-report of the client when they schedule
      2   Addiction Helpline and schedules an assessment.       2   their assessment.
      3   So that 43 percent of the clients who receive         3         Q. The next box reads, "The total
      4   treatment called the Addiction Helpline, so           4   jumps to 55 clients from 22 clients when
      5   they went through the ADM Addiction Helpline to       5   comparing the helpline data to the QRT data."
      6   schedule an appointment for an assessment and         6         A. Uh-huh.
      7   showed up.                                            7         Q. What do you understand that to
      8       Q. So they didn't just call the                   8   mean?
      9   helpline. They actually called the helpline to        9         A. That if you're looking at the
     10   schedule an appointment?                             10   individuals in general calling the helpline,
     11       A. Correct.                                      11   but through QRT, saying -- so I mentioned
     12       Q. Okay. Did -- is the ADM Helpline              12   earlier when an individual calls, they ask
     13   sometimes utilized by people just to call to         13   referral source, so it's either a
     14   kind of talk through support, sort of like a         14   self-referral, treatment provider, their
     15   support line as well?                                15   probation officer.
     16       A. No.                                           16             If they're with a Quick Response
     17       Q. It's a referral line?                         17   Team, we've really tried to encourage the QRT
     18       A. Yes. They do track if a person's              18   staff to say -- have them say QRT so that we
     19   not eligible for services. So if an individual       19   can track that effectively. But ultimately
     20   is calling for support or for, like, 12-step         20   it's up to the clients, if they say they were
     21   information, if they do have the capability,         21   calling through QRT.
     22   they will provide that information, but that's       22             So it is, from what I'm looking at
     23   not a purpose of the ADM Addiction Helpline.         23   it, it's showing that individuals working with
     24            The primary purpose is for                  24   the QRT, the number jumps to 55 clients.
     25   individuals to call that one number and be able      25         Q. Is that 55 clients who also had a
                                                    Page 167                                                 Page 169
      1   to get scheduled for the services they're             1   mental health illness or 55 clients who called
      2   requesting. And depending on what provider,           2   the helpline through QRT?
      3   since there's multiple providers.                     3       A. Of -- with mental illness.
      4       Q. Turning now to the -- the next                 4       Q. Okay.
      5   page. At the very top, it reads, "ADM Helpline        5       A. Mental health illness.
      6   results." Do you see that?                            6       Q. Okay. Thank you.
      7       A. Yes.                                           7       A. Uh-huh.
      8       Q. This chart, did you have any role              8       Q. The next page has a graphic
      9   in preparing this chart?                              9   regarding ADM Helpline results. Do you see
     10       A. No.                                           10   that?
     11       Q. Underneath the chart are some                 11       A. Yes.
     12   statistics. So the -- in boxes. There are two        12       Q. Did you have any role in preparing
     13   boxes. The top box reads, "50 percent (22) of        13   this page?
     14   the QRT clients referred to the ADM Helpline         14       A. No. All this was compiled with
     15   had a mental health illness."                        15   Eric -- with our ADM Addiction Helpline and
     16            Did I read that correctly?                  16   their system. We're able to pull all of this
     17       A. Yes.                                          17   information out from their system.
     18       Q. What do you understand that to                18       Q. And do you have any understanding
     19   mean?                                                19   of what this page depicts?
     20       A. So when an individual calls in to             20       A. It depicts for when the individual
     21   schedule an appointment, the staff at the            21   calls in to schedule their assessment, what
     22   helpline will ask a series of questions. Takes       22   substances they're reporting as using. And
     23   about five minutes. And they will ask them if        23   this is the period January 2017 to July 2017.
     24   they have any mental health diagnoses or other       24       Q. And, again, this is self-reported
     25   co-occurring diagnoses, so that was based on         25   information, correct?
                                                                                             43 (Pages 166 - 169)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 44 of 126. PageID #: 242997


                                                  Page 170                                                  Page 172
      1       A. Correct.                                     1   of what that category includes?
      2       Q. This chart includes reporting -- of          2        A. I do not know. I think that's
      3   the callers, 26 reported use of heroin, right?      3   where they would fall if it was not prescribed
      4       A. Correct.                                     4   to them, but they were using it.
      5       Q. Seven reported use of fentanyl?              5        Q. So you take that to mean
      6       A. Correct.                                     6   potentially a prescription opioid, but that it
      7       Q. Do you know whether that is                  7   was not prescribed to them?
      8   prescription fentanyl or illicit fentanyl?          8        A. Correct.
      9       A. I do not know.                               9        Q. But you don't know for -- for sure
     10       Q. Would it -- would you expect it to          10   if that's prescription?
     11   indicate if it was a prescription opioid?          11        A. I do not.
     12           MS. KEARSE: Objection.                     12        Q. Do the ADM Helpline, how are the
     13       A. If you look down, it says                   13   records kept by the ADM Helpline workers? Are
     14   "prescription opiates." So if a person was         14   they kept electronically, or is it in paper?
     15   prescribed the -- it would be their self-report    15        A. Correct.
     16   of how they perceive it, and if they knowingly     16        Q. Electronic?
     17   were taking fentanyl or not.                       17        A. Electronic --
     18       Q. Okay. So if they -- if a -- strike          18        Q. What system --
     19   that.                                              19        A. -- health record.
     20           So the ADM Helpline is only going          20        Q. What system do they put it into?
     21   on the self-report; it doesn't do anything to      21        A. I don't know.
     22   verify the report; is that right?                  22        Q. Do you have access to it?
     23       A. That's my understanding.                    23        A. We do have a password. I do not
     24       Q. And this -- this report from the            24   specifically have the password access to it.
     25   ADM Helpline results that was presented at the     25   Jerry Craig does have access to the data
                                                  Page 171                                                  Page 173
      1   September 21, 2017, QRT quarterly meeting           1   system.
      2   indicates that 26 per- -- 26 callers reported a     2       Q. This report -- strike that.
      3   use of heroin, seven reported a use of              3           Do you know why Mr. Hutzell's
      4   fentanyl, six reported a use of alcohol, right?     4   report to the quarterly QRT meeting includes
      5        A. Uh-huh, yes.                                5   ADM Helpline information?
      6        Q. Five reported a use of                      6       A. So the ADM Helpline was launched
      7   methamphetamines; is that right?                    7   January 17th of 2017. The first Quick Response
      8        A. Yes.                                        8   Team was launched January 17th, 2017. So when
      9        Q. Five reported prescription opiates?         9   we launched the Quick Response Teams, the idea
     10        A. Yes.                                       10   was we're not going to assess them on site, but
     11        Q. Four reported other drugs, unknown.        11   we're going to connect them with the Addiction
     12   What -- what does that mean?                       12   Helpline and sit with them while they schedule
     13        A. So if the individual was using             13   an assessment appointment, as a warm handoff.
     14   other prescriptions. So if it                      14   And that assessment date was -- is also what --
     15   was benzodiazepines or other sedatives. Or         15   reported -- one of the items reported in the
     16   there have been instances where, "I took a         16   monthly data that's submitted to me.
     17   pill. I don't know what it was."                   17       Q. How is the ADM Helpline funded?
     18        Q. Understood. Okay. The next one is          18       A. Through the ADM Board.
     19   cannabis. Two callers reported that, right?        19   Specifically, I don't know.
     20        A. Yes.                                       20       Q. Does the ADM Helpline provide
     21        Q. Two callers reported use of                21   referrals for mental health services?
     22   cocaine, right?                                    22       A. No.
     23        A. Yes.                                       23       Q. Just addiction services?
     24        Q. And then two callers reported other        24       A. Yes.
     25   opioids/opiates. Do you have any understanding     25       Q. Does the ADM Helpline provide

                                                                                            44 (Pages 170 - 173)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 45 of 126. PageID #: 242998


                                                   Page 174                                                  Page 176
      1   referrals for addiction to all substances?           1       A. Six deaths were QRT. 134, yes,
      2        A. Yes.                                         2   were non-QRT.
      3        Q. Directing your attention now to --           3       Q. For a -- for a total of 140 deaths
      4   I wish they were numbered -- a few more pages        4   that were reported, right?
      5   in, to Exhibit 4. It is a slide that has,            5       A. Correct.
      6   "Drug overdose death results," at the top,           6       Q. Were you present when Mr. Hutzell
      7   "Taking a deeper look."                              7   presented this information?
      8        A. Okay.                                        8       A. Yes.
      9        Q. So there are actually two them.              9       Q. And is that -- was that
     10   I'm on the slide that has one main bullet and       10   representing something that was -- strike that.
     11   two sub-bullets. It says, "Suspected drug           11           Did -- was this presented as being
     12   overdose death data."                               12   indicative of the QRT program making a
     13        A. Okay.                                       13   difference in overdoses?
     14        Q. Are you there?                              14       A. I would say yes, because we were
     15        A. Yep.                                        15   providing that outreach and attempting to
     16        Q. Did you have any role in preparing          16   engage clients into services and helping them
     17   this slide?                                         17   navigate the system.
     18        A. No.                                         18       Q. And if you look to the next slide
     19        Q. Do you have any understanding of            19   with -- with text, there's a bell curve graph,
     20   what this slide presents?                           20   and then a slide with additional bullets.
     21        A. Looking at how many fatal overdoses         21       A. Uh-huh.
     22   were reported from the medical examiner's           22       Q. That says, "multiple linear
     23   office.                                             23   regression."
     24        Q. Does the ADM Board regularly review         24       A. Okay.
     25   medical examiner data?                              25       Q. Do you have any idea what multiple
                                                   Page 175                                                  Page 177
      1       A. While Eric was employed with the              1   linear regression is?
      2   ADM Board, he did have access with them, and he      2       A. No.
      3   worked with the medical examiner's office. We        3       Q. That's an Eric Hutzell slide, isn't
      4   do get e-mails -- well, Doug -- Dr. Smith does       4   it?
      5   get an e-mail daily, as well, from the medical       5       A. Yeah. And -- and many people in
      6   examiner.                                            6   the room had blank looks when he was presenting
      7       Q. Do you utilize medical examiner               7   this presentation, so future presentations got
      8   data in your day-to-day work?                        8   much more brief.
      9       A. No.                                           9       Q. The last bullet on that page
     10       Q. Is it important -- is the medical            10   concludes, "This means that QRT visits have a
     11   examiner data an important piece of evaluating      11   significant impact on preventing drug overdose
     12   the effectiveness of the QRT program?               12   deaths amongst visited clients who have entered
     13       A. I think, when looking at the number          13   treatment."
     14   of individuals that were fatal overdoses and        14            Did I read that correctly?
     15   looking at the number of how many individuals       15       A. Yes.
     16   were seen by QRT, the stakeholders with the QRT     16       Q. Is that your understanding of what
     17   teams are interested in that information.           17   the data showed for the first two quarters of
     18       Q. Those stakeholders are the                   18   the QRT program?
     19   counselors, the -- and the first responders; is     19       A. Yes.
     20   that right?                                         20       Q. Then if I could direct your
     21       A. The police and fire chiefs of the            21   attention now to two slides later, titled, "The
     22   county, the cities.                                 22   most important statistic." Are you there?
     23       Q. This slide shows a total of 140              23       A. Uh-huh.
     24   deaths. Six were QRT clients, and 134 were          24       Q. Did you have any role in preparing
     25   non-QRT clients; is that right?                     25   this slide?

                                                                                              45 (Pages 174 - 177)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 46 of 126. PageID #: 242999


                                                     Page 178                                                 Page 180
      1       A. No.                                             1   separate or not. I never looked at the data
      2       Q. This slide reads, "The most                     2   specifically myself to know whether or not.
      3   important statistic," and the bullet is, "Zero         3       Q. Does ADM have an interest in
      4   QRT clients that entered treatment died from a         4   identifying whether the opioid involved in an
      5   drug overdose during this time period."                5   opioid-related overdose is a prescription
      6           Is that correct?                               6   opioid versus an illicit opioid?
      7       A. Correct.                                        7           MS. KEARSE: Object to form.
      8       Q. Do you have any understanding of --             8       A. Can you clarify that?
      9   of what percentage of QRT clients during the           9       Q. Sure. Does the -- does the ADM
     10   second quarter of 2017 were opioid-related            10   Board, for purposes of tracking and evaluating
     11   versus other substances?                              11   the QRT program, have any interest in
     12       A. I don't know offhand.                          12   differentiating among the opioids involved to
     13       Q. Back on -- and I'm sorry to flip               13   identify that number of prescription opioids
     14   back, but the ADM Helpline, results reads that,       14   versus illicit opioids?
     15   "80 percent of the QRT referrals were clients         15       A. So at this time, we're not
     16   who had used some form of opiate."                    16   differentiating in our tracking. In looking at
     17           Does that help refresh your                   17   our outcomes, we're not differentiating versus
     18   recollection of how many QRT clients had              18   prescribed versus illicit.
     19   opiate-related issues as opposed to other             19       Q. At any time has the board
     20   substances, overdose?                                 20   differentiated?
     21       A. I don't know the specific number,              21       A. I don't know.
     22   no.                                                   22       Q. For purposes of the QRT program?
     23       Q. But it's your -- it's certainly                23       A. Not that I'm aware of.
     24   your understanding that the QRT program is            24       Q. For purposes of the ADM Helpline,
     25   making a positive difference with respect to          25   that information appears to be elicited from
                                                     Page 179                                                 Page 181
      1   overdose deaths; is that right?                        1   the callers?
      2        A. Yes.                                           2       A. Correct.
      3        Q. And Colerain Township had                      3       Q. Why is that information elicited
      4   experienced a similar -- similar success with          4   from the callers at the ADM Helpline level?
      5   its program in preventing overdose deaths,             5       A. So when the person calls in, they
      6   right?                                                 6   ask the substances, because specifically if a
      7        A. Yes.                                           7   client's calling in wanting methadone, for
      8        Q. Do you track the QRT program to                8   example, only one provider in Summit County
      9   determine whether there is actually a reduction        9   offers methadone through the helpline. So
     10   in substance abuse due to the QRT program?            10   that's going to immediately direct the person
     11        A. So right now they're -- we're not             11   working with them to do the warm handoff.
     12   tracking that specifically. And some items            12   They're going to offer CHC as the option, as
     13   aren't always necessarily trackable. Some of          13   that's the only provider that offers that
     14   the discussions we've had in our quarterly            14   service.
     15   meetings is just the perception maybe first           15            When they're talking about the
     16   responders have of individuals that are also          16   substances used, that is some of the basic
     17   using substances and engaging them in providing       17   information that the ASCA staff will take. And
     18   them resources. So to see a positive impact on        18   they also then do a three-way call with the
     19   that as well has also been beneficial with us.        19   provider that the client chooses to schedule an
     20        Q. Do you know whether the overdose              20   assessment with.
     21   death data that ADM evaluated from the medical        21            So they will connect -- so for
     22   examiner differentiated among the opioids to          22   example, say a person will choose to schedule
     23   identify prescription opioids versus illicit          23   with CHC. The ASCA staff member will call CHC,
     24   opioids?                                              24   get them on the phone while the person is on
     25        A. I don't -- I don't know if it does            25   hold, give a basic overview of this persons's

                                                                                               46 (Pages 178 - 181)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 47 of 126. PageID #: 243000


                                                    Page 182                                                 Page 184
      1   use, and then they will connect them in a             1   Summit County Opiate Task Force meeting.
      2   three-way call. And then the ASCA staff member        2       Q. Did you have any involvement in
      3   stays on the phone until an appointment is            3   preparing Exhibit 5?
      4   given, and that's when the ASCA staff member          4       A. Other than proofreading it after he
      5   will separate from the call, and they can             5   compiled it, no.
      6   continue any ongoing information that they may        6       Q. I'd like to direct your attention
      7   need to get before coming in for that                 7   to the second page of Exhibit 5, which ends in
      8   appointment.                                          8   Bates number 051. There are some -- in the
      9        Q. Are all of the ADM calls handled by           9   bottom left-hand corner of the second page is a
     10   ASCA staff members?                                  10   quick fact sheet for QRT (2017).
     11        A. For the helpline, yes.                       11            Do you see that?
     12        Q. So all the ADM -- the ADM Helpline           12       A. Yes.
     13   is staffed by ASCA staff members?                    13       Q. Did you have any role in gathering
     14        A. Correct.                                     14   that data?
     15        Q. Who pays for the ASCA staff                  15       A. No. Eric Hutzell compiled it.
     16   members?                                             16       Q. Do you know whether -- strike that.
     17        A. Well, ASCA -- their paychecks                17            Did you do anything to verify this
     18   directly come from ASCA, but ASCA does have a        18   data?
     19   contract with the ADM Board.                         19       A. No. With Eric, I trusted that he
     20        Q. Do you know whether the referral             20   did the background information and ensured it
     21   process is different, and just referring -- I'm      21   was accurate.
     22   just asking about the process itself -- is           22       Q. Are you familiar with these quick
     23   different if the caller identifies that they         23   facts, these three bullets that are set forth
     24   are using a prescription opioid versus an            24   on the second page of Exhibit 5?
     25   illicit opioid?                                      25       A. Yes.
                                                    Page 183                                                 Page 185
      1       A. Not to my knowledge.                           1       Q. The first one reads that, "Of the
      2       Q. Do you have any information about              2   330 clients who received treatment, 72 percent
      3   why it would be important for the staff member        3   (236) of them were seen for opiate use
      4   taking the call to have an understanding of           4   disorders."
      5   whether the user was using a prescription             5           Is that right?
      6   opioid versus an illicit opioid?                      6       A. Yes.
      7       A. I don't know.                                  7       Q. So do you have any understanding of
      8              - - - - -                                  8   what the other 28 percentage of clients with
      9           (Thereupon, Deposition Exhibit 5,             9   QRT were seen for?
     10           ADM Board Document Titled "Summit            10       A. No, I don't.
     11           County Quick Response Team,"                 11       Q. The third bullet reads, "90 percent
     12           SUMMIT_001793050 to 001793051, was           12   of the clients that entered treatment received
     13           marked for purposes of                       13   assessments through the ADM Helpline."
     14           identification.)                             14           Is that right?
     15              - - - - -                                 15       A. Yes.
     16       Q. Next I'm going to hand you what we            16       Q. What do you understand that to
     17   have marked as Exhibit 5 for identification          17   mean?
     18   purposes, and I apologize that it is not             18       A. So 90 percent of the clients that
     19   stapled. It is a two-page document bearing           19   entered into treatment that were seen through
     20   Bates numbers SUMMIT_001793050 through 051.          20   QRT scheduled assessments through the ADM
     21           Do you recognize this document?              21   Helpline.
     22       A. Yes. This was the 2017 annual                 22       Q. Was that a good number? Was that
     23   report that Eric Hutzell compiled.                   23   something that -- that you were hoping to see
     24       Q. For the Quick Response Team?                  24   after the first year of the program?
     25       A. Yes, we also handed it out at our             25       A. Yes, because our overall goal was
                                                                                             47 (Pages 182 - 185)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 48 of 126. PageID #: 243001


                                                 Page 186                                                Page 188
      1   for the teams to work with the ADM Helpline,     1   it continues to 754.
      2   because we were able to get clients in to be     2           If you could take a moment to flip
      3   seen sooner.                                     3   through this e-mail string and let me know
      4       Q. Does the ADM Helpline only refer          4   whether you've seen this before.
      5   clients to ADM services?                         5        A. Martha is from Wheeling, West
      6       A. We do have two providers that are         6   Virginia. They received a grant, and they were
      7   part of the helpline now that are not            7   looking to implement Quick Response Teams, and
      8   ADM-funded.                                      8   so they reached out to us.
      9       Q. In 2017, were there any                   9        Q. And you -- you provided her some
     10   non-ADM-funded entities that could be referred 10    information?
     11   to through the ADM Helpline?                    11        A. Yes.
     12       A. I don't know, because I -- it was        12        Q. Did you meet with her to give her
     13   not my primary responsibility for the helpline, 13   information or just talk with her on the phone?
     14   so I'm not sure when some of the providers came 14        A. It was a phone conference.
     15   on board.                                       15        Q. Directing your attention, please,
     16       Q. Directing your attention to the --       16   to the third page of the document with Bates
     17   the first page of Exhibit 5, there is a chart   17   pages 751 in the bottom right-hand corner.
     18   at the bottom right-hand corner.                18   It's double sides, so it's the -- the e-mail
     19       A. Uh-huh.                                  19   from you at the -- is at the bottom of the
     20       Q. It reads, "The top five substances       20   page, dated Friday May 18, 2018.
     21   reported from the ADM Helpline in 2017."        21        A. Uh-huh.
     22            Do you see that?                       22        Q. Do you see that?
     23       A. Yes.                                     23        A. Yes.
     24       Q. And none of those top five are           24        Q. And in your e-mail, you write,
     25   prescription opioids, correct?                  25   "Attached or some documents we have created for
                                                 Page 187                                                Page 189
      1       A. Correct.                                 1    QRT. The Excel document is what we collect
      2       Q. In the -- the QRT program continued      2    monthly from the counselors/peer supporters,
      3   in 2018, correct?                               3    and our research and QI coordinator analyzes it
      4       A. Correct.                                 4    for us."
      5       Q. Do you know someone named Martha         5             Did I read that correctly?
      6   Polinsky?                                       6        A. Yes.
      7       A. Off the top of my head, no.              7        Q. And that is the monthly reporting
      8   Possibly.                                       8    that you get that you described to us earlier,
      9       Q. Let me mark this e-mail for you and      9    correct?
     10   see if it --                                   10        A. Yes. That was a blank template we
     11       A. Okay.                                   11    sent her.
     12       Q. -- refreshes your recollection.         12        Q. Okay. Then you offered to speak
     13                - - - - -                         13    with her about how to gather and then analyze
     14            (Thereupon, Deposition Exhibit 6,     14    the information, correct?
     15            May 2018 E-Mail Chain Re: QRT,        15        A. Correct.
     16            SUMMIT_000970749 to 000970754, was    16        Q. Do you know whether Mr. Hutzell
     17            marked for purposes of                17    spoke with her at all about how to analyze the
     18            identification.)                      18    information?
     19                - - - - -                         19        A. I don't know if they had specific
     20       Q. I'm going to hand you what we've        20    conversations or not.
     21   marked as Exhibit 6 --                         21        Q. Continuing now to -- moving forward
     22       A. Okay.                                   22    kind of in the e-mail string, so the next page
     23       Q. -- for identification purposes.         23    moving forward, there's an e-mail from
     24   Exhibit 6 is an e-mail string that the         24    Ms. Polinsky to you dated May 24, 2018, near
     25   beginning Bates number is SUMMIT_00970749, and 25    the top of the page. Do you see that?
                                                                                         48 (Pages 186 - 189)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 49 of 126. PageID #: 243002


                                                    Page 190                                                   Page 192
      1        A. Yes.                                          1   fearful of dying from the opiate use. And in
      2        Q. And she writes, "Thanks again. You            2   her eyes, she was switching one addiction for
      3   spoke of a 40 percent success rate in getting         3   another. So we did see individuals with that
      4   overdose survives treatment. Is that correct?         4   mentality of switching their addiction and what
      5   Have you seen a decline in overdoses yet?"            5   they were using, because they felt it was less
      6           Do you recall giving her that                 6   lethal.
      7   information?                                          7           We also saw that although the
      8        A. So I do recall. So -- and then                8   number of deaths were decreasing, we also saw
      9   that was -- at the time we were looking at, it        9   the number of DAWN kits and naloxone was
     10   ebbed and flowed between 36 and 42 percent           10   increased in -- and we saw those numbers going
     11   of -- with the Quick Response Teams, of              11   up. So I do also believe that also contributed
     12   individuals engaging in treatment.                   12   to the lower death rate.
     13        Q. And you recall giving Ms. Polinsky           13       Q. So the QRT program contributed to
     14   that information?                                    14   lower death rates, you think; is that right?
     15        A. Yes.                                         15       A. A portion of it.
     16        Q. Did you give her any documents with          16       Q. And the use of DAWN kits helped
     17   that information on it or verbally report it?        17   contribute to lower death rates; is that right?
     18        A. It was verbally over the phone.              18       A. I do believe that it helped.
     19        Q. And the next page, which is the              19       Q. Do you have any understanding of
     20   first page of Exhibit 6, is an e-mail from you,      20   what portion of opioid deaths in 2016, 2017, or
     21   in the middle of the page, dated May 25, 2018.       21   2018 were attributable to prescription opioids
     22           Do you see that?                             22   versus non-prescription opioids?
     23        A. Yes.                                         23       A. I don't know that information
     24        Q. You write, "Both deaths and actual           24   specifically.
     25   overdoses have declined this year when compared      25       Q. And it was your impression, in --
                                                    Page 191                                                   Page 193
      1   to the previous year."                                1   at least in May of 2018, that, at least
      2            Did I read that correctly?                   2   anecdotally, some users of substances were
      3       A. Yes.                                           3   shifting their use from opioids to some other
      4       Q. And was that based on the data from            4   substance; is that right?
      5   both the medical examiner and from the QRT?           5        A. Or they were using them
      6       A. I would say it was mostly from the             6   concurrently.
      7   medical examiner information that we were             7        Q. And we saw in the annual report
      8   getting.                                              8   that at least calls to the ADM Helpline did not
      9       Q. The next sentence reads, "It seems             9   include prescription opioids in the top five
     10   cocaine, meth, and other stimulant drugs are         10   substances reported, right?
     11   being used more commonly. These typically have       11        A. Correct.
     12   a lower mortality and a higher morbidity."           12            MS. KEARSE: Object to form.
     13            Did I read that correctly?                  13        Q. Do you have any understanding of
     14       A. Yes.                                          14   whether there was a decline in the misuse of
     15       Q. Why were you reporting that                   15   prescription opioids in the 2017-2018 time
     16   information to her?                                  16   frame?
     17       A. Because -- and this does relate               17        A. I don't know.
     18   directly with the Quick Response Teams -- when       18        Q. Do you know whether the Summit ADM
     19   our Quick Response Teams were going out, for         19   Board tracks that information?
     20   example, we had one indication where, in our         20        A. I can't -- I don't know if they do
     21   Cuyahoga Falls team, they went out to meet with      21   specifically or not.
     22   a female that had an opioid overdose, and she        22        Q. Aside from the ADM Helpline, that
     23   had told the officers, "No, I'm okay. I'm            23   is; is that right?
     24   going to use meth now." Because, in her eyes,        24        A. Correct, yeah.
     25   she still had that addiction, but she was            25        Q. Has the ADM Helpline always

                                                                                               49 (Pages 190 - 193)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 50 of 126. PageID #: 243003


                                                  Page 194                                                 Page 196
      1   requested information regarding whether a           1       A. Yes.
      2   caller was using a prescription opioid versus a     2       Q. Does the ADM Board do any sort of
      3   non-prescription opioid?                            3   cost outcome analysis to determine whether it
      4       A. To my knowledge, yes.                        4   will continue to fund any particular program?
      5       Q. Is there a script or something that          5       A. I don't know. What I do know is
      6   the ADM Helpline staffer is trained to use, if      6   that when we are evaluating programs, we are
      7   somebody identifies an opioid, do they follow       7   now directly pulling in their outcomes as part
      8   up with questions, then, to determine whether       8   of their funding. So -- in part of the audit
      9   or not it's a prescription versus a                 9   process as well, of looking at the outcomes.
     10   non-prescription?                                  10       Q. Do you have any role in the audit
     11       A. I was not part of the initial               11   process?
     12   on-boarding and training. I know there were        12       A. Yes.
     13   some scripts that were created for the staff as    13       Q. What is your role?
     14   a step-by-step process for a caller, based on      14       A. So with the treatment providers, I
     15   what they answer, but I don't know specifically    15   assist. I am not the primary staff responsible
     16   what that protocol was.                            16   for the treatment provider audits. The care --
     17       Q. Do you know if the ADM has those            17   the clinical compliance and care management
     18   scripts still?                                     18   coordinator is that -- that's the role that is
     19       A. I know we did create a manual when          19   primarily responsible for those and will be
     20   we on-boarded everyone.                            20   scheduling those. And the whole clinical team
     21       Q. Have you ever seen the manual?              21   kind of signs up to help with various agencies.
     22       A. The training manual for providers           22   And then I am the primary contact for the
     23   as they became part of the helpline? I do have     23   prevention audits, as well as the recovery
     24   a copy of it, yes; however, it's not updated       24   housing audits.
     25   because it was created when we first created       25       Q. How many prevention programs are
                                                  Page 195                                                 Page 197
      1   the helpline.                                       1   there related to opioids?
      2       Q. Do you know if -- if it had -- if            2       A. We have no programs that are
      3   that document -- not your copy, obviously --        3   specific opioid-only.
      4   but whether the -- the helpline manual was          4       Q. Does the ADM Board have to engage
      5   updated at any point?                               5   in peer reviews of other agencies?
      6       A. That I don't know. I -- I can say,           6       A. Of other boards or other treatment
      7   from the time I covered it, from July to            7   providers outside of Summit County?
      8   November, I did not provide updates to it yet.      8       Q. Either. Yeah, either.
      9   We do need to update, because we had two new        9       A. I know my supervisor does
     10   providers come on board.                           10   participate in doing those peer reviews with
     11       Q. Do you know whether the requests --         11   other boards.
     12   strike that.                                       12       Q. Do you have any understanding of
     13            Do you know whether during the ADM        13   what that program involves?
     14   Helpline call when the staff member is             14       A. No, not specifically. I know when
     15   discussing with the caller whether the caller      15   we may get some e-mails or follow-up questions
     16   is using prescription opioids, whether they        16   when we're -- because we also are reviewed by
     17   request information about whether that             17   other teams, but as far as specifically what's
     18   prescription opioid was prescribed to the          18   entailed with that, I mean, we may provide some
     19   caller?                                            19   feedback or some information if they're
     20       A. I don't know how much specifics             20   requesting it specifically, but not involved
     21   they get into from the helpline staff              21   directly with preparing.
     22   themselves.                                        22       Q. Have you ever been involved in a
     23       Q. Does the ADM Board track outcomes           23   peer review process for any other agency
     24   for all of its programs that you're involved       24   outside of Summit County?
     25   with?                                              25       A. When I worked at Northcoast
                                                                                            50 (Pages 194 - 197)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 51 of 126. PageID #: 243004


                                                   Page 198                                                Page 200
      1   Behavioral Healthcare, I did fidelity reviews    1       of what substances are usually associated with
      2   at other state hospitals.                        2       overdoses in Summit County?
      3       Q. Since you've been with the ADM            3            A. I do not because -- the only
      4   Board, have you engaged in any such peer         4       information I'm given is, "Was it an overdose?"
      5   reviews?                                         5       And then they give us information if it was a
      6       A. No.                                       6       suspected overdose.
      7       Q. Do you know whether any outside           7            Q. Have you ever seen any reports
      8   agency has evaluated the ADM Board's services 8          in -- in the newspaper or anywhere that
      9   related to opioids?                              9       attribute opioid-related overdoses to any
     10       A. I don't know.                            10       particular opioid?
     11            MS. FEINSTEIN: Why don't we take a 11                A. I don't recall seeing anything
     12   short break here.                               12       specifically naming specific --
     13            THE VIDEOGRAPHER: Off the record, 13                 Q. How about any --
     14   2:12.                                           14            A. -- medications.
     15             (A recess was taken.)                 15            Q. I'm sorry.
     16            THE VIDEOGRAPHER: On the record, 16                      How about at any of the Opioid --
     17   2:33.                                           17       Opiate Task Force meetings that you've
     18            MS. FEINSTEIN: Thank you.              18       attended, has there been any discussion at any
     19   BY MS. FEINSTEIN:                               19       of those meetings about what substances are
     20       Q. Ms. Patton, before the break, at         20       more commonly seen in overdose deaths?
     21   least a little bit before the break, we were    21                MS. KEARSE: Object to form.
     22   looking at Exhibit 6, and the last e-mail that  22            A. I can't recall specifically the --
     23   we discussed in Exhibit 6 you had written to    23       in the presentations of the meetings, if --
     24   Ms. Polinsky that it seemed that cocaine, meth, 24       what specific medications were discussed with
     25   and other stimulants were being used a little   25       the over -- as related to overdoses.
                                                   Page 199                                                Page 201
      1   more commonly. Do you recall that?                   1       Q. Do you have a sense of whether they
      2        A. Uh-huh, yes.                                 2   were prescription opioids versus illicit
      3        Q. And you testified that it was your           3   opioids?
      4   understanding that there was a switch from           4       A. I don't recall seeing any of the
      5   opioid users to those substances? Is that your       5   data --
      6   understanding?                                       6       Q. Do you have --
      7            MS. KEARSE: Object to form.                 7       A. -- that will specific say was it a
      8        A. No. I think what we've -- we have            8   prescription or was it illicit use. I believe
      9   seen an increase of those substances in our          9   there's both.
     10   communities. What I do think is that some           10       Q. In the overdose deaths, you believe
     11   individuals perceive it as less lethal, so they     11   there's both?
     12   were -- some -- some of them were using other       12       A. Correct.
     13   substances if they felt it was a safer              13       Q. Where would you go if you wanted to
     14   substance for them to use. But I do believe we      14   get that information?
     15   still do have a significant number of               15       A. My first step would probably be to
     16   individuals with opioid use disorder.               16   go to Dr. Smith to see who I could contact to
     17        Q. Do you have any understanding of            17   get that information, or if at the time that
     18   what types of opioids are associated with the       18   Eric was still employed with us, I'd ask him.
     19   overdoses seen in Summit County?                    19       Q. So either Eric or -- Mr. Hutzell or
     20        A. I myself do not specifically see            20   Dr. Smith?
     21   those reports that will differentiate the           21       A. Correct. I'd ask them.
     22   substances specifically.                            22       Q. You wouldn't ask Mr. Hutzell now,
     23        Q. Do you have any understanding,              23   though, because he's at the Cleveland Clinic,
     24   aside from whether or not you've seen them in       24   right?
     25   reports or not, do you have any understanding       25       A. Yeah.
                                                                                            51 (Pages 198 - 201)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 52 of 126. PageID #: 243005


                                                    Page 202                                                 Page 204
      1        Q. Although you could, I suppose,                1   presentations at the Opiate Task Force?
      2   still call him.                                       2       A. No.
      3             MS. KEARSE: Object to form.                 3               - - - - -
      4        Q. So did you work directly with                 4           (Thereupon, Deposition Exhibit 7,
      5   Dr. Smith when you were at -- at Northcoast           5           Document Titled "Training &
      6   Behavioral Healthcare?                                6           Development Request,"
      7        A. Not directly, no.                             7           SUMMIT_000945633, was marked for
      8        Q. He was the medical director; is               8           purposes of identification.)
      9   that right?                                           9               - - - - -
     10        A. Correct.                                     10       Q. I'm going to show you a document
     11        Q. And now he is -- what is his title           11   that we have marked as Exhibit 7 for
     12   at the ADM Board?                                    12   identification purposes.
     13        A. I'm not sure, but -- his official            13           Do you recognize Exhibit 7?
     14   title, if it's medical director, chief clinical      14       A. Yes.
     15   officer, but --                                      15           MS. FEINSTEIN: It is, just for the
     16        Q. He was --                                    16   record, for those on the phone, it's a document
     17        A. -- something of that sorts.                  17   with Bates SUMMIT_000945633.
     18        Q. And he was at the ADM Board when             18       Q. What is Exhibit 7?
     19   you joined the ADM Board in 2016, right?             19       A. It was a training and development
     20        A. Yes.                                         20   request to attend the National Cocaine, Meth,
     21        Q. You did not interview with                   21   and Stimulant Summit.
     22   Dr. Smith, though, when you joined the ADM           22       Q. Did you prepare this document?
     23   Board, right?                                        23       A. Yes.
     24        A. No, he was not part of the                   24       Q. In the middle of the page, there's
     25   interview.                                           25   a paragraph that poses the question, "How will
                                                    Page 203                                                 Page 205
      1       Q. Did you talk with him at all about             1   this course/workshop/seminar and/or program
      2   the job before you took it?                           2   benefit you, your job, and/or the agency."
      3       A. No.                                            3            Do you see that?
      4       Q. Was Dr. Smith well-respected at                4       A. Yes.
      5   Northcoast Behavioral Healthcare?                     5       Q. And underneath that, it reads, "In
      6       A. Yes.                                           6   Summit County, we are seeing emerging --
      7       Q. Is he well-respected at the ADM                7   emerging trends with substance use other than
      8   Board?                                                8   opioids. Our community has especially seen a
      9       A. Yes.                                           9   rise in the use of methamphetamines."
     10       Q. Do you have any sense of -- of                10            Did I read that correctly?
     11   whether Dr. Smith has a role -- strike that.         11       A. Yes.
     12           Do you know whether Dr. Smith has a          12       Q. Did you write those two sentences?
     13   role with the Summit County Opiate Task Force?       13       A. Yes.
     14       A. Yes. He participates on the health            14       Q. When did you start seeing emerging
     15   care subcommittee.                                   15   trends with substance use other than opioids in
     16       Q. Does he have any other role; do you           16   Summit County?
     17   know?                                                17       A. I would say approximately -- and it
     18       A. I know he has done presentations              18   was more in the discussion of our meetings,
     19   every now and again.                                 19   whether it be Quick Response Team meeting or
     20       Q. Have you seen some of his                     20   other treatment provider meetings -- in the
     21   presentations?                                       21   summer of 2018.
     22       A. I have not, other than the one that           22       Q. This document is dated -- the date
     23   I had mentioned, in the fall at the behavioral       23   of the request is dated May 8, 2018, right?
     24   health fair.                                         24       A. Uh-huh, yes.
     25       Q. But you've not seen his                       25       Q. Does that help sort of place in
                                                                                              52 (Pages 202 - 205)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 53 of 126. PageID #: 243006


                                                    Page 206                                              Page 208
      1   time for you when you started seeing that --          1   Vince Caraffi?
      2   that change?                                          2       A. Yes.
      3           MS. KEARSE: Object to form.                   3       Q. Who is Mr. Caraffi?
      4       A. If so, I initially said summer. It             4       A. He provided -- was the point person
      5   may have been a couple months earlier, but it         5   for the Cuyahoga County Opiate Task Force. He
      6   was early -- it was in 2018 that we started           6   worked for Cuyahoga County Department of
      7   that discussion, and some of our law                  7   Health.
      8   enforcement and other neighboring areas were          8       Q. Did you interface with him when you
      9   saying they were also seeing a trend.                 9   were at Northcoast Behavioral Health?
     10       Q. In your work in addiction at                  10       A. Minimally, yes.
     11   Northcoast Behavioral Healthcare or with the         11       Q. Do you know Nancy Pommerening?
     12   ADM Board, have you seen -- have you seen            12       A. No.
     13   trends with substance use over that time             13       Q. And the program Prescription For
     14   period?                                              14   Prevention doesn't ring a bell to you?
     15           MS. KEARSE: Object to form.                  15       A. Off the top of my head, no.
     16       A. I would -- yes.                               16               - - - - -
     17       Q. With -- what different trends have            17           (Thereupon, Deposition Exhibit 8,
     18   you seen over the course of your career in           18           Document Titled "Prescription for
     19   addiction?                                           19           Prevention: Cuyahoga County
     20       A. I would say while at Northcoast               20           Coalition Minutes from April 20,
     21   specifically, we did see a large population          21           2011 Meeting," CLEVE_000216547 to
     22   coming in, abuse -- abusing opioids, prescribed      22           000216548, was marked for purposes
     23   opioids, and coming in -- they were coming into      23           of identification.)
     24   our system because perhaps maybe the community       24               - - - - -
     25   they were coming from didn't have resources,         25       Q. I'm going to show you a document
                                                    Page 207                                              Page 209
      1   and so they were coming in for services at our        1   that was produced by Cleveland, but you were
      2   hospital.                                             2   copied on the cover e-mail. We'll mark it
      3           We have also seen, as I mentioned             3   as --
      4   previously, recently, an increase in stimulant        4        A. Okay.
      5   use as well.                                          5        Q. -- Exhibit 8.
      6       Q. When did you first start seeing it             6            Just let me know whether you've
      7   at Northcoast Behavioral Health, the patients         7   seen that before.
      8   coming in seeking treatment for prescription          8            It is Bates labeled
      9   opioid use?                                           9   CLEVE_000216547.
     10       A. I don't have an exact date, but I             10            Do you recognize this document at
     11   would say probably around 2011.                      11   all?
     12       Q. Do you recall a program called                12        A. (Witness shaking head.)
     13   Prescription For Prevention?                         13        Q. Does it refresh your recollection
     14       A. No.                                           14   at all, seeing it?
     15       Q. I'm sorry. The answer --                      15        A. No.
     16       A. No.                                           16        Q. Okay. Do you know who --
     17       Q. Do you recall attending meetings --           17            THE REPORTER: If you could speak
     18   strike that.                                         18   up a little bit more --
     19           Do you recall receiving information          19            THE WITNESS: Yes. Sorry about
     20   regarding meetings in 2011 from a Cuyahoga           20   that. Yes, I'm sorry about that.
     21   County coalition related to prescription             21            THE REPORTER: Thanks.
     22   opioids?                                             22        Q. Do you remember -- strike that.
     23       A. Offhand, no. I -- off the top of              23   Have you ever heard from a Sheriff Rogers from
     24   my head, no, I don't remember.                       24   Adams County?
     25       Q. Do you know an individual named               25        A. I did attend a few meetings of the
                                                                                            53 (Pages 206 - 209)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 54 of 126. PageID #: 243007


                                                   Page 210                                                Page 212
      1   Cuyahoga County Opiate Task Force, so if I can       1   use and the prescriptions and so that the
      2   recall correctly, he attended one of the             2   prescribing physicians would have access to
      3   meetings that I attended.                            3   that information.
      4       Q. Do you remember about when you                4       Q. Was that the first time that you
      5   attended those meetings?                             5   had learned of OARRS; was that at a Cuyahoga
      6       A. I would say I -- around 2011 is               6   County Opiate Task Force meeting?
      7   when I attended one of the first meetings. I         7            MS. KEARSE: Object to form.
      8   did not attend regularly, but probably up until      8       A. I -- I know that the staff at
      9   about 2015 or so, I did go, here and there, to       9   Northcoast also did utilize the OARRS form, so
     10   some of their Opiate Task Force meetings.           10   I can't recall specifically if it was at
     11            MS. KEARSE: I may be blind, so             11   Northcoast or the meetings.
     12   just -- I'm trying to find her name on the          12       Q. Sure. What is your understanding
     13   document.                                           13   of the opioid epidemic? What -- what
     14            MS. FEINSTEIN: Yeah, her name is           14   understanding do you have of when it started in
     15   not -- just, I'll just note for the record,         15   Ohio?
     16   Ms. Patton's name is not on this document. It       16            MS. KEARSE: Object to form. I
     17   was attached to a mass e-mail that had a bunch      17   think she asked and answered that question
     18   of e-mail addresses, and her e-mail at the          18   already.
     19   hospital at Northcoast Behavioral Health.           19       A. So as I had stated previously, I
     20            MS. KEARSE: Okay. Do you have              20   did beco- -- start becoming involved in around
     21   that e-mail?                                        21   2011 with some of the initiatives going on
     22            MS. FEINSTEIN: I don't have it             22   throughout the state and some of the trainings
     23   marked as an exhibit, but I can provide it to       23   at that time.
     24   you later.                                          24       Q. And we've been using the terms
     25            MS. KEARSE: Okay, yeah. That's             25   "opioids" and "opiates" quite a bit, so just to
                                                   Page 211                                                Page 213
      1   good. I just don't want the -- I do not see          1   make sure that we're on the same page when
      2   Ms. Patton's name anywhere on the document, nor      2   we're using those terms, what -- what is your
      3   do I have a copy of the e-mail to confirm or         3   understanding of the term "opioid"?
      4   deny that she got the e-mail or that she ever        4       A. So what the opioid is, looking at
      5   even read the document.                              5   the prescription opioids, so looking at some of
      6           MS. FEINSTEIN: Yeah. And it                  6   the specific medications fall under opioid, and
      7   doesn't refresh her recollection. That was the       7   how they interact --
      8   only reason for me putting it if front of her.       8       Q. Do you have any --
      9       Q. Do you recall learning anything               9       A. -- with the individual.
     10   about the opioid epidemic at any of the             10       Q. And I'm sorry. I didn't mean --
     11   Cuyahoga County Opiate Task Force meetings that     11       A. That's okay.
     12   you attended in that time period, 2011 to 2015?     12       Q. -- to cut you off.
     13           MS. KEARSE: Object to form.                 13           Do you have any understanding of
     14       A. In some of the meetings that I did           14   what the term "opiate" means?
     15   attend, yes, we did -- we -- it was a very          15       A. So -- and I know a lot of times
     16   small group. I would say probably about 30          16   they're used interchangeably. So with the
     17   people at some of the -- or less at the             17   opiates, I think that referred to another
     18   meetings that I did attend.                         18   subgroup of looking at not only the medication,
     19           They were -- a lot of the topics            19   but also looking at other opiates, such as --
     20   talking -- I know they had someone from the         20   because heroin is an opiate, so to speak.
     21   Board of Pharmacy that participated, and we         21       Q. Do you know for how long
     22   talked about the opiate medications and the         22   prescription opioids have been available for
     23   implementation of the OARRS program that they       23   prescription in the United States?
     24   were creating to help address, hopefully,           24       A. I do not.
     25   individuals and looking at individuals' opioid      25       Q. Do you have an understanding of --
                                                                                            54 (Pages 210 - 213)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 55 of 126. PageID #: 243008


                                                   Page 214                                                  Page 216
      1   of the -- strike that.                               1   Northcoast Behavioral Healthcare or through the
      2           Do you know that prescription                2   ADM Board, have you ever seen the patient
      3   opioids are approved by the Food and Drug            3   information that accompanies a prescription
      4   Administration?                                      4   opioid that includes information on the use of
      5       A. Do I -- yes, that some of them are,           5   the opioid and risks associated with that
      6   yes.                                                 6   prescription opioid?
      7       Q. Are you aware of any prescription             7       A. So the -- when a person is -- was
      8   opioid that's available by prescription that is      8   discharged from hospital, part of their
      9   not approved by the FDA?                             9   discharge paperwork included medications and
     10       A. No.                                          10   any information related to those medications.
     11       Q. Do you have any understanding of             11       Q. And have you read any information
     12   the FDA approval process?                           12   related to prescription opioids that included
     13       A. I don't have a good understanding            13   information about risks associated with
     14   of what all entails in that process, no.            14   prescription opioids?
     15       Q. Do you -- do you know anything               15       A. I have, but I don't, off the top of
     16   about -- strike that.                               16   my head, recall specifically what any of it
     17           Have you ever taken a prescription          17   stated, because it's been quite some time.
     18   opioid?                                             18       Q. Do you have an understanding that
     19           MS. KEARSE: I'm going to -- I'm             19   prescription opioids have a risk of addiction
     20   going to object and just advise the witness she     20   associated with them?
     21   can answer that question if she wants, but she      21           MS. KEARSE: Object to form.
     22   has her own rights and protection if she            22       A. Yes.
     23   doesn't want to answer questions about her --       23       Q. How did you develop that
     24   anything medically-related, HIPAA rights.           24   understanding that opioids have a risk of
     25       A. I would prefer not to answer.                25   addiction?
                                                   Page 215                                                  Page 217
      1       Q. Have you ever taken a prescription        1           A. So my understanding is with some of
      2   medication that had information provided about 2         that paperwork, like you said, have I ever,
      3   that information in -- in writing in a package   3       with the clients working at Northcoast, get
      4   insert or label?                                 4       what's provided by the pharma- -- pharmacy
      5           MS. KEARSE: Object to form.              5       department and seeing some of the paperwork.
      6       A. So as it relates to my personal           6           Q. Prior to seeing any paperwork, as a
      7   history? I would prefer not to answer.           7       part of your training at any point, either
      8       Q. So -- and my question is very             8       through your master's program or your
      9   general. You're aware that prescription          9       bachelor's program, have you received any
     10   medications come with information regarding     10       information regarding the risk of addiction as
     11   instructions for use and risks and warnings     11       associated with prescription opioids?
     12   right?                                          12           A. In some of the coursework with --
     13           MS. KEARSE: Object to form.             13       not in my undergraduate program, but in some of
     14       A. So from the pharmacies, yes, they        14       the other coursework programs, when covering
     15   give papers at times with medication.           15       opioids, yes.
     16       Q. Have you ever -- have you ever read      16           Q. So back in your master's program
     17   any of the accompanying information that comes 17        you learned that opioids carry with them a risk
     18   with a prescription opioid that includes        18       of addiction?
     19   information about the use, risks, and warnings? 19           A. As well -- in the Columbus State
     20           MS. KEARSE: Object to form.             20       program.
     21       A. As far as my own personal use,           21           Q. And about what -- what year was
     22   again, I care not to answer, as it relates to   22       that that you first learned that?
     23   any personal medical history and prescriptions 23            A. I attended Columbus State, I don't
     24   given.                                          24       remember the specific start date, but
     25       Q. As a part of your work at                25       approximately 2004 is when I began my program.

                                                                                              55 (Pages 214 - 217)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 56 of 126. PageID #: 243009


                                                     Page 218                                                Page 220
      1   And I completed the program in 2005, so --             1   taking the prescription, their brain is
      2       Q. Somewhere in that time frame?                   2   triggered with that substance, and then it
      3   Okay.                                                  3   could form into an addicted habit for that --
      4           At any point did you become aware              4   or an addiction for that individual.
      5   that prescription opioids also have associated         5            So I think there are times where a
      6   with them a risk of death?                             6   medical professional can prescribe; however,
      7           MS. KEARSE: Object to form.                    7   there are so many other factors that tie into
      8       A. During my coursework, I don't                   8   it that could potentially lead to an addiction.
      9   recall being taught that.                              9        Q. Do you know whether -- strike that.
     10       Q. But you do recall learning about               10            Do you agree that only certain
     11   the risk of addiction?                                11   medical professionals can provide patients with
     12       A. Yes.                                           12   prescriptions for opioids in the state of Ohio?
     13       Q. Have you ever seen FDA-approved                13        A. Can you clarify as far as if I
     14   labeling information for any prescription             14   believe only certain -- or I just -- I -- can
     15   medication that include -- included a warning         15   you just repeat the question? Sorry about
     16   for the -- the risk of addiction or death?            16   that.
     17           MS. KEARSE: Object to form.                   17        Q. Yeah. Oh, no, no. No problem. I
     18       A. I don't recall seeing any.                     18   appreciate you asking for clarification if you
     19       Q. Would you agree with me that all               19   don't understand, and it's kind of late in the
     20   prescription medications carry some level of          20   day too. I'll restate it --
     21   risk with them?                                       21        A. Okay.
     22           MS. KEARSE: Object to form.                   22        Q. -- and see if this helps.
     23       A. I think, depending on the                      23            In Ohio, medical doctors can
     24   medication and depending on who the person is         24   prescribe prescription opioids, right?
     25   taking it, because everyone's body reacts             25        A. Yes.
                                                     Page 219                                                Page 221
      1   differently, so it -- depending on what it             1       Q. Do you know whether nurse
      2   could be, there could be risk with a                   2   practitioners in Ohio are permitted to
      3   medication, yes.                                       3   prescribe prescription opioids?
      4        Q. Are you aware of any prescription              4       A. I don't know.
      5   medication that has no risks?                          5       Q. Do you know whether dentists can
      6           MS. KEARSE: Object to form.                    6   prescribe prescription opioids in Ohio?
      7        A. Not off the top of my head.                    7       A. Yes.
      8        Q. Do you believe that prescription               8       Q. Do you know whether a pharmacy can
      9   opioids can be appropriate for some patients           9   lawfully dispense a prescription opioid without
     10   for the treatment of pain?                            10   a valid prescription?
     11           MS. KEARSE: Object to form.                   11       A. I don't know. Legally, I would --
     12        A. I think that some individuals can             12   legally, I think no, but I don't know for a
     13   be prescribed prescription opioids and have           13   fact or not.
     14   taken them and have -- have not formed an             14       Q. Do you know whether a
     15   addiction with them.                                  15   pharmaceutical manufacturer can directly
     16        Q. Do you agree that it is within the            16   provide a prescription opioid to a patient?
     17   medical judgment of a physician to determine          17       A. I don't know.
     18   whether or not a prescription opioid is               18       Q. Do you know whether a
     19   medically appropriate for any given patient?          19   pharmaceutical distributor can directly provide
     20        A. I believe that a medical                      20   a prescription opioid to a patient?
     21   professional can only make a decision based on        21       A. I don't think they can, but I don't
     22   what they know. I -- I -- I believe that              22   know.
     23   sometimes they may prescribe an opioid thinking       23       Q. Are there other legal substances,
     24   it's medically necessary, that there's low            24   other than prescription opioids, that an
     25   risk; however, then the individual that is            25   individual can become addicted to?
                                                                                              56 (Pages 218 - 221)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 57 of 126. PageID #: 243010


                                                   Page 222                                                  Page 224
      1       A. I'm sorry. My mind drifted for a              1   Northcoast.
      2   second.                                              2            And then, also, the doctors
      3       Q. Sure.                                         3   giving -- getting reassurance of, "These are
      4       A. Can you just repeat the question?             4   okay to prescribe. We're going to prescribe --
      5       Q. I sure can.                                   5   you can prescribe them."
      6           Are there other legal substances,            6            And then also looking -- and they
      7   other than prescription opioids, that an             7   were, I think, when -- being marketed, being --
      8   individual can become addicted to?                   8   the -- the pain as fifth vit- -- and consumer
      9       A. Yes.                                          9   surveys and things like that were also part of
     10           MS. KEARSE: Object to form.                 10   that. So I think that was a contributing
     11       Q. What are those substances?                   11   factor, as far as just -- and how easily
     12       A. Alcohol is legal for ages 21 and             12   accessible they were accessed by individuals.
     13   older, at least, in the state of Ohio.              13       Q. In some of the presentations that
     14       Q. Any other legal substances that a            14   you've given, you've touched on the causes of
     15   person can become addicted to?                      15   the opioid epidemic, right?
     16       A. Tobacco, as well as other                    16       A. As part of the speaker's bureau,
     17   prescription medications such as                    17   some of the presentations have included slides
     18   benzodiazepines.                                    18   on that, yes.
     19       Q. I asked you earlier about the                19       Q. The speaker's bureau, is that
     20   opioid epidemic, and I just realized we didn't      20   through the Summit County Opiate Task Force?
     21   talk about, really, what that term means.           21       A. Correct.
     22           What does "opioid epidemic" mean to         22       Q. Do you know who prepared those
     23   you?                                                23   slides?
     24           MS. KEARSE: Object to form.                 24       A. The original slides I do not know.
     25       A. When I hear "opioid epidemic" and            25   I know our public relations staff, in
                                                   Page 223                                                  Page 225
      1   what it means to me, meaning that over a period      1   conjunction with Dr. Smith and Jerry Craig,
      2   of time the problem has exacerbated itself and       2   have compiled that PowerPoint presentation.
      3   become such a large issue impacting such a           3       Q. Who is that on the PR staff?
      4   great number of individuals.                         4       A. Currently it's Lucky Tisch. Her
      5        Q. We -- we touched earlier on some of          5   supervisor retired in December of '17, and that
      6   the things that were contributing factors to         6   was Mary Alice Sonnhalter.
      7   the opioid epidemic, and among them, you             7       Q. What role does the ADM Board play
      8   included the availability of prescription            8   with the Opiate -- the Summit County Opiate
      9   medications, pain as the fifth vital sign, and       9   Task Force?
     10   a -- and a few other things.                        10       A. I think as long -- as -- along with
     11           Do you have -- just sitting here            11   many other members of the community, we are
     12   today, do you have any additional things that       12   stakeholders with the Opiate Task Force. We --
     13   you believe are contributing factors to the         13   many of us do participate on various
     14   opioid epidemic?                                    14   subcommittees as part of the Summit -- of the
     15           MS. KEARSE: Object to form. I               15   Opiate Task Force and initiatives that are set
     16   think that was your term, "contributing             16   forth with them.
     17   factors," not the witness's. I think it's also      17       Q. So what is the relationship between
     18   asked and answered.                                 18   the ADM Board and the speaker's bureau of the
     19        A. When looking at what has                    19   Opiate Task Force?
     20   contributed to this issue, I think one of the       20       A. So the speaker's bureau was one of
     21   issues is the facade that many physicians           21   the components created by the Summit County
     22   were -- they were given the idea that the           22   Opiate Task Force to increase awareness, as
     23   medications were modified or changed, that          23   part of the prevention and education piece,
     24   they're no longer dangerous, because I recall       24   with the Opiate Task Force to educate community
     25   those reports coming out when I was working at      25   members, schools, other venues that may request

                                                                                             57 (Pages 222 - 225)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 58 of 126. PageID #: 243011


                                                    Page 226                                                 Page 228
      1   a speaker to come and educate their staff or          1            (Thereupon, Deposition Exhibit 9,
      2   other employees or community members on the           2            Slide Deck Titled "The Opiate
      3   Opiate Task Force.                                    3            Epidemic Hits Home: What We All Need
      4            And that was created by                      4            to Know," SUMMIT_000289523 to
      5   participants of the Opiate Task Force. So some        5            000289533, was marked for purposes
      6   are just community members. Some or employed          6            of identification.)
      7   by treatment providers. It's a vast array of          7                - - - - -
      8   individuals that participate with the speaker's       8       Q. Handing you what we've marked as
      9   bureau.                                               9   Exhibit 9 for identification purposes.
     10       Q. The slides that you mentioned, are            10       A. Uh-huh.
     11   they Opiate Task Force slides or are they ADM        11       Q. Do you recognize the handwriting on
     12   Board slides?                                        12   Exhibit 9?
     13       A. Summit County Opiate Task Force.              13       A. These were pulled from Paula
     14       Q. But the ADM Board has access to               14   Rabinowitz' records, so I would say they're
     15   them?                                                15   hers, but I don't know because she was not
     16       A. Yes.                                          16   there when I was there.
     17       Q. When you -- when you've given                 17       Q. How do you know that was pulled
     18   presentations using the speaker's bureau             18   from Paula's records?
     19   slides, are you able to modify the slides to         19       A. So when we were asked to pull
     20   adjust it to a particular audience, for              20   records -- we have a record and retention
     21   example?                                             21   policy at ADM Board that we have to keep
     22       A. So when a request comes in, so all            22   specific documents. So this was kept because
     23   the speaker requests come in to Lucky Tisch in       23   it hasn't hit that time frame yet of being able
     24   our public relations, and if there's a specific      24   to shred. So when I was asked to pull
     25   need, we will see what the population is,            25   documents, this was in the file drawer.
                                                    Page 227                                                 Page 229
      1   depending if it's a school, if it's a parent          1       Q. And so you physically pulled this?
      2   group, who it may be.                                 2       A. One of the files, yes.
      3           I don't necessarily tailor the                3       Q. Okay. And you recognize it just
      4   presentation, but maybe some of the talking and       4   for purposes of gathering it for a response to
      5   the actual speaking that we do may be tailored        5   this litigation --
      6   to add, to enhance to that population and             6       A. Yes.
      7   target specifically that population.                  7       Q. -- is that right?
      8       Q. So you'll make notes or use the                8       A. Correct.
      9   speaker notes feature in PowerPoint to                9       Q. Okay, thanks. That's why it was in
     10   customize your portion of the presentation; is       10   your file then.
     11   that right?                                          11       A. Correct.
     12       A. Yes. And -- and I'll be honest;               12       Q. You don't recognize this
     13   our ADM logo may be on the presentation. I           13   handwriting?
     14   can't recall.                                        14       A. No, I don't.
     15       Q. Lucky Tisch is at the ADM Board,              15       Q. Did you ever see any presentations
     16   right?                                               16   presented by Ms. Rabinowitz?
     17       A. Correct.                                      17       A. I did not, no.
     18       Q. Have you ever done a -- a                     18       Q. Did you review this document that
     19   presentation using a slide deck that was             19   we've marked as Exhibit 9 before providing it
     20   prepared by Paula Rabinowitz?                        20   to the lawyers for this litigation?
     21       A. No.                                           21       A. Prior to providing it, no.
     22       Q. I'm just going to mark this                   22       Q. After providing it, did you look at
     23   document to see if you recognize the                 23   it?
     24   handwriting.                                         24       A. I kind of glanced at it, but not in
     25               - - - - -                                25   depth, so.
                                                                                              58 (Pages 226 - 229)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 59 of 126. PageID #: 243012


                                                   Page 230                                                 Page 232
      1        Q. And so Exhibit 9 is not a                    1   overdose rates and things like that. But I
      2   presentation that you've ever given?                 2   don't recall a specific substance or whatever
      3        A. No.                                          3   the -- prescribed or illicit.
      4        Q. And you mentioned that                       4       Q. Do you recall whether those stories
      5   Ms. Rabinowitz retired; is that right?               5   or articles that you've seen discussed heroin
      6        A. Yes, that's my understanding.                6   or fentanyl as being associated with overdose
      7        Q. When's the last time you spoke with          7   deaths?
      8   her?                                                 8       A. I do know in some of the reports
      9        A. I met her once at a meeting when I           9   those substances were discussed in some of the
     10   first started. She was at a meeting at Summit       10   reports as it relates to the overdoses.
     11   County Children's Services as a volunteer, and      11       Q. Do you recall seeing reports of
     12   that's the only time I've spoken with her.          12   prescription opioids being associated with
     13        Q. She wasn't involved in your                 13   overdose deaths?
     14   training at all?                                    14       A. In looking at those articles, I
     15        A. No.                                         15   can't recall anything specifically off the top
     16        Q. You've done some presentations to           16   of my head.
     17   schools about opioids, right?                       17       Q. Do you recall the titles of any of
     18        A. I've -- was on a panel discussion           18   the articles?
     19   at the Summit County ESC, which is Education        19       A. I don't recall. I'm sorry. No, I
     20   Service Center, but I haven't gone to any           20   don't know.
     21   schools specifically.                               21       Q. Do you recall -- do you recall
     22        Q. Have you done any presentations to          22   where you read those articles?
     23   parent groups about opioids?                        23       A. I would say I've read most of them
     24        A. I have not specifically.                    24   online, whether it was, like, Ohio.com. Or
     25        Q. Have you done any presentations             25   I've seen some reports on 60 Minutes, things
                                                   Page 231                                                 Page 233
      1   that involved discussion about how young people      1   like that, but...
      2   get access to prescription opioids?                  2       Q. What do you recall about what you
      3       A. I have not done any specific                  3   saw on 60 Minutes?
      4   presentations related with youth and...              4       A. It's been a long time, so I can't
      5       Q. Do you have any information about             5   recall specifics. I know in general it talked
      6   what portion of opioid users in Summit County        6   about, overall, the opioid crisis that is --
      7   have never had a valid prescription?                 7   we're facing, not only in Ohio, but overall.
      8       A. I don't know.                                 8       Q. And what about the -- what about
      9       Q. Do you have any information about             9   the opioid crisis was discussed in that story?
     10   whether Ohio has experienced a more severe          10       A. From what I can recall, it was just
     11   opioid epidemic than any other state?               11   a kind of a basic overview of, from their
     12       A. I have only gone off of reports              12   standpoint and a reporting standpoint, where a
     13   I've seen, maybe like various news reports or       13   lot of it was discussed of with having the
     14   things like that when -- or articles where they     14   manufacturers and all of the -- like, and
     15   have named Ohio as, I think for a while it was      15   promotion of the prescription opioids, such as,
     16   between Ohio and West Virginia was being named      16   like, even -- even commercials that were kind
     17   as highest prevalence.                              17   of geared on TV, and the idea that these
     18       Q. Do you -- from those news reports,           18   medications are safe. And then how it's kind
     19   do you have any recollection of what types of       19   of evolved from that point moving forward.
     20   opiate -- opioids or opiates were discussed in      20       Q. Have you ever seen any
     21   the context of the severity of the problem in       21   advertisements for prescription opioids?
     22   Ohio?                                               22       A. Recently? No.
     23       A. I can't recall any specific                  23       Q. Ever?
     24   substances, but the articles that I think I --      24       A. Vaguely, I can recall. If you ask
     25   that I did come across was looking at overall       25   content, I don't recall any specific content,
                                                                                             59 (Pages 230 - 233)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 60 of 126. PageID #: 243013


                                                   Page 234                                                Page 236
      1   but I do recall seeing commercials in the past,      1       A. My understanding is that it's some
      2   but I don't remember any of the content.             2   of the manufacturers of the medica- -- of the
      3        Q. Do you recall -- you said recently           3   prescription opioids, as well as some of the
      4   you had not. When's the last time that you saw       4   pharmacies that will dispense the medications.
      5   an advertisement for a prescription opioid?          5   But I, again, roughly don't know specifically
      6        A. I don't have a specific date. I              6   who all is named in the lawsuit.
      7   would say at least a couple years, but I can't       7       Q. Do you have any understanding of
      8   pinpoint a date.                                     8   the nature of the claims against the
      9        Q. Was it a television commercial or a          9   manufacturers?
     10   magazine ad?                                        10       A. Some. I know some of it. I
     11        A. A television commercial. But, like          11   haven't read the full complaint or anything
     12   I said, I don't recall the last time I've seen      12   like that.
     13   one.                                                13       Q. Have you seen the complaint?
     14        Q. Do you recall for what opioid?              14       A. Yes. But I have not read -- I've
     15        A. No, I don't.                                15   read maybe a couple pages as it relates to ADM
     16        Q. Was it a pill or some other form of         16   Board.
     17   delivery?                                           17       Q. When did you read those pages
     18        A. I -- for definitively I don't know.         18   related to the ADM Board?
     19   I think it was for a pill, but I don't know.        19       A. November.
     20        Q. Do you have any understanding of            20       Q. Of 2018?
     21   whether the FDA regulates pharmaceutical            21       A. Yes.
     22   advertising in the United States?                   22       Q. Did you read any of the allegations
     23        A. I don't know.                               23   related to any of the Manufacturer Defendants?
     24        Q. When did you first learn of this            24       A. No.
     25   lawsuit?                                            25       Q. Did you read any of the allegations
                                                   Page 235                                                Page 237
      1        A. I would -- sometime in 2017? I               1   related to any of the Pharmacy Defendants?
      2   mean, I don't have a specific time frame as to       2        A. No.
      3   when. I think I heard some talk of a potential       3        Q. Do you recall seeing any
      4   lawsuit in 2017.                                     4   allegations against any category of Defendants
      5        Q. Where did you hear that talk?                5   called "distributors"?
      6        A. I don't know what specific meeting           6        A. I didn't read anything specific to
      7   it was, but I know it was discussed of the           7   it, no.
      8   potential of having a lawsuit in one of the          8        Q. What is your understanding of the
      9   meetings I attended. I don't know if -- I            9   claims against the manufacturers?
     10   can't recall if it was part of Opiate Task          10        A. So my basic understanding of --
     11   Force or another meeting.                           11   with the manufacturers, that they knowingly
     12        Q. Do you remember anything about              12   were marketing to the distributors, and -- to
     13   those discussions about the lawsuit?                13   sell these medications and distribute these
     14        A. No.                                         14   medications, and -- whether it was with
     15        Q. Did you provide any input about             15   physicians or other entities. And then with
     16   your views on any lawsuit?                          16   the distributors, and then, that knowingly were
     17        A. No.                                         17   distributing the medications, although, they
     18        Q. Do you have any understanding of            18   knew there was already a large amount of
     19   who the Defendants are in this lawsuit, who is      19   readily accessible I -- in -- for individuals
     20   being sued?                                         20   in designated counties. And then with the
     21        A. Some understanding. I don't know            21   pharmacies, that they had an abundant supply of
     22   all of the individuals represented, but I know      22   the medications, but they were still taking in
     23   some of it.                                         23   those medications and dispensing those
     24        Q. What is your understanding of who           24   medications of the prescriptions that were
     25   the Defendants are in this lawsuit?                 25   coming in.
                                                                                            60 (Pages 234 - 237)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 61 of 126. PageID #: 243014


                                                     Page 238                                               Page 240
      1        Q. Do you have any understanding of               1       Q. Two boxes of hardcopy documents?
      2   who the Plaintiff is in this litigation, or who        2       A. Correct.
      3   the Plaintiffs are in this litigation?                 3       Q. Do you know whether your e-mails
      4        A. So it's my understanding that it's             4   were gathered?
      5   Summit County, Akron, Cleveland, Cuyahoga              5       A. Yes.
      6   County.                                                6       Q. What types of documents were
      7        Q. Have you spoken with anyone other              7   provided in the hardcopy documents?
      8   than attorneys about the factual allegations in        8       A. Meeting minutes that may not have
      9   the complaint?                                         9   been our meeting minutes, so they weren't saved
     10        A. No.                                           10   electronically. Some of these presentations or
     11        Q. Did you provide any factual                   11   other information prior to my coming to ADM
     12   information in support of the complainants,           12   Board. Basically anything that couldn't be
     13   that you know of?                                     13   saved electr- -- that wasn't saved
     14        A. No.                                           14   electronically.
     15        Q. Were you asked to preserve                    15       Q. Exhibit 9 has some handwritten
     16   documents at any point related to this                16   notes on it that you said you've found and
     17   litigation?                                           17   provided, but you don't know whose handwritten
     18        A. Yes. We got a notice not to                   18   notes they were.
     19   destroy anything.                                     19           Did you provide any handwritten
     20        Q. When did you get that notice?                 20   notes yourself that were your notes in
     21        A. I don't -- I don't know                       21   hardcopy?
     22   specifically. After August. Because that's            22       A. Some of the meeting minutes may
     23   when I was initially first contacted about the        23   have had notes that I wrote on them that were
     24   litigation. But soon after that, we got an            24   provided, yes. I tend to write my notes all on
     25   e-mail indicating not to destroy anything.            25   the agendas.
                                                     Page 239                                               Page 241
      1        Q. So August of 2018?                             1       Q. Do you know the names of any
      2        A. Yes.                                           2   pharmaceutical manufacturers who manufacture
      3        Q. You mentioned that the ADM Board               3   prescription opioids?
      4   has a document retention and destruction               4       A. I know Cardinal. Purdue is one of
      5   policy?                                                5   the ones I've heard before. I don't know many
      6        A. Yes.                                           6   of the pharmaceutical companies.
      7        Q. And prior to receiving the                     7       Q. Have you ever heard of a company
      8   information regarding the document preservation        8   called Allergan?
      9   in -- in or around August 2018, did you abide          9       A. I've heard of it, but not much of
     10   by the Summit County ADM Board document               10   as far as what all they manufacture.
     11   retention and destruction policy?                     11       Q. Do you know whether Allergan
     12        A. Yes.                                          12   manufactures prescription opioids?
     13            MS. KEARSE: Object to form.                  13       A. I don't.
     14        Q. You mentioned that Exhibit 9 was              14       Q. Have you heard of a company called
     15   one of the documents that -- that you gathered.       15   Cephalon?
     16            Do you recall gathering other                16       A. No.
     17   documents to provide to the lawyers for this          17       Q. Do you know whether Cephalon
     18   litigation?                                           18   manufactures prescription opioids?
     19        A. So the documents I basic -- if I --           19       A. No.
     20   if I looked at it and thought it had anything         20       Q. Have you heard of a company called
     21   to do with opiates, I pulled it.                      21   Endo?
     22        Q. Did you have a -- strike that.                22       A. No.
     23            About how many hardcopy documents            23       Q. Do you know whether Endo
     24   did you find?                                         24   manufactures prescription opioids?
     25        A. I provided them with two boxes.               25       A. I don't.
                                                                                             61 (Pages 238 - 241)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 62 of 126. PageID #: 243015


                                                   Page 242                                                  Page 244
      1       Q. Have you heard of a company called            1        A. I don't.
      2   Insys?                                               2        Q. And you're sure that it was a
      3       A. No.                                           3   prescription opioid?
      4       Q. Do you know whether Insys                     4        A. I -- with -- I do recall seeing the
      5   manufactures prescription opioids?                   5   commercial. As far as the specific content of
      6       A. I don't.                                      6   the commercial and the message they were saying
      7       Q. Have you heard of a company called            7   in the commercial and any specific content, I
      8   Janssen?                                             8   don't recall that, but I do recall it was for a
      9       A. Yes.                                          9   prescription opioid.
     10       Q. Do you know whether Janssen                  10        Q. And you don't recall what year?
     11   manufactures prescription opioids?                  11        A. No, I don't.
     12       A. I don't.                                     12        Q. In your role at the ADM Board, have
     13       Q. Have you heard of a company called           13   you had any interaction with any of the
     14   Johnson & Johnson?                                  14   pharmaceutical manufacturers that I've just
     15       A. Yes.                                         15   listed?
     16       Q. Do you know whether Johnson &                16        A. No.
     17   Johnson is a manufacturer of prescription           17        Q. Are you familiar with any of the
     18   opioids?                                            18   claims that the Plaintiffs have brought against
     19       A. I don't.                                     19   the Teva Defendants in this litigation?
     20       Q. Have you heard of a company called           20        A. No.
     21   Mallinckrodt?                                       21        Q. Have you ever been -- strike that.
     22       A. Yes.                                         22           Have you ever had any interaction
     23       Q. Do you know whether Mallinckrodt is          23   with any representatives, other than me,
     24   a manufacturer of prescription opioids?             24   counsel for Teva, with Teva?
     25       A. Yes.                                         25        A. No.
                                                   Page 243                                                  Page 245
      1        Q. What opioid does Mallinckrodt                1        Q. Have you had any interaction with
      2   manufacture?                                         2   any of the pharmaceutical companies that we
      3        A. If -- if I'm not mistaken, I think           3   just listed?
      4   they manufacture OxyContin.                          4        A. No.
      5        Q. You mentioned that you had heard of          5        Q. Do you have any personal knowledge
      6   Purdue before.                                       6   of anything that any of those manufacturers did
      7        A. Yes.                                         7   wrong in Summit County?
      8        Q. Do you know whether Purdue is a              8        A. I don't have any personal
      9   manufacturer of prescription opioids?                9   information, no.
     10        A. I have heard them in the                    10        Q. Do you have any personal knowledge
     11   discussion, but I don't know specifically what.     11   of any misrepresentations or omissions made by
     12        Q. Have you heard of a company called          12   any manufacturer of prescription opioids in
     13   Teva?                                               13   Summit County?
     14        A. No.                                         14        A. No.
     15        Q. Do you know whether Teva is a               15        Q. Do you have any personal knowledge
     16   manufacturer of prescription opioids?               16   of any agreement between or among any of the
     17        A. I do not.                                   17   companies that I just listed?
     18        Q. Of the companies that I just                18        A. No.
     19   listed, do you know whether any of them were        19        Q. Are you familiar with any of the
     20   the company that had the advertising that you       20   distributors of pharmaceuticals?
     21   recall seeing some years ago?                       21        A. No.
     22        A. I do not recall at all.                     22        Q. And are you aware of what
     23        Q. Do you recall anything about the            23   pharmacies are listed as Defendants in this
     24   advertising for a prescription opioid that you      24   litigation?
     25   saw?                                                25        A. I know some of them, but I --
                                                                                              62 (Pages 242 - 245)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 63 of 126. PageID #: 243016


                                                    Page 246                                                 Page 248
      1   because I saw on the filings. I know Walmart          1   Summit County who was misled by any of the
      2   is one of them. Discount Drug Mart. I think           2   opioid manufacturers?
      3   Walgreens was part of it. Possibly CVS. Those         3        A. I don't.
      4   are just some of the big companies that I             4        Q. Are you aware of any physician --
      5   remember seeing.                                      5   or strike that.
      6       Q. Do you have any personal knowledge             6           Are you -- can you identify any
      7   about anything that any of those companies did        7   prescription for opioids written in Summit
      8   wrong in Summit County?                               8   County on the basis of any misrepresentation
      9       A. No.                                            9   made by a manufacturer?
     10       Q. Do you have any personal knowledge            10        A. No.
     11   of anything that any distributor of                  11           MS. FEINSTEIN: Thank you. I have
     12   pharmaceutical products did wrong in Summit          12   nothing further for you today, but my
     13   County?                                              13   colleagues have a few questions, so I'm going
     14       A. No.                                           14   to pass the mic.
     15           MS. FEINSTEIN: Why don't we take a           15           MS. KEARSE: Just a few.
     16   short break here. I'm just going to flip             16          EXAMINATION OF KIMBERLY PATTON
     17   through my notes, but I think I'm almost done.       17   BY MR. BOEHM:
     18           THE VIDEOGRAPHER: Off the record,            18        Q. Good afternoon, Ms. Patton.
     19   3:29.                                                19        A. Hi.
     20            (A recess was taken.)                       20        Q. My name is Paul Boehm. I
     21           THE VIDEOGRAPHER: On the record at           21   introduced myself to you before we started this
     22   3:46.                                                22   morning.
     23           MS. FEINSTEIN: Thank you.                    23        A. Yes.
     24   BY MS. FEINSTEIN:                                    24        Q. And I've been sitting here
     25       Q. Ms. Patton, one thing I -- I                  25   listening to your testimony, and I think we all
                                                    Page 247                                                 Page 249
      1   haven't asked you yet regarding the treatment         1   thank you very much for being here.
      2   providers that -- with whom the ADM Board             2       A. Thank you.
      3   contracts. Do you have any role in selecting          3       Q. You indicated that you read just a
      4   those treatment providers?                            4   small section of the complaint that was filed
      5       A. No.                                            5   by the County. Is that what I understood?
      6       Q. Do you have any role in deciding               6       A. Yes. What I did is I kind of just
      7   what services are provided by any of the              7   skimmed over the information of the brief part
      8   treatment providers?                                  8   that related to ADM Board.
      9       A. No.                                            9       Q. Did you skim over any other parts
     10       Q. Do you have any personal knowledge            10   of the written complaint filed by Summit County
     11   about any of the damages that Summit County          11   in this lawsuit, other than the section that
     12   alleges to have sustained in this litigation?        12   you perceived to be relevant to the ADAMHS
     13       A. I don't have any specific                     13   Board?
     14   knowledge, no.                                       14       A. No, I did not.
     15       Q. Do you have any personal knowledge            15       Q. Did you read the section of the
     16   about how much the ADM Board has spent on            16   complaint or any sections of the complaint that
     17   opioid-related expenses?                             17   made allegations as to wholesale drug
     18       A. No, I don't have that.                        18   distributors?
     19       Q. Do you know whether the ADM Board             19       A. No.
     20   has performed any academic research on opioids?      20       Q. Do you have any understanding,
     21       A. I don't.                                      21   separate and apart from conversations you've
     22       Q. Have you been involved in any                 22   had with lawyers for the County, about the
     23   academic research regarding opioids?                 23   nature of the allegations that are being made
     24       A. No.                                           24   against the wholesale drug distributors in this
     25       Q. Are you aware of any physician in             25   case?
                                                                                              63 (Pages 246 - 249)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 64 of 126. PageID #: 243017


                                                  Page 250                                                Page 252
      1      A.    I'm sorry. Can you repeat that?            1   substances?
      2      Q.    Sure.                                      2       A. No.
      3           Do you have any understanding,              3       Q. I saw you shake your head no, but I
      4   separate and apart from your conversations that     4   don't know if the court reporter --
      5   you may have had with the lawyers for Summit        5       A. Oh, I said no. I'm sorry.
      6   County, about the substance or the nature of        6       Q. Oh, I'm sorry. I may not --
      7   the allegations that are being made in this         7       A. Apologies.
      8   lawsuit against wholesale drug distributors?        8           MS. KEARSE: Yeah, she said it --
      9       A. No.                                          9   she said it too.
     10       Q. Do you have any independent                 10           MR. BOEHM: I'm sorry. In my
     11   understanding as to why wholesale drug             11   dotage, I'm getting a little hard of hearing.
     12   distributors are being named as Defendants in      12       Q. Have you ever heard of something
     13   this lawsuit?                                      13   called the aggregate production quota?
     14       A. No. As far as --                            14       A. No.
     15       Q. I'm sorry.                                  15       Q. In your testimony before the break,
     16       A. -- as far as in referencing why             16   you indicated that you had heard of the company
     17   they -- can I ask for clarification, as to, are    17   Cardinal Health; is that right?
     18   you asking why -- do I have any understanding      18       A. Yes.
     19   as to why they're named?                           19       Q. And I think you stated that your
     20       Q. Yes. Do you have an understanding           20   understanding is that Cardinal Health is a
     21   as to why wholesale drug distributors have been    21   manufacturer of an opioid, a prescription
     22   named as Defendants in this case, separate and     22   opioid medication; is that your understanding?
     23   apart from any conversations that you may have     23       A. No. She, in general was naming
     24   had with the lawyers for Summit County?            24   companies and just if I've heard of those
     25       A. No.                                         25   companies. I have heard of Cardinal Health.
                                                  Page 251                                                Page 253
      1       Q. Prior to the filing of the lawsuit           1   As specifically what their -- a manufacturer
      2   by lawyers in this case, had you ever heard         2   versus distributor, but I just heard of
      3   anybody state or indicate that wholesale drug       3   Cardinal Health in general.
      4   distributors were somehow responsible for the       4        Q. Do you know an- -- I'm sorry.
      5   trends of opioid abuse and overdose in Summit       5        A. As far as the specifics, no, I
      6   County?                                             6   don't know the specifics of Cardinal Health and
      7       A. No.                                          7   what they do.
      8       Q. Do you know what the role of                 8        Q. Okay. Do you know why Cardinal
      9   wholesale drug distributors is in the delivery      9   Health has been named as a Defendant in this
     10   of health care in the United States?               10   case?
     11       A. My understanding of what their role         11        A. It's my understanding that they
     12   is, my personal understanding is that they         12   were named in this case as a distributor.
     13   distribute the medication to the pharmacies to     13        Q. Now, your testimony earlier, I
     14   dispense the medication.                           14   heard it somewhat differently.
     15       Q. And do you know what rules and              15            At what point did you come to an
     16   regulations govern the filling of pharmacy         16   understanding that Cardinal Health has been
     17   orders for medications by wholesale drug           17   named as a distributor?
     18   distributors?                                      18        A. In looking at the filings
     19       A. I do not.                                   19   that the -- I don't know what the official word
     20       Q. Are you familiar with the United            20   is the, actual filing that -- the complaint, so
     21   States Drug Enforcement Agency?                    21   to speak. I saw their name listed in -- in
     22       A. I know of its existence, yes.               22   some of the readings. As far as specifically
     23       Q. Do you know what the                        23   where I was it, I don't under- -- know exactly.
     24   responsibilities of the -- of the DEA are in       24        Q. You said that you had skimmed the
     25   the context of the distribution of controlled      25   complaint, to the extent that that complaint
                                                                                           64 (Pages 250 - 253)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 65 of 126. PageID #: 243018


                                                   Page 254                                                   Page 256
      1   had to do with the ADAMHS Board and that you 1           as Jerry Craig, Doug Smith, they have been
      2   hadn't skimmed any other parts of the            2       talked to, but the nature of what they were
      3   complaint; isn't that what your testimony was    3       talked to about, I do not know, so I do not
      4   earlier today?                                   4       know if it was regarding the accuracy or other
      5            MS. KEARSE: Object to form.             5       components. I don't know what was part of
      6   Misstates her testimony.                         6       those conversations because I wasn't part of
      7       A. What I had said was, yes, that I          7       them.
      8   skimmed parts that I thought were relevant, as   8           Q. Do you know, whether it be Jerry
      9   far as as it relates to my employer.             9       Craig or Doug Smith or anybody else at the
     10       Q. Okay. But your testimony is now          10       ADAMHS Board, whether or not any of them were
     11   that you have skimmed parts of the complaint    11       consulted in any way about the nature or
     12   that referenced Cardinal?                       12       accuracy of the allegations that are made in
     13       A. From what I can recall, I remember       13       this lawsuit before the lawsuit was filed?
     14   seeing Cardinal named in the complaint. As far 14                MS. KEARSE: Object to form. Asked
     15   as the specifics, I don't know.                 15       and answered.
     16       Q. But you don't know what Cardinal         16           A. As I said before, I don't know what
     17   does, what its business is; is that right?      17       was discussed.
     18       A. No.                                      18           Q. Do you know if there were any
     19       Q. Meaning, yes, that is correct; you       19       discussions?
     20   do not know what Cardinal does?                 20           A. (Witness shaking head.)
     21       A. Correct. I apologize. Yes, I             21           Q. You said you don't know what was
     22   don't know their role as a business in general. 22       discussed, and that's why I'm asking again,
     23       Q. Have you ever heard of McKesson?         23       because I want --
     24       A. No.                                      24           A. Right.
     25       Q. Have you ever heard of                   25           Q. Do you know if there were any
                                                   Page 255                                                   Page 257
      1   AmerisourceBergen?                                   1   discussions?
      2       A. No.                                           2       A. I don't know specifically.
      3       Q. Are you aware of any specific                 3       Q. I just wanted to follow up, I
      4   misconduct on the part of Cardinal, McKesson,        4   think, on one last piece.
      5   or AmerisourceBergen, or any other wholesale         5           During questioning earlier today,
      6   drug distributor in Summit County in connection      6   you spoke about the connection between mental
      7   with trends of opioid abuse of overdoses?            7   illness and substance abuse. Do you recall
      8       A. I do not know any specific                    8   questions on that subject?
      9   information, no.                                     9       A. Yes.
     10       Q. To the best of your knowledge, was           10       Q. I think you said that's an area of
     11   anybody, other than yourself, who works at or       11   particular interest for you; is that right?
     12   on behalf of the Summit County ADAMHS Board,        12       A. Yes.
     13   consulted about the accuracy of the allegations     13       Q. Is that something that you've
     14   that are being made by the County in this           14   studied, whether it be from an academic
     15   lawsuit before the lawsuit was filed?               15   perspective or in your professional role?
     16           MS. KEARSE: Object to form.                 16       A. Yes. So while I was employed at
     17       A. I don't know who all specifically            17   Northcoast Behavioral Healthcare, I started out
     18   was engaged in conversations from our board.        18   as the SAMI counselor, so starting at the very
     19       Q. So my question is, to your                   19   beginning of my employment in 2005, I was very
     20   knowledge, are you aware of anybody who works       20   much involved with dual diagnosis.
     21   at or on behalf of the ADAMHS Board for Summit      21       Q. What is it, based on your
     22   County who was consulted about the accuracy of      22   understanding, from all you've learned and
     23   the allegations that are being made in this         23   researched on that subject, what is it about
     24   lawsuit?                                            24   mental illness that makes it a causal risk
     25       A. I do not. I know other staff such            25   factor for substance abuse?

                                                                                              65 (Pages 254 - 257)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 66 of 126. PageID #: 243019


                                                  Page 258                                                 Page 260
      1            MS. KEARSE: Object to form.                1   and more about the disease of addiction and how
      2       A. I know individuals with mental               2   it impacts the brain, and that there are many
      3   illness will at times self-medicate with            3   components with addiction, yes.
      4   substances if they're not medicated properly or     4           MR. BOEHM: I'm going to pass the
      5   don't have insight into their mental illness.       5   witness. I don't know if anyone else has any
      6   So I -- I do know that individuals with mental      6   questions, but thank you very much for your
      7   illness do have risk of developing substance        7   time, Ms. Patton.
      8   use disorders, due to those factors or lack of      8           THE WITNESS: Thank you.
      9   coping.                                             9           Getting too far down the line.
     10            However, there is some question           10         EXAMINATION OF KIMBERLY PATTON
     11   whether -- there are also some individuals that    11   BY MS. MORRISON:
     12   are dually diagnosed that may have began their     12        Q. Good afternoon, Ms. Patton. I'm
     13   substance use initially and then were later        13   Kristin Morrison. I'm an attorney on behalf of
     14   diagnosed with mental illness, so it's hard to     14   Walmart here. Long day.
     15   determine which came first, if one actually        15           I want to talk to you a little bit
     16   causes the other.                                  16   about additional information about opioid
     17            So because I think some individuals       17   addiction and some overdose issues you
     18   will have an onset of substance use and then       18   discussed earlier with respect to the tracking
     19   later be diagnosed, or vice versa, have their      19   that the ADAMHS Board does.
     20   mental illness and be self-medicating or using     20           Does the ADAMHS Board's tracking
     21   for other reasons, and also develop a substance    21   allow you to identify any overdoses that were
     22   use disorder.                                      22   caused by an individual taking a prescription
     23       Q. Fair to say that the relationship           23   opioid medication consistent with their
     24   between substance abuse and mental illness is a    24   doctor's instructions?
     25   complex and multifaceted relationship?             25        A. Not to my knowledge.
                                                  Page 259                                                 Page 261
      1            MS. KEARSE: Object to form.                1       Q. Does the ADAMHS Board's tracking
      2       A. I definitely think it is complex,            2   allow you to identify how many overdoses were
      3   because there are many factors, and there are       3   caused by altering the medication in some way,
      4   also individuals that have solely mental health     4   such as crushing or tampering with prescription
      5   diagnoses and individuals that just because         5   opioid pills?
      6   they have a mental illness doesn't mean they're     6       A. Not to my knowledge.
      7   going to develop a substance abuse disorder,        7       Q. Fair to say that the ADAMHS Board's
      8   and vice versa, just because someone is using       8   tracking does not allow you to identify how
      9   substances doesn't mean they're going to            9   many overdoses were caused by an individual
     10   develop a mental health diagnosis. Similar to      10   simply taking too many of their prescribed
     11   that, where they can be more likely to develop     11   opioid pills?
     12   medical problems, other medical issues as well.    12       A. As far as the specific tracking by
     13            So I think, yes, it is a complex          13   the ADM Board specifically, we -- we do not, to
     14   illness. But I also believe that it's only one     14   my knowledge, track the overdose rates and
     15   component, and that, like I said before, there     15   break it down by that information of -- it was
     16   are individuals that have mental illness and       16   just an overdose, is my understanding is the
     17   never develop a substance use disorder or use      17   information that we receive.
     18   substance uses [sic] and never develop a mental    18       Q. So just so I'm clear, the ADAMHS
     19   illness.                                           19   Board does not track whether an overdose was
     20       Q. Do you agree that the disease of            20   caused by someone taking too many of their
     21   addiction itself is an extremely complex and       21   prescribed medications?
     22   multifaceted disease?                              22       A. To my knowledge, no.
     23            MS. KEARSE: Object to form.               23       Q. And also fair to say the ADAMHS
     24       A. I believe that the disease of               24   Board's tracking does not allow it to identify
     25   addiction is, we're learning, every day, more      25   how many overdoses were caused by an individual

                                                                                            66 (Pages 258 - 261)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 67 of 126. PageID #: 243020


                                                   Page 262                                                   Page 264
      1   taking a medication that had been prescribed to      1       A. Correct.
      2   someone else?                                        2       Q. And what position is that?
      3       A. Not at ADM, no.                               3       A. When I worked at Northcoast
      4           THE REPORTER: Not what?                      4   Behavioral Healthcare, our physician, our
      5           THE WITNESS: Not at ADM, no.                 5   psychiatrist utilized the OARRS system.
      6   Sorry about that.                                    6       Q. Did you utilize the OARRS system in
      7       Q. Do you have any personal knowledge            7   your role at Northcoast Behavioral Healthcare?
      8   of an example of an improper prescription for        8       A. I did not.
      9   opioids that was written in Summit County?           9       Q. Do you have an understanding of how
     10       A. I do not.                                    10   your psych- -- your -- was it a physician or a
     11       Q. Do you have any personal knowledge           11   psychologist? Who was it that used the OARRS
     12   of a prescription opioid being improperly           12   data?
     13   dispensed by a pharmacy in Summit County?           13       A. The psychiatrist at Northcoast.
     14       A. I do not.                                    14       Q. Do you have any familiarity with
     15       Q. Do you have any understanding,               15   what the psychiatrist at Northcoast used the
     16   separate and apart from conversations with the      16   OARRS data for?
     17   lawyers for Summit County, about why the Retail     17       A. On any new admissions that came
     18   Pharmacy Defendants that you've named earlier       18   into the hospital, they would, if a client
     19   today were named in this lawsuit?                   19   reported being prescribed the medications, they
     20       A. I do not.                                    20   would crosscheck the -- they would look at the
     21       Q. Are you aware of any client of the           21   OARRS system, and then they used -- when --
     22   ADAMHS Board who overdosed with opioid drugs        22   then they further transitioned it to any client
     23   from one of the Pharmacy Defendants in this         23   that was admitted to the hospital, they would
     24   lawsuit?                                            24   automatically run an OARRS report on that
     25       A. I do not.                                    25   client.
                                                   Page 263                                                   Page 265
      1       Q. Did you ever try to contact any of        1           Q. Do you know the purpose for which
      2   the Pharmacy Defendants to seek their            2       they used the OARRS report after they ran it?
      3   assistance with dealing with the opioid problem 3            A. So if an individual was coming in
      4   in Summit County?                                4       with a substance use disorder and they were
      5       A. I have not.                               5       maybe not completely honest with the
      6       Q. Do you know if anyone else at the         6       psychiatrist while their care at the hospital,
      7   ADAMHS Board has done so?                        7       the psychiatrist would sometimes use that
      8       A. I do not know.                            8       record reporting in working with the client to
      9       Q. Have you interacted with the Ohio         9       address the contradictions.
     10   Board of Pharmacy in your role at the ADAMHS 10              Q. Do you know what time frame, the
     11   Board?                                          11       earliest time frame you know that a -- that a
     12       A. No.                                      12       psychiatrist used an OARRS report at Northcoast
     13       Q. Are you familiar with ARCOS data?        13       Behavioral Healthcare?
     14       A. No.                                      14           A. Can you just --
     15       Q. Automatic -- Automated Reports and 15                 Q. The earliest -- the earliest time
     16   Consolidated Ordering System?                   16       period you recall being aware that the
     17       A. No.                                      17       psychiatrist was using an OARRS report?
     18       Q. What about OARRS reporting, Ohio         18           A. I don't know the specific time
     19   Automated Prescription Reporting System?        19       frame. I know -- I'm sorry. Are you talking
     20       A. I am familiar with OARRS.                20       about, like, what year --
     21       Q. In what way are you familiar with        21           Q. Yes.
     22   OARRS at your role at the ADAMHS Board? 22                   A. -- they started? Okay. I don't
     23       A. In my role at the ADAMHS Board, no. 23            know the specific year. I can say that when it
     24       Q. So your familiarity with OARRS           24       was created, they began implementing it, but I
     25   comes from a prior position you had?            25       don't know the specific year as to when that

                                                                                              67 (Pages 262 - 265)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 68 of 126. PageID #: 243021


                                                 Page 266                                                   Page 268
      1   was created. And then they would run it if an    1     for Counsel.
      2   individual came in with substance use as part    2              A couple, just, things I want to
      3   of the admission data, they would run that       3     clarify.
      4   report at admission.                             4              Counsel for Teva asked you
      5        Q. So as far as you know, as soon as        5     questions about prevention programs provided by
      6   an OARRS report data was available for use, the 6      the ADM specific to opioids. Do you recall
      7   psychiatrist at Northcoast Behavioral            7     that line of questioning?
      8   Healthcare started using it?                     8         A. Yes.
      9        A. That's my understanding.                 9         Q. Do ADM programs, do the prevention
     10            MS. KEARSE: Object to form.            10     programs that ADM does provide, do they include
     11        Q. Okay. You mentioned earlier in          11     components that deal specifically with opioids?
     12   your testimony a little bit about dispensing    12         A. Yes. They do -- the prevention
     13   and pharmacies dispensing prescription opioids. 13     programs that are funded through ADM Board do
     14            Would you agree that it can be         14     address opioids, as well as other substances.
     15   appropriate for pharmacists to stock and to     15         Q. And are there ADM-targeted
     16   fill prescriptions for opioids?                 16     prevention grants, meaning that ADM actually
     17        A. Yes.                                    17     provides grants and pays for prevention
     18            MS. MORRISON: I may be done. Let 18           programs that are specific to opioids?
     19   me go off the record for a few minutes to       19              MS. FEINSTEIN: Objection. Form.
     20   confer with my colleagues.                      20         A. So we do have targeted prevention
     21            THE WITNESS: Okay.                     21     grants. They have been in place since I've
     22            MS. MORRISON: Thank you.               22     been employed at ADM Board. And to my
     23            THE VIDEOGRAPHER: Off the record, 23          knowledge, 2015-'16, school year, there --
     24   4:10.                                           24     Pastoral Counseling Services did receive a
     25            (A recess was taken.)                  25     grant as part of that grant funding to
                                                 Page 267                                                   Page 269
      1           THE VIDEOGRAPHER: On the record,           1   administer Generation Rx curriculum within the
      2   4:13.                                              2   Akron Public Schools that they were in.
      3            MS. MORRISON: Thank you                   3            And in 2017, the '17-'18 school
      4   Mrs. Patton. I am done with questions. My          4   year, Kenmore Garfield High School in Akron
      5   colleagues in the room are done.                   5   implemented an athletic prevention program
      6            Does anyone on the phone have any         6   where they also implemented the Generation Rx
      7   questions.                                         7   curriculum amongst athletes in the high school.
      8            MS. McINTYRE: Jill McIntyre. I do         8       Q. Okay. And that's -- that's just --
      9   not.                                               9   fair to say, ADM does provide grant dollars
     10            MS. MORRISON: Anyone else?               10   specific to opioid prevention and use within
     11            Hearing none, do you have any            11   Summit County; is that correct?
     12   redirect?                                         12            MS. FEINSTEIN: Objection. Form.
     13            MS. KEARSE: Yeah, I'm going to           13       A. Yes.
     14   actually take a break and look to see that. I     14       Q. Ms. Patton, do you recall a line of
     15   wasn't sure, so let us take our break and we      15   questioning from counsel for Teva about when
     16   will let you know.                                16   you first learned about a public health crisis
     17            THE VIDEOGRAPHER: Off the record,        17   in Summit County? Do you recall that?
     18   4:14.                                             18       A. Yes.
     19            (A recess was taken.)                    19       Q. Okay. And as to Summit County
     20            THE VIDEOGRAPHER: On the record          20   specifically, when's the first time that you
     21   4:46.                                             21   became aware that Summit County was facing a
     22         EXAMINATION OF KIMBERLY PATTON              22   public health crisis as it relates to opioid
     23   BY MS. KEARSE:                                    23   use?
     24       Q. Ms. Patton, Anne Kearse. Thank you         24       A. As it relates specific to Summit
     25   for being here today and answering questions      25   County, when I became employed with the ADM

                                                                                            68 (Pages 266 - 269)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 69 of 126. PageID #: 243022


                                                   Page 270                                                 Page 272
      1   Board in May of 2016, I, soon after that, saw    1       assessed on December 27th, cleared for
      2   the impact it was having in our community, in    2       admission into a residential treatment program
      3   those months soon to follow, whereas many of     3       on the 9th. We called -- at least scheduled
      4   our systems were becoming overloaded, whereas 4          her on the 14th. When we made that phone call,
      5   Summit County Children Services was taking in 5          her grandmother, at the time, told us that she
      6   kids beyond capacity, whether it's because       6       had passed away on that Sunday, on the 13th,
      7   children lost their caregivers to overdose, or   7       prior, of an overdose.
      8   if they were in the criminal justice system.     8           Q. Has the opioid crisis in Summit
      9            We also had mobile morgues              9       County impacted people of all ages?
     10   delivered and set up within our county at that  10           A. I believe so, yes. You know, we
     11   time, and we were getting calls at the ADM      11       have children that have been impacted by this.
     12   Board at that time, in that -- those summer     12       We have adults, young adults, adults, as well
     13   months of 2016, where people were fearful,      13       as older adults that are -- have all been
     14   calling.                                        14       impacted by this within the community.
     15            I had one individual, a family         15           Q. Has it impacted people of all
     16   member call, indicating their family member     16       races?
     17   overdosed four times, and how can they just get 17           A. Yes.
     18   them into treatment because they don't want     18           Q. Socioeconomic statuses?
     19   them to die.                                    19           A. Yes.
     20            So as far as Summit County             20           Q. Gender?
     21   specifically, it really wasn't -- it was when I 21           A. Yes.
     22   first became employed with the ADM Board and 22              Q. And is it still the goal of the ADM
     23   was working with the ADM Board.                 23       and as your role as -- in a -- with the ADM to
     24            MS. FEINSTEIN: I'm going to move       24       attempt to try and get people into service
     25   to strike the non-responsive portion of that    25       quicker so that they can perhaps be saved?
                                                   Page 271                                                 Page 273
      1   answer.                                              1        A. Yes. Our overall goal is to
      2       Q. And regarding the -- well, let me             2   streamline the services as much as possible so
      3   ask you this. To when -- when you came to            3   that we can get the individuals the services
      4   Summit County, after you came to Summit County,      4   they need as quickly as possible.
      5   did you see a rise in the number of deaths and       5           MS. KEARSE: Okay. Thank you,
      6   people dying of opioid-related use?                  6   Ms. Patton. No further questions.
      7           MS. FEINSTEIN: Objection. Form.              7           MS. FEINSTEIN: I just have a
      8       A. So when I became employed by Summit           8   couple of follow-up for you.
      9   County ADM Board, that is when I became aware        9           THE WITNESS: Uh-huh.
     10   of the numbers of overdoses within the county.      10          EXAMINATION OF KIMBERLY PATTON
     11   As I mentioned before, it really wasn't on my       11   BY MS. FEINSTEIN:
     12   radar prior to that employment.                     12        Q. The grants that you just testified
     13       Q. And as for Summit County, is Summit          13   about in response to the questions from your
     14   County still facing an opioid crisis today?         14   counsel, do you know the source of the funds
     15       A. I believe so.                                15   for those grants?
     16       Q. Okay. And do you have a reason               16        A. I know it's ADM funding. I don't
     17   to -- what are some examples that you still see     17   know specifically what part of the ADM funding
     18   today?                                              18   it is.
     19       A. You know, I believe we have done a           19        Q. Do you know whether Summit County
     20   good job at expanding capacity at our               20   has provided to the ADM any additional funds to
     21   providers, as well as trying to streamline the      21   fund those grants?
     22   process to get individuals into services            22        A. Can you clarify -- when you say
     23   quicker; however, as late as last week, we had      23   Summit County, because I know we've talked
     24   an individual, a female, that we were trying to     24   taxpayer money versus government.
     25   get into residential treatment. She was             25        Q. Sure. So based on your earlier

                                                                                             69 (Pages 270 - 273)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 70 of 126. PageID #: 243023


                                                    Page 274                                                 Page 276
      1   testimony --                                          1   BY MR. BOEHM:
      2       A. Yes.                                           2        Q. Thank you. Just had to fix the
      3       Q. -- it's my understanding that you              3   microphone so that I could ask you a few
      4   know that the ADM Board is funded by a levy?          4   questions, Ms. Patton. Thank you.
      5       A. Correct.                                       5            You indicated that with respect
      6       Q. The grants that you just testified             6   specifically to Summit County, it was when you
      7   about moments ago, do you know whether those          7   became employed in 2016 that you determined
      8   grants come from the levy funds?                      8   that there was an opioid abuse epidemic taking
      9       A. I don't know for sure.                         9   place in Summit County; is that right?
     10       Q. Do you know whether Summit County             10            MS. KEARSE: Object to form.
     11   provides any funds, other than the levy funds        11   Misstates her testimony.
     12   that are from the designated grant --                12        A. So when I was -- began my
     13   designated levy, does Summit County provide any      13   employment in May of 2016, that is really when
     14   funds specific to the ADM Board for the funding      14   I became aware of the opiate crisis within
     15   of those grants?                                     15   Summit County.
     16       A. Not that I'm aware of.                        16        Q. Is it your testimony that the
     17       Q. How much are the grants that you              17   opiate crisis within Summit County was already
     18   just testified about?                                18   underway when you joined the ADAMHS Board in
     19       A. The 2015-'16 grant, I don't know              19   2016?
     20   that specific dollar amount, because they were       20            MS. KEARSE: Object to form.
     21   already awarded prior to me coming on board,         21   Misstates her testimony.
     22   and I was just responsible for the outcomes.         22        A. I can't speak as far as because
     23            The 2017 grant that was issued to           23   I -- as mentioned before, I really did not
     24   Kenmore Garfield High School was in the amount       24   follow Summit County and their ADM Board prior
     25   of $2,500.                                           25   to my employment, so I don't know what the
                                                    Page 275                                                 Page 277
      1       Q. Are you aware of any other grants              1   situation was prior to my employment.
      2   that fall in the category of those prevention         2        Q. But did you determine, when you
      3   grants?                                               3   joined the ADAMHS Board, that the opioid
      4       A. For the targeted prevention grants,            4   epidemic was already underway when you joined?
      5   there were no other grants, of those grants           5            MS. KEARSE: Object to form.
      6   that were opioid-specific.                            6        Q. Or do you have no idea one way or
      7       Q. The woman that you just told the               7   another?
      8   story about who was placed in the residential         8        A. So I believe when I became employed
      9   facility but unfortunately did not make it into       9   in -- as I had mentioned soon after I became
     10   the facility before suffering an overdose, do        10   employed, I don't know the specific date, but
     11   you know whether she overdosed on prescription       11   that was really when we saw a spike in the
     12   opioids?                                             12   deaths and the mobile morgue coming, so as far
     13       A. I do not know that specifically;              13   as was it a crisis beforehand, I don't know
     14   however, I do know that we are following up to       14   what state the county was in prior to me
     15   get an incident report on the situation.             15   becoming employed.
     16       Q. What information would you need to            16        Q. Have you ever undertaken any effort
     17   confirm what she overdosed on?                       17   to try and understand when Summit County, the
     18       A. Ultimately, the tox -- a tox screen           18   trends of prescription opioid abuse and
     19   from the medical examiner would confirm it.          19   overdoses, started to go upward?
     20   Part of the unusual incident reporting process,      20            MS. KEARSE: Object to form.
     21   though, is the treatment -- treatment provider       21        A. Can you clarify? When you say have
     22   that she was linked with will do a report to         22   I ever made --
     23   us, and if there was anything reported to them,      23        Q. Have you ever undertaken any effort
     24   they can indicate it at that time.                   24   to try and determine when prescription opioid
     25          EXAMINATION OF KIMBERLY PATTON                25   abuse and overdoses started to trend upward in

                                                                                              70 (Pages 274 - 277)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 71 of 126. PageID #: 243024


                                                  Page 278                                                 Page 280
      1   Summit County?                                      1           MS. KEARSE: Well, no, we --
      2           MS. KEARSE: Object to form.                 2           MR. BOEHM: We took at least 30
      3       A. So I myself have not -- have not             3   seconds for me to fix my microphone.
      4   personally researched or attempted to analyze       4           MS. SALERNO: I stopped it.
      5   that.                                               5           MS. KEARSE: We stopped it. We
      6       Q. Have you ever asked anybody at               6   did. We timed it on that.
      7   ADAMHS or anybody else in the county government     7           MR. BOEHM: Okay. I'm -- under
      8   whether they have ever undertaken to try and        8   protest, I will stop.
      9   understand when the trend started to go upward      9           MS. KEARSE: Okay. Thank you
     10   in terms of prescription drug abuse or             10   Ms. Patton.
     11   overdoses?                                         11           THE WITNESS: Thank you.
     12           MS. KEARSE: Object to form.                12           THE VIDEOGRAPHER: Off the record,
     13       A. I have not.                                 13   5:00 p.m.
     14       Q. So as you sit here -- as you sit            14       (Deposition concluded at 5:00 p.m.)
     15   here today, you don't know whether or not          15                ~~~~~
     16   anybody has ever investigated the causes or the    16
     17   beginning of the opioid use epidemic in Summit     17
     18   County; is that fair?                              18
     19           MS. KEARSE: Object to form.                19
     20       A. No, I don't personally have that            20
     21   knowledge.                                         21
     22       Q. Did you read newspapers in the late         22
     23   1990s and early 2000s?                             23
     24       A. Not really.                                 24
     25       Q. Do you ever read newspapers?                25
                                                  Page 279                                                 Page 281
      1       A. Occasionally.                                1   Whereupon, counsel was requested to give
      2       Q. What newspapers do you read?                 2   instructions regarding the witness's review of
      3       A. Well, now, more recently, because            3   the transcript pursuant to the Civil Rules.
      4   everything is virtually online, it will be          4
      5   articles online that --                             5               SIGNATURE:
      6       Q. When did you start reading                   6   Transcript review was requested pursuant to the
      7   newspapers?                                         7   applicable Rules of Civil Procedure.
      8       A. I don't know.                                8
      9       Q. Don't know?                                  9           TRANSCRIPT DELIVERY:
     10           What news- -- newspapers have you          10   Counsel was requested to give instructions
     11   read?                                              11   regarding delivery date of transcript.
     12       A. Plain Dealer.                               12
     13       Q. When did you start reading the              13
     14   Plain Dealer?                                      14
     15       A. I have no idea.                             15
     16           MS. KEARSE: Counsel, the time is           16
     17   up.                                                17
     18       Q. Do you read -- do you read national         18
     19   newspapers?                                        19
     20       A. No.                                         20
     21       Q. No?                                         21
     22           MS. KEARSE: Okay. That's the last          22
     23   question, Counsel.                                 23
     24           MR. BOEHM: No, I'm not -- I'm not          24
     25   quite done.                                        25
                                                                                            71 (Pages 278 - 281)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 72 of 126. PageID #: 243025


                                                      Page 282                                                                        Page 284
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      1           REPORTER'S CERTIFICATE                                             1100 Superior Ave
      2   The State of Ohio, )                                    2                    Suite 1820
                                                                                    Cleveland, Ohio 44114
      3                    SS:                                    3                  Phone: 216-523-1313
      4   County of Cuyahoga. )                                   4
                                                                      January 25, 2019
      5                                                           5
      6            I, Stephen J. DeBacco, a Notary                    To: Anne McGuiness Kearse
                                                                  6
      7   Public within and for the State of Ohio, duly               Case Name: In Re: National Prescription Opiate Litigation v.
      8   commissioned and qualified, do hereby certify           7
                                                                      Veritext Reference Number: 3188714
      9   that the within named witness, KIMBERLY PATTON,         8
                                                                    Witness: Kimberly Patton          Deposition Date: 1/22/2019
     10   was by me first duly sworn to testify the               9
     11   truth, the whole truth and nothing but the             10 Dear Sir/Madam:
                                                                 11
     12   truth in the cause aforesaid; that the                    Enclosed please find a deposition transcript. Please have the witness
     13   testimony then given by the above-referenced           12
                                                                    review the transcript and note any changes or corrections on the
     14   witness was by me reduced to stenotypy in the          13
     15   presence of said witness; afterwards                      included errata sheet, indicating the page, line number, change, and
                                                                 14
     16   transcribed, and that the foregoing is a true             the reason for the change. Have the witness’ signature notarized and
                                                                 15
     17   and correct transcription of the testimony so
                                                                    forward the completed page(s) back to us at the Production address
     18   given by the above-referenced witness.                 16 shown
                                                                 17 above, or email to production-midwest@veritext.com.
     19            I do further certify that this                18
     20   deposition was taken at the time and place in             If the errata is not returned within thirty days of your receipt of
                                                                 19
     21   the foregoing caption specified and was                   this letter, the reading and signing will be deemed waived.
     22   completed without adjournment.                         20
                                                                 21 Sincerely,
     23                                                          22 Production Department
     24                                                          23
                                                                 24
     25                                                          25 NO NOTARY REQUIRED IN CA

                                                      Page 283                                                                        Page 285
                                                                  1           DEPOSITION REVIEW
      1            I do further certify that I am not                        CERTIFICATION OF WITNESS
      2   a relative, counsel or attorney for either              2
                                                                    ASSIGNMENT REFERENCE NO: 3188714
      3   party, or otherwise interested in the event of          3 CASE NAME: In Re: National Prescription Opiate Litigation v.
      4   this action.                                              DATE OF DEPOSITION: 1/22/2019
                                                                  4 WITNESS' NAME: Kimberly Patton
      5            IN WITNESS WHEREOF, I have hereunto            5     In accordance with the Rules of Civil
                                                                    Procedure, I have read the entire transcript of
      6   set my hand and affixed my seal of office at            6 my testimony or it has been read to me.
      7   Cleveland, Ohio, on this 25th day of                    7     I have made no changes to the testimony
                                                                    as transcribed by the court reporter.
      8   January, 2019.                                          8
      9                                                             _______________          ________________________
                                                                  9 Date                 Kimberly Patton
     10                                                          10     Sworn to and subscribed before me, a
                                                                    Notary Public in and for the State and County,
     11                                                          11 the referenced witness did personally appear
     12                                                             and acknowledge that:
                                                                 12
     13             <%11472,Signature%>                                 They have read the transcript;
     14          Stephen J. DeBacco, Notary Public               13     They signed the foregoing Sworn
                                                                        Statement; and
     15          within and for the State of Ohio                14     Their execution of this Statement is of
                                                                        their free act and deed.
     16                                                          15
     17   My commission expires September 30, 2022.                     I have affixed my name and official seal
                                                                 16
     18                                                             this ______ day of_____________________, 20____.
     19                                                          17
                                                                            ___________________________________
     20                                                          18         Notary Public
                                                                 19         ___________________________________
     21                                                                     Commission Expiration Date
     22                                                          20
                                                                 21
     23                                                          22
     24                                                          23
                                                                 24
     25                                                          25

                                                                                                                72 (Pages 282 - 285)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 73 of 126. PageID #: 243026


                                                                            Page 286
      1         DEPOSITION REVIEW
               CERTIFICATION OF WITNESS
      2
        ASSIGNMENT REFERENCE NO: 3188714
      3 CASE NAME: In Re: National Prescription Opiate Litigation v.
        DATE OF DEPOSITION: 1/22/2019
      4 WITNESS' NAME: Kimberly Patton
      5     In accordance with the Rules of Civil
        Procedure, I have read the entire transcript of
      6 my testimony or it has been read to me.
      7     I have listed my changes on the attached
        Errata Sheet, listing page and line numbers as
      8 well as the reason(s) for the change(s).
      9     I request that these changes be entered
        as part of the record of my testimony.
     10
            I have executed the Errata Sheet, as well
     11 as this Certificate, and request and authorize
        that both be appended to the transcript of my
     12 testimony and be incorporated therein.
     13 _______________           ________________________
        Date                 Kimberly Patton
     14
            Sworn to and subscribed before me, a
     15 Notary Public in and for the State and County,
        the referenced witness did personally appear
     16 and acknowledge that:
     17     They have read the transcript;
            They have listed all of their corrections
     18     in the appended Errata Sheet;
            They signed the foregoing Sworn
     19     Statement; and
            Their execution of this Statement is of
     20     their free act and deed.
     21     I have affixed my name and official seal
     22 this ______ day of_____________________, 20____.
     23         ___________________________________
                Notary Public
     24
                ___________________________________
     25         Commission Expiration Date

                                                        Page 287
      1            ERRATA SHEET
               VERITEXT LEGAL SOLUTIONS MIDWEST
      2          ASSIGNMENT NO: 1/22/2019
      3   PAGE/LINE(S) /    CHANGE       /REASON
      4   ___________________________________________________
      5   ___________________________________________________
      6   ___________________________________________________
      7   ___________________________________________________
      8   ___________________________________________________
      9   ___________________________________________________
     10   ___________________________________________________
     11   ___________________________________________________
     12   ___________________________________________________
     13   ___________________________________________________
     14   ___________________________________________________
     15   ___________________________________________________
     16   ___________________________________________________
     17   ___________________________________________________
     18   ___________________________________________________
     19
        _______________     ________________________
     20 Date            Kimberly Patton
     21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
     22 DAY OF ________________________, 20______ .
     23       ___________________________________
              Notary Public
     24
              ___________________________________
     25       Commission Expiration Date

                                                                                                  73 (Pages 286 - 287)
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 74 of 126. PageID #: 243027


   [& - 2017]                                                                     Page 1

             &            051 183:20 184:8      17 1:6,10 72:14         257:19
    & 1:21 3:5,10,11               1              225:5 269:3         2006 40:23
      3:17 4:5,10,14                            170 8:9               2009 18:4
                          1 6:3 19:3,10,12,19
      6:18 10:22 11:3,7                         17th 15:3 173:7,8     2011 6:22 60:25
                            30:19,21 31:18
      11:9 204:5 242:14                         18 1:12,13 18:15        130:21,22 131:2,4
                            37:9 155:15 156:5
      242:16                                      18:20 54:14 85:22     148:12 207:11,20
                          1,500 95:20
                                                  155:5 159:11          208:21 210:6
              0           1/22/2019 284:8
                                                  188:20 269:3          211:12 212:21
    000216547 6:22          285:3 286:3 287:2
                                                180 8:10              2011-2012 130:16
      208:21 209:9        10 26:22 49:20
                                                1820 284:2            2013 46:16 48:8
    000216548 6:22          107:20 138:24,25
                                                183 6:13                52:9 53:23 56:7
      208:22                139:13,18
                                                1867 12:12              57:21 120:19
    000289523 7:2         100 94:15 143:9
                                                187 6:16                122:6
      228:4               10019-9710 4:6
                                                19 6:3                2014 131:5
    000289533 7:3         10:13 62:11
                                                193 8:10              2015 86:4 210:9
      228:5               10:33 62:14
                                                199 8:11                211:12 268:23
    000945488 6:9         11 5:8
                                                1990s 278:23            274:19
      157:9,21            1100 4:16 284:1
                                                1st 110:11            2016 12:25 17:19
    000945633 6:19        11472 283:13
                                                         2              25:25 26:8 28:11
      204:7,17            11:54 129:13
                                                                        56:7 57:21 58:22
    000959818 6:6         12 166:20             2 5:3 6:5 17:19
                                                                        59:3 61:6 66:15
      67:22 68:6          124 8:5                 66:15 67:20 68:2
                                                                        85:17 89:1 90:16
    000959819 6:6         125 8:6,6               68:24 71:24,25,25
                                                                        103:22 104:2
      67:23               12:53 129:16            80:1 90:22 95:10
                                                                        119:7 131:24
    000960323 6:12        13.5 104:23 105:1       107:11 111:15
                                                                        144:10 146:11,14
      162:11,21           130 8:7                 127:17,21
                                                                        192:20 202:19
    000970749 6:16        134 175:24 176:1      2,500 274:25
                                                                        270:1,13 276:7,13
      187:16              136 8:7               20 6:22 28:24 94:6
                                                                        276:19
    000970754 6:17        13th 70:5 272:6         94:14,16 208:20
                                                                      2017 6:11 20:12,17
      187:16              140 175:23 176:3        285:16 286:22
                                                                        20:25 21:14,24
    001128843 6:3         143 8:8                 287:22
                                                                        22:3,11,18,23
      19:5                146 8:8               200 8:11
                                                                        25:21 26:8 28:11
    001128846 6:4         148 8:9               20005 3:12
                                                                        29:16 72:13,15
      19:5                14th 272:4            2000s 278:23
                                                                        73:1 80:10 92:7
    001793050 6:14        15 49:20 93:10        2002 18:1 30:25
                                                                        101:19,23 102:3
      183:12,20           15219-6401 3:6          34:17
                                                                        103:17,20 104:4
    001793051 6:15        157 6:7               2003 34:17 37:7
                                                                        111:3 113:21
      183:12              16 118:13 268:23        39:3
                                                                        129:6,8,25 150:17
    00970749 187:25         274:19              2004 217:25
                                                                        153:23 158:2,17
    05 59:2               1600 2:18             2005 39:3 40:21
                                                                        158:18 160:20
                          162 6:10                43:21 46:15 48:7
                                                                        162:10 163:17
                                                  52:8 58:22 218:1
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 75 of 126. PageID #: 243028


   [2017 - 60601-5094]                                                            Page 2

      164:2 169:23,23     214 8:15              278 9:5,5,6          41 115:4
      171:1 173:7,8       215 8:15,16,16        27th 272:1           412 3:7
      178:10 183:22       216 2:13 4:17 8:17    28 2:6 185:8         415 4:12
      184:10 186:9,21     216-523-1313          2804 1:5,6           42 190:10
      192:20 235:1,4        284:3               282 5:15             43 165:18 166:3
      269:3 274:23        216-9140 2:7          28th 153:25          434-5366 3:12
    2017-2018 193:15      216-9461 2:8          29464 2:6            44113 4:17
    2018 6:16 14:25       218 8:17,18,18        29th 102:3           44114 284:2
      15:1 19:21,23       219 8:19,19           2:12 198:14          44114-1190 2:13
      20:10,12,19 21:3    21st 95:5             2:33 198:17          44313 12:13
      21:15,18 25:22      22 1:18 10:3          2nd 12:25            45004 1:10
      28:12 30:23 69:10     167:13 168:4                 3           45090 1:13
      70:2,5 79:4,5,11    222 8:20,20                                45132 1:12
                                                3 6:7 157:6,14
      79:14,19 92:8       223 8:21                                   4:10 266:24
                                                  158:12,20
      99:1 101:17,25      228 7:1                                    4:13 267:2
                                                30 165:1,6,17
      102:23 104:6        236 185:3                                  4:14 267:18
                                                  211:16 280:2
      105:12,18 110:11    239 8:21                                   4:46 267:21
                                                  283:17
      111:3 113:24        24 189:24                                           5
                                                30,000 116:9
      114:24 120:20       248 5:9
                                                304 2:19             5 6:13 183:9,17
      122:8 143:25        25 28:24 93:5
                                                30th 155:15 156:5      184:3,7,24 186:17
      150:18 155:21         190:21 284:4
                                                31 70:2,5            50 143:13 167:13
      187:3,15 188:20     250 4:6
                                                312 3:19             500 2:18
      189:24 190:21       25301-3202 2:18
                                                3188714 284:7        52 8:3
      192:21 193:1        254 8:22
                                                  285:2 286:2        53 8:3,4
      205:21,23 206:6     255 8:22
                                                324-1492 3:19        54 104:17,19,25
      236:20 239:1,9      256 8:23
                                                32nd 3:6               106:12
    2018-2019 111:7       258 8:23
                                                330 160:21 185:2     55 168:4,24,25
    2019 1:18 10:3        259 8:24,24
                                                340-1018 2:19          169:1
      121:8 155:21        25th 283:7
                                                35 159:8             55th 4:6
      283:8 284:4         26 170:3 171:2,2
                                                36 190:10            560-7455 3:7
    202 3:12 8:12         260 5:10
                                                38 160:24            586-7375 2:13
    2022 283:17           266 8:25
                                                3:29 246:19          591-7055 4:12
    204 6:18              267 5:11
                                                3:46 246:22          5:00 280:13,14
    206 8:12,13           268 9:1
                                                3rd 79:14                     6
    208 6:20              269 9:1
    21 6:11 162:10        270 9:2                        4           6 5:5 6:16 187:14
      163:17 171:1        271 9:2               4 6:10 162:7,15,24     187:21,24 190:20
      222:12              273 5:12                174:5                198:22,23
    211 8:13              276 5:13 9:3,3        40 40:15 95:23       60 232:25 233:3
    212 4:7 8:14,14       277 9:4,4               190:3              60601-5094 3:19


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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 76 of 126. PageID #: 243029


   [63 - addresses]                                                               Page 3

    63 8:4                        a            accompanying          addiction 27:5
    66 53:4,15           a.m. 1:18 10:4          215:17                29:14,25 30:11
    67 6:5               aaron 1:7 70:17       account 161:3           49:3 52:10 55:9
    696-2493 4:17          132:19 134:11       accounts 122:22         55:11,16 56:8,12
             7           abide 239:9           accredidate 52:10       58:23 60:11,15
                         able 41:7 57:15       accreditated 49:2       61:21 66:20 70:23
    7 6:18 204:4,11,13
                           86:20 87:2 116:21   accreditation           71:13 78:11,22
      204:18
                           138:4 152:9           32:23 33:1,2,12       79:2 85:11 88:17
    72 185:2
                           166:25 169:16       accredited 32:20        94:21 95:17 96:13
    725 3:11
                           186:2 226:19          46:17 52:10 58:23     96:17,21,25 97:2,6
    75 1:21 86:1
                           228:23                59:3                  97:8,10,11,15,18
    751 188:17
                         abundant 237:21       accuracy 255:13         97:20,24 102:8,16
    754 188:1
                         abuse 39:4 41:24        255:22 256:4,12       107:13,22 120:2
    77 3:18
                           43:10 59:11 64:2    accurate 13:23          126:7 131:8,23
    78 8:5
                           179:10 206:22         184:21                134:4,10,19 139:4
             8                                 acknowledge             139:6 142:17,23
                           251:5 255:7 257:7
    8 6:20 205:23                                285:11 286:16         142:24 143:2
                           257:25 258:24
      208:17 209:5                             act 95:6 97:25          144:5 145:18,19
                           259:7 276:8
    80 94:3 160:9                                99:25 100:9           154:3 166:2,4,5,23
                           277:18,25 278:10
      178:15                                     285:14 286:20         169:15 173:11,23
                         abusing 148:5
    80,000 121:4                               actavis 3:3,3,15,15     174:1 191:25
                           206:22
    836-7838 4:7                               action 102:10           192:2,4 206:10,19
                         academic 247:20
    843 2:7,8                                    283:4                 216:19,25 217:10
                           247:23 257:14
    845 31:18                                  actively 61:16          217:18 218:11,16
                         accept 49:25
             9           accepted 132:6        activities 136:9,13     219:15 220:4,8
    9 7:1 228:1,9,12     access 58:17 69:18    actual 50:1 190:24      259:21,25 260:1,3
      229:19 230:1         69:22 76:18,21        227:5 253:20          260:17
      239:14 240:15        86:22,25 107:15     ad 97:10 234:10       addictions 139:4
    90 143:8 185:11,18     113:12 119:23       adamhs 249:12         addition 29:23
    900,000 110:15,17      122:17 136:24         254:1 255:12,21       47:1 139:8
      110:22 111:5         140:20,22 142:3       256:10 260:19,20    additional 94:14
    901 2:12               165:11 172:22,24      261:1,7,18,23         110:13 176:20
    94111-5356 4:11        172:25 175:2          262:22 263:7,10       223:12 260:16
    95 143:1,3             212:2 226:14          263:22,23 276:18      273:20
    950 4:16               231:2                 277:3 278:7         additionally 160:9
    99 122:23            accessed 88:9         adams 209:24          address 12:8,10,12
    9:13 1:18 10:4         224:12              add 227:6               12:15 74:16 138:1
    9th 85:16 272:3      accessible 148:4      added 26:8              211:24 265:9
                           224:12 237:19       addicted 220:3          268:14 284:15
                         accompanies             221:25 222:8,15     addresses 210:18
                           216:3
                                  Veritext Legal Solutions
    www.veritext.com                                                        888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 77 of 126. PageID #: 243030


   [adhere - allegations]                                                          Page 4

    adhere 47:2             135:4,10,17,24,25      272:22,23 273:16   agencies 66:20
    adjournment             136:4,7,11,16,17       273:17,20 274:4      85:7 93:12 96:19
      282:22                137:11,16,17,20        274:14 276:24        96:20,25 97:9,11
    adjudication            138:1,14 139:19      adm's 154:6            138:1 155:23,24
      57:14                 140:2,6,9,14         administer 269:1       196:21 197:5
    adjust 226:20           141:10,21 144:8      administration       agency 38:25
    adm 6:13 12:8           146:14 148:23,24       18:3 47:20 48:4      99:19 133:15
      13:1 15:24 17:2       149:11,25 151:8        54:16 214:4          197:23 198:8
      17:19 20:3 21:17      154:12,14,23         admission 49:25        205:2 251:21
      21:25 22:5,13,16      155:16 156:9,20        50:23 266:3,4      agenda 73:11
      22:20,22 23:6,11      161:4 165:7,20,23      272:2              agendas 240:25
      23:12,21 24:2,22      165:24 166:1,5,12    admissions 54:17     ages 222:12 272:9
      25:19 26:1,2,13,24    166:23 167:5,14        264:17             aggregate 252:13
      27:1,16,21,25 28:6    169:9,15 170:20      admitted 42:4,22     ago 17:6 159:12
      30:9,11,15 55:20      170:25 172:12,13       51:11 52:4 53:5      243:21 274:7
      55:25 56:7,21         173:5,6,17,18,20       57:3,10 264:23     agree 145:24
      61:8 62:19 65:6,7     173:25 174:24        admitting 42:8         218:19 219:16
      65:12,21,24 66:8      175:2 178:14           50:20                220:10 259:20
      66:12,14,18 67:4      179:21 180:3,9,24    adult 31:11 35:19      266:14
      67:17 71:22 72:2      181:4 182:9,12,12      37:14,22 142:13    agreed 23:9
      75:16 76:25 77:6      182:19 183:10          145:19 147:21,21   agreement 245:16
      77:11,14,18,24        185:13,20 186:1,4    adults 35:6,14       agrees 23:16
      78:2,8,11,13,19,22    186:5,8,10,11,21       272:12,12,12,13    aimee 56:13 66:3
      79:1,8,12,12 80:20    193:8,18,22,25       advertise 118:5        69:4 71:3,5
      81:1 86:7,21 87:1     194:6,17 195:13      advertisement          132:14 144:24
      87:4,9,17,23 88:12    195:23 196:2           234:5              akearse 2:7
      88:16 90:12 91:10     197:4 198:3,8        advertisements       akron 1:22 2:3
      91:14 92:5,20         202:12,18,19,22        233:21               10:14,17 12:13
      93:15,21,24 94:1      203:7 206:12         advertising 118:8      28:22,23 91:25
      94:15 97:8,18,23      216:2 225:7,18         234:22 243:20,24     102:10 118:6
      98:9,17 99:10,20      226:11,14 227:13     advise 214:20          120:7 121:16
      100:5 101:16,19       227:15 228:21        advisory 113:3,6,8     126:2 238:5 269:2
      101:24 102:1,7        236:15,18 239:3      affixed 283:6          269:4
      103:24 104:2,15       239:10 240:11          285:15 286:21      akron's 27:4
      104:20,25 105:4,8     244:12 247:2,16      aforesaid 282:12     al 1:10,12,13,13
      105:13,17 109:11      247:19 249:8         aftercare 42:16      alcohol 24:17,23
      111:9,10 113:20       261:13 262:3,5         99:18                55:8 109:9,13
      118:2,3 120:24        268:6,9,10,13,15     afternoon 248:18       171:4 222:12
      121:1 130:7           268:16,22 269:9        260:12             alice 225:6
      131:12,13,16,23       269:25 270:11,22     age 11:13 35:16      allegations 236:22
      132:7 134:9,14,17     270:23 271:9                                236:25 237:4

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 78 of 126. PageID #: 243031


   [allegations - assisted]                                                           Page 5

      238:8 249:17,23           215:7,22 271:1      appropriate 35:16    asked 14:5,6 16:7
      250:7 255:13,23         answered 53:19          219:9,19 266:15      17:9 43:13 53:18
      256:12                    212:17 223:18       approval 214:12        82:21 118:20
    alleges 247:12              256:15              approve 81:19          119:12 130:2
    allergan 241:8,11         answering 81:9          84:1,22              212:17 222:19
    allow 61:19                 267:25              approved 214:3,9       223:18 228:19,24
      153:21 260:21           anybody 141:11          218:13               238:15 247:1
      261:2,8,24                251:3 255:11,20     approximately          256:14 268:4
    allows 156:11               256:9 278:6,7,16      17:5 28:24 37:21     278:6
    alt 48:23                 apart 104:21            54:14 92:1 94:3    asking 13:8 36:14
    altering 261:3              249:21 250:4,23       116:9 159:11         57:23 77:17 87:16
    alternatives 48:24          262:16                160:9 205:17         135:12 182:22
    amerisourceberg...        apartment 106:14        217:25               220:18 250:18
      2:15 68:15 255:1        apologies 252:7       april 6:21 107:14      256:22
      255:5                   apologize 183:18        208:20             assess 28:13
    amount 91:11                254:21              arcos 263:13           173:10
      104:24 110:19           appear 285:11         area 115:6 257:10    assessed 272:1
      111:1 121:4 124:4         286:15              areas 144:4          assessing 67:5
      237:18 274:20,24        appearance 68:9         150:22 206:8       assessment 42:9
    amounts 23:10               68:12               arndt 56:2 69:22       44:4,16 45:6 46:3
    analysis 45:5             appearances 2:1         70:1 131:17          47:3 49:11 50:11
      141:1 196:3               3:1 4:1 5:3           132:18               50:24 51:18 74:18
    analyze 74:8              appears 32:14         arnold 4:5 11:3        74:19 76:16 166:2
      189:13,17 278:4           180:25              arnoldporter.com       166:6 168:2
    analyzes 189:3            appended 286:11         4:7                  169:21 173:13,14
    anecdotally 193:2           286:18              arrangement 22:3       181:20
    anger 35:7 38:4           applicable 281:7      arrangements         assessments 47:2
    anne 2:5 10:12            applicants 70:10        16:4                 50:9 161:10
      267:24 284:5              70:12               array 35:8 226:7       185:13,20
    annual 80:9 92:3          applications 140:9    articles 231:14,24   assignment 285:2
      101:6 103:7             applied 27:16,25        232:5,14,18,22       286:2 287:2
      110:19 149:19             65:13                 279:5              assist 35:18 38:1
      150:1,10,14,16,20       apply 67:6            asca 102:6,9           54:9,21 57:16
      151:3,8,11 155:2,4      applying 20:2           106:20 181:17,23     67:4 136:17
      183:22 193:7            appointment             182:2,4,10,13,15     150:22 152:9
    annually 95:14              166:6,10 167:21       182:17,18,18         196:15
      116:10 129:2              173:13 182:3,8      ashtabula 43:4       assistance 58:18
    answer 13:21 14:4         appreciate 68:23        55:2                 81:5 96:7 111:18
      93:9 148:21               220:18              aside 25:20 193:22     263:3
      194:15 207:15           appreciation            199:24             assisted 24:4
      214:21,23,25              128:17                                     31:12,14 108:19

                                       Veritext Legal Solutions
    www.veritext.com                                                            888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 79 of 126. PageID #: 243032


   [assisted - began]                                                               Page 6

      108:23 109:4           217:23 235:9        ave 284:1               77:17,19 78:9
    assisting 31:13        attending 10:10       avenue 2:12 4:16        115:6 133:2,13,19
    associate 66:3           207:17              average 53:4            133:19,25 159:4
    associated 199:18      attends 73:2          awarded 274:21          159:24 160:15
      200:1 216:5,13,20    attention 174:3       aware 23:20 69:15       165:9 167:25
      217:11 218:5           177:21 184:6          90:1 135:23           191:4 194:14
      232:6,12               186:16 188:15         139:24 146:21         219:21 257:21
    association 91:2,3     attorney 91:24          180:23 214:7          273:25
      128:5                  260:13 283:2          215:9 218:4 219:4   basic 31:12 36:9
    assume 14:5            attorneys 10:9          245:22 247:25         38:2,5 49:1,5
    assumed 102:1            13:7 14:16,19         248:4 255:3,20        181:16,25 233:11
      159:23                 238:8                 262:21 265:16         237:10 239:19
    athletes 269:7         attributable            269:21 271:9        basically 114:20
    athletic 269:5           192:21                274:16 275:1          149:5 158:10
    atp 107:10,13,22       attribute 200:9         276:14                240:12
      108:5 109:2,7,12     attributed 97:21      awareness 144:16      basis 81:16 92:3
      109:18,22 110:1,8    audience 226:20         225:22                100:11 140:2
      111:2 112:20,21      audit 101:7 196:8              b              248:8
      128:22                 196:10                                    bates 31:18 68:5
                                                 b 12:13
    atr 107:10,14,17       audits 101:6,22                               162:20 183:20
                                                 bachelor's 17:25
    attached 188:25          196:16,23,24                                184:8 187:25
                                                   30:24 217:9
      210:17 286:7         august 14:24                                  188:16 204:17
                                                 back 14:24 30:14
    attain 18:25             119:9 238:22                                209:8
                                                   32:12 33:14 39:18
    attained 18:21           239:1,9                                   bearing 183:19
                                                   39:20 71:24 80:1
      30:24                authorize 286:11                            beco 212:20
                                                   108:10 127:21
    attempt 272:24         automated 263:15                            becoming 146:10
                                                   129:19 132:16,21
    attempted 278:4          263:19                                      146:25 147:4
                                                   148:11 153:19,21
    attempting 176:15      automatic 263:15                              212:20 270:4
                                                   178:13,14 217:16
    attend 59:10,12,14     automatically                                 277:15
                                                   284:15
      59:16 60:10 114:6      264:24                                    bed 106:22 107:2
                                                 background 39:18
      114:10 117:24        availability 88:24                          beds 49:24 54:17
                                                   116:21 133:1
      131:4,5 204:20         102:6 106:22                                102:5 104:11,13
                                                   141:20 184:20
      209:25 210:8           223:8                                       104:17,19,25
                                                 ballard 56:24 57:5
      211:15,18            available 28:16                               105:1,2,5,8,13
                                                 ballpark 52:19,24
    attendance 113:10        49:24 54:7 58:10                            106:12,19,23,24
                                                   53:14 119:1 138:6
    attended 39:12           70:13 75:21 81:9                            150:25
                                                   138:24
      59:14,25 60:14         114:9,21 121:6                            began 103:22,23
                                                 barberton 91:25
      89:24 130:12           122:9 141:18                                103:25 135:2
                                                   113:6
      131:6,8,11 147:5       147:20 148:15                               217:25 258:12
                                                 barriers 73:18
      152:8 200:18           150:25 213:22                               265:24 276:12
                                                 based 47:15 48:19
      210:2,3,5,7 211:12     214:8 266:6
                                                   65:2 66:23 70:18
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 80 of 126. PageID #: 243033


   [beginning - break]                                                               Page 7

    beginning 43:13        benzo 24:23              67:17 71:22 72:2       228:21 236:16,18
      90:25 102:23         benzodiazepines          75:16 76:25 77:11      239:3,10 240:12
      187:25 257:19          24:17 171:15           77:14,18,24 78:2,8     244:12 247:2,16
      278:17                 222:18                 80:20 81:1 86:8        247:19 249:8,13
    begins 111:17          best 90:20 255:10        87:2,23 90:12          254:1 255:12,18
    behalf 2:3,10,15       beth 70:21 132:18        91:10,14 92:5,20       255:21 256:10
      3:2,9,14 4:2,9,14    better 139:11            93:15,21 94:15         260:19 261:13,19
      10:13,16,19 11:3,5   beyond 49:5 51:13        97:18 98:18 99:10      262:22 263:7,10
      11:9 255:12,21         270:6                  99:20 100:5            263:11,22,23
      260:13               biannually 140:10        101:16 104:15,25       268:13,22 270:1
    behavior 120:17        big 147:18,25            111:10 113:6           270:12,22,23
      122:6 133:17           246:4                  118:12 120:24          271:9 274:4,14,21
    behavioral 31:4,7      bill 165:15              121:1 130:7            276:18,24 277:3
      31:19 39:6 41:14     billing 33:3 81:17       131:13,14,16,21      board's 25:19 26:2
      43:1 45:7 46:16        82:20 83:2 84:14       131:23,24,25           135:4 198:8
      47:6 49:8,10,21        88:4,9 101:13          132:5,7 133:9          260:20 261:1,7,24
      52:7 53:22 54:12       161:4 165:11           134:9 135:7,10,17    boarded 194:20
      55:21 56:1 57:20     bills 165:10             135:24,25 136:4,7    boarding 79:1
      58:21 59:1,6 61:8    bimonthly 95:25          136:11,16,18           149:4 194:12
      64:3,21 65:16        bio 6:8 157:8            137:11,20 138:1      boards 54:24 55:6
      71:18 126:2 128:6    birth 74:15 88:6         139:19 140:2,6,9       55:9,10,16 197:6
      130:11 132:1         bit 30:16,17 32:13       140:14 141:11,21       197:11
      198:1 202:6 203:5      72:12 139:11           142:15 144:8,13      bockius 3:5,17
      203:23 206:11          198:21 209:18          144:17 145:7,11      body 218:25
      207:7 208:9            212:25 260:15          145:16 146:14,25     boehm 3:10 5:9,13
      210:19 216:1           266:12                 148:23,24 149:11       10:21,21 248:17
      257:17 264:4,7       blank 177:6              149:25 150:7,15        248:20 252:10
      265:13 266:7           189:10                 150:21 151:3,8         260:4 276:1
    believe 30:22          blind 210:11             154:12,14,23           279:24 280:2,7
      129:23 164:14        board 6:13 13:2          155:8,17 156:20      border 43:17
      192:11,18 199:14       15:24 17:2,19          165:23 173:18        bottom 111:16
      201:8,10 219:8,20      20:3 21:17,25          174:24 175:2           127:22 184:9
      219:22 220:14          22:5,13,16,20,23       180:10,19 182:19       186:18 188:17,19
      223:13 259:14,24       23:7,11,12,21          183:10 186:15        boulevard 2:6
      271:15,19 272:10       24:22 26:1,24          193:19 195:10,23     box 167:13 168:3
      277:8                  28:6 30:15 42:21       196:2 197:4 198:4    boxes 167:12,13
    bell 176:19 208:14       54:18,24 55:11,12      202:12,18,19,23        239:25 240:1
    beneficial 179:19        55:20,25 56:7,21       203:8 206:12         bpulsipher 4:12
    benefit 45:23            61:8,14 62:19          211:21 216:2         brain 220:1 260:2
      117:12 205:2           65:6,7,12,21,24        225:7,18 226:12      break 62:6,7,17
                             66:8,12,14,18 67:4     226:14 227:15          127:15,19 129:11

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 81 of 126. PageID #: 243034


   [break - chain]                                                                 Page 8

      129:20 198:12,20      184:23              calls 25:5,7 75:8     categories 83:8
      198:21 246:16       bunch 210:17            159:10 166:1          105:19
      252:15 261:15       bureau 118:18,23        167:20 168:12       category 172:1
      267:14,15             119:21 126:6,9        169:21 181:5          237:4 275:2
    brenda 4:16 11:8        224:16,19 225:18      182:9 193:8         causal 257:24
    brenda.sweet 4:18       225:20 226:9,18       270:11              cause 282:12
    brennan 1:21          burling 4:10 11:7     cannabis 171:19       caused 144:3
    bridgeside 2:6        business 254:17       capability 166:21       260:22 261:3,9,20
    brief 6:8 78:25         254:22              capacity 65:18          261:25
      79:7 157:8 177:8              c             270:6 271:20        causes 123:16
      249:7                                     capita 147:19           224:14 258:16
                          ca 284:25
    briefly 11:23                               caption 10:5            278:16
                          calendar 92:7,7
      38:22 42:1 64:23                            282:21              center 37:12,19
                            103:12,16 110:11
      66:17 72:11                               caraffi 208:1,3         38:18 49:23
                            155:6,6,13,17
    bring 17:13 81:11                           card 30:3,8             119:12 230:20
                            156:1,12
      84:16 142:19                              cardinal 3:9 10:22    central 153:6
                          california 4:11
    bringing 115:10                               241:4 252:17,20     centre 3:6
                            115:6
    broader 138:11                                252:25 253:3,6,8    century 95:5
                          call 30:13 51:1,6
    broadlawns 37:12                              253:16 254:12,14    cephalon 3:2,14
                            78:13 158:1 166:8
      37:18 38:6,18                               254:16,20 255:4       241:15,17
                            166:13,25 181:18
    broken 88:20                                cards 29:24 30:2      certain 91:11
                            181:23 182:2,5
    brought 127:3                               care 33:7,9 47:9        93:11 94:7 134:20
                            183:4 195:14
      244:18                                      69:18,22 70:25        220:10,14
                            202:2 270:16
    bryant 4:10 11:6                              78:20 142:3         certainly 178:23
                            272:4
    budget 92:12,15                               196:16,17 203:15    certificate 5:15
                          called 11:13 90:8
      140:8                                       215:22 251:10         18:11,22,25 282:1
                            109:19 132:16,21
    budgeted 95:14                                265:6                 286:11
                            165:19 166:4,9
    building 28:21                              career 61:1 126:1     certificates 40:25
                            169:1 207:12
      115:12 117:4                                126:2 206:18        certification 39:9
                            237:5 241:8,14,20
      121:23 122:1                              caregivers 270:7        39:15,22 134:16
                            242:1,7,13,20
      147:8                                     carole 56:24 57:5       285:1 286:1
                            243:12 252:13
    bullet 6:5 31:15,20                         carolina 2:6          certifications
                            272:3
      67:15,15,21 72:7                          carry 217:17            71:13 96:8 134:10
                          caller 182:23
      95:9 107:11                                 218:20              certified 11:16
                            194:2,14 195:15
      111:17,21 127:22                          case 1:6,10,12,13       49:4 67:1 71:10
                            195:15,19
      165:16,17 174:10                            10:5 18:3,6 80:25     95:15 96:15
                          callers 170:3
      177:9 178:3                                 120:23 121:20         101:10 153:1
                            171:2,19,21,24
      185:11                                      249:25 250:22       certify 282:8,19
                            181:1,4
    bullets 41:22 72:5                            251:2 253:10,12       283:1
                          calling 78:12
      72:17 90:21                                 284:6 285:3 286:3   chain 6:16 187:15
                            166:20 168:10,21
      174:11 176:20
                            181:7 270:14
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 82 of 126. PageID #: 243035


   [chaired - combined]                                                           Page 9

    chaired 113:22        chooses 181:19          69:23 74:17 75:7      38:8,14,19
    chairs 113:24         chris 56:3,18           76:5 85:1 86:23     coalition 6:21
    change 61:7 93:5        70:19 131:17          88:18 108:14          207:21 208:20
      143:14 156:2          132:19                124:24 127:6        cocaine 171:22
      206:2 284:13,14     christine 79:18         153:21 168:1          191:10 198:24
      286:8 287:3           132:18                181:19 262:21         204:20
    changed 53:22         cited 123:9             264:18,22,25        code 76:1 83:4
      223:23              cities 175:22           265:8               codes 75:25 82:23
    changes 284:12        city 1:11 2:3 10:14   client's 32:9 181:7   cognitive 133:16
      285:7 286:7,9         10:16 12:17 27:4    clients 34:12 42:23   cognizant 122:2
    char 130:20           civil 11:15 281:3,7     47:13 49:6 51:21    coherence 48:16
    charge 116:9            285:5 286:5           52:23 53:5 54:19    colerain 83:11,17
    charges 57:17         claims 236:8 237:9      57:23 58:15,15,16     83:18,21 85:15,19
      84:1,5,18,22          244:18                69:18 74:7 86:20      90:16 158:24
    charleston 2:18       clarification           98:4 106:16 132:3     159:8,17 160:16
    chart 32:5 84:12        220:18 250:17         142:3,14 147:1        161:5 179:3
      167:8,9,11 170:2    clarify 51:2 180:8      165:2,7,17,19       collaborate 46:7
      186:17                220:13 268:3          166:3 167:14          54:20,25 55:7
    charter 116:18          273:22 277:21         168:4,4,20,24,25    collaborated
    chc 27:5 181:12,23    clarifying 15:11        169:1 175:24,25       42:20 54:18,23
      181:23              clark 56:4,18           176:16 177:12       collaboration
    checklist 101:7         70:19 131:17          178:4,9,15,18         21:12
    chemical 18:14          132:19                185:2,8,12,18       colleagues 248:13
      39:9,23 133:6       class 28:10             186:2,5 217:3         266:20 267:5
      134:13,23           classes 28:9,20       clinic 49:11,17,22    collect 153:6 189:1
    chicago 3:19          classroom 28:22         51:18 59:17,20      collected 47:14
    chief 66:1 202:14     cleaned 31:13           60:8,18 79:25         77:18 140:19
    chief's 91:3,4        clear 108:17            201:23              collecting 106:2
    chiefs 73:5 157:3,3     261:18              clinical 54:5 66:1    college 17:21,23
      175:21              cleared 272:1           66:2,4 69:5 70:11     18:5,12,17
    child 18:10 38:24     cleve 6:22 208:21       70:13,16 71:1,2,4   columbus 18:10
      39:12 147:21          209:9                 71:8 78:20 82:2       18:11,16,17,18
    childcare 16:4        cleveland 1:11          132:17 134:9          19:1 20:14 39:11
    children 16:3           2:13 4:17 43:22       141:17 142:5,11       40:5 60:11 61:22
      61:25 121:25          49:11,17,22 51:18     144:22,25 196:17      128:13 131:10
      270:5,7 272:11        59:17,19 60:8,18      196:20 202:14         217:19,23
    children's 70:21        79:25 201:23        clinicians 50:15      combination
      230:11                209:1 238:5 283:7   closely 146:5,18        25:15 52:2 124:7
    choice 106:16           284:2               cms 31:22 32:23       combined 55:15
    choose 108:25         client 34:13 46:4       33:2,13,19 36:12      145:5
      181:22                46:14 51:15 58:11     36:19,24 37:2

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 83 of 126. PageID #: 243036


   [come - consumer]                                                             Page 10

    come 27:10 30:14        128:4,11,12,18,21   compiles 151:6        conducting 33:20
      36:13 82:16 83:7      128:25 129:4,8,21   complainants            36:22,25 120:22
      89:8 90:16 112:21     129:25                238:12              confer 266:20
      116:20 117:25       committees 149:6      complaint 236:11      conference 20:12
      119:12 127:10       common 113:4            236:13 238:9          20:13 21:18 59:15
      135:19 154:20       commonly 191:11         249:4,10,16,16        59:16,20 60:9,18
      182:18 195:10         199:1 200:20          253:20,25,25          60:24 119:25
      215:10 226:1,23     communities             254:3,11,14           122:8 129:1 131:3
      231:25 253:15         26:22 58:16 72:18   complete 32:6           131:7 147:16,16
      274:8                 73:8 90:22,24         34:8,14 40:15         147:25 148:11
    comes 75:10 93:21       91:23 164:3           42:9 44:3 47:3        158:3 188:14
      94:18 108:2 123:7     199:10                80:9 101:6,22       conferences 20:5
      215:17 226:22       community 18:12         140:8                 20:10 59:10,12,23
      263:25                18:17 26:19 29:11   completed 34:1          60:8,14,22 61:4
    coming 106:18           58:14 81:8 82:23      40:6 47:12 100:24     89:24 130:12,15
      107:4 124:5           90:10,19,20 96:3      101:18 121:6          147:5,12
      128:24 145:7          102:10 107:8          150:21 218:1        confirm 99:11,21
      146:25 182:7          112:17 113:12         282:22 284:15         100:6 159:16
      206:22,23,23,25       124:5 150:25        completely 145:6        211:3 275:17,19
      207:1,8 223:25        205:8 206:24          158:21 265:5        conjunction 26:11
      237:25 240:11         225:11,24 226:2,6   complex 125:3           33:5 225:1
      265:3 274:21          270:2 272:14          258:25 259:2,13     connect 173:11
      277:12              companies 4:4           259:21                181:21 182:1
    commercial 234:9        241:6 243:18        compliance 32:7       connection 255:6
      234:11 244:5,6,7      245:2,17 246:4,7      71:1 78:21 101:8      257:6
    commercials             252:24,25             196:17              connolly 3:10,11
      233:16 234:1        company 241:7,14      comply 36:19            10:22
    commission 31:22        241:20 242:1,7,13   component 76:12       consider 63:23
      32:20 33:6,18         242:20 243:12,20      98:13 101:2           76:25 134:3
      36:2,8,11,19,24       252:16                112:23 259:15         165:24
      37:1 38:8,13,19     compared 190:25       components 88:8       considered 156:20
      46:17,21 59:3       comparing 168:5         225:21 256:5          158:6
      124:20 126:25       competency 57:14        260:3 268:11        consistent 260:23
      283:17 285:19       compile 105:23        comprehensive         consolidated
      286:25 287:25         141:8                 71:25                 263:16
    commissioned          compiled 103:6        comprised 132:17      consult 46:4
      282:8                 123:1 150:17,18     con 22:14             consultant 71:11
    committee 112:7         158:15 169:14       concluded 280:14      consulted 255:13
      112:19 113:8,18       183:23 184:5,15     concludes 177:10        255:22 256:11
      114:15,17,19          225:2               concurrently          consumer 224:8
      116:23 127:25                               193:6

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 84 of 126. PageID #: 243037


   [consumers - county]                                                            Page 11

    consumers 124:12      contributed 64:17       39:1,7 41:16         costs 92:2 116:3
    contact 77:19 91:7      121:4 192:11,13       43:18 44:23 45:1     council 113:3
      132:4 165:24          223:20                49:13 53:9,12        counsel 62:1 68:7
      196:22 201:16       contributing            54:2,3 60:20           244:24 268:1,4
      263:1                 123:25 124:6          62:22 63:18,21,22      269:15 273:14
    contacted 65:5          223:6,13,16           66:16 70:8 72:10       279:16,23 281:1
      89:5 238:23           224:10                75:1 78:5,6 80:24      281:10 283:2
    contacting 51:12      control 48:14           87:6,10,11,25        counseling 18:14
      51:22               controlled 251:25       91:13 98:20 108:4      39:24 81:18 91:11
    content 120:16        convenient 30:20        109:5 110:18,24        268:24
      125:7 233:25,25     conversation 16:1       112:25 129:9         counselor 22:24
      234:2 244:5,7       conversations           130:13 135:16,18       23:18 24:25 25:2
    context 25:18           149:3,8 189:20        135:22 151:15          27:1,8,11,22 39:5
      231:21 251:25         249:21 250:4,23       154:13,16 155:19       41:14,25 43:10
    continue 54:5           255:18 256:6          158:18 160:16,17       45:8 47:7 48:8,11
      182:6 196:4           262:16                163:12,17,18,21        49:7,11 50:25
    continued 3:1 4:1     coordinate 95:13        164:5,8,25 165:3,8     51:19 52:8,16
      187:2                 95:18 106:21          165:9 166:11           60:5,6,12,13,23
    continues 188:1       coordinates 102:7       169:25 170:1,4,6       93:16 130:18
    continuing 40:15      coordinator 47:14       172:8,15 176:5         133:7 134:13
      67:7 161:21           56:3,5,9,17 69:17     178:6,7 181:2          147:6 257:18
      189:21                69:19,23,25 70:18     182:14 186:25        counselors 21:13
    continuously            70:20,22,24 71:1      187:1,3,4 189:9,14     26:15,17,18 54:15
      40:20                 78:21 101:23,24       189:15 190:4           58:8 72:19 73:3
    contract 23:9,13        102:4 133:3,13        193:11,24 201:12       74:6,11,14 81:4,6
      26:7 137:24           142:4 189:3           201:21 202:10          81:11 82:25 84:2
      154:22,24 155:2       196:18                224:21 227:17          84:8,17,23 85:3,5
      182:19              copied 209:2            229:8,11 240:2         85:7,9 87:25
    contracted 22:15      coping 35:6,15          254:19,21 264:1        92:17,21 93:22
      93:12 102:1           38:3 48:24 258:9      269:11 274:5           95:24 158:4,14
      109:17              copy 30:21 163:7        282:17                 175:19 189:2
    contracting             194:24 195:3        corrections 107:7      count 138:4
      137:25 139:20         211:3                 284:12 286:17        counties 42:21,25
    contracts 23:21       corner 184:9          correctly 147:15         43:7 55:7,14
      138:14 140:8          186:18 188:17         159:13 160:12          58:10 90:2,4
      155:4,5 247:3       corporation 2:16        167:16 177:14          131:19 237:20
    contradictions          4:9 68:16             189:5 191:2,13       counting 135:25
      265:9               correct 12:18 13:3      205:10 210:2         countries 123:7
    contribute 121:2        17:20,22 18:23      cost 115:22 116:4      county 1:10,13 2:3
      192:17                20:23 21:22 23:23     196:3                  6:9,10,13,21 10:13
                            26:22 28:24 38:10                            10:16 12:7,16,20

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 85 of 126. PageID #: 243038


   [county - dan]                                                                   Page 12

      12:24 18:10 20:19       209:24 210:1        cov.com 4:12           criteria 24:7 44:19
      27:3 28:17 37:21        211:11 212:6        cover 110:4              50:23 64:4,7
      38:24 39:12 42:17       224:20 225:8,21       142:21 144:3           108:20
      42:20,21 43:3,3,3       226:13 230:11,19      162:16 209:2         cross 43:15 142:21
      43:4,4,4,14,16          231:6 238:5,6       cover2 89:2,9          crosscheck 264:20
      54:18,24,24 55:1,1      239:10 245:7,13     covered 26:6           crushing 261:4
      55:2,2,3,3,4,4,5,10     246:8,13 247:11       104:18 195:7         culver 120:7
      55:19,25 56:12,21       248:1,8 249:5,10    covering 217:14          121:15
      65:20 67:2,11           249:22 250:6,24     covers 104:9 144:5     cures 95:6 97:25
      72:8 73:7 80:3          251:6 255:6,12,14   covington 4:10           98:4 99:25 100:9
      83:15,19 85:16          255:22 262:9,13       11:7                   100:11 104:7,18
      86:7 89:6 90:12         262:17 263:4        craig 17:16 23:16        104:22 105:1,5
      90:12 91:4,20           269:11,17,19,21       80:17,18,21 89:3,5   curious 128:3
      94:4 96:1 110:8         269:25 270:5,10       89:22 91:7 132:22      138:13
      111:12,22 112:3,4       270:20 271:4,4,9      172:25 225:1         current 19:15,24
      112:8 114:3,7,12        271:10,13,14          256:1,9                70:15
      114:21 115:11,19        272:9 273:19,23     create 117:2           currently 69:16
      115:22,25 116:7         274:10,13 276:6,9     123:11 128:16          104:17 225:4
      116:12 117:12           276:15,17,24          144:3 194:19         curriculum 48:19
      118:10 119:24           277:14,17 278:1,7   created 21:14,20         269:1,7
      120:4,24,24             278:18 282:4          29:15,15 82:24       curve 176:19
      122:10,12 123:1,4       285:10 286:15         83:6 106:3 119:18    custody 5:17
      128:5 130:3           couple 60:14            126:22 163:1         customize 227:10
      131:19 135:5,8,9        127:16 135:2          188:25 194:13,25     cut 213:12
      135:11,13,20,24         150:4 154:21          194:25 225:21        cuyahoga 1:10
      136:4,8,12,15,17        158:23 161:24         226:4 265:24           6:21 12:16,20
      136:19,23 137:1,4       206:5 234:7           266:1                  21:1 43:2,16 55:2
      137:15,17,21            236:15 268:2        creating 211:24          56:21 91:25 158:4
      144:14,18 145:25        273:8               creation 163:23          191:21 207:20
      146:3,5,6,8,13,18     course 205:1          credentials 71:8         208:5,6,19 210:1
      146:22,25 147:2         206:18                134:21                 211:11 212:5
      149:1,12 152:25       coursework            credits 67:7             238:5 282:4
      153:7 154:4 157:9       217:12,14 218:8     criminal 107:18        cv 37:7,9
      158:8 159:3,15        court 1:1 5:18          107:19 111:22        cvs 246:3
      160:16,19 162:8         11:11 13:9 107:25     112:5,19 113:15                d
      163:10 175:22           112:24 113:2,5,6      154:5 270:8
                                                                         d.c. 3:12
      181:8 183:11            252:4 285:7         crisis 233:6,9
                                                                         daily 31:12 35:17
      184:1 197:7,24        courtrooms 97:4         269:16,22 271:14
                                                                           175:5
      199:19 200:2          courts 67:13            272:8 276:14,17
                                                                         damages 247:11
      203:13 205:6,16         109:24 112:7          277:13
                                                                         dan 1:7
      207:21 208:5,6,19       153:5

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 86 of 126. PageID #: 243039


   [dangerous - description]                                                     Page 13

    dangerous 223:24       220:20 259:25       declined 92:16          119:19 125:9
    danielle 2:5 10:15     260:14 283:7          100:17 108:24         137:3,11,13,16,21
    darletta 70:25         285:16 286:22         190:25                142:19 144:2
     79:13                 287:22              decreasing 192:8        208:6 217:5
    dash 37:14           days 49:18 284:18     dedicated 135:15        284:22
    data 77:10,12,18     dea 251:24              143:9 144:4         departments 25:6
     77:25 86:23 88:13   deac 35:12            deed 285:14             50:8
     98:25 105:11        deaconess 31:8          286:20              dependency 18:14
     109:19 151:4,5        32:16,19 34:18      deem 64:1               39:10,23 133:7
     153:6 168:5,5         35:5 38:15          deemed 24:2 57:8        134:13,23
     172:25 173:16       deal 268:11             133:19 284:19       depending 140:7
     174:12,25 175:8     dealer 279:12,14      deeper 174:7            155:24 167:2
     175:11 177:17       dealing 143:23        defendant 253:9         218:23,24 219:1
     179:21 180:1          263:3               defendants 10:20        227:1
     184:14,18 191:4     dear 284:10             11:5 12:1 235:19    depicts 169:19,20
     201:5 263:13        death 161:18            235:25 236:23       deposed 11:16
     264:12,16 266:3,6     174:6,12 179:21       237:1,4 244:19        15:25 16:7
    date 10:3 70:4         192:12,14,17          245:23 250:12,22    deposition 1:16
     74:15,19 88:6         218:6,16              262:18,23 263:2       13:4 14:15 15:8
     100:16 129:6        deaths 123:3          defense 57:17           17:9,12 19:3
     146:23 163:16         175:24 176:1,3      define 93:16            67:20 157:6 162:7
     173:14 205:22         177:12 179:1,5      definitely 147:13       183:9 187:14
     207:10 217:24         190:24 192:8,20       259:2                 204:4 208:17
     234:6,8 277:10        200:20 201:10       definition 93:18        228:1 280:14
     281:11 284:8          232:7,13 271:5      definitive 90:3         282:20 284:8,11
     285:3,9,19 286:3      277:12              definitively            285:1,3 286:1,3
     286:13,25 287:20    debacco 1:25            234:18              depositions 16:20
     287:25                282:6 283:14        degree 17:21,24         17:1
    dated 188:20         december 70:2,4,5       40:3                depression 35:15
     189:24 190:21         79:13 85:16 90:16   delayed 165:11        depth 229:25
     205:22,23             113:21 159:22       delivered 270:10      des 61:15
    dates 14:23 84:4       225:5 272:1         delivery 234:17       describe 41:21
     84:24 95:18         decided 61:7            251:9 281:9,11        66:17
     130:24              deciding 247:6        demographics          described 90:24
    dawn 136:21          decision 80:16          100:22                122:15 126:9
     137:2,9,18 192:9      219:21              dentists 221:5          189:8
     192:16              deck 7:1 227:19       deny 211:4            describes 72:17
    dawned 68:21           228:2               departing 140:17      description 6:2
    day 2:11 10:24       decline 159:9         department 75:8         32:15 37:15 75:11
     16:10 17:11 59:16     190:5 193:14          75:25 81:20 84:14     121:11 122:16
     153:25 175:8,8                              94:20 95:16

                                  Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 87 of 126. PageID #: 243040


   [descriptions - district]                                                       Page 14

    descriptions 31:16       98:6 99:13 167:24     132:21 134:1        disease 259:20,22
    designated 47:4          167:25 259:5          135:11 140:25         259:24 260:1
      94:10 237:20         diagnosing 64:4,7       182:18 191:18       disorder 44:6,15
      274:12,13            diagnosis 44:12,24      196:7 197:21          44:17 48:17 51:20
    designation 41:3         53:6,16 57:24         202:4,7 221:15,19     51:23,25 52:13,17
      71:9                   61:23 62:20,24,25   director 54:1,4,11      52:23 53:1,8,15,17
    designed 107:18          63:1,2,5 98:2         55:20 57:19 58:1      59:8 63:2,6,10,13
    desire 142:19            100:7 257:20          60:3 64:25 65:17      63:14,16,17,20,21
    desired 106:14           259:10                66:4 71:18 80:19      63:24,24 64:5,8,11
    destroy 238:19,25      diagnostic 44:10        202:8,14              96:23 98:2,6,17,19
    destruction 239:4        44:18               dis 136:20              100:2,7 108:9
      239:11               diamond 1:21          discharge 42:16         138:10 139:9
    detailed 41:22         dictate 37:2            45:25 47:12 54:22     143:10 199:16
    determination          die 270:19              216:9                 258:22 259:7,17
      44:22 50:22 107:1    died 178:4            discharged 34:12        265:4
    determine 49:24        difference 176:13       216:8               disorders 35:22
      51:15 57:15 75:22      178:25              discharges 54:17        48:25 49:1 50:11
      140:9 179:9 194:8    different 31:4        discount 246:2          57:22,25 58:2,6
      196:3 219:17           38:11,20 90:6       discretion 36:23        63:11 185:4 258:8
      258:15 277:2,24        161:13 182:21,23    discuss 83:22         dispense 76:3
    determined 73:24         206:17                161:22                136:21 221:9
      276:7                differentiate         discussed 37:3          236:4 251:14
    determining 23:12        199:21                72:11 73:10 80:15   dispensed 262:13
    detox 23:1,20,24       differentiated          116:16 121:20       dispensing 237:23
      24:1,3,21 50:13        179:22 180:20         128:22,25 150:18      266:12,13
      106:19 107:4         differentiating         154:17 198:23       distribute 237:13
      153:18                 180:12,16,17          200:24 231:20         251:13
    develop 21:17          differently 161:7       232:5,9 233:9,13    distributing
      63:16 216:23           219:1 253:14          235:7 256:17,22       237:17
      258:21 259:7,10      difficulties 96:8       260:18              distribution
      259:11,17,18         difficulty 81:7       discussing 195:15       251:25
    developed 82:18        direct 66:2,4         discussion 73:18      distributor 221:19
      115:18                 177:20 181:10         112:22 147:13,23      246:11 253:2,12
    developing 258:7         184:6                 147:24 200:18         253:17 255:6
    development 6:18       directing 174:3         205:18 206:7        distributors 237:5
      63:5 204:6,19          186:16 188:15         230:18 231:1          237:12,16 245:20
    diagnose 44:5          directly 27:18          243:11                249:18,24 250:8
    diagnosed 75:4           65:19,23 80:22,23   discussions 106:23      250:12,21 251:4,9
      258:12,14,19           84:18 102:2           179:14 235:13         251:18
    diagnoses 35:9           109:14,24 116:13      256:19 257:1        district 1:1,2
      53:7 63:9 64:1,2       117:13,21 132:4

                                    Veritext Legal Solutions
    www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 88 of 126. PageID #: 243041


   [division - eligible]                                                           Page 15

    division 1:3           dollars 269:9         dually 258:12         ebbed 143:6
    docket 97:4,7          door 81:9             due 113:20 179:10       190:10
      108:8 113:5          dotage 252:11           258:8               edit 151:7
    dockets 107:25         double 163:8          duly 11:16 282:7      edits 158:14,22
    doctor 50:20             188:18                282:10              educate 136:20
      124:13 127:10        doug 16:7 69:4        duties 37:25 69:6       146:9 225:24
    doctor's 260:24          71:3 175:4 256:1    duty 51:7               226:1
    doctors 49:25            256:9               dying 192:1 271:6     education 18:13
      50:17 220:23         downtown 18:18                 e              35:24 38:3,5
      224:2                  131:9                                       39:21 40:15 41:6
                                                 e 3:10 4:10 6:16
    document 1:9 6:7       dr 16:12 17:4                                 49:1,6 67:7
                                                   15:11,13,17,22
      6:10,13,18,20 34:4     64:22 65:7,16,22                            115:19 116:19,20
                                                   61:15 140:15,21
      68:5 93:16 157:7       66:11 70:17 71:3                            119:11 225:23
                                                   150:5 157:1 175:4
      157:18,23 159:6        71:15 125:10                                230:19
                                                   175:5 187:9,15,24
      162:8,17,18,22         132:19,24 133:1                           effect 103:20
                                                   188:3,18,24
      183:10,19,21           134:3,11,19 175:4                         effective 102:3
                                                   189:22,23 190:20
      188:16 189:1           201:16,20 202:5                           effectively 168:19
                                                   197:15 198:22
      195:3 204:5,10,16      202:22 203:4,11                           effectiveness
                                                   209:2 210:17,18
      204:22 205:22          203:12 225:1                                175:12
                                                   210:18,21 211:3,4
      208:18,25 209:10     drawer 228:25                               effort 277:16,23
                                                   238:25 240:3
      210:13,16 211:2,5    drifted 222:1                               efforts 114:23
                                                 earlier 38:22
      227:23 229:18        drive 3:18 82:1                             either 16:11,15,18
                                                   72:12 130:10
      239:4,8,10             141:3                                       16:22 21:6 33:18
                                                   135:14 150:18
    documentation          drug 2:15 67:12                               34:19,24 35:20,20
                                                   151:12 154:18
      31:21 32:6 34:2        68:15 75:5 107:25                           36:1 38:15 56:14
                                                   165:5 168:12
      37:4 38:8,13           112:24 113:2,5,6                            70:10 76:2 96:16
                                                   189:8 206:5
      46:21 101:13           174:6,11 177:11                             108:22 149:19
                                                   222:19 223:5
    documents 15:7,9         178:5 214:3 246:2                           168:13 197:8,8
                                                   253:13 254:4
      149:10 161:25          249:17,24 250:8                             201:19 217:7
                                                   257:5 260:18
      188:25 190:16          250:11,21 251:3,9                           283:2
                                                   262:18 266:11
      228:22,25 238:16       251:17,21 255:6                           electr 240:13
                                                   273:25
      239:15,17,19,23        278:10                                    electronic 32:4
                                                 earliest 265:11,15
      240:1,6,7            drugs 171:11                                  172:16,17
                                                   265:15
    doing 13:21 49:21        191:10 262:22                             electronically
                                                 early 40:23 206:6
      83:13 85:20 86:3     dsalerno 2:8                                  172:14 240:10,14
                                                   278:23
      106:24 112:16        dsm 44:20 64:5,8                            elicited 180:25
                                                 earmarked 94:10
      116:8 120:19           64:12,13,18                                 181:3
                                                   94:16 136:8,13
      122:12 197:10        dual 48:17 53:6,15                          eligible 108:13,14
                                                 easily 224:11
    dollar 23:9 92:24        61:23 62:20,24,25                           108:16,18 109:3
                                                 east 1:21 2:18
      104:23 274:20          257:20                                      166:19
                                                 eastern 1:3

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 89 of 126. PageID #: 243042


   [ellington - exhibit]                                                           Page 16

    ellington 70:17          100:14 161:17         141:1,7 150:17      exactly 121:10
      132:20 134:3,11        198:4 255:18          151:20 152:7,8,10     253:23
      134:19               engagements             163:1 169:15        exam 18:24 40:8
    ellington's 133:1        119:2,4               175:1 177:3         examination 5:7
    ellis 4:15 11:9        engaging 179:17         183:23 184:15,19      11:14,18 40:7
    email 284:17             190:12                201:18,19             248:16 260:10
    emergency 50:8         enhance 227:6         eric's 141:11           267:22 273:10
      50:15 159:9          ensure 101:8          errata 284:13,18        275:25
    emerging 205:6,7       ensured 184:20          286:7,10,18 287:1   examiner 174:25
      205:14               entailed 197:18       esc 230:19              175:6,7,11 179:22
    employed 31:3          entails 214:14        especially 205:8        191:5,7 275:19
      49:16 96:25 146:6    enter 109:19 165:7    esq 2:5,5,11,17 3:5   examiner's 174:22
      146:10 147:4         entered 86:2            3:10,18 4:5,10,16     175:3
      149:13,22,23           160:10,21 165:2     essentially 135:20    example 99:25
      152:7 153:2 175:1      177:12 178:4          156:12                181:8,22 191:20
      201:18 226:6           185:12,19 286:9     estimate 92:19          226:21 262:8
      257:16 268:22        entering 165:18         139:1,19 143:4      examples 271:17
      269:25 270:22        entire 49:22 59:2     et 1:10,12,13,13      excel 81:23 84:9
      271:8 276:7 277:8      285:5 286:5         evaluated 179:21        84:25 86:17 189:1
      277:10,15            entities 91:18          198:8               exception 12:21
    employee 41:18,19        105:4 153:3         evaluating 70:9         55:9
    employees 226:2          186:10 237:15         76:24 115:22        excess 137:13
    employer 254:9         entity 101:11           162:4 175:11        exchange 136:22
    employment 19:25         130:6 132:8 135:7     180:10 196:6          137:6,22
      20:1 30:17 257:19      154:10,11           evaluation 57:15      executed 286:10
      271:12 276:13,25     entry 32:14             115:21              execution 285:14
      277:1                epidemic 7:1          evening 17:8            286:19
    enclosed 284:11          119:22 122:16,20      39:13               executive 80:19
    encourage 168:17         123:14,17 125:3,3   event 119:8,10        executives 135:13
    encouraging 122:7        125:15,20 126:14      283:3               exhibit 5:17 6:3,5
    endo 4:2,3 11:3          145:25 146:3,13     events 15:14 118:5      6:7,10,13,16,18,20
      241:21,23              147:8,10 211:10       118:20                7:1 19:3,10,12,19
    ends 184:7               212:13 222:20,22    everyone's 218:25       30:19,21 31:18
    enforcement              222:25 223:7,14     evidence 70:18          37:9 67:20 68:2
      38:24 112:6,16         224:15 228:3          133:2,13,19,19,25     68:24 71:24,25,25
      206:8 251:21           231:11 276:8        evolved 233:19          80:1 90:22 95:10
    engage 46:6 86:21        277:4 278:17        ex 156:22               107:11 111:15
      161:15 176:16        eric 16:6 17:13       exacerbated 223:2       127:17,21 157:6
      197:4                  69:23 73:12 80:8    exact 14:23 82:8        157:14 158:12,20
    engaged 74:3             82:12 86:19           110:15 123:10         162:7,15,24 174:5
      76:16 86:2 99:17       105:23 140:17         160:25 207:10         183:9,17 184:3,7

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 90 of 126. PageID #: 243043


   [exhibit - filed]                                                              Page 17

      184:24 186:17       eyes 161:14             150:22 172:3        feature 227:9
      187:14,21,24          191:24 192:2          203:23 213:6        fed 42:25
      190:20 198:22,23               f            275:2               federal 11:14
      204:4,11,13,18                            falls 21:2 91:25      fee 40:16
                          f 3:3,15
      208:17 209:5                                158:4 191:21        feedback 47:15
                          facade 124:20
      210:23 228:1,9,12                         familiar 184:22          116:22 197:19
                            223:21
      229:19 230:1                                244:17 245:19       feel 30:18
                          face 50:9,9
      239:14 240:15                               251:20 263:13,20    feinstein 3:5 5:8
                          facilitate 32:3
    exhibits 5:5,18 6:1                           263:21                 5:12 10:18,19
                            35:21 38:2 72:20
      16:19                                     familiarity 263:24       11:19,24 62:4,9,15
                          facilitated 33:21
    exist 129:8 145:6                             264:14                 62:16 68:4,13,17
                            34:3,3 35:3 42:13
    existed 21:25                               familiarize 147:3        68:20,22 127:14
                          facilities 32:22
      129:4                                     family 49:19             129:10,17,18
                            33:8,9 34:19,25
    existence 118:10                              270:15,16              157:19 198:11,18
                            35:10 36:18 43:22
      130:7 251:22                              far 13:21 27:17          198:19 204:15
                            101:14 124:23
    exit 34:13                                    34:21 42:16 51:13      210:14,22 211:6
                          facility 33:1 34:12
    expand 143:20                                 52:22 56:9 63:25       246:15,23,24
                            35:20 36:1 38:12
    expanded 113:11                               73:23 78:25 81:6       248:11 268:19
                            43:11,19 47:8
    expanding 271:20                              82:17 89:18 95:18      269:12 270:24
                            52:9 58:23 275:9
    expect 36:18                                  103:22 125:6           271:7 273:7,11
                            275:10
      170:10                                      134:13 143:10       fell 60:22
                          facing 73:19 233:7
    expectations 36:3                             153:9 156:6         felt 45:23 61:19
                            269:21 271:14
    expenses 247:17                               197:17 215:21          192:5 199:13
                          fact 107:17 137:16
    experience 63:3                               220:13 224:11       female 191:22
                            184:10 221:13
      85:10 96:16 97:15                           241:10 244:5           271:24
                          factor 109:10
      142:21                                      250:14,16 253:5     fentanyl 170:5,8,8
                            161:5 224:11
    experienced 179:4                             253:22 254:9,14        170:17 171:4
                            257:25
      231:10                                      260:9 261:12           232:6
                          factors 123:25
    experiences                                   266:5 270:20        fidelity 198:1
                            124:7 125:4 220:7
      121:19                                      276:22 277:12       field 61:21 85:11
                            223:6,13,17 258:8
    expiration 285:19                           farther 165:14           152:11
                            259:3
      286:25 287:25                             fashions 90:6         fifth 124:21 127:1
                          facts 184:23
    expires 283:17                              fatal 174:21             164:14 223:9
                          factual 238:8,11
    explain 31:25                                 175:14                 224:8
                          fair 14:6 126:1,2
      33:25 62:23                               fda 214:9,12          figure 92:9 116:6
                            203:24 258:23
    explained 13:8                                218:13 234:21       figures 92:24
                            261:7,23 269:9
    explore 42:10                               fearful 192:1         figuring 58:18
                            278:18
    extent 16:1 253:25                            270:13                 145:3
                          fairly 75:5
    extremely 124:5                             feasibility 115:10    file 228:25 229:10
                          fairview 50:5
      259:21                                      116:15              filed 249:4,10
                          fall 118:6 119:7
                                                                         255:15 256:13
                            121:8 126:1
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 91 of 126. PageID #: 243044


   [files - frame]                                                                  Page 18

    files 229:2               201:15 207:6        following 87:2          212:7,9,16 215:5
    filing 251:1 253:20       210:7 212:4           89:8 275:14           215:13,20 216:21
    filings 246:1             217:22 230:10       follows 11:17           218:7,17,22 219:6
       253:18                 234:24 238:23       followup 20:20          219:11 220:3
    fill 106:25 107:2         258:15 269:16,20      99:18                 222:10,24 223:15
       141:21 266:16          270:22 282:10       food 95:22 214:3        234:16 239:13
    filled 69:11 80:12     fiscal 110:11 111:2    force 112:4,19          254:5 255:16
    filling 69:7 251:16       155:6,13,14,21        113:16 114:3,8,13     256:14 258:1
    final 121:8               156:1,4,13            115:16 116:12,25      259:1,23 266:10
    finance 27:19          fit 61:19                117:7,9,23 118:10     268:19 269:12
       81:20 84:15,15      five 64:15 82:9          118:17,19,24          271:7 276:10,20
       92:10 93:12            99:2 167:23 171:6     130:3 149:14,19       277:5,20 278:2,12
    financial 155:17          171:9 186:20,24       149:21 150:2,11       278:19
    find 210:12 239:24        193:9                 184:1 200:17        formally 65:12
       284:11              fix 276:2 280:3          203:13 204:1        format 81:21,23
    fine 12:9              flexibility 61:24        208:5 210:1,10        82:10 119:17
    finishing 155:11       flip 178:13 188:2        211:11 212:6          162:17
    fire 73:4 91:3,15         246:16                224:20 225:9,12     formed 114:18
       157:3 159:21        floor 3:6 38:1           225:15,19,22,24       119:18 145:4
       175:21                 73:18                 226:3,5,11,13         219:14
    first 11:15 14:24      flow 54:17               235:11              forms 88:12 92:22
       20:17 22:8,21       flowed 143:7           foregoing 282:16        92:24
       25:25 40:23 44:14      190:10                282:21 285:13       formu 119:18
       45:15 59:25 60:9    focus 35:3 61:20         286:18              formulated 125:9
       60:24 64:11,12         97:1 113:7 147:22   forensic 56:4,17      forth 149:6 153:5
       72:7,14,25 85:6        148:1                 57:6,7 70:19          184:23 225:16
       88:23 95:8 101:18   focused 23:25          forget 158:16         forward 48:6 89:7
       118:11 127:24          48:16 96:21,23      form 53:2 63:7          99:1 189:21,23
       128:2,17 129:5,24      97:12 142:24          78:7 82:14,16,18      233:19 284:15
       130:23 143:8           147:17,18             82:24 83:6,9        found 89:15
       144:7 146:2,21      focusing 114:20          84:25 91:24 98:24     240:16
       147:11,16,23,25     folder 82:2              103:1 105:21,22     four 14:17,21
       148:11 149:13,22    folks 26:11 53:16        105:24 106:3          37:21 49:18 72:16
       149:23 156:20          78:13                 124:1 125:5,16        91:22 119:2
       159:5,10 160:4,5    follow 33:8,10           130:19 136:1          151:25 171:11
       161:20 162:14          42:22 82:20 146:5     143:17 146:15         270:17
       163:5 164:19           146:17 194:7          148:18 160:11,21    fourth 107:11
       173:7 175:19           197:15 257:3          178:16 180:7        frame 34:17 37:8
       177:17 179:15          270:3 273:8           193:12 199:7          49:10 82:9 130:16
       185:1,24 186:17        276:24                200:21 202:3          193:16 218:2
       190:20 194:25                                206:3,15 211:13       228:23 235:2

                                     Veritext Legal Solutions
    www.veritext.com                                                           888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 92 of 126. PageID #: 243045


   [frame - good]                                                                  Page 19

      265:10,11,19           104:8,20,23 105:3     233:5 252:23          224:3
    francisco 4:11           107:21,25 108:2       253:3 254:22        glanced 229:24
    franklin 18:9            109:22 110:7        generally 25:20       glean 51:25
      38:24 39:12            115:12 117:3          139:3               go 18:5 25:5,6
      115:25 116:7           128:22 135:10       generated 149:20        27:9 29:17 41:17
    free 30:18 285:14        137:10,12 156:10    generation 269:1        49:5 51:12 54:8
      286:20                 156:11,12 196:8       269:6                 76:12 77:19 79:23
    freeman 56:4,18          268:25 273:16,17    genesis 126:14          85:10 86:9 87:8
      70:19 131:17           274:14              geriatric 35:13         87:15 96:10
      132:19               funds 27:1,21         gestures 13:22          106:17 118:20
    frequently 84:5          33:14 104:1,15,25   getting 31:13 80:1      127:18 132:5
      113:25 140:5           105:1 109:16          96:8 115:25           137:13 141:2
    friday 188:20            110:13,13 111:11      155:12 190:3          153:18,19 201:13
    front 4:11 123:23        121:2 135:19,23       191:8 224:3           201:16 210:9
      138:3,7 211:8          136:8,12 137:1,14     252:11 260:9          266:19 277:19
    fruition 115:20          137:16,18,21          270:11                278:9
    full 12:2 41:18,20       154:14 273:14,20    gi 119:3              goal 39:19 114:16
      103:11 159:5           274:8,11,11,14      give 12:7 17:11         185:25 272:22
      236:11               further 39:20           42:22 44:10,12,18     273:1
    fund 22:24 27:22         42:10 51:15           50:18 52:19,24      goals 37:6 156:23
      66:21,22 81:18         248:12 264:22         85:17 90:17         goes 139:22
      99:3 104:17 108:1      273:6 282:19          106:15 110:12       going 13:8 19:9
      135:8 137:5 196:4      283:1                 119:1 121:11          62:2 68:1 75:24
      273:21               future 177:7            124:25 125:22         76:2 114:22
    funded 22:20,22                 g              138:6,25 141:9        118:13 127:12
      23:4 24:1,22 26:9                            143:4 181:25          128:23 140:10
                           gap 135:2
      86:21 87:4,17                                188:12 190:16         157:13 161:24
                           garfield 269:4
      93:24 94:1,3,4                               200:5 215:15          170:20 173:10,11
                             274:24
      95:5,7 103:24                                281:1,10              181:10,12 183:16
                           gather 88:13
      105:8,13 107:12                            given 14:11 28:4        187:20 191:19,24
                             189:13
      109:15,25 165:7                              28:18 29:1 82:15      192:10 204:10
                           gathered 103:16
      173:17 186:8,10                              92:14,19,23           208:25 212:21
                             105:12 239:15
      268:13 274:4                                 114:11 118:16         214:19,20 224:4
                             240:4
    funder 154:8                                   182:4 200:4           227:22 246:16
                           gathering 184:13
    funding 23:1,5                                 215:24 219:19         248:13 259:7,9
                             229:4 239:16
      26:25 27:7,7,10,16                           223:22 224:14         260:4 267:13
                           geared 233:17
      27:18 28:1 91:19                             226:17 230:2          270:24
                           geauga 43:4 55:1
      91:23 93:21 94:3                             282:13,18           good 11:20,21
                           gender 272:20
      94:14,15,18,21,25                          gives 136:24            17:15 61:19 62:3
                           general 22:7,8,11
      95:19 97:24 98:4                           giving 114:14           85:11 117:1
                             23:8 91:24 98:21
      99:24 100:12,13                              143:10 190:6,13       127:19 185:22
                             168:10 215:9
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 93 of 126. PageID #: 243046


   [good - helpline]                                                               Page 20

      211:1 214:13          96:22 98:8,11       hardcopy 239:23          64:21 71:19
      248:18 260:12         230:23                240:1,7,21             130:11 132:2
      271:20              growing 147:13        harm 124:15              198:1 202:6 203:5
    gosh 88:4,8 111:16    guide 29:14,23        head 23:3 25:16          206:11 216:1
      164:13              guideline 82:15         154:20 161:1           257:17 264:4,7
    govern 251:16         guidelines 33:19        187:7 207:24           265:13 266:8
    government              37:4 126:25 156:7     208:15 209:12        healthy 48:23
      135:24 136:15         156:7                 216:16 219:7         hear 47:23 86:12
      273:24 278:7        guides 29:10,13         232:16 252:3           148:20 222:25
    grader 121:21         guilty 57:9             256:20                 235:5
    grandmother                    h            health 3:9 4:3         heard 89:22 90:9
      272:5                                       10:22 27:4 31:4,8      147:23 209:23
                          habit 220:3
    grant 27:13,15                                31:19 32:4 33:7,9      235:3 241:5,7,9,14
                          half 17:6 60:25
      91:24 94:19 188:6                           35:8,10,17 37:14       241:20 242:1,7,13
                            143:16,16
      268:25,25 269:9                             37:23 39:6 41:14       242:20 243:5,10
                          hall 119:6,16
      274:12,19,23                                48:25 49:4,10,21       243:12 251:2
                            122:15
    grants 27:24                                  53:11,22 55:8,12       252:12,16,24,25
                          hallway 121:22
      128:23 136:3                                55:16 56:3 57:11       253:2,14 254:23
                          hamilton 83:19
      268:16,17,21                                57:11 63:1,5,8,11      254:25
                          hand 19:9 68:1
      273:12,15,21                                63:13,16,20,24       hearing 252:11
                            117:5 157:13
      274:6,8,15,17                               64:1,3 65:16           267:11
                            162:14 183:16
      275:1,3,4,5,5                               94:20 95:17 96:13    heartland 116:2
                            184:9 186:18
    graph 176:19                                  96:16,18 101:1       held 39:3 40:20
                            187:20 188:17
    graphic 169:8                                 120:25 123:1           59:17 69:20 73:6
                            283:6
    grass 118:4                                   126:2 128:6          help 29:19 58:9
                          handed 183:25
    great 13:21 45:13                             136:19,23 137:1,3      178:17 196:21
                          handing 228:8
      45:13 139:10                                137:5,11,12,14,15      205:25 211:24
                          handled 79:17
      223:4                                       137:17,21 142:13     helped 105:23
                            182:9
    green 91:25                                   142:25 167:15,24       192:16,18
                          handles 23:5,11
    greg 89:1,10                                  169:1,5 172:19       helping 176:16
                          handoff 173:13
    group 32:3 34:4,9                             173:21 203:14,24     helpline 29:25
                            181:11
      37:3 93:17 96:12                            207:7 208:7,9          30:10,11 78:11,13
                          handout 117:6
      98:8 134:9 142:11                           210:19 251:10          78:19,22 79:2,9,12
                          handwriting
      153:6 211:16                                252:17,20,25           88:17 97:9,11,24
                            227:24 228:11
      227:2                                       253:3,6,9,16 259:4     98:9 102:8 120:3
                            229:13
    group's 34:7                                  259:10 269:16,22       144:5 165:20,24
                          handwritten
    groups 29:19                                healthcare 43:1          166:2,4,5,9,9,12
                            240:15,17,19
      31:12 32:7 33:20                            45:7 46:17 47:6        166:23 167:5,14
                          happy 62:7 161:19
      34:2 35:2,4,14,21                           49:8 52:8 54:12        167:22 168:5,10
                          hard 252:11
      36:23,25 38:3                               55:22 56:1 57:21       169:2,9,15 170:20
                            258:14
      42:13 48:15,22                              58:21 59:2,6 61:8      170:25 172:12,13

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 94 of 126. PageID #: 243047


   [helpline - immediately]                                                      Page 21

      173:5,6,12,17,20    honest 227:12          102:21 103:4,13                i
      173:25 178:14        265:5                 103:20 104:2,10     iddt 48:17
      180:24 181:4,9      hopefully 211:24       104:13 105:2        idea 24:18 117:1
      182:11,12 185:13    hopes 103:9            106:1,6,12,13,15       173:9 176:25
      185:21 186:1,4,7    hoping 185:23          106:17 110:2           223:22 233:17
      186:11,13,21        hospital 31:8,9,20     143:22 145:21          277:6 279:15
      193:8,22,25 194:6    32:16,19,19 34:18     150:25 152:22       identification 19:7
      194:23 195:1,4,14    34:18 35:5,12         153:3,10,14,19,23      19:10 67:24 68:2
      195:21               37:22 38:15 42:5      196:24                 157:11,16 162:12
    helps 135:8 220:22     42:15,22,24 43:15    hudson 89:13            162:15 183:14,17
    hereinafter 11:16      45:25 47:2 49:2      huh 37:11 62:8          187:18,23 204:8
    hereunto 283:5         50:4,6 52:5 53:5      80:4 88:1 100:3        204:12 208:23
    heroin 170:3           54:15 57:2,4,12       111:19 117:18          228:6,9
      171:3 213:20         58:12 131:18,20       127:14,20,20        identified 75:7,8
      232:5                146:7,24 207:2        129:22 142:9           88:18
    hi 248:19              210:19 216:8          152:16 156:14,16    identifies 105:18
    high 114:25 115:3      264:18,23 265:6       163:13 168:6           182:23 194:7
      115:10,23 116:1,2   hospitals 36:13        169:7 171:5         identify 10:10
      117:1 124:5          38:21 198:2           176:21 177:23          19:12 76:1,19
      148:14 269:4,7      host 73:9              186:19 188:21          88:19 109:24
      274:24              hot 147:18             199:2 205:24           179:23 180:13
    higher 143:1,3        hour 62:2 93:10        228:10 273:9           248:6 260:21
      191:12               95:23 127:13         human 132:16            261:2,8,24
    highest 106:17        hours 14:21 15:6      hutzell 16:6,12      identifying 180:4
      231:17               40:15 49:20 150:4     17:7,13 69:23       iii 64:13
    highly 106:14         house 21:1,13 22:5     70:3 73:12,21       illicit 78:4,10
    hipaa 214:24           22:13,14,17,23        79:23 80:9 82:12       105:19 148:8
    hired 79:13 143:8      23:6,13,21 24:21      82:14,25 83:7,15       170:8 179:23
      144:19               25:1,20 26:3,12,14    83:20 86:19 87:20      180:6,14,18
    historically 124:4     26:17 27:2 100:13     88:2 105:23            182:25 183:6
      142:18               101:21 103:15         140:17 141:1,7         201:2,8 232:3
    history 30:17 42:7     106:3 153:22          150:17 151:13,20    illinois 3:19
      42:11 107:19         154:2,7,11,15,24      163:1,20 164:9      illness 38:5 39:5
      142:20 215:7,23      155:2 158:15          176:6 177:3            41:25 43:10 53:11
    hit 228:23            housing 15:18          183:23 184:15          167:15 169:1,3,5
    hits 7:1 228:3         29:18 66:25 95:7      189:16 201:19,22       257:7,24 258:3,5,7
    hold 40:10,24 41:1     97:13 98:3,12,14     hutzell's 80:11         258:14,20,24
      181:25               98:16,23 99:2,7,15    173:3                  259:6,14,16,19
    home 7:1 12:15         99:16 100:12                              immediate 165:13
      61:25 228:3          101:2,5,9,11,20                           immediately
                           102:2,5,11,12,15                             181:10
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 95 of 126. PageID #: 243048


   [impact - information]                                                           Page 22

    impact 152:14,19          64:11,12 74:13      indicative 176:12       237:19 258:2,6,11
      152:21 177:11           83:1,1,8 86:17      indigent 58:12,15       258:17 259:4,5,16
      179:18 270:2            216:9,12 218:15     individual 30:12        271:22 273:3
    impacted 272:9,11         223:8 224:17          42:10 44:14 46:9    inducted 108:23
      272:14,15               284:13                48:19 57:8 81:8     infant 147:21
    impacting 223:3         includes 87:13          87:3,8 96:14        informal 28:9
    impacts 260:2             142:23 170:2          108:20 153:15       information 15:12
    implement 90:13           172:1 173:4           166:1,19 167:20       16:23 25:17 29:16
      115:22 188:7            215:18 216:4          168:12 169:20         29:21 30:7,9 36:1
    implementation          including 64:8          171:13 207:25         50:18,19 51:25
      20:18 211:23            83:22 122:16          213:9 219:25          73:16 74:5,13
    implemented             inclusive 124:12        220:4 221:25          75:20 77:20 82:13
      120:4,10 269:5,6      incompetent 57:9        222:8 260:22          82:19,21,22 83:2,3
    implementing            incorporated            261:9,25 265:3        84:10,21 86:17,18
      67:10 85:22 90:5        286:12                266:2 270:15          86:19,25 87:13
      156:21 159:11         increase 123:2          271:24                88:3 90:13 91:5
      160:18 161:14           199:9 207:4         individually 69:5       92:11 98:18 99:5
      163:3 265:24            225:22                76:21 90:19 141:5     99:8,12,18,19
    important 13:20         increased 63:9        individuals 28:13       100:10,20,21,22
      83:2 175:10,11          192:10                28:16 29:17 35:8      100:22 101:1
      177:22 178:3          increasing 147:14       42:4,14 44:4 45:6     103:16 105:16
      183:3                 increments 93:10        48:12 50:6 52:16      121:15 124:12
    impression 44:10          93:11                 52:25 57:13 63:1      141:6,9 148:24
      44:19 192:25          independent 41:2        63:8,12,15,19,25      149:17 151:1
    improper 262:8            133:6 134:12          74:1,3 75:2 76:2      152:3,6 159:24
    improperly                250:10                76:14 86:1,9          164:10 165:12
      262:12                independently           87:14 96:17,19        166:21,22 169:17
    improve 161:22            47:13                 97:5,6,22 98:1,5      169:25 173:5
    improvement             index 5:1,5 6:1 8:1     99:4 100:14,23        175:17 176:7
      69:17,24              indicate 170:11         106:15,18 107:4,5     180:25 181:3,17
    incarceration             251:3 275:24          107:18,24 108:7       182:6 183:2
      57:12                 indicated 76:15         148:5 153:16          184:20 188:10,13
    incident 83:23            100:15 249:3          160:10,21 161:3,7     189:14,18 190:7
      275:15,20               252:16 276:5          161:16 166:25         190:14,17 191:7
    include 51:8 74:20      indicates 31:17         168:10,23 175:14      191:16 192:23
      75:11,17 115:21         165:1 171:2           175:15 179:16         193:19 194:1
      117:19 122:21         indicating 117:6        190:12 192:3          195:17 197:19
      123:19 193:9            238:25 270:16         199:11,16 211:25      200:4,5 201:14,17
      218:15 268:10           284:13                211:25 219:12         207:19 212:3
    included 28:15          indication 191:20       223:4 224:12          215:2,3,10,17,19
      33:24 46:11 64:5                              226:8 235:22          216:3,4,10,11,13

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 96 of 126. PageID #: 243049


   [information - joint]                                                           Page 23

      217:10 218:14        interchangeably         153:22 180:4,12     january 1:18 10:3
      231:5,9 238:12         213:16                195:24 197:20,22       15:3 29:15 72:14
      239:8 240:11         interest 91:8 180:3     212:20 230:13          169:23 173:7,8
      245:9 249:7 255:9      180:11 257:11         231:1 247:22           283:8 284:4
      260:16 261:15,17     interested 62:19        257:20              jerry 23:15 80:17
      275:16                 175:17 283:3        involvement              89:2,5 91:7
    informed 124:8         interesting 39:19       101:20 107:19          132:22 172:25
    initial 61:22          interface 50:1          128:10 131:15          225:1 256:1,8
      126:16 132:14          55:24 56:14,20,23     154:1 184:2         jill 2:17 68:14
      147:16 194:11          208:8               involves 72:7            267:8
    initially 46:3         interfaced 57:24        75:23 197:13        jmcintyre 2:19
      49:19 149:24         internally 20:3       iop 107:7             joann 56:2 69:22
      206:4 238:23         internet 132:11       iowa 37:20               132:18
      258:13               interns 105:25        ish 130:22            joanne 131:17
    initiated 118:12       interrupt 68:19       issue 64:3 109:8      job 6:5 13:21
    initiatives 128:16     interval 140:25         144:14 146:17,22       31:16 41:24 42:3
      133:16 212:21        interview 70:11         147:7,14 148:25        46:19 61:15 67:15
      225:15                 132:10,12,13,14       149:11 223:3,20        67:21 69:6 141:24
    input 163:22             132:17,21,23        issued 274:23            203:2 205:2
      164:7 235:15           141:13,16,19        issues 35:17 48:13       271:20
    insanity 57:9            202:21,25             97:7 105:14 122:1   jobs 20:2 37:25
    insert 215:4           interviewed             138:2 139:16        joe 4:21
    insight 48:20            141:11                143:5 144:10,18     johnson 4:14,14
      258:5                interviewing            178:19 223:21          11:9,10 242:14,14
    instances 171:16         133:17                259:12 260:17          242:16,17
    institute 60:11,16     introduced 248:21     item 27:17            join 61:8
      60:17 131:9          introducing 149:5     items 72:6 114:4      joined 17:18 26:1
    instructions           investigated            124:2,17 173:15        65:20 71:21 130:7
      215:11 260:24          278:16                179:12                 131:12,24 144:7
      281:2,10             invite 73:3           iv 44:20                 144:10,13,17,21
    insys 242:2,4          involve 46:20                  j               146:14 148:23
    intake 49:10,21          50:10 51:19 52:11                            164:3 202:19,22
                                                 j 1:25 282:6
      50:24 51:18 88:12      57:21 77:7 106:10                            276:18 277:3,4
                                                   283:14
    integral 67:9            146:9                                     joining 28:5
                                                 jackie 132:15
    integrated 48:17       involved 34:23                                 134:17 149:25
                                                 jackson 2:17
    intensive 45:24          52:16 75:12,17                            joint 31:21 32:20
                                                   68:15
    interact 213:7           76:19 77:1 83:23                             33:6,18 36:2,8,11
                                                 jacksonkelly.com
    interacted 263:9         94:25 105:13                                 36:19,24 37:1
                                                   2:19
    interaction 131:22       107:24 108:8                                 38:8,13,19 46:17
                                                 jail 57:12
      244:13,22 245:1        122:8 125:11                                 46:21 59:3 124:20
                                                 janssen 4:14 11:9
                             145:20 150:14                                126:25
                                                   242:8,10
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 97 of 126. PageID #: 243050


   [jones - know]                                                                Page 24

    jones 2:11 10:24        266:10 267:13,23      24:24 25:12 26:5     172:2,9,21 173:3
    jonesday.com            267:24 273:5          26:7 27:12,13,16     173:19 178:12,21
      2:14                  276:10,20 277:5       27:18,19,20,21,24    179:20,25 180:2
    judge 1:7               277:20 278:2,12       33:16 34:16 46:16    180:21 182:20
    judgment 219:17         278:19 279:16,22      47:5,20 52:18        183:7 184:16
    july 78:23,23 79:4      280:1,5,9 284:5       56:9,25 58:22        186:12 187:5
      79:19 110:10        keep 228:21             59:13,13,24,24       188:3 189:16,19
      155:15 156:5        kelly 2:17 68:15        60:1,21 62:7         192:23 193:17,18
      169:23 195:7        kenmore 269:4           64:10 65:9,25        193:20 194:12,15
    jumps 168:4,24          274:24                66:5 71:7,12,17,21   194:17,19 195:2,6
    june 129:2 155:15     kent 18:1 39:17         73:23,24 75:14       195:11,13,20
      156:5 158:18        kept 172:13,14          77:5 79:21,24        196:5,5 197:9,14
    justice 107:19          228:22                80:14 82:8,13,17     198:7,10 203:12
      111:22 112:5,19     key 88:8                89:15,17 90:3,4,7    203:17,18 207:25
      113:15 154:5        kids 270:6              91:18 92:1,4,5,10    208:11 209:6,16
      270:8               kimberly 1:17 5:7       93:3,5,20,23,24      211:20 212:8
             k              6:3 10:7 11:13,18     94:1,9,13 103:15     213:15,21 214:2
                            12:4 19:4 248:16      103:19,23,23         214:15 219:22
    k 3:3,15
                            260:10 267:22         104:1,14 105:16      220:9 221:1,4,5,8
    kaye 4:5
                            273:10 275:25         109:11 110:7,15      221:11,12,14,17
    kearse 2:5 5:11
                            282:9 284:8 285:4     111:1,4,9,13         221:18,22 224:22
      10:12,12 52:20
                            285:9 286:4,13        114:16 116:7         224:24,25 228:4
      53:2,18 62:1 63:7
                            287:20                118:6,9,11,12        228:15,17 231:8
      68:7,18,21 78:7
                          kind 41:25 60:22        119:5 120:16         232:8,20 233:5
      124:1 125:5,16
                            72:4 81:11 90:7       121:3,4,5 123:5,9    234:18,19,23
      127:12 130:19
                            111:16 114:16         123:10 124:24        235:6,7,9,21,22
      136:1 143:17
                            115:19 126:13,21      125:10 126:20        236:5,10 238:13
      146:15 148:16,18
                            128:17 130:16         128:6 129:3,6        238:21 240:3,17
      170:12 180:7
                            138:22 141:20         131:6,11,13 133:3    241:1,4,5,11,17,23
      193:12 199:7
                            143:20 159:4          133:10 134:18,21     242:4,10,16,23
      200:21 202:3
                            162:3 166:14          134:22 136:2,3,14    243:8,11,15,19
      206:3,15 210:11
                            189:22 196:21         136:25 137:4,23      245:25 246:1
      210:20,25 211:13
                            220:19 229:24         137:25 138:4         247:19 251:8,15
      212:7,16 214:19
                            233:11,16,18          139:24 140:4,5       251:22,23 252:4
      215:5,13,20
                            249:6                 141:10,20 142:22     253:4,6,8,19,23
      216:21 218:7,17
                          kits 136:21 192:9       144:7 145:13,20      254:15,16,20,22
      218:22 219:6,11
                            192:16                146:17 147:10,11     255:8,17,25 256:3
      222:10,24 223:15
                          kmorrison 2:14          149:3,13 154:21      256:4,5,8,16,18,21
      239:13 248:15
                          knew 237:18             154:22 155:1,4       256:25 257:2
      252:8 254:5
                          know 7:2 12:10          156:2 157:1,18       258:2,6 260:5
      255:16 256:14
                            14:1 23:7 24:20       170:7,9 171:17       263:6,8 265:1,10
      258:1 259:1,23
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 98 of 126. PageID #: 243051


   [know - locations]                                                              Page 25

      265:11,18,19,23     largely 154:4         legal 4:21 221:23      list 6:5 67:15,21
      265:25 266:5        larger 121:24            222:6,12,14 284:1      69:6 71:25 106:9
      267:16 271:19       lastly 15:2              287:1                  106:21 138:3,7
      272:10 273:14,16    late 220:19 271:23    legally 221:11,12      listed 106:7
      273:17,19,23          278:22              leibow 4:5 11:2,2         243:19 244:15
      274:4,7,9,10,19     launched 59:25        lest 14:2                 245:3,17,23
      275:11,13,14          72:14 173:6,8,9     lethal 192:6              253:21 286:7,17
      276:25 277:10,13    law 112:6,15             199:11              listen 150:6
      278:15 279:8,9        206:7               letter 284:19          listening 248:25
    knowing 82:18         lawful 11:13          level 113:5 133:20     listing 286:7
    knowingly 170:16      lawfully 221:9           181:4 218:20        lisw 71:9
      237:11,16           lawsuit 234:25        levy 94:3,4,9          litigation 1:5 10:6
    knowledge 75:19         235:4,8,13,16,19       135:15,25 274:4,8      12:1 17:1 229:5
      94:12 159:19          235:25 236:6           274:11,13              229:20 238:2,3,17
      183:1 194:4 245:5     249:11 250:8,13     lewis 3:5,17 10:19        238:24 239:18
      245:10,15 246:6       251:1 255:15,15        11:5,25                244:19 245:24
      246:10 247:10,14      255:24 256:13,13    liaison 57:2              247:12 284:6
      247:15 255:10,20      262:19,24           licdc 133:4,5             285:3 286:3
      260:25 261:6,14     lawyers 229:20           134:12              little 30:15,17
      261:22 262:7,11       239:17 249:22       license 40:10,13          32:13 72:11
      268:23 278:21         250:5,24 251:2         40:17,22 41:9          131:20 138:11
    knowledgeable           262:17                 44:8                   139:11 161:6
      36:16 140:3         lazar 3:18 11:4,4     licensed 41:1 45:3        198:21,25 209:18
    kristin 2:11 10:23    lead 39:4 41:24          133:6 134:12           252:11 260:15
      260:13                43:9 126:15 220:8   licenses 40:24            266:12
    kuckuck 70:21         leadership 112:13     licensure 18:13        live 12:5,11,15
      132:18              learn 88:24 132:8        39:23 40:1 134:16   lived 12:19 37:20
              l             144:13 146:2,12        134:18                 96:16
                            234:24              lieu 57:12             living 31:12 35:17
    l.p. 1:11,13
                          learned 212:5         life 12:22             llc 2:4 3:3,15
    label 215:4
                            217:17,22 257:22    lifestyles 48:23       llp 3:5,11,17 4:10
    labeled 209:8
                            269:16              limited 104:11            4:15
    labeling 218:14
                          learning 211:9        line 27:17 107:2       local 59:16
    laboratories 3:4
                            218:10 259:25          156:8 166:15,17     located 43:11,14
      3:16
                          leave 70:1,3             260:9 268:7            50:3
    lack 258:8
                            134:24                 269:14 284:13       location 43:23,25
    lake 43:3 55:1
                          leaved 54:8              286:7 287:3            65:3,4 95:21
    lakeside 2:12
                          lee 2:18              linear 176:22             115:13 117:4
    lapse 40:18
                          left 70:6 79:19          177:1               locations 31:5
    large 30:4 94:2
                            111:6 184:9         linked 275:22             65:1
      148:4 206:21
      223:3 237:18
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 99 of 126. PageID #: 243052


   [logan - mayor's]                                                           Page 26

    logan 70:25 79:13       153:9,11 159:4       187:9,15,24 188:3    248:9 252:21
    logo 227:13             165:13 168:9,22      188:18,24 189:22     253:1
    logs 81:19              174:21 175:13,15     189:23 190:20       manufacturers
    long 12:19,23           180:16 188:7         198:22 209:2         233:14 236:2,9
      14:18 15:4 16:2,6     190:9 196:9          210:17,18,18,21      237:9,11 241:2
      16:10 17:9,11         198:22 211:25        211:3,4 238:25       244:14 245:6
      18:19 49:14 71:17     213:4,5,18,19       mailed 61:15          248:2
      82:4 85:19 118:9      223:19 224:6         150:5               manufactures
      129:3 133:8           231:25 232:14       mails 15:11,13,17     241:12,18,24
      145:12 213:21         253:18               157:1 175:4          242:5,11
      225:10 233:4        looks 31:3 39:2        197:15 240:3        mark 187:9 209:2
      260:14                41:13 49:9 163:2    main 4:16 174:10      227:22
    longer 223:24           177:6               maintain 31:20       marked 6:2 19:6
    look 31:1 35:7        lorain 43:3 55:3       38:12 40:12          19:10 67:23 68:2
      36:16 52:5 61:11      55:10               maintaining 38:7      157:10,14 162:11
      74:1,3 82:19,20     lost 89:13 270:7       46:20                162:15 183:13,17
      84:3,21 85:12       lot 41:22 66:5        majority 140:12       187:17,21 204:7
      86:22 88:8 99:1       89:17 115:5,8        144:8                204:11 208:22
      101:11 104:22         116:21 128:21       making 16:4 37:5      210:23 228:5,8
      105:12 114:22         143:23 145:2         176:12 178:25        229:19
      115:2,13 117:5,10     147:22 157:1        mallinckrodt         market 1:21 12:13
      121:24 132:10         211:19 213:15        242:21,23 243:1     marketed 224:7
      141:3,24 143:20       233:13              mana 48:4            marketing 237:12
      149:15 150:3,6      low 219:24            manage 26:24         mart 246:2
      153:13 157:17       lower 191:12           54:16               martha 187:5
      165:13 170:13         192:12,14,17        management            188:5
      174:7 176:18        lpns 38:2              23:15,16 24:8,12    mary 225:6
      229:22 264:20       lucky 225:4            34:20,22,24 35:7    mass 210:17
      267:14                226:23 227:15        38:4 48:10,13,15    master's 18:2,6
    looked 85:18          lutheran 31:9,19       48:15 71:1,4         28:8,19 40:3
      90:18 105:25          32:19 34:18 35:12    78:20 196:17         41:12 217:8,16
      115:7 141:5 180:1     38:15 50:4          managing 102:5       mat 29:17 100:14
      239:20                       m            manna 1:21            100:16,17 108:13
    looking 15:9,10                             manual 194:19,21      108:14,15,18
                          m 2:5
      19:18 35:6 61:13                           194:22 195:4        match 84:4
                          madam 284:10
      61:16 68:24 77:3                          manufacture          materials 29:8,11
                          magazine 234:10
      105:21 107:10                              241:2,10 243:2,4     29:22
                          maggie 56:24 57:1
      114:25 115:9                              manufacturer         matter 15:16 35:4
                          mahoning 43:8
      116:4,9,15 119:22                          221:15 236:23        131:1
                            55:4
      124:17 141:21                              242:17,24 243:9     mayor's 91:2
                          mail 6:16 15:22
      143:11 147:13                              243:16 245:12
                            140:15,21 175:5
                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 100 of 126. PageID #: 243053


    [mayors - met]                                                               Page 27

     mayors 157:3          99:12 109:3,4         119:6,16 120:5       memory 30:19
     mcginness 2:5         174:22,25 175:3,5     129:5 162:10          121:10 123:23
     mcguiness 284:5       175:7,10 179:21       163:3,11,16          mental 35:8,10,17
     mcintyre 2:17         191:5,7 202:8,14      164:11 171:1          37:14,22 38:5
      68:11,14,14 267:8    215:23 219:17,20      173:4 184:1           39:5 41:24 43:10
      267:8                220:6,11,23           205:19 208:21         48:25 49:4 53:10
     mckesson 4:9 11:7     259:12,12 275:19      212:6 230:9,10        55:8,12,16 56:2
      254:23 255:4        medically 24:4         235:6,11 240:8,9      57:11,11 63:1,4,8
     mcneil 89:1,12,21     214:24 219:19,24      240:22                63:13,16,20,24
     mcneil's 89:10       medicate 258:3        meetings 72:20,23      64:1 94:20 95:17
     md 1:6               medicated 258:4        73:2,6,11 81:10       96:13,16,18
     mdl 1:5              medicating 258:20      85:9 96:1 113:11      142:13,25 167:15
     meals 31:14          medication 108:19      113:25 114:3,7        167:24 169:1,3,5
     mean 51:2 57:7        108:23 109:1          117:8,25 128:22       173:21 257:6,24
      63:1 68:18 117:24    122:24 125:1          129:24 149:6,15       258:2,5,6,14,20,24
      167:19 168:8         136:24 148:5          150:7 151:17,19       259:4,6,10,16,18
      171:12 172:5         213:18 215:2,15       151:23 152:1,3,6,8   mentality 192:4
      185:17 197:18        218:15,24 219:3,5     161:21 163:2         mentioned 17:18
      213:10 222:22        251:13,14 252:22      179:15 200:17,19      23:18 29:20 33:23
      235:2 259:6,9        260:23 261:3          200:23 205:18,20      38:22 44:3 48:2
     meaning 57:14         262:1                 207:17,20 209:25      52:9 54:23 62:18
      139:7 162:18        medications 45:3       210:3,5,7,10          65:16 76:13 90:15
      223:1 254:19         45:12,17 124:8,9      211:11,14,18          91:10 102:22
      268:16               124:10,23 127:9       212:11 235:9          106:11 121:16
     means 32:1 33:1       200:14,24 211:22     meets 23:16            125:8 134:11
      108:18 177:10        213:6 215:10          108:20                135:14 142:2
      213:14 222:21        216:9,10 218:20      member 47:19,20        143:21 146:4
      223:1                222:17 223:9,23       48:3 61:14 106:20     151:13,16 154:19
     meant 33:25           233:18 236:4          112:12 113:14,19      157:2 159:3
     measure 153:10        237:13,14,17,22       113:21 143:7          168:11 203:23
     measurements          237:23,24 251:17      148:24 181:23         207:3 226:10
      140:1                261:21 264:19         182:2,4 183:3         230:4 239:3,14
     medica 236:2         meet 14:18 15:4        195:14 270:16,16      243:5 266:11
     medicaid 33:3,3       24:7,10 72:18        members 15:24          271:11 276:23
      86:23,23 108:1       83:11 89:8 90:22      42:21 70:13,15        277:9
      110:4,6              115:24 128:13         141:18 144:25        mentioning
     medical 24:3,8,11     188:12 191:21         182:10,13,16          126:24
      24:14 37:12,18      meeting 6:11,22        225:11,25 226:2,6    message 244:6
      38:18 45:9,11        33:14 73:1 80:13     memorandum            met 11:22 14:16
      50:17 52:1,6         90:24 96:4,5          109:17                14:24,25 15:1,2
      64:25 65:17 71:18    113:23 114:1                                44:19 50:23 90:18

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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 101 of 126. PageID #: 243054


    [met - neighboring]                                                           Page 28

      230:9                modalities 133:18     morning 11:20,21        262:18,19 282:9
     meth 191:10,24        model 48:17,18         11:24 248:22         names 241:1
      198:24 204:20         90:17 116:8,17,17    morrison 2:11         naming 200:12
     methadone 108:21       116:18                5:10 10:23,23          252:23
      181:7,9              modeled 159:7          260:11,13 266:18     nancy 208:11
     methamphetami...      modified 223:23        266:22 267:3,10      narrative 151:3,8
      171:7 205:9          modify 98:23          mortality 191:12      nation 89:20
     mic 248:14             226:19               mother 121:21         national 1:5 10:6
     microphone 276:3      molded 106:3          motivational            133:20 204:20
      280:3                moment 188:2           133:17                 279:18 284:6
     mid 73:1 78:23        moments 274:7         motley 2:4 10:13        285:3 286:3
     middle 190:21         money 273:24           10:16                native 162:17,19
      204:24               monies 94:19          motleyrice.com          162:20
     midwest 284:17        monitor 72:7,18        2:7,8                nature 151:1
      287:1                 72:19 73:21 75:21    move 9:2 270:24         153:12 236:8
     mind 222:1             80:6 81:3 85:3       moved 89:7              249:23 250:6
     minimal 131:15         152:21               moving 37:7 48:6        256:2,11
     minimally 208:10      monitored 109:20       99:1 111:15          navigate 176:17
     minimum 49:18         monitoring 76:17       189:21,23 233:19     near 130:17 159:6
      82:9                  106:9 133:23         mt 2:6                  189:24
     minute 93:10          month 18:15           multifaceted          necessarily 134:14
     minutes 6:21           49:18 89:8 92:19      258:25 259:22          144:4 179:13
      127:18 167:23         128:14 155:5         multiple 76:14          227:3
      208:20 232:25        monthly 74:6,10        167:3 176:22,25      necessary 219:24
      233:3 240:8,9,22      74:14 81:16,20                n            necessity 24:3,9
      266:19                84:7,9 87:24                                 24:11,15
                                                 naloxone 76:3
     misconduct 255:4       100:11,15 173:16                           need 7:2 24:11
                                                  136:24 137:8
     misheard 34:6          189:2,7                                      62:6 141:7 153:15
                                                  192:9
     misled 248:1          months 12:21                                  156:17 182:7
                                                 name 10:7 11:24
     misrepresentation      18:20 37:21 85:22                            195:9 226:25
                                                  12:3 74:15 88:6
      248:8                 135:1,2 143:19                               228:3 273:4
                                                  128:7 145:9
     misrepresentatio...    159:12 164:2                                 275:16
                                                  210:12,14,16
      245:11                206:5 270:3,13                             needed 67:5 82:19
                                                  211:2 248:20
     misstates 130:20      morbidity 191:12                            needle 136:22
                                                  253:21 284:6
      254:6 276:11,21      morgan 3:5,17                                 137:6,22
                                                  285:3,4,15 286:3,4
     mistaken 243:3         10:19 11:4,25                              needs 42:11 46:5
                                                  286:21
     misuse 59:9           morganlewis.com                             negative 47:22,24
                                                 named 187:5
      193:14                3:7                                          48:2
                                                  207:25 231:15,16
     mobile 270:9          morgue 277:12                               negatively 124:25
                                                  236:6 250:12,19
      277:12               morgues 270:9                               neighboring 43:7
                                                  250:22 253:9,12
                                                                         206:8
                                                  253:17 254:14
                                    Veritext Legal Solutions
     www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 102 of 126. PageID #: 243055


    [nerad - offers]                                                               Page 29

     nerad 115:24           266:7                  160:3,5 161:13         239:13 254:5
     never 180:1 231:7     northern 1:2            183:20 192:10          255:16 256:14
       259:17,18           northfield 43:12        271:10 286:7           258:1 259:1,23
     new 4:6,6 20:1         43:23,25 65:3        nurse 46:13              266:10 276:10,20
       61:16 72:18 73:17   northwest 3:11          134:22 221:1           277:5,20 278:2,12
       79:1 90:22 113:24   notarized 284:14      nursing 50:16            278:19
       114:19 195:9        notary 282:6                    o            objection 8:1,3,4,9
       264:17               283:14 284:25                                 9:1,1,2 52:20
                                                 oacbha 20:11
     newly 145:4            285:10,18 286:15                              53:18 170:12
                                                   21:18 26:14 59:14
     news 231:13,18         286:23 287:23                                 268:19 269:12
                                                   59:23 60:9,14
       279:10              note 157:20                                    271:7
                                                   127:25 128:2,8,13
     newspaper 200:8        210:15 284:12                               objective 91:6
                                                   129:4,21 131:3
     newspapers            notes 227:8,9                                objectives 6:7 37:6
                                                   147:12 158:2,8
       278:22,25 279:2,7    240:16,18,20,20                               157:7
                                                 oacbha's 128:11
       279:10,19            240:23,24 246:17                            observe 164:9
                                                 oarrs 211:23
     nicole 4:5 11:2       notice 238:18,20                             obtain 39:9,23,25
                                                   212:5,9 263:18,20
     nicole.leibow 4:7     november 15:1                                  91:19
                                                   263:22,24 264:5,6
     nine 26:19,20          78:24 79:5,11                               obtained 40:23
                                                   264:11,16,21,24
     non 77:16 143:16       89:1 113:23 195:8                           obviously 195:3
                                                   265:2,12,17 266:6
       175:25 176:2         236:19                                      occasionally 279:1
                                                 object 8:2,3,4,5,5
       186:10 192:22       number 6:2 30:12                             occasions 14:17,25
                                                   8:6,6,7,7,8,8,9,10
       194:3,10 270:25      52:21 74:16 86:20                           occur 155:7,10
                                                   8:10,11,11,12,12
     nonprofits 118:5       88:7 90:4 93:4                              occurred 69:13
                                                   8:13,13,14,14,15
     north 2:12 4:16        102:17 104:11                                 155:22
                                                   8:15,16,16,17,17
       49:8                 110:15 111:4                                occurring 167:25
                                                   8:18,18,19,19,20
     northcoast 39:5        116:11 118:25                               occurs 13:15
                                                   8:20,21,21,22,22
       41:14 42:25 45:7     123:2 138:5,9                                 129:2
                                                   8:23,23,24,24,25
       46:16 47:5 49:8      143:6 148:1,4,7                             ocpc 71:10
                                                   9:3,3,4,4,5,5,6
       52:7 53:21 54:12     159:9 160:25                                october 102:3
                                                   53:2 63:7 78:7
       55:21 56:1 57:20     161:15 162:20                                 153:25
                                                   124:1 125:5,16
       58:21 59:1,6 61:7    165:6 166:25                                odd 93:5
                                                   130:19 136:1
       64:20,24,25 65:15    168:24 175:13,15                            offer 16:22 49:3
                                                   143:17 146:15
       71:18 130:11         178:21 180:13                                 58:18 81:5 85:7
                                                   148:16,18 180:7
       132:1 197:25         184:8 185:22                                  95:14,21 96:9
                                                   193:12 199:7
       202:5 203:5          187:25 192:8,9                                124:23 181:12
                                                   200:21 202:3
       206:11,20 207:7      199:15 223:4                                offered 67:4 95:16
                                                   206:3,15 211:13
       208:9 210:19         271:5 284:7,13                                189:12
                                                   212:7,16 214:20
       212:9,11 216:1      numbered 68:5                                offering 32:10
                                                   215:5,13,20
       217:3 224:1          159:5 163:7 174:4                             143:21
                                                   216:21 218:7,17
       257:17 264:3,7,13   numbers 148:14                               offers 181:9,13
                                                   218:22 219:6,11
       264:15 265:12        159:16,20,21
                                                   222:10,24 223:15
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 103 of 126. PageID #: 243056


    [offhand - opioid]                                                           Page 30

     offhand 59:21,24      ohmas 156:10          open 73:17 106:23     98:2,6,17,18 100:2
       71:23 123:15        okay 12:7,12,17         106:24 116:1        100:7 102:15
       138:5 154:22          13:23 14:2 21:5     opening 117:14,16     105:6,9,14 108:8
       178:12 207:23         30:5 61:2 62:7      openings 142:10       109:8,12 112:18
     office 27:19 65:2       77:22 87:22 98:15   operated 103:21       113:16 119:22
       84:15,15 93:12        99:10 108:12        opiate 1:5 7:1 10:6   122:16,20,23,24
       96:5 112:8 174:23     127:17,23 128:10      20:11 59:11,14,23   123:14 125:2,14
       175:3 283:6           138:12,16,24          60:14 76:4 112:4    125:19 126:14
     officer 21:2 38:23      139:14 142:10         114:3,7,12 115:16   136:9,13,18
       66:1 92:10 142:14     154:2 155:20          116:12,25 117:7     138:10 139:1,3,9
       158:5 168:15          157:15,22 162:1       117:23 118:10,17    139:15 143:5,10
       202:15                164:23 166:12         118:19,23 127:25    143:15,16,16,22
     officers 191:23         169:4,6 170:18        128:4,11 129:1,3    144:9,14,18
     offices 128:13          171:18 174:8,13       129:21 130:3        145:25 146:3,13
     official 65:25          176:24 187:11,22      131:3,4,7 147:12    146:22 147:7,8
       202:13 253:19         189:12 191:23         149:14,19,21        148:25 149:11
       285:15 286:21         209:4,16 210:20       150:1,10 158:2      170:11 172:6
     oh 68:20 220:17         210:25 213:11         178:16,19 184:1     178:10 180:4,5,6,6
       252:5,6               218:3 220:21          185:3 192:1         182:24,25 183:6,6
     ohio 1:2,11,13,22       224:4 229:3,9         200:17 203:13       191:22 192:20
       2:13 4:17 12:13       253:8 254:10          204:1 208:5 210:1   194:2,3,7 195:18
       18:10,18 20:14        265:22 266:11,21      210:10 211:11,22    197:3 199:5,16
       43:12,22,23,23        269:8,19 271:16       212:6 213:14,20     200:9,10,16 207:9
       60:12 71:10 83:12     273:5 279:22          224:20 225:8,8,12   211:10,25 212:13
       88:25 89:19 90:2      280:7,9               225:15,19,22,24     213:3,4,6 214:8,18
       90:5 94:20,20       older 35:13 147:21      226:3,5,11,13       215:18 216:4,5,6
       95:16 101:8 106:1     222:13 272:13         228:2 231:20        219:18,23 221:9
       115:25 128:5        omhas 107:12            235:10 276:14,17    221:16,20 222:20
       129:1 137:3,11,13     109:15,18             284:6 285:3 286:3   222:22,25 223:7
       147:9,12,17,24      omissions 245:11      opiates 76:5          223:14 224:15
       148:17 212:15       once 28:11 29:3         170:14 171:9,25     231:6,11 233:6,9
       220:12,23 221:2,6     230:9                 212:25 213:17,19    234:5,14 243:1,24
       222:13 231:10,15    ones 241:5              231:20 239:21       244:3,9 247:17
       231:16,22 233:7     ongoing 42:11         opioid 44:17 51:19    248:2 251:5
       263:9,18 282:2,7      100:24 133:23         51:19,22,24 52:12   252:21,22 255:7
       283:7,15 284:2        182:6                 52:17,23 53:16      260:16,23 261:5
     ohio.com. 232:24      online 132:8            59:8,9,18 60:18     261:11 262:12,22
     ohiomeansjobs           232:24 279:4,5        64:8,10 75:23       263:3 269:10,22
       119:8,25 122:13     onset 258:18            76:10,12 78:4,4,9   271:6,14 272:8
     ohiomhas 95:19        op 1:10,12,13           78:10,15,16 83:22   275:6 276:8 277:3
       156:4                                       89:14,24 96:23      277:18,24 278:17

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 104 of 126. PageID #: 243057


    [opioids - part]                                                                Page 31

     opioids 23:25 24:7     oriana 21:1 22:5      overdose 74:24                p
       24:14,22 25:4,8,11     22:13,14,17,23        75:5,12,18 76:1,4   p 82:1
       25:14,15 28:5,7        23:6,13,21 24:21      76:20,20 77:1       p.m. 280:13,14
       59:8 77:7,8,15         24:25 25:20 26:3      89:14 123:3 174:6   package 215:3
       105:18 108:6           26:12,13,17 27:2      174:12 177:11       page 8:2 30:6 31:1
       120:14 123:6,7         101:21 103:15         178:5,20 179:1,5      31:2,18 111:17
       130:12 139:22          106:3 153:22          179:20 180:5          117:6 127:24
       148:8,8,14 171:25      154:2,7,11,15,24      190:4 191:22          163:6,9,24 164:1
       179:22,23,24           155:2 158:4,15        200:4,6,20 201:10     164:13,14 167:5
       180:12,13,14         orianna 21:13           232:1,6,13 251:5      169:8,13,19 177:9
       186:25 192:21,22     orientation 144:23      260:17 261:14,16      183:19 184:7,9,24
       193:3,9,15 195:16      144:25 149:4          261:19 270:7          186:17 188:16,20
       197:1 198:9          orienting 79:14         272:7 275:10          189:22,25 190:19
       199:18 201:2,3         144:20              overdosed 121:22        190:20,21 204:24
       205:8,15 206:22      original 224:24         262:22 270:17         213:1 284:13,15
       206:23 207:22        otf 111:22 112:3        275:11,17             286:7 287:3
       212:25 213:5,22      outcome 80:12         overdoses 25:3,7      pager 117:19
       214:3 216:12,14        140:1 196:3           75:23 76:10 77:7    pages 163:6 174:4
       216:19,24 217:11     outcomes 72:19          77:12 174:21          188:17 236:15,17
       217:15,17 218:5        73:14,22,24 76:24     175:14 176:13       pain 34:20,22,24
       219:9,13 220:12        77:3 80:6 98:24       190:5,25 199:19       48:9,12,15 124:21
       220:24 221:3,6,24      103:1 140:15,19       200:2,9,25 232:10     124:23 125:1
       222:7 230:17,23        140:20 153:10         255:7 260:21          127:1 219:10
       231:2,20 232:12        180:17 195:23         261:2,9,25 271:10     223:9 224:8
       233:15,21 236:3        196:7,9 274:22        277:19,25 278:11    panel 230:18
       241:3,12,18,24       outpatient 45:23      overflow 43:6         paper 32:5,6 163:9
       242:5,11,18,24         45:24               overloaded 270:4        172:14
       243:9,16 245:12      outreach 90:10        oversee 67:3          papers 215:15
       247:20,23 248:7        176:15              oversees 78:21        paperwork 33:24
       262:9 266:13,16      outs 112:14           oversight 56:11         34:8 51:5,8 216:9
       268:6,11,14,18       outside 44:9 91:19      66:19,21 78:24        217:2,5,6
       275:12                 91:20 122:1 197:7     79:16 95:3 142:13   par 4:3,3 11:3
     opportunity 61:20        197:24 198:7          143:12 145:18       paragraph 159:5
       118:4                overall 47:18         overview 28:12          204:25
     opposed 142:25           48:14 50:18 53:4      36:9 85:14 181:25   paragraphs 159:6
       178:19                 64:2 69:6 91:6        233:11              parent 227:1
     option 181:12            103:10 107:3        oxford 3:6              230:23
     order 82:18 96:14        139:8 150:20        oxycontin 243:4       parma 12:17
     ordering 263:16          185:25 231:25                             part 20:5 26:9
     orders 251:17            233:6,7 273:1                               27:8 28:7,14 32:2
                                                                          34:9 35:25 36:5
                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 105 of 126. PageID #: 243058


    [part - personal]                                                              Page 32

      41:19 45:5 46:19    particular 92:12      paul 3:10 10:21          160:9,24 165:2,6
      50:12 51:4 66:1      94:10,17 162:18        248:20                 165:17,18 166:3
      67:9 69:5 76:17      196:4 200:10         paula 56:10 145:9        167:13 178:15
      79:1 99:11,15        226:20 257:11          227:20 228:13          185:2,11,18 190:3
      101:13 109:18       parties 10:11         paula's 134:20           190:10
      112:23 113:8        partnered 85:6          228:18               percentage 25:13
      115:21 118:18,23    parts 249:9 254:2     pay 33:14 40:16          52:15,22 53:14
      121:16 123:18        254:8,11               93:21 137:1,5          77:15 86:8 102:14
      124:11 126:5,16     party 283:3           paychecks 182:17         143:15 160:23
      127:3 137:9         pass 248:14 260:4     paying 120:25            178:9 185:8
      140:11 141:18       passed 272:6          payment 100:8          perception 127:9
      146:8 149:3         passion 61:23         pays 91:11 182:15        179:15
      152:10,13 155:25    passions 62:20          268:17               perform 49:3,14
      162:3 186:7         passthrough           pboehm 3:13              67:16
      194:11,23 196:7,8    109:16               pediatric 50:6         performance
      202:24 215:25       password 172:23       peer 29:18 67:1          162:4
      216:8 217:7 224:9    172:24                 95:4,4,9,12,15       performed 32:7
      224:16 225:14,23    pastoral 268:24         96:1,2,11,15,18,20     247:20
      235:10 246:3        patient 47:8 99:7       96:22,24 97:3,19     performing
      249:7 255:4 256:5    216:2 219:19           97:23 98:7,8,11,15     136:18
      256:6 266:2          221:16,20              100:20,25 110:2      period 18:12
      268:25 273:17       patient's 34:5          145:21 150:23          46:15 47:4,6 48:7
      275:20 286:9        patients 34:20          152:23,24,25           59:2 75:5 78:25
     participant 96:4      45:17,21 48:9          153:1,7 189:2          79:7 169:23 178:5
     participants 34:7     50:2 52:12 207:7       197:5,10,23 198:4      206:14 211:12
      91:15 109:2,7,12     219:9 220:11         pending 57:18            223:1 265:16
      226:5               patton 1:17 5:7       pennsylvania 3:6       permit 44:8
     participate 34:14     6:3 10:8 11:13,18    people 26:13           permitted 221:2
      61:3 73:4 95:25      11:20 12:4 19:4        113:18 114:15,17     person 24:6,10
      111:21 113:22        62:17 68:24            117:25 124:7           88:14 128:14
      127:25 141:15,19     129:19 198:20          166:13 177:5           145:8 147:19
      143:12 197:10        246:25 248:16,18       211:17 231:1           170:14 181:5,10
      225:13 226:8         260:7,10,12 267:4      270:13 271:6           181:22,24 208:4
     participated 26:16    267:22,24 269:14       272:9,15,24            216:7 218:24
      26:18 35:2 211:21    273:6,10 275:25      perceive 170:16          222:15
     participates 87:4     276:4 280:10           199:11               person's 166:18
      112:9 203:14         282:9 284:8 285:4    perceived 249:12       personal 101:1
     participating 73:8    285:9 286:4,13       percent 53:4,15          215:6,21,23 245:5
     participation 34:9    287:20                 86:1 94:4,6,14,15      245:8,10,15 246:6
      128:3               patton's 210:16         94:16 122:23           246:10 247:10,15
                           211:2                  143:1,3,9,13 159:9     251:12 262:7,11

                                   Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 106 of 126. PageID #: 243059


    [personally - practum]                                                           Page 33

     personally 101:15       physicians 51:1        156:1 195:5 208:4      263:25 264:2
       101:17 278:4,20         212:2 223:21         217:7 218:4          positions 27:1,22
       285:11 286:15           237:15               233:19 238:16          46:25 53:22 61:7
     persons's 181:25        picture 121:24         253:15                 69:14,20 70:10
     perspective 77:6        piece 26:8 175:11     police 21:2 25:6        141:12
       81:17 257:15            225:23 257:4         73:4 75:8,25         positive 42:6
     pharma 1:10,11          pill 171:17 234:16     76:18 91:3,15          47:19,21 48:23,23
       1:13 3:3,3,15,15        234:19               157:3 158:4            52:3 178:25
       217:4                 pills 124:4 147:19     159:20 175:21          179:18
     pharmaceutical            148:1,7 261:5,11    policy 47:3 82:7      possible 87:7
       4:4 221:15,19         pinpoint 234:8         228:21 239:5,11        273:2,4
       234:21 241:2,6        pittsburgh 3:6        polinsky 187:6        possibly 156:25
       244:14 245:2          place 33:7 205:25      189:24 190:13          187:8 246:3
       246:12                  268:21 276:9         198:24               posted 61:16
     pharmaceuticals           282:20              polsky 28:21            141:25
       3:3,15 4:2,3,14       placed 50:7 275:8     polster 1:8           posting 61:15,19
       245:20                plain 279:12,14       pommerening             141:24
     pharmacies              plaintiff 238:2        208:11               potential 235:3,8
       215:14 236:4          plaintiffs 238:3      population 58:13      potentially 116:4
       237:21 245:23           244:18               206:21 226:25          172:6 220:8
       251:13 266:13         plan 32:9 37:6         227:6,7              powerpoint 21:5
     pharmacists               103:8 129:1         portage 43:7 55:4       21:10,14,18 29:5
       266:15                planning 42:16        porter 4:5 11:3         119:17,20 120:2
     pharmacy 211:21           54:22 67:5 91:1     portion 49:9 92:6       120:16 122:14,15
       217:4 221:8 237:1     plans 156:24           94:2 122:3 126:8       123:10,11 125:9
       251:16 262:13,18      play 63:5 150:9        139:21 150:10          125:11 126:5,10
       262:23 263:2,10         225:7                151:8 192:15,20        126:21 152:1
     phase 91:1              pleas 113:5            227:10 231:6           162:19,25 163:7,9
     phi 101:3               pleasant 2:6           270:25                 163:19,23 164:2
     phone 11:1 30:12        please 11:12 12:2     poses 204:25            225:2 227:9
       68:5,8 181:24           14:1 19:12 62:23    position 22:24        powerpoints
       182:3 188:13,14         157:17 188:15        23:19 24:25 25:2       151:22
       190:18 204:16           284:11,11            27:8,11 37:8 39:3    pr 225:3
       267:6 272:4 284:3     pllc 2:17              49:17 50:2 55:20     practice 41:7,8
     physical 63:11          podcast 89:3,10        56:6,8 61:12,14,18     44:9 70:18 133:2
     physically 43:11        point 2:12 6:5 39:8    62:19 65:6,13          133:13
       161:8 229:1             45:2 58:20 61:6      69:17,19 78:21,22    practices 133:23
     physician 42:8            62:6 67:14,15,15     80:11 103:22,25      practitioners
       50:22 51:6 71:5         67:21 83:14,20       132:6 141:22           221:2
       219:17 247:25           86:4 113:4 115:11    142:5,12,16          practum 133:23
       248:4 264:4,10          143:25 145:22        144:20 145:3,4,6

                                      Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 107 of 126. PageID #: 243060


    [pre - primary]                                                            Page 34

     pre 57:14             148:8,10,14 170:8    119:13,14 121:14    presenter 61:3
     preceded 145:8        170:11,14 171:9      122:19 123:13         158:6
     prefer 214:25         172:6,10 179:23      125:18 132:20       presenters 20:25
       215:7               180:5,13 182:24      152:5,5,9 158:11    presenting 177:6
     preliminary 85:9      183:5 186:25         163:1 176:6         presents 24:6
     preparation           192:21,22 193:9    presentation            174:20
       132:11              193:15 194:2,3,9     21:23 22:7,9        preservation
     prepare 15:8 21:5     194:10 195:16,18     26:10,14 28:8,10      239:8
       21:10 67:14 68:25   201:2,8 207:8,13     28:15,19 29:2,6     preserve 238:15
       69:2,6 80:12        207:21 208:13,18     85:17 90:17         pressure 124:21
       151:18,22 152:2     213:5,22,23 214:2    119:20 122:4,13       124:22
       156:22 158:12       214:7,8,17 215:1,9   123:18,19,22        prevalence 231:17
       204:22              215:18 216:3,6,12    124:3,11 125:23     prevent 161:17
     prepared 19:19,23     216:14,19 217:11     126:4,16 127:3      preventing 177:11
       21:16,24 30:22      218:5,14,20 219:4    149:15 150:7          179:5
       36:15 69:9 149:10   219:8,13,18 220:1    158:2,17 162:25     prevention 6:21
       151:20 158:19       220:24 221:3,6,9     164:15 177:7          56:8,13 66:21,23
       224:22 227:20       221:10,16,20,24      225:2 227:4,10,13     70:23 71:10
     preparing 125:11      222:7,17 223:8       227:19 230:2          114:23 120:10
       150:9 167:9         231:2,7 232:12     presentations 20:4      122:11 138:21
       169:12 174:16       233:15,21 234:5      20:7,9 28:5 66:11     139:22 196:23,25
       177:24 184:3        236:3 241:3,12,18    114:12 118:15         207:13 208:14,19
       197:21              241:24 242:5,11      121:17,18 125:19      225:23 268:5,9,12
     pres 141:7            242:17,24 243:9      126:23 160:15         268:16,17,20
     prescribe 45:3        243:16,24 244:3,9    177:7 200:23          269:5,10 275:2,4
       124:9 219:23        245:12 248:7         203:18,21 204:1     previous 52:6
       220:6,24 221:3,6    252:21 260:22        224:13,17 226:18      110:14 191:1
       224:4,4,5           261:4 262:8,12       229:15 230:16,22    previously 52:5
     prescribed 170:15     263:19 266:13        230:25 231:4          74:18 75:4,9
       172:3,7 180:18      275:11 277:18,24     240:10                76:13 79:17
       195:18 206:22       278:10 284:6       presented 20:11         102:22 106:2
       219:13 232:3        285:3 286:3          20:16,17,19 21:4      110:21 207:4
       261:10,21 262:1   prescriptions          26:15 28:2 30:1       212:19
       264:19              171:14 212:1         61:24 85:25 91:4    primarily 35:9
     prescribing 124:8     215:23 220:12        116:11 118:15         58:12 66:22 97:1
       124:14 126:25       237:24 266:16        119:10,17 120:6       97:6,14 131:16
       212:2             presence 282:15        121:13 122:5,9        142:12 158:14
     prescription 1:5    present 4:20 10:9      125:15,24 149:16      196:19
       6:20 10:6 77:7,15   20:15,24 25:9        158:3 159:20,22     primary 25:10
       77:16 78:4,9,15     49:25 50:19 51:22    164:10 170:25         54:10 97:15,25
       105:19 122:23       73:25 115:17         176:7,11 229:16       109:23 113:20

                                   Veritext Legal Solutions
     www.veritext.com                                                      888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 108 of 126. PageID #: 243061


    [primary - provider]                                                           Page 35

       140:18 146:19         103:6 120:19          179:5,8,10 180:11   provide 22:18,25
       166:24 186:13         141:14,16 155:12      180:22 185:24         29:9,16,21 33:19
       196:15,22             182:21,22 194:14      187:2 192:13          54:5,19 66:19
     printed 29:8,22,24      196:9,11 197:23       196:4 197:13          71:4 73:13,16
     prior 40:5 46:25        214:12,14 271:22      205:1 207:12          78:24 95:3,19,21
       49:19 110:25          275:20                208:13 211:23         95:22 96:6,18,20
       129:8 134:17        produce 74:9            217:8,9,13,16,20      96:25 97:22
       140:17 145:7        produced 162:17         217:25 218:1          101:22 111:18
       146:5,24 147:4        162:19 209:1          269:5 272:2           112:14 114:4
       217:6 229:21        production 252:13     programming             116:21 137:12,16
       239:7 240:11          284:15,17,22          37:3 56:12 66:20      137:20 138:14
       251:1 263:25        products 246:12         66:23 120:10          139:1 142:13
       271:12 272:7        professional            122:11 128:21         143:12 148:24
       274:21 276:24         219:21 220:6          145:19,19             150:14,16,23
       277:1,14              257:15              programs 66:22          151:2,3,4,5 158:13
     priority 106:17       professionally          94:24 95:2 101:7      166:22 173:20,25
       107:5,9               133:3                 107:13,16 118:4       195:8 197:18
     private 116:8,16      professionals           133:25,25 135:8       210:23 220:11
     privileges 50:20        46:10 220:11          139:7,8 143:11        221:16,19 235:15
     prn 49:17             program 18:6,15         149:5 150:13          238:11 239:17
     proactive 16:4          18:19 24:1 37:10      152:22 156:9          240:19 268:10
     probably 49:20          37:23 40:6 41:13      195:24 196:6,25       269:9 274:13
       99:19 125:25          70:22 72:12 85:18     197:2 217:14        provided 11:14
       150:3 151:24          86:4 89:5 92:2        268:5,9,10,13,18      24:21 31:11 34:19
       201:15 207:11         95:12 97:19 102:7   project 136:21          36:9 47:10 51:5
       210:8 211:16          104:12 107:8,13       137:2,9,18            56:11 81:22 86:18
     probation 112:7         107:14,22,23        projects 66:8,9         98:16 107:21
       168:15                108:22 109:3,15     promoting 122:7         126:6 145:18
     problem 58:9            109:22 110:1,8      promotion 233:15        159:16 160:4
       68:20 220:17          111:2 112:20        prompt 77:13            188:9 208:4 215:2
       223:2 231:21          113:4 115:13        prompted 61:11          217:4 239:25
       263:3                 116:5 136:20,23     proofreading            240:7,17,24 247:7
     problematic             137:6 140:7           184:4                 268:5 273:20
       148:17                152:15,23,23,24     properly 258:4        provider 22:15
     problems 259:12         152:25 153:18,20    proposal 117:6          85:7 97:9 99:17
     procedure 11:15         153:23 159:2,2,3      158:11                115:19 132:4
       281:7 285:5 286:5     159:11 160:11,18    protection 214:22       134:4 154:4 161:9
     procedures 33:10        161:6,11,12,14,22   protest 280:8           165:10 167:2
     proceeding 14:9         162:5 163:4         protocol 107:3          168:14 181:8,13
     process 46:4 48:20      175:12 176:12         194:16                181:19 196:16
       69:7 79:15 101:14     177:18 178:24                               205:20 275:21

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 109 of 126. PageID #: 243062


    [providers - quick]                                                          Page 36

     providers 66:6,25       137:1,5,12,15,17      159:2,7 163:2       204:25 212:17
       79:1 88:5,13          137:21 224:25         164:20 167:14       214:21 215:8
       97:13 98:3,23         226:24 269:2,16       168:5,11,17,18,21   220:15 222:4
       99:3,15 100:12        269:22 282:7          168:24 169:2        255:19 258:10
       101:10 102:2,4        283:14 285:10,18      171:1 173:4         279:23
       103:4 104:8,9         286:15,23 287:23      175:12,16,16,24    questioning 257:5
       106:13 109:16       pull 169:16 228:19      175:25 176:1,2,12   268:7 269:15
       112:6 116:19          228:24                177:10,18 178:4,9 questions 13:9
       133:16,21 138:9     pulled 228:13,17        178:15,18,24        15:11 118:1,2
       138:14 139:4,20       229:1 239:21          179:8,10 180:11     127:17 167:22
       139:25 140:6        pulling 196:7           180:22 184:10       194:8 197:15
       153:4,4,20 167:3    pulsipher 4:10          185:9,20 187:2,15   214:23 248:13
       186:6,14 194:22       11:6,6                189:1 191:5         257:8 260:6 267:4
       195:10 196:14       purdue 1:10,11,13       192:13              267:7,25 268:5
       197:7 226:7 247:2     241:4 243:6,8        qualified 282:8      273:6,13 276:4
       247:4,8 271:21      purpose 12:6           qualify 24:14       quick 6:8,10,13
     provides 30:9           19:22 166:23,24       108:21 109:1        20:16,18 22:24
       106:21 107:25         265:1                qualifying 109:10    23:19 25:1,2,13
       137:17 268:17       purposes 19:6,11       quality 69:17,24     26:7,16,20,25 27:2
       274:11                26:14 67:24 68:3     quarter 73:25        27:5,23 67:10
     providing 27:7          98:7 99:6,21,24       164:20,24 178:10    72:9 73:14 74:2
       79:16 156:10,11       155:18 157:10,16     quarterly 6:11       75:3,16,21 76:7,9
       176:15 179:17         159:17 162:12,16      47:17 72:20,23      77:2,10,13,19,25
       229:19,21,22          180:10,22,24          73:1,2,11 74:9      78:3 80:2,6 81:4
     psych 264:10            183:13,18 187:17      80:13 98:22 103:1   82:3 83:11 85:8
     psychiatric 31:10       187:23 204:8,12       103:6,12 114:1,2,6  85:15,20 86:3,10
       31:11 42:5            208:22 228:5,9        117:7 140:10,12     87:2,14 88:15,17
     psychiatrist 44:11      229:4                 140:24 141:4        88:20,24 89:16,22
       44:21 46:12 50:16   pursuant 46:21          149:14 151:17,19    90:2,8,13 91:1,5,8
       71:15 264:5,13,15     281:3,6               151:21 152:6,13     91:15,21 92:2,6,13
       265:6,7,12,17       put 33:7 115:20         161:21 162:9        92:21 93:8 112:15
       266:7                 119:11 163:20         163:2,11 164:10     120:3 151:14,17
     psychiatry 35:13        172:20                164:22 171:1        156:21,22 157:8
     psychologist 46:14    putting 124:22          173:4 179:14        158:9 159:17
       133:4 264:11          211:8                quarters 164:19      160:22 162:4,8
     psychology 18:1                 q             177:17              163:10 164:3
       30:25 39:17                                question 13:25       168:16 173:7,9
                           q2 6:11 162:9
     public 27:3 116:17                            14:4 25:18 44:14    183:11,24 184:10
                             163:11 164:20
       119:18 120:7,25                             45:14 88:12         184:22 188:7
                           qi 189:3
       121:16 123:1                                138:10,18 139:10    190:11 191:18,19
                           qrt 6:16 20:22
       125:8 136:19,23                             139:12 152:11       205:19
                             72:7,9,12 152:6,14
                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 110 of 126. PageID #: 243063


    [quicker - records]                                                            Page 37

     quicker 271:23        readily 148:4           201:4 207:12,17       267:19
       272:25                237:19                207:19 210:2        recognition 48:24
     quickly 72:4 146:6    reading 279:6,13        211:9 212:10        recognize 157:18
       273:4                 284:19                216:16 218:9,10       157:23 183:21
     quite 212:25          readings 253:22         218:18 223:24         204:13 209:10
       216:17 279:25       reads 31:20 159:7       227:14 231:23         227:23 228:11
     quota 252:13            160:8 163:10          232:2,4,11,15,17      229:3,12
              r              167:5,13 168:3        232:19,21,21        recognizing 35:15
                             178:2,14 185:1,11     233:2,5,10,24,25      121:9 123:22
     r 3:18 4:5
                             186:20 191:9          234:1,3,12,14         138:7 139:18
     rabinowitz 56:11
                             205:5                 235:10 237:3        recollection 15:14
       145:10,11 227:20
                           ready 14:14 116:1       239:16 243:21,22      178:18 187:12
       228:14 229:16
                           realized 146:7          243:23 244:4,8,8      209:13 211:7
       230:5
                             222:20                244:10 254:13         231:19
     races 272:16
                           realizing 53:13         257:7 265:16        recommend 117:5
     rack 29:24 30:2,8
                           really 13:20 37:2       268:6 269:14,17     recommendation
     radar 271:12
                             121:23 124:22       receipt 284:18          117:10,14,15,20
     ran 265:2
                             128:18 145:2        receive 18:11 36:1    recommendations
     range 35:11
                             146:4,9 147:2,17      38:17 47:15 59:7      42:17 45:8,16,19
       143:11
                             147:18 168:17         90:12 91:23 94:25     45:22 46:2,9
     ranged 14:20
                             222:21 270:21         97:10 98:4 100:13     50:25 51:3,8,10,13
     rate 92:25 93:3,17
                             271:11 276:13,23      108:16 135:10         51:16 115:15
       190:3 192:12
                             277:11 278:24         136:7,11,16           116:24
     rates 192:14,17
                           reason 57:9 211:8       137:10 144:23       recommending
       232:1 261:14
                             271:16 284:14         166:3 261:17          51:11
     reached 89:2,21
                             286:8 287:3           268:24              record 10:2 11:23
       91:2 188:8
                           reasons 62:18         received 17:25          12:3 13:11,16
     reaching 157:2
                             258:21                18:2 36:8 77:20       19:13 62:10,13
     reacts 218:25
                           reassurance 224:3       103:11 111:3          68:12 82:6 108:17
     read 16:15 31:18
                           recall 15:16,20         144:24 165:19         129:12,15 157:20
       159:13 160:12
                             21:19 22:2 23:4       185:2,12 188:6        172:19 198:13,16
       167:16 177:14
                             33:22 34:21 38:16     217:9                 204:16 210:15
       189:5 191:2,13
                             52:21 83:24         receives 110:9          228:20 246:18,21
       205:10 211:5
                             105:20 116:6,13       135:24 136:4          265:8 266:19,23
       215:16 216:11
                             117:13,21 119:3     receiving 97:24         267:1,17,20
       232:22,23 236:11
                             120:12,15 121:11      207:19 239:7          280:12 286:9
       236:14,15,17,22
                             123:14 125:6        recertification       recording 13:15
       236:25 237:6
                             126:8,11 127:5,8      96:9,10             records 32:5 50:14
       249:3,15 278:22
                             130:4,25 147:15     recess 62:12            52:1,6 76:18
       278:25 279:2,11
                             149:2 190:6,8,13      129:14 198:15         99:13 172:13
       279:18,18 285:5,6
                             199:1 200:11,22       246:20 266:25         228:14,18,20
       285:12 286:5,6,17
                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 111 of 126. PageID #: 243064


    [recovery - report]                                                             Page 38

     recovery 15:18         referrals 49:23       regulations 251:16    relative 283:2
       29:18 48:20,21         97:10 173:21        reimburse 91:14       released 128:24
       66:24 67:2 95:6        174:1 178:15        reimbursed 93:1       relevant 249:12
       95:15 96:15 97:13    referred 88:19        reimbursement           254:8
       97:23 98:3,12,14       107:6 137:8           84:13 92:17 93:17   remain 55:10
       98:16,23 99:2,7,14     167:14 186:10       reimburses 92:20        111:11
       99:16 100:12           213:17              reintroduce 11:22     remark 47:19
       101:2,5,9,20 102:2   referring 127:21      relapse 153:17        remarks 47:21,22
       102:5,11,12,15,21      138:20 148:7        relate 24:22 73:14      47:25
       103:4,13,19 104:2      182:21                76:10 108:5         remember 59:19
       104:10,13 105:2      reflect 19:24           191:17                59:22 117:20
       106:1,5,12,13,17       124:25              related 28:5 38:4       126:4,12,18,24
       107:15,21 109:25     reflected 87:9          58:5 59:7,17          127:2,11 149:7,9
       110:1 113:18         refresh 15:13           75:23 97:14,20        156:25 207:24
       114:15,17,20,25        178:17 209:13         98:17 102:15,20       209:22 210:4
       115:2,10,23 116:1      211:7                 105:6,9,14 109:8      217:24 234:2
       117:1 143:22         refreshes 187:12        112:16 136:9,13       235:12 246:5
       145:20 150:24,25     regarding 29:21         136:18 138:22         254:13
       152:22 153:2,3,9       30:9 34:8 35:21       139:15 143:5        reminder 68:7
       153:14,23 196:23       36:2 45:16,20         178:10,19 180:5     remotely 10:10
     rectify 48:5             47:9 48:9 122:20      197:1 198:9 200:9   renewal 40:16
     redirect 267:12          123:6,13 125:19       200:25 207:21       repeat 136:10
     reduce 143:15            130:12 165:17         214:24 216:10,12      220:15 222:4
     reduced 282:14           169:9 194:1           231:4 236:18,23       250:1
     reduction 179:9          207:20 215:10         237:1 238:16        repeated 153:15
     refer 30:18 132:3        217:10 239:8          247:17 249:8        rephrase 14:2
       186:4                  247:1,23 256:4        271:6               report 20:22 52:3
     reference 62:25          271:2 281:2,11      relates 1:9 59:11       65:17,21 73:25
       139:2 284:7 285:2    regards 15:22           77:9 78:3 149:1       74:7,8,9,10,14
       286:2                  48:14                 215:6,22 232:10       78:14 80:9,12,21
     referenced 151:12      region 147:8            236:15 254:9          80:23 81:15 82:25
       254:12 282:13,18     regions 147:20          269:22,24             84:3 85:23 87:12
       285:11 286:15        registered 46:13      relation 34:2           87:17,25 103:7
     references 165:18        134:21              relations 119:19        112:14,18 114:14
     referencing 22:6       regression 176:23       125:8 224:25          116:14 117:3
       22:19 23:8 24:5        177:1                 226:24                121:8 140:6,12,13
       250:16               regular 140:1         relationship 22:4       141:7 150:10,16
     referral 42:9          regularly 174:24        22:12 23:6 25:19      150:19,20 151:3,6
       88:16 166:17           210:8                 25:22 26:3,12         151:9,11 160:20
       168:13,14 182:20     regulates 234:21        135:4 225:17          160:21 168:1
                                                    258:23,25             170:15,21,22,24

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 112 of 126. PageID #: 243065


    [report - responsive]                                                            Page 39

       173:2,4 183:23         223:25 231:12,13    researched 115:4         27:5,23 34:5
       190:17 193:7           231:18 232:8,10       257:23 278:4           67:10 72:9 73:14
       264:24 265:2,12        232:11,25 263:15    reserve 18:4 96:4        74:2 75:3,16,22
       265:17 266:4,6       represent 10:11         120:23                 76:8,9 77:2,10,13
       275:15,22              11:25 57:16         resident 89:13           77:19,25 78:3
     reported 42:7            164:19                146:18                 80:3,7 81:4 82:3
       51:24 76:5 86:1      representative        residential 15:22        83:11 85:8,15,20
       99:7,8,21 100:6,7      113:20                45:24 106:18           86:4,10 87:3,15
       152:10 158:24        representatives         107:4 161:9            88:15,18,20,25
       169:24 170:3,5         83:21 244:23          271:25 272:2           89:16,22 90:2,8,14
       171:2,3,4,6,9,11     represented 26:23       275:8                  91:1,5,8,16,21
       171:19,21,24           235:22              residents 102:12         92:2,6,13,21 93:8
       173:15,15 174:22     representing          resignation 70:4         112:15 120:3
       176:4 186:21           176:10              resource 29:10,13        151:14,17 156:21
       193:10 264:19        represents 165:7        29:14,23 132:16        156:23 157:8
       275:23               request 6:18 84:13    resources 28:16          158:9 159:10,18
     reporter 5:18            92:16 111:14          29:11,22 58:10,14      160:23 162:5,9
       11:12 13:9 86:12       195:17 204:6,20       58:19 73:17 89:2       163:10 164:3
       86:15 117:15,17        205:23 225:25         89:9 113:12            168:16 173:7,9
       148:20 209:17,21       226:22 286:9,11       114:20 122:9           183:11,24 188:7
       252:4 262:4 285:7    requested 54:22         179:18 206:25          190:11 191:18,19
     reporter's 5:15          100:23 111:10       respect 26:10            205:19 229:4
       282:1                  194:1 281:1,6,10      44:15,16 49:1          273:13
     reporting 75:10        requesting 167:2        77:12 78:18 80:2     responses 25:13
       75:15 100:15           197:20                95:11 101:5 106:5    responsibilities
       116:14 120:12        requests 195:11         109:21 113:1,8         6:5 30:15 37:18
       155:18 156:6,7         226:23                117:22 120:13          42:2 46:20 54:11
       164:21 169:22        require 101:9           153:13 154:6           58:5 67:16,22
       170:2 189:7          required 31:21          178:25 260:18          72:1 80:2 101:4
       191:15 233:12          38:7 139:25           276:5                  106:5 140:18
       263:18,19 265:8        284:25              respected 203:4,7        145:15 251:24
       275:20               requirement 20:6      respective 58:16       responsibility
     reports 79:2 81:21       32:2 98:1 99:15     respond 25:7,10          73:15 79:8 142:17
       81:24 82:5,7,11      requirements 33:5     responded 75:9           146:20 186:13
       83:25 88:14 98:22      36:11 94:23         responders 128:17      responsible 37:24
       103:12 140:23          101:12                159:10 160:4,6         38:7 79:12 81:15
       141:5 148:13         res 58:14               175:19 179:16          103:5 109:23
       149:18,20,20         research 69:16,24     response 6:8,10,14       196:15,19 251:4
       150:1,14 151:18        89:18 115:5,7,8       20:16,18 22:25         274:22
       152:13,14 199:21       132:7 189:3           23:19 25:1,2,13      responsive 270:25
       199:25 200:7           247:20,23             26:7,16,21,25 27:3

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 113 of 126. PageID #: 243066


    [restate - says]                                                               Page 40

     restate 220:20          43:17,17 44:25        258:7                 286:5
     results 47:18           49:12 53:17,23      risks 215:11,19       run 96:2 264:24
       120:18,18,21          55:17 60:19 61:9      216:5,13 219:5        266:1,3
       121:6 122:6           62:21 63:17 69:16   rn 38:1               running 103:24
       161:20 164:15,18      72:13,21 74:25      rogers 209:23         rx 269:1,6
       164:24 167:6          75:6 83:4 84:10     role 27:7 42:2,5                s
       169:9 170:25          86:5 87:5 91:12       48:9,11 49:20
                                                                       s 284:15 286:8,8
       174:6 178:14          98:19 100:2 105:6     50:10,12 54:4
                                                                         287:3
     resume 6:3 19:4         109:4 111:8           57:25 58:3,4
                                                                       s.m. 2:11
       19:14,16 20:6         120:19 122:17         61:17 63:4 65:24
                                                                       safe 124:9 127:9
       30:21 31:2,3 37:9     128:8 129:10,25       67:17 70:9 72:16
                                                                         136:22 233:18
       41:23                 130:4,8 135:17,21     72:17 78:18 80:8
                                                                       safer 199:13
     retail 262:17           137:9,18 142:6        85:12 95:11
                                                                       safety 124:13
     retained 5:18           148:2 151:14          109:21 112:10,13
                                                                       salerno 2:5 10:15
     retention 82:7          152:15 154:11         113:1,16 131:18
                                                                         10:15 280:4
       228:20 239:4,11       160:1,6 170:3,22      134:14,15 150:9
                                                                       samhsa 133:20
     retired 70:2            171:4,7,19,22         154:6 167:8
                                                                       sami 45:8 47:7
       134:25 145:8,16       175:20,25 176:4       169:12 174:16
                                                                         48:8,11 49:7 52:8
       225:5 230:5           179:1,6,11 185:5      177:24 184:13
                                                                         52:16 54:15 58:7
     retiring 113:21         185:14 186:18         196:10,13,18
                                                                         60:4,6,12,13,23
     return 39:20            188:17 192:14,17      203:11,13,16
                                                                         130:17 147:6
     returned 284:18         193:4,10,23           225:7 244:12
                                                                         257:18
     returning 42:18         201:24 202:9,19       247:3,6 251:8,11
                                                                       san 4:11
     revenue 94:8            202:23 205:23         254:22 257:15
                                                                       sarah 115:24
     review 15:7 81:19       215:12 220:24         263:10,22,23
                                                                       sat 40:6
       83:25 84:22           224:15 227:11,16      264:7 272:23
                                                                       satisfaction 47:8
       101:12,14 149:18      229:7 230:5,17      roles 56:25 81:18
                                                                       save 82:3,4
       151:7 174:24          252:17 254:17         145:5
                                                                       saved 140:16
       197:23 229:18         256:24 257:11       roll 110:13 111:6
                                                                         240:9,13,13
       281:2,6 284:12        276:9               rolled 110:20,22
                                                                         272:25
       285:1 286:1         rights 47:13 69:18      111:11
                                                                       saw 52:25 53:3
     reviewed 32:8           69:23 142:3,14      room 13:11,15
                                                                         159:8 161:13,20
       105:11 149:10         214:22,24             50:15 177:6 267:5
                                                                         192:7,8,10 193:7
       150:1 197:16        ring 208:14           rooms 31:13
                                                                         233:3 234:4
     reviewing 157:20      rise 205:9 271:5      root 118:4
                                                                         243:25 246:1
     reviews 197:5,10      risk 33:11,13 63:9    rotate 73:7
                                                                         252:3 253:21
       198:1,5               120:17 122:5        roughly 119:4
                                                                         270:1 277:11
     rice 2:4 10:13,16       216:19,24 217:10      160:24 236:5
                                                                       saying 168:11
     right 17:19 23:22       217:17 218:6,11     rpr 1:25
                                                                         206:9 244:6
       31:5 32:16 38:9       218:16,21 219:2     rules 11:15 251:15
                                                                       says 111:21
       38:25 39:6 41:15      219:25 257:24         281:3,7 285:5
                                                                         127:24 164:15
                                    Veritext Legal Solutions
     www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 114 of 126. PageID #: 243067


    [says - set]                                                                   Page 41

       170:13 174:11       seconds 280:3           121:19 160:19,19    served 49:6 58:12
       176:22              section 151:4           160:22 162:22         131:20
     schedule 72:19          249:4,11,15           175:16 185:3,9,19   service 100:23,24
       156:5 166:6,10      sections 249:16         186:3 188:4 190:5     100:24 119:11
       167:21 168:1        security 74:16          194:21 199:9,19       138:13 139:15,20
       169:21 173:12         88:7                  199:24 200:7,20       140:6 181:14
       181:19,22           sedatives 171:15        203:20,25 205:8       230:20 272:24
     scheduled 74:18       see 31:24 37:8          206:12,12,18        services 22:17,20
       132:9 167:1           46:5 61:18 83:12      207:3 209:7 216:2     22:22 23:1,12,17
       185:20 272:3          88:9 90:19 111:17     218:13 231:13         23:20,24 24:3,21
     schedules 166:2         111:25 125:18,22      232:5,25 233:20       26:6 27:6 30:13
     scheduling 89:7         140:23,25 141:23      234:12 236:13         32:10 33:4 37:5
       196:20                149:16 162:2        selecting 247:3         45:24 54:2,12
     scholer 4:5             165:21 167:6        self 29:19 51:24        55:21 56:13 57:6
     school 39:13,16,20      169:9 179:18          52:3 76:5 78:14       57:7,20 58:17
       41:19 66:23           184:11 185:23         99:8,21 100:6,7       60:4 66:4 78:9
       115:10,23 116:1,2     186:22 187:10         168:1,14 169:24       86:22,24 88:10
       116:8,16,17,18        188:22 189:25         170:15,21 258:3       91:12 94:21 95:5
       117:1 121:21,22       190:22 192:3          258:20                95:17 97:1,23
       122:1 227:1           199:20 201:16       sell 237:13             106:19 110:2,3,5
       268:23 269:3,4,7      205:3 206:21        semiannually            113:13 118:2,3
       274:24                211:1 220:22          140:11                119:23 122:17
     schools 115:1,3         226:25 227:23       seminar 205:1           131:23 132:3
       120:7,9,11,13         229:15 267:14       send 157:1              134:4 136:5,17,18
       121:12,16,19          271:5,17            sense 124:13 146:8      138:17,21,22
       122:7 225:25        seeing 89:18            201:1 203:10          139:1,3 142:17,25
       230:17,21 269:2       120:13 121:25       sent 189:11             143:21 153:18
     science 18:3 126:7      200:11 201:4        sentence 159:7          154:9,14,17,21
     scope 41:7 44:9         205:6,14 206:1,9      160:8 191:9           155:18 166:19
     screen 52:4 275:18      207:6 209:14        sentences 205:12        167:1 173:21,23
     script 194:5            217:5,6 218:18      separate 55:10,11       176:16 186:5
     scripts 194:13,18       232:11 234:1          55:12 87:12,17        198:8 207:1
     seal 283:6 285:15       237:3 243:21          98:9,12 104:21        230:11 247:7
       286:21                244:4 246:5           154:10,11 180:1       268:24 270:5
     second 31:2,15,20       254:14                182:5 249:21          271:22 273:2,3
       60:25 121:20        seek 30:13 39:14        250:4,22 262:16     session 14:21
       128:3 159:7 163:3     263:2               september 6:11        sessions 14:22
       163:8 164:1,19,23   seeking 165:25          162:10 163:17         28:10
       165:16 178:10         207:8                 171:1 283:17        set 33:4,6 73:11
       184:7,9,24 222:2    seen 74:1,4,7,17      series 13:9 89:3,11     82:10,14 92:25
                             74:17 120:8           167:22                93:3 105:22

                                    Veritext Legal Solutions
     www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 115 of 126. PageID #: 243068


    [set - speak]                                                                  Page 42

       106:15 184:23       signed 285:13            177:25 178:2        solve 58:9
       225:15 270:10         286:18                 227:19 228:2        somebody 140:13
       283:6               significant 177:11     slides 21:16,20,25      194:7
     setting 28:22 91:8      199:15                 118:16,21 121:10    somewhat 253:14
       107:7               signing 284:19           122:21 125:14       son 89:14
     seven 170:5 171:3     signs 196:21             126:21 151:25       sonnhalter 225:6
     severe 231:10         similar 37:15,25         177:21 224:17,23    soon 238:24 266:5
     severity 231:21         46:24 89:23            224:24 226:10,11      270:1,3 277:9
     shake 252:3             107:17 120:1,1         226:12,19,19        sooner 155:23
     shaking 209:12          122:14 160:19        slightly 161:12         186:3
       256:20                179:4,4 259:10       small 142:19          sorry 30:2,3 34:6
     share 73:19           similarly 83:12          146:8 161:15          50:17 70:5 86:13
     shared 82:1 141:2     simpler 156:6            211:16 249:4          86:14 108:11
     sheet 162:16 163:8    simply 16:2 19:24      smalley 79:18,19        148:22 151:21
       184:10 284:13         109:15 261:10          132:18                178:13 200:15
       286:7,10,18 287:1   sincerely 284:21       smith 16:8,12 17:4      207:15 209:19,20
     sheets 164:14         sir 284:10               64:22 65:7,16,22      213:10 220:15
     sheriff 209:23        sit 70:12 111:22         66:11 69:4 71:3       222:1 232:19
     sheriff's 112:8         112:4,7 113:3,5,19     71:15 125:10          250:1,15 252:5,6
     shift 50:21             123:21 128:12          132:24 175:4          252:10 253:4
     shifting 193:3          173:12 278:14,14       201:16,20 202:5       262:6 265:19
     short 198:12          site 161:10 173:10       202:22 203:4,11     sort 32:23 37:15
       246:16              sitting 223:11           203:12 225:1          45:3 50:10 93:15
     show 32:8 123:2         248:24                 256:1,9               93:15 130:16
       161:24 204:10       situation 48:3,6       snacks 17:14            151:18 166:14
       208:25                76:4 146:10 147:3    sober 118:7             196:2 205:25
     showed 122:25           275:15 277:1         sobriety 153:11       sorts 202:17
       166:7 177:17        six 12:21 26:19        social 18:2 28:9,19   source 27:21
     showing 168:23          27:2 143:19 171:4      41:2 46:13 51:14      88:16 91:19 93:25
     shown 16:19             175:24 176:1           54:2,11,14 55:21      94:8,22 104:1
       284:16              skill 31:12              57:20 60:4 74:15      121:3 159:24
     shows 175:23          skills 35:6,15,18        88:7 105:24           168:13 273:14
     shred 228:24            38:3                 socioeconomic         sources 94:8 105:3
     sic 259:18            skim 249:9               272:18              south 2:6
     sided 163:8           skimmed 249:7          solely 49:4 51:10     southern 83:12
     sides 188:18            253:24 254:2,8,11      63:13,13 92:23        147:17
     sign 124:21 127:1     skip 95:8                104:19 143:2        space 96:5
       223:9               slide 7:1 164:6          144:5 161:4 259:4   speak 28:8 47:25
     signature 281:5         165:1 174:5,10,17    solutions 4:3           119:7 123:20
       283:13 284:14         174:20 175:23          284:1 287:1           161:9 189:12
                             176:18,20 177:3                              209:17 213:20

                                     Veritext Legal Solutions
     www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 116 of 126. PageID #: 243069


    [speak - statement]                                                             Page 43

       253:21 276:22         277:10               specified 94:17          36:24 37:2 38:9
     speaker 226:1,23      specifically 22:6        282:21                 38:14,19 46:22
       227:9                 22:10,19 26:17       spend 110:21             101:11 106:1
     speaker's 118:18        27:12 30:8 34:21     spent 85:1 92:6        standpoint 233:12
       118:23 119:21         45:12 47:25 48:13      144:9 145:1            233:12
       126:6,9 224:16,19     50:4,14 57:25          247:16               stapled 183:19
       225:18,20 226:8       58:3,4 66:9 77:3,4   spike 277:11           start 22:8,21 43:21
       226:18                77:9 80:8 82:8       spoke 119:6              100:16 102:23
     speaking 25:21          88:6,22 93:13,24       160:10 189:17          116:5 163:25
       81:7 227:5            94:7 97:5 98:6         190:3 230:7 257:6      205:14 207:6
     specialist 37:10,24     99:14 100:13,25      spoken 118:22            212:20 217:24
     specialty 41:5          102:18 105:20          230:12 238:7           279:6,13
       67:12 97:4 107:24     107:23 111:10,13     spreadsheet 84:9       started 13:1 66:14
       112:6                 119:23 120:15          86:17                  72:12 81:1 99:6
     specific 24:6 26:6      122:25 123:3         ss 282:3                 133:11 135:1
       27:17 38:17 48:2      124:17 125:6,14      staff 21:1 47:19,20      165:14 206:1,6
       50:21 52:21,22        126:20 127:2           48:3,5 50:16 54:6      212:14 230:10
       60:1 75:25 82:21      131:25 135:12          54:7,13,18 61:14       248:21 257:17
       85:13 88:11,12        136:9 140:3 141:3      73:13 106:20           265:22 266:8
       92:9,14 93:4          153:7 172:24           113:21 133:22          277:19,25 278:9
       94:22 99:19 108:9     173:19 179:12          142:20 143:7         starting 257:18
       111:4 113:7,9,13      180:2 181:6            167:21 168:18        state 12:2 18:1,11
       117:14 118:25         192:24 193:21          181:17,23 182:2,4      18:16,17 19:1
       121:3 127:3           194:15 197:14,17       182:10,13,15           20:5,10 27:14
       130:24 131:4,10       197:20 199:20,22       183:3 194:13           39:17 40:8 42:5
       136:15 139:3,9        200:12,22 206:21       195:14,21 196:15       57:11 58:11 59:11
       140:1 146:23          212:10 216:16          212:8 224:25           61:22 82:15 88:25
       148:25 149:2          227:7 230:21,24        225:3 226:1            89:4,19 90:5
       178:21 189:19         232:15 236:5           255:25                 94:19,25 108:3
       197:3 200:12,24       238:22 243:11        staffed 102:6            110:8,12 131:2
       201:7 213:6           253:1,22 255:17        182:13                 146:7 198:2
       217:24 226:24         257:2 261:13         staffer 194:6            212:22 217:19,23
       228:22 231:3,23       268:11 269:20        staffs 54:24             220:12 222:13
       232:2 233:25          270:21 273:17        stakeholders 67:6        231:11 251:3
       234:6 235:2,6         275:13 276:6           150:15 175:16,18       277:14 282:2,7
       237:6 244:5,7       specifics 23:4           225:12                 283:15 285:10
       247:13 255:3,8        73:23 126:11         stand 57:10              286:15
       261:12 265:18,23      149:7 195:20         standard 118:16        stated 212:19
       265:25 268:6,18       233:5 253:5,6        standards 31:22          216:17 252:19
       269:10,24 274:14      254:15                 33:7,10,15,19        statement 14:12
       274:20 275:6                                 34:10 36:2,8,10,20     285:13,14 286:19

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 117 of 126. PageID #: 243070


    [statement - summit]                                                            Page 44

       286:19              streamline 271:21     submission 158:7       substances 23:25
     states 1:1 42:19        273:2                 158:8                  24:2,9,13,16 25:3
       89:4 122:22         street 1:21 2:18      submissions 51:1         25:9,14 64:5
       213:23 234:22         3:11 4:6,11 12:13   submit 20:6 42:8         76:14 99:11
       251:10,21             43:15                 74:6 81:15 84:8        102:19,24 139:23
     statewide 101:11      strike 9:2 20:8         84:12,18 103:5         143:24 144:6
     statistic 177:22        24:18 28:3 32:12      139:25 158:5           169:22 174:1
       178:3                 33:16 36:6 41:17    submits 84:14            178:11,20 179:17
     statistically           53:25 63:3 75:14    submitted 74:11          181:6,16 186:20
       122:22                76:23 77:25           79:3 81:20 84:6        193:2,10 199:5,9
     statistics 87:9         102:12 134:2          98:22 100:11,19        199:13,22 200:1
       122:25 123:5          145:22 152:20         100:21 101:1           200:19 221:23
       158:24 167:12         170:18 173:2          103:2 140:16           222:6,11,14
     stats 158:23            176:10 184:16         158:22 173:16          231:24 232:9
     status 42:23 54:19      195:12 203:11       submitting 100:8         252:1 258:4 259:9
       144:13,17             207:18 209:22       suboxone 108:22          268:14
     statuses 272:18         214:1,16 220:9      subscribed 285:10      success 73:19
     stayed 53:21            239:22 244:21         286:14 287:21          161:18 179:4
     stays 182:3             248:5 270:25        substance 16:12          190:3
     stenotypy 282:14      string 187:24           24:6 25:10 28:12     successes 160:19
     step 51:9 166:20        188:3 189:22          28:14 35:22,22       sued 235:20
       194:14,14 201:15    structured 161:6        39:4,18 41:4,5,8     suffering 275:10
     stephen 1:25          student 116:10          41:24 42:6,7,11      suggestion 17:15
       282:6 283:14        students 28:25          43:9 44:6,15         suite 2:18 4:16
     stepping 39:21          29:9                  48:25 50:11,13         12:13 284:2
     steward 132:15        studied 257:14          52:22 53:1,8,15      summarize 42:1
     stimulant 191:10      studies 60:11,15        57:22,24 58:1,5        149:11
       204:21 207:4          131:8                 63:2,6,10,14,16,20   summary 103:10
     stimulants 198:25     style 106:14            63:23 64:2 74:20       156:22
     stock 266:15          sub 165:16 174:11       75:11,17 76:19,25    summer 119:9
     stone 39:21           subcommittee            77:4 78:12 96:12       125:24 205:21
     stop 280:8              111:23 112:5,11       97:14,20 99:2,3,22     206:4 270:12
     stopped 100:17          112:13 113:15         113:9 138:2,15,23    summit 1:13 2:3
       280:4,5               116:24 203:15         139:21 179:10          6:3,6,8,9,10,12,13
     stories 73:20         subcommittees           193:4 199:14           6:14,16,19 7:2
       232:4                 225:14                205:7,15 206:13        10:13,16 12:8,24
     story 233:9 275:8     subgroup 114:25         220:2 232:2 250:6      19:5 20:19 27:3
     straight 18:5           213:18                257:7,25 258:7,13      28:16 43:3,14
     strategize 81:12      subgroups 114:19        258:18,21,24           55:2,19,25 56:12
     stream 27:18          subject 15:16 35:4      259:7,17,18 265:4      65:20 67:10,22
                             131:1 257:8,23        266:2                  68:6 72:8 80:3

                                    Veritext Legal Solutions
     www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 118 of 126. PageID #: 243071


    [summit - talking]                                                             Page 45

      85:16 86:7 89:6       271:4,4,8,13,13        186:14 202:13       take 16:2 18:24
      90:11,12 91:4,20      272:8 273:19,23        212:12 213:1          31:1 50:19 62:7
      94:4 96:1 102:10      274:10,13 276:6,9      222:3,5 244:2         74:8 105:12 108:9
      110:8 111:12,21       276:15,17,24           250:2 267:15          115:19 127:15
      112:3,4,8 114:3,7     277:17 278:1,17        273:25 274:9          129:11 141:11
      114:12,21 115:11    sunday 272:6           survey 34:13            153:21 157:17
      116:12 117:12       superintendents          120:17,20,22          161:2,8 172:5
      118:9 119:23          119:10 120:5           121:2,5 122:6         181:17 188:2
      120:24,24 122:10      122:4                surveyors 36:12         198:11 246:15
      122:12 123:1,3      superior 284:1         surveys 32:8 33:24      267:14,15
      130:3 131:12,13     supervise 58:7           34:1 36:16 47:8     taken 1:20 13:5
      131:16,18 135:4,8   supervised 54:13         47:11,16 124:24       33:12 62:12
      135:11 136:4,12     supervision 41:2         127:6 224:9           129:14 198:15
      136:19,22,23,25       71:9                 survives 190:4          214:17 215:1
      137:4,15,17,21      supervisor 48:5        suspected 174:11        219:14 246:20
      144:14,18 145:25      66:3,5 144:24          200:6                 266:25 267:19
      146:3,5,6,8,13,18     151:6 197:9 225:5    sustained 247:12        282:20
      146:22,25 149:1     supervisors 69:3       swear 11:12           takes 167:22
      149:12 152:25       supply 237:21          sweet 4:16 11:8,8     talk 15:23 16:5,11
      153:7 157:9,9,21    support 18:10          switch 199:4            16:25 17:4,7,16
      159:3,15 160:16       29:18 38:23,24       switching 192:2,4       22:9 31:16 65:11
      160:19 162:8,11       39:12 95:4,4,9,12    sworn 11:16 14:11       83:10 116:2
      162:21 163:10         96:1,12,18,20,22       282:10 285:10,13      118:20 119:21
      181:8 183:10,12       97:19,23 98:7,8,11     286:14,18 287:21      120:1,16 123:16
      183:20 184:1          98:16 100:20,25      system 25:9 33:3,4      124:2 125:2,13
      187:16,25 193:18      110:2 145:21           49:22 52:5 76:1       126:16 147:7
      197:7,24 199:19       152:23,24,25           82:20 88:4,9,10       152:14 158:9
      200:2 203:13          153:8 166:14,15        107:20 109:19         166:14 188:13
      204:7,17,21 205:6     166:20 238:12          142:14 154:5          203:1 222:21
      205:16 224:20       supporter 96:15          161:4 169:16,17       235:3,5 260:15
      225:8,14,21         supporters 67:2          172:18,20 173:1     talked 120:2,7,9
      226:13 228:4          95:15 96:2,24          176:17 206:24         121:18,23 122:10
      230:10,19 231:6       97:3 150:24 189:2      263:16,19 264:5,6     122:24 124:3,6,18
      238:5 239:10        supports 107:21          264:21 270:8          124:19 126:12
      245:7,13 246:8,12     109:25 153:2         systems 270:4           211:22 233:5
      247:11 248:1,7      suppose 202:1                    t             256:2,3 273:23
      249:10 250:5,24     sure 37:5 51:4                               talking 45:11
                                                 table 116:19
      251:5 255:6,12,21     62:4 68:9 84:4                               127:5,8 129:20
                                                 tailgates 118:7
      262:9,13,17 263:4     130:25 136:11                                181:15 211:20
                                                 tailor 227:3
      269:11,17,19,21       138:19 139:5                                 227:4 265:19
                                                 tailored 227:5
      269:24 270:5,20       172:9 180:9

                                    Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 119 of 126. PageID #: 243072


    [tampering - time]                                                              Page 46

     tampering 261:4          156:23 159:18         278:10                162:3 223:6,10,12
     target 227:7             160:10 162:9        testified 14:8          224:9 231:14
     targeted 268:15          163:10 164:4          130:6 199:3           232:1,25 268:2
       268:20 275:4           168:17 173:8          273:12 274:6,18     think 29:20 43:5
     task 112:4,19            183:11,24 191:21    testify 282:10          43:13 59:15 83:19
       113:16 114:3,7,12      196:20 205:19       testimony 16:13         91:22 104:23
       115:16 116:12,25     teams 6:8 20:17,18      130:20 165:5          130:23 135:1
       117:7,9,23 118:10      20:21 22:25 26:16     248:25 252:15         141:14 143:6,18
       118:17,19,24           26:19,21,25 27:6      253:13 254:3,6,10     155:11,25 160:23
       130:3 149:14,19        42:15 54:21 67:10     266:12 274:1          172:2 175:13
       149:21 150:2,11        73:18 74:2 82:3       276:11,16,21          192:14 199:8,10
       184:1 200:17           85:8,15,20 88:18      282:13,17 285:6,7     212:17 213:17
       203:13 204:1           88:25 89:16,23        286:6,9,12            218:23 219:12
       208:5 210:1,10         90:2,14 91:1,5,21   teva 3:2,14 10:20       220:5 221:12,21
       211:11 212:6           112:15 120:3          11:5,25 243:13,15     223:16,17,20
       224:20 225:9,12        156:21 157:8          244:19,24,24          224:7,10 225:10
       225:15,19,22,24        158:9 160:23          268:4 269:15          231:15,24 234:19
       226:3,5,11,13          163:25 173:9        texas 115:6             235:3 243:3 246:2
       235:10                 175:17 186:1        text 176:19             246:17 248:25
     tasks 67:16              188:7 190:11        texted 17:8             252:19 257:4,10
     taught 218:9             191:18,19 197:17    thank 12:14 62:15       258:17 259:2,13
     taxpayer 273:24        technical 81:5          64:16 68:17 86:15   thinking 219:23
     taxpayers 94:5           96:7 111:18           117:17 128:18       third 95:9 111:16
       135:20               technician 31:4,8       129:17 169:6          127:22 132:21
     team 6:10,14             31:19 38:1            198:18 246:23         185:11 188:16
       23:19 25:1,3,13      teleconference          248:11 249:1,2      thirty 284:18
       26:8 27:3,5,8,23       2:16 3:16             260:6,8 266:22      thought 117:11
       46:8,11 47:10        telephone 128:15        267:3,24 273:5        130:15 161:18
       66:2 69:5 70:13      television 234:9,11     276:2,4 280:9,11      239:20 254:8
       70:16 71:4 72:9      tell 16:9 17:11       thanks 56:19          three 20:25 29:3
       72:14 73:15 75:3       19:18 37:17 54:10     60:17 62:9 68:22      43:21 65:1 95:14
       75:16,22 76:8,9        108:18 110:10         100:4 156:19          181:18 182:2
       77:2,13,19,25 78:3     112:2                 190:2 209:21          184:23
       80:3,7 81:4 82:2     telling 17:10           229:9               tie 220:7
       83:11,15 86:10       template 119:19       therapy 133:17        time 10:4,9 13:25
       87:3,15 88:15,20       189:10              thing 93:23 161:2       14:20,24 18:12
       88:21,22 90:8        tend 240:24             246:25                20:3 22:1,15 26:4
       91:9,16 92:2,7,13    term 213:3,14         things 31:17 44:2       32:4 34:10,17
       92:21 93:8 132:17      222:21 223:16         106:25 118:1,7        35:24 36:22 37:8
       141:17 144:22        terms 147:7             143:24 144:6          37:23 39:8 41:18
       145:1 151:14,17        212:24 213:2          153:11 156:6          41:19,20 42:24

                                     Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 120 of 126. PageID #: 243073


    [time - treatment]                                                              Page 47

       43:1,2,5,5,20 44:7      213:15 215:15      total 26:20 104:14    trainers 95:20
       44:20 45:2 46:7         220:5 258:3          111:1 168:3         training 6:18
       46:15 47:4,6,11         270:17               175:23 176:3          35:25 36:5,7
       48:7 49:9 51:7,7     tips 17:12            touched 223:5           38:18 56:8 59:7
       51:14 53:13 54:15    tisch 225:4 226:23      224:14                61:22 70:24 85:13
       55:3,15 57:1,5          227:15             tour 101:14             85:14 95:16,18,22
       58:8,22 59:2,5       tit 65:25             town 119:6,16           95:23,24 130:23
       60:22 61:17 62:3     title 142:23 163:9      122:14                133:22,22 134:10
       64:23,24 65:1,21        202:11,14          township 83:12,17       134:23 194:12,22
       69:3,7 70:14 71:2    titled 6:7,10,13,18     83:22 85:15,19        204:5,19 217:7
       73:13,20 75:5           6:20 7:1 157:7       90:16 158:25          230:14
       78:25 79:7 81:19        162:8 177:21         159:8,17 160:16     trainings 67:3,5,8
       82:8 83:6 84:1,5        183:10 204:5         161:6 179:3           95:13,14 96:9,10
       84:12,18,22 85:1        208:18 228:2       tox 52:4 275:18,18      131:1,2 212:22
       85:22 89:7 92:23     titles 90:9 232:17    track 77:5,25 78:2    transcribed
       101:21 105:25        tobacco 222:16          78:8 82:23 83:3       282:16 285:7
       115:18 130:16        today 13:9 14:15        84:25 86:8,20       transcript 5:1
       132:9,15,23 143:9       123:21 151:12        87:2 88:21 97:19      13:23 281:3,6,9,11
       144:9 145:1 152:7       223:12 248:12        102:19 109:11         284:11,12 285:5
       153:11 178:5            254:4 257:5          139:19 152:19         285:12 286:5,11
       180:15,19 190:9         262:19 267:25        153:19 165:23         286:17
       193:15 195:7            271:14,18 278:15     166:18 168:19       transcription
       201:17 206:1,13      tolbert 56:24 57:1      179:8 195:23          282:17
       211:12 212:4,23      told 117:9 191:23       261:14,19           transcripts 16:16
       216:17 218:2            272:5 275:7        trackable 179:13      transition 113:17
       223:2 228:23         toledo 43:22          tracked 74:5            155:20,21
       230:7,12 233:4       top 23:3 25:16          86:16 87:21         transitioned 155:5
       234:4,12 235:2          107:5 154:19         102:25 105:17,18      264:22
       260:7 265:10,11         159:6 160:25       tracking 75:17        transitioning 62:3
       265:15,18 269:20        164:16 167:5,13      98:25 99:6,11         79:15
       270:11,12 272:5         174:6 186:20,24      102:23 140:4        transport 161:8
       275:24 279:16           187:7 189:25         161:4 179:12        travel 65:4
       282:20                  193:9 207:23         180:10,16 260:18    treat 45:17 58:15
     timed 280:6               208:15 216:15        260:20 261:1,8,12     138:9 139:4
     times 29:1 47:18          219:7 232:15         261:24              treated 75:4
       50:3,5,7 54:6 55:5   topic 34:4,5          tracks 78:11 87:20    treating 44:11,21
       58:8 59:15 65:3         147:18               103:3 193:19          63:25
       84:4,24 118:22       topics 15:19,21       train 85:5            treatment 15:22
       128:21 131:11           35:11 37:2 38:4    trained 144:21          24:4,15 29:17,18
       132:2 143:23            211:19               150:24 194:6          32:9 34:20 37:6
       147:2 163:25                                                       42:12,15 45:9,11

                                     Veritext Legal Solutions
     www.veritext.com                                                          888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 121 of 126. PageID #: 243074


    [treatment - unit]                                                             Page 48

       45:20 46:8,11        trumbull 43:8                  u             134:25 135:3,6
       47:9 48:18 49:3,5      55:4                u.s. 115:5 123:6       145:15,17 148:9
       51:9 52:11 54:21     trusted 184:19        uh 37:11 62:8          148:12 155:3
       58:24 74:4 76:16     truth 282:11,11,12      74:23,23 80:4        156:15 160:15
       77:14 86:2,9,21,24   try 48:5 77:23          88:1 100:3 111:19    161:10 165:6
       87:1,4,8,15,17         263:1 272:24          117:18 127:14,20     169:18 170:23
       88:13 99:17            277:17,24 278:8       127:20 129:22        171:25 174:19
       100:14,16,18         trying 16:3 87:19       142:9 152:16         177:16 178:8,24
       106:18 107:13,23       210:12 271:21,24      156:14,16 163:13     183:4 185:7
       108:15,16,19,24      tucker 4:15 11:8        168:6 169:7 171:5    192:19 193:13
       108:24 109:4         tuckerellis.com         176:21 177:23        197:12 199:4,6,17
       110:3,5 133:18         4:18                  186:19 188:21        199:23,25 212:12
       138:20,21 139:21     turning 71:24           199:2 205:24         212:14 213:3,13
       153:4 154:3            113:4 167:4           228:10 273:9         213:25 214:11,13
       160:11,22 161:16     tv 233:17             ultimate 27:20         216:18,24 217:1
       161:17 164:15,18     twelfth 3:11            44:22                230:6 234:20
       164:24 165:2,8,18    two 14:21,25 15:6     ultimately 23:15       235:18,21,24
       165:19,25 166:4        16:2 17:5,6 21:1      39:19,25 44:11       236:1,7 237:8,10
       168:14 177:13          21:13 24:16 26:15     49:21 168:19         238:1,4 249:20
       178:4 185:2,12,19      27:6 31:4 40:14       275:18               250:3,11,18,20
       190:4,12 196:14        43:21 54:15 59:15   undergraduate          251:11,12 252:20
       196:16 197:6           61:24 69:12 96:2      39:16 217:13         252:22 253:11,16
       205:20 207:8           98:3 104:8,9        underlying 76:20       257:22 261:16
       219:10 226:7           105:24 107:12       underneath             262:15 264:9
       247:1,4,8 270:18       113:24 114:18         111:20 167:11        266:9 274:3
       271:25 272:2           142:10 158:3,14       205:5               understood 14:5
       275:21,21              164:13,22 167:12    understand 13:12       98:15 171:18
     trend 206:9              171:19,21,24          13:17 14:1 25:21     249:5
       277:25 278:9           174:9,11 177:17       87:19,24 148:6      undertaken
     trends 120:8,12          177:21 183:19         167:18 168:7         277:16,23 278:8
       121:12 205:7,15        186:6 195:9           185:16 220:19       underway 276:18
       206:13,17 251:5        205:12 239:25         277:17 278:9         277:4
       255:7 277:18           240:1               understanding         unfortunately
     trial 57:10            type 34:24 53:1         22:12 23:14 26:2     163:6 275:9
     tricep 109:19            83:22 96:11           32:11,18,25 33:13   uniformly 90:8
     tried 143:20           types 24:13 45:20       34:11 36:14 55:15   uninsured 58:13
       168:17                 46:10 199:18          56:10 72:6 76:8      58:16
     triggered 220:2          231:19 240:6          83:1 85:11 86:6     unit 31:14 35:19
     true 44:13 60:7        typically 73:10         93:14 100:1 109:6    37:23 46:12,13,13
       159:23 282:16          141:6 150:4           109:18 121:7         50:6,21 51:12,14
                              191:11                129:7,24 133:12      54:8,21 93:6,7,13

                                     Veritext Legal Solutions
     www.veritext.com                                                         888-391-3376
Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 122 of 126. PageID #: 243075


    [unit - wade]                                                                  Page 49

       93:18                  63:23 64:5,8,10                v            182:24 183:6
     united 1:1 122:22        76:12 83:25 94:11    v 1:10,11,13 284:6     192:22 194:2,9
       213:23 234:22          94:17 96:12,23         285:3 286:3          201:2 253:2
       251:10,20              97:14 98:2,6,17,19   vacancies 69:8,11      273:24
     units 31:10,11           100:2,7 108:8          69:12,21 144:2     vice 258:19 259:8
       35:19 38:2 50:13       118:3 123:6,7        vacancy 142:1        video 8:1
     university 18:1,4        126:21 138:2,10      vacant 69:14,18      videographer 4:21
       28:22,23 39:17         138:17,23 139:9        69:19 78:23          10:1,25 11:11
       118:6 120:23           139:21 143:10,23     vaguely 233:24         13:14,20 62:10,13
       126:1                  170:3,5 171:3,3,4    valid 160:5 221:10     129:12,15 198:13
     unknown 171:11           171:6,21 182:1         231:7                198:16 246:18,21
     unrestorable             185:3 191:24         vandetta 4:21          266:23 267:1,17
       57:10                  192:1,16 193:3       varied 14:20           267:20 280:12
     unused 110:23            194:6 199:14,16      variety 144:22       videotaped 1:16
       111:6                  201:8 205:7,9,15     various 42:20        views 235:16
     unusual 275:20           206:13 207:5,9         126:22 143:11      vince 208:1
     update 64:18             212:1 215:11,19        153:2 164:3        virginia 2:18
       73:13 106:22           215:21 216:4           196:21 225:13        188:6 231:16
       113:11 114:4           227:8 258:8,13,18      231:13             virtually 279:4
       195:9                  258:22 259:17,17     vary 36:23 93:9      visit 77:13 78:3
     updated 19:21,25         265:4,7 266:2,6      vast 144:8 226:7       87:3
       20:6 120:20            269:10,23 271:6      venues 225:25        visited 75:3 86:10
       194:24 195:5           278:17               verbally 13:22         87:14 88:14
     updates 42:23,23       useful 89:6              190:17,18            177:12
       47:17 54:19          user 183:5             verify 99:12         visits 25:11 74:24
       150:23 195:8         users 102:14,20          170:22 184:17        76:8,9,11 84:10
     upper 54:16              193:2 199:5 231:6    veritext 284:1,7       177:10
     upward 277:19,25       uses 259:18              287:1              vit 224:8
       278:9                usually 114:2          veritext.com.        vital 124:21 127:1
     usa 3:3,15               200:1                  284:17               223:9
     use 18:13 21:16,24     utilization 20:20      versa 258:19         vitals 31:14
       28:13,14 29:5        utilize 27:25 88:5       259:8              vivitrol 108:22
       33:19 35:22,22         134:14 175:7         version 19:15          109:10
       39:18 41:5,8           212:9 264:6            64:11              volunteer 230:11
       42:11 44:6,15,17     utilized 119:20        versus 24:23 35:19   volunteers 73:9
       45:16 48:25 50:11      126:22 162:3           77:7,16 78:4,9              w
       51:19,19,22,24         166:13 264:5           106:1 109:13       wacker 3:18
       52:12,17,23 53:1,8   utilizes 27:22           123:6 139:22       wade 56:13 66:3
       53:15,16 57:22,24    utilizing 86:24          143:16 148:8         69:4 71:3,5 80:23
       58:1,6 59:8,18                                178:11 179:23        132:15 144:24
       63:2,6,10,14,17,20                            180:6,14,17,18
                                      Veritext Legal Solutions
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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 123 of 126. PageID #: 243076


    [wait - yeah]                                                               Page 50

     wait 106:9            271:23                260:5,8 262:5       worker 41:2 46:13
     waived 284:19        weekly 106:21          266:21 273:9          51:14
     walgreens 246:3      weeks 17:6             280:11 282:9,14     workers 54:14
     walk 30:16 72:5      weighed 116:19         282:15,18 283:5       172:13
     walmart 2:10         welcome 129:19         284:8,11 285:1,4    working 39:11
      10:24 246:1         wendy 3:5 10:18        285:11 286:1,4,15     48:9 52:12 58:1
      260:14               11:24                witness's 223:17       85:24 89:18 97:5
     want 12:6 40:22      wendy.feinstein        281:2                 109:24 114:5
      72:25 141:2          3:7                  witness’ 284:14        121:24 133:21
      146:24 211:1        went 11:23 79:21      woman 275:7            140:19 168:23
      214:23 256:23        90:18 126:7          word 142:23            181:11 217:3
      260:15 268:2         155:23 166:5          147:10 253:19         223:25 265:8
      270:18               191:21               work 12:9,12 25:2      270:23
     wanted 12:7 68:9     west 2:18 3:5,18       28:9,19 32:15       works 27:2,4,6
      201:13 257:3         4:6 10:18 11:24       33:5 34:24 43:24      133:15,20 138:1
     wanting 181:7         12:12 188:5           48:4,13 49:15         255:11,20
     wants 214:21          231:16                51:15,17 52:7,11    workshop 205:1
     warm 173:13          western 18:3           52:15 54:5 55:13    wrap 127:18
      181:11               120:23                55:19 57:19 58:9    write 188:24
     warning 218:15       wheeling 188:5         64:21 65:12 66:5      190:24 205:12
     warnings 215:11      when's 230:7           66:7,24 67:1,12       240:24
      215:19               234:4 269:20          75:23 83:7 90:19    writes 190:2
     washington 3:12      whereof 283:5          91:20 96:11,13,13   writing 215:3
     watson 3:3,4,15,16   wholesale 249:17       97:3,18 105:24      written 13:23
     way 156:8 181:18      249:24 250:8,11       108:5 112:20          14:11 152:2
      182:2 256:11         250:21 251:3,9,17     133:24 142:22,24      198:23 248:7
      261:3 263:21         255:5                 146:19,24 147:1       249:10 262:9
      277:6               wide 35:8,10           153:20 154:4        wrong 245:7 246:8
     wc.com 3:13           142:20                175:8 186:1 202:4     246:12
     we've 62:1 126:21    williams 3:10,11       206:10 215:25       wrote 240:23
      126:22 127:12        10:22                worked 12:23 18:9             y
      143:19 157:13       willing 46:6           21:12 31:10 35:5
                                                                     yeah 62:4,9
      162:14 168:17       wish 174:4             35:13 37:22 38:23
                                                                       127:14 135:14
      179:14 187:20       withdrawal 24:8        41:13 42:15 49:19
                                                                       137:19 144:1
      199:8 212:24         24:11,15              50:5 54:16 57:3
                                                                       151:25 154:19
      228:8 229:19        witness 2:3 10:7       81:12,13 88:22
                                                                       177:5 193:24
      273:23               10:14,17 11:12        107:23 128:19,20
                                                                       197:8 201:25
     website 132:11        62:8 86:14 117:16     132:1 151:13
                                                                       210:14,25 211:6
     week 15:2,5 49:20     117:18 127:20         175:3 197:25
                                                                       220:17 252:8
      75:9 95:23 114:2     148:22 209:12,19      208:6 264:3
                                                                       267:13
      128:17 141:14        214:20 256:20

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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 124 of 126. PageID #: 243077


    [year - zip]                                                            Page 51

     year 19:19 20:20
       28:11 29:3 59:25
       70:7 71:21 92:7,7
       98:24 101:18
       103:12,16 107:15
       110:14,21,25
       111:2 113:23
       119:7,9 128:16
       150:21 155:6,6,13
       155:14,17,22
       156:13 158:16
       161:20 185:24
       190:25 191:1
       217:21 244:10
       265:20,23,25
       268:23 269:4
     years 21:6,8 29:4
       40:14 59:22 60:1
       82:9 107:20
       131:10 234:7
       243:21
     yep 174:15
     york 4:6,6
     young 16:3 61:24
       113:18 114:15,17
       231:1 272:12
     youth 114:21
       120:17 122:5
       231:4
     yvonne 120:6
       121:15
               z
     zachary 3:18 11:4
     zero 178:3
     zip 82:23 83:3




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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 125 of 126. PageID #: 243078



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Case: 1:17-md-02804-DAP Doc #: 1982-21 Filed: 07/24/19 126 of 126. PageID #: 243079

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